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                    UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF NEW YORK


JIHAD A. HACHEM,                      LEAD CASE: No. 17-CV-8457 (JMF)
                                      Hon. Jesse M. Furman
                    Plaintiff,

          v.                          CLASS ACTION

GENERAL ELECTRIC COMPANY,
JEFFREY R. IMMELT, JEFFREY S.         JURY TRIAL DEMANDED
BORNSTEIN, JOHN L. FLANNERY, JAMIE
MILLER, AND KEITH S. SHERIN,

                    Defendants.



         CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
         FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
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                     GLOSSARY OF TERMS AND ABBREVIATIONS
                         USED IN AMENDED COMPLAINT

          Term                                              Definition
Actual to Expected         Actual incurred claims as percentage of valuation expected incurred
Incurred Claims            claims. Actual incurred claims represent the present value of claims
                           paid and remaining claims reserve by year of claim incurral.
                           Expected incurred claims represent the expected present value of
                           claims for a given incurral year based on statutory active life reserve
                           morbidity assumptions.
Actual to Expected         Actual number of lives inforce as percentage of expected number of
Lives In Force             lives inforce at the end of the year. The actual number of lives
                           inforce at the end of the year. The expected number of lives inforce
                           at the end of the year is calculated as the actual number of lives
                           inforce at the beginning of the year plus new issue lives less
                           expected deaths and lapses, where expected deaths and expected
                           lapses are based on valuation assumptions.
ALR                        Active Life Reserves. When an insurer issues new LTC policies it
                           establishes an ALR, which represents the present value of the
                           expected liability for future claims for healthy policyholders who are
                           paying premiums and are not currently on claim. Active Life
                           Reserves are based on actuarial assumptions established at the time
                           the policies are issued or acquired. These assumptions include, but
                           are not limited to: (i) interest or discount rates; (ii) health care
                           experience (including type and cost of care), (iii) morbidity; (iv)
                           mortality, and (v) the length of time a policy will remain in force.
                           Under GAAP, these assumptions are “locked in” when the policy is
                           written, unless the company’s reserve margin becomes negative, at
                           which point the reserve is reset to reflect the then-correct best
                           estimate.
Assumptions                Actuarial assumptions are used to estimate unknown values based on
                           the methods of actuarial science. Actuarial assumptions are
                           developed using statistical tools such as the correlation of known
                           values to possible outcomes for the unknown value. Typically,
                           complex mathematical and statistical techniques are used in the
                           development of an actuarial assumption. In the context of LTC
                           reserves, an assumption is a function used to estimate an input to a
                           financial model used to value or test the reserves. For example, a
                           common actuarial assumption relates to predicting a person’s
                           lifespan, given their age, gender, health conditions and other factors.
Benefit Amount             The maximum amount of money per day or per month that a LTC
(Daily/Monthly)            policy will provide to cover LTC needs.
Benefit Period             The minimum period of time (years) coverage lasts.
Benefit Utilization Rate   The proportion of contractually available benefits that a policyholder
                           uses while on claim.




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        Term                                            Definition
Ceding Company            An insurance company that transfers a portion, or all, of the risk
                          associated with its insurance portfolio to a reinsurer.
CFOA                      Cash Flow from Operating Activities
Claims Continuance        Includes claimant mortality and recovery
Class Period              The Period between January 23, 2015 and January 23, 2018,
                          inclusive.
Contract Asset            Assets based on revenues GE books on long-term contracts before it
                          has the cash in hand, for things such as servicing power plants and
                          building complex equipment like gas-power systems.
Contract Liability        Billing in excess of revenue.
Cost Improvement          An LTC assumption in which an insurer assumes that contractually
Assumption a/k/a          determined benefit inflation under certain polices will rise faster
Utilization Improvement   than the cost of care.
CS                        Contractual
                           A           Service greements
Defendants                General Electric Company, Jeffrey R. Immelt, Jeffrey S. Bornstein,
                          John L. Flannery, Jamie Miller, and Keith S. Sherin
Discount Rate             In the context of LTC reserves, the statutory valuation interest rate
                          used to determine the present value of future cash flows such as
                          claims, premium, and expenses.
DLR                       Disabled life reserves. When a policyholder submits a valid claim,
                          an insurer establishes a DLR representing the insurer’s best estimate
                          of the present value of what an insurer expects to pay out on that
                          claim over time. Key inputs include actual known facts about the
                          claims, such as the benefits available and cause of disability of the
                          claim, as well as assumptions derived from historical experience and
                          expected future changes in experience factors. Key assumptions are
                          termination rates (or continuance rates) and utilization rates.
Expected Lives in Force   Number of lives Inforce at the beginning of the year, plus the
                          number of new lives from new policies issued, minus the number of
                          expected deaths and the number of expected lapses. In the LTC
                          Experience Form 1, the number of expected deaths and expected
                          lapses are calculated based on ALR assumptions.
EPS                       Earnings Per Share
ER C                      Employers Reassurance Corporation (GE subsidiary)
FCF                       Free Cash Flow




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         Term                                           Definition
GAAP                    Generally Accepted Accounting Principles (“GAAP”) comprises the
                        standards recognized by the accounting profession as the
                        conventions, rules and procedures necessary to define accepted
                        accounting practices. The SEC has the statutory authority for the
                        promulgation of the GAAP for public companies and has generally
                        delegated that authority to the Financial Accounting Standards
                        Board (FASB). The FASB’s promulgated standards are generally
                        contained within the FASB Accounting Standards Codification
                        (“ASC”), which are considered to be the highest standards of GAAP.
                        SEC Regulation S-X, 17 C.F.R. §210.4-01(a)(1), provides that
                        financial statements filed with the SEC that are not presented in
                        conformity with GAAP will be presumed to be misleading, despite
                        footnotes or other disclosures.
Incidence Improvement   An LTC Assumption for claim incidence (the rate at which LTC
Assumption a/k/a        claimants go on claim). This means that it is assumed that
Morbidity Improvement   policyholders will go on claim later than historical incidence rates
                        would indicate.
In force or inforce     All LTC policies are currently paid up and have not lapsed.
Lapse Rate              An assumption used to predict the rate at which policies are
                        terminated due to a policyholders' failure to pay the required
                        premium.
Lifetime Maximum        The total pool of money payable for covered LTC services received
Benefit                 while insured.
LTC                     Long-Term Care. The type of care received when someone needs
                        assistance with daily living due to an accident, illness, cognitive
                        impairment or advancing age. Care is provided either in a facility or
                        at home. Long-term care may include a range of formal and informal
                        services for health, personal care and social needs. Often thought of
                        only as nursing home institutionalization, long-term care can be
                        provided both formally, by medical and health professionals, and
                        informally, by personal, unskilled caregivers.
LTC Insurance           Long-term care insurance provides defined benefit levels of
                        protection against the cost of long-term care services provided in the
                        insured’s home, in assisted living or nursing home facilities.
Long-Term Care          Services that include medical and non-medical care for people with a
Services                chronic illness or disability. Long-term care helps meet health or
                        personal needs. Most long-term care services assists people with
                        Activities of Daily Living, such as dressing, bathing, and using the
                        bathroom. Long-term care can be provided at home, in the
                        community, or in a facility. For purposes of Medicaid eligibility and
                        payment, long-term care services are those provided to an individual
                        who requires a level of care equivalent to that received in a nursing
                        facility.
LTSA                    Long Term Service Agreements



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            Term                                        Definition
Margin                  The LTC margin is the projected future profitability on the policies
                        for which policyholders have not yet made a claim. More
                        specifically, it is the present-day value of the differential between
                        the ALR (the assumptions for which are locked in) and the
                        Company’s current best estimate of present-day value of expected
                        future payments relating to those policies. It is in essence a profit
                        margin on outstanding LTC policies.
Medicaid                Federal and state-funded program of medical assistance to low-
                        income individuals of all ages. There are income eligibility
                        requirements for Medicaid.
Medicare                Federal health insurance program for persons age 65 and over (and
                        certain disabled persons under age 65). Consists of 2 parts: Part A
                        (hospital insurance) and Part B (optional medical insurance which
                        covers physicians' services and outpatient care in part and which
                        requires beneficiaries to pay a monthly premium).
Morbidity               An assumption used to predict the rate at which healthy people go on
                        claim and start drawing on their contractually-defined long-term care
                        benefits. Morbidity is principally comprised of three constituent
                        assumptions: (1) claim incidence, (2) claim continuance, and (3)
                        benefit utilization.
Mortality               An assumption used to predict the rate at which policyholders pass
                        away.
NAIC                    National Association of Insurance Commissioners. Membership
                        organization of state insurance commissioners. One of its goals is to
                        promote uniformity of state regulation and legislation related to
                        insurance.
Persistency             The volume of business that an insurer is able to retain. This rate can
                        be gauged with the help of “persistency ratio” which is the
                        percentage of an insurer’s already written policies remaining in force
                        without lapsing or being replaced by policies of other insurers.
Premium                 The periodic payment (e.g., monthly, quarterly) required to keep an
                        insurance policy in force.
Reinsurance             The practice of insurance carriers ceding risk to other insurers,
                        called reinsurance companies, in order to limit their liability
                        exposure. Reinsurance companies essentially provide insurance to
                        insurance companies.
Retrocede               Retrocession is the practice of one reinsurance company providing
                        services to another by insuring the activities of another reinsurance
                        company.
Runoff business         In the context of insurance, an insurer that continues to service
                        existing customers, but no longer tries to make new sales.




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        Term                                        Definition
SAP                   Statutory Accounting Principles for Insurance Companies (“SAP”)
                      comprise the set of accounting regulations prescribed by the
                      National Association of Insurance Commissioners used for the
                      preparation of an insurance entity’s financial statements to be filed
                      with stock insurance regulators.
Termination Rate      When used in reference to the DLR, the rate at which LTC claims
                      end due to death or recovery.
UFLIC                 Union Fidelity Life Insurance Company (GE Subsidiary).
Underwriting          The process by which an insurer assesses the risk of insuring a
                      particular applicant for coverage. Risk retention groups also
                      underwrite by assessing the risk of accepting a prospective member.




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        Court-appointed Lead Plaintiff Arkansas Teacher Retirement System (“Arkansas

Teacher,” “ATRS” or “Plaintiff”), by its undersigned counsel, hereby brings this Consolidated

Amended Class Action Complaint (“Complaint”) against General Electric Company (“GE” or

the “Company”), Jeffrey R. Immelt, Jeffrey S. Bornstein, John L. Flannery, Jamie Miller, and

Keith S. Sherin (collectively, “Defendants”). The allegations herein are based on Plaintiff’s

personal knowledge as to its own acts and on information and belief as to all other matters, such

information and belief having been informed by the investigation conducted by and under the

supervision of Lead Counsel, which includes a review of: U.S. Securities and Exchange

Commission (“SEC”) and annual statutory filings by GE and certain of GE’s subsidiaries;

securities analysts’ and credit reports and advisories about the Company; press releases and

other public statements issued by the Company; media reports about the Company; interviews

of former employees of GE and its subsidiaries, and other persons with knowledge of the

matters alleged herein; and consultation with consulting experts in the areas of: (1) accounting,

Generally Accepted Accounting Principles (“GAAP”) and Generally Accepted Auditing

Standards (“GAAS”); (2) Long Term Care (“LTC”) Actuarial Science; and (3) damages and

loss causation.1 Lead Counsel’s investigation into the matters alleged herein is ongoing and

many relevant facts are known only to, or are exclusively within the custody or control of, the

Defendants. Plaintiff believes that substantial additional evidentiary support will exist for the

allegations set forth herein after a reasonable opportunity for discovery. On behalf of itself and

the class it seeks to represent, Plaintiff alleges as follows:




1
 Former employees of GE and its subsidiaries (“FEs”) will be identified herein by number
(FE-1, FE-2, etc.). All FEs will be described in the masculine to protect their identities.


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I.     NATURE OF THE ACTION

       1.      This is a federal securities class action on behalf of a class consisting of all

persons and entities that purchased or otherwise acquired the publicly traded securities of GE

during the period from January 23, 2015 through January 23, 2018, inclusive (the “Class

Period”), seeking to recover damages caused by Defendants’ violations of the federal securities

laws and to pursue remedies under Sections 10(b) and 20(a) of the Securities Exchange Act of

1934 (the “Exchange Act”), and SEC Rule 10b-5 promulgated thereunder (17 C.F.R. § 240.10b-

5), against GE and certain of its current or former senior executives.

       2.      GE is a multi-national conglomerate with operations that are organized across

various business segments, specifically including: (1) GE Capital Corporation (“GE Capital” or

“GECC”), the financial services unit of GE that provides commercial lending and leasing, as

well as a range of financial services for commercial aviation, energy, and support for GE’s

industrial business units; and (2) GE Power, a wholly-owned subsidiary of GE, that builds

industrial products including power plants, turbines, and generators. Founded in 1892, the

Company is headquartered in Boston, Massachusetts and trades on the New York Stock

Exchange (“NYSE”) under the ticker symbol “GE.”

       3.      Historically, GE has been known as a “dividend stock,” and investors looked to

the Company for a consistent stream of quarterly dividends. Before, during, and after the Class

Period, Defendants as well as analysts following the Company emphasized the importance of

GE’s consistent dividends to its investors and to the value placed on GE’s securities by the

market. GE has paid out approximately $8 billion in yearly dividends since 2015. Flow-through

dividend payments from GE Capital to parent GE have provided the Company with a majority

of the cash flow used for dividends paid to its shareholders during this time period. During




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much of the Class Period, through the manipulation described below, GE was able to maintain

cash flow sufficient to meet its quarterly dividend payments.

       4.      GE Capital (through certain of its subsidiaries) historically underwrote and

reinsured billions of dollars in long-term care (“LTC”) insurance policies between the late

1980s and the early 2000s. This LTC reinsurance business has been in “run-off” mode since

2006 - meaning no new business has been written in over a decade. Under these LTC policies,

GE Capital collects premiums to insure costs associated with assisted living and other related

expenses that are not covered by traditional insurance.2 GAAP and statutory regulations

governing insurance companies such as GE Capital require companies that insure or reinsure

LTC policies to collect and review claims experience and other trend data to set appropriate

cash reserves for anticipated claims. GAAP and statutory regulations require LTC insurers and

reinsurers to review a handful of key factors regularly, including (i) mortality, (ii) morbidity,

(iii) lapse rates, (iv) claims experience, and (v) health care costs and to account for these trends

in updating cash reserves to fulfill LTC claims.

       5.      Since GE’s main source of cash for its quarterly dividends and stock buyback

program during the Class Period was its subsidiary GE Capital, Defendants devised a scheme

whereby they improperly put off, for at least three years, updating the Company’s reserve

assumptions for the LTC policies the Company had reinsured more than a decade ago. Despite

knowledge of readily apparent information (or at a minimum recklessly ignoring glaring and

obvious red flag warnings) including at least: (i) severely deteriorating trends in the LTC

market, including rising LTC costs, and massive and repeated charges taken by other LTC

insurers after they adjusted assumptions to meet the reality of how many seniors were actually

2
 LTC insurance is intended to help defray the cost of home care, assisted living care, adult day
care, respite care, hospice care, nursing home care, and other specialized skilled facility care.


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using the benefits and living longer than had been expected when these policies were issued

more than ten years ago; (ii) GE’s own experience during and following the spin-off of

Genworth Financial (“Genworth”), including the fact that GE was forced to keep the worst

performing LTC policies on its books in order to facilitate the spin-off; (iii) that in November

2014 and February 2015, Genworth materially increased its LTC reserves (in fact, since the

2004 spin-off, Genworth had increased its LTC reserves 9 times for a total of $3.8 billion); (iv)

that statutory filings issued by the direct writers of the policies that GE reinsured were

consistently showing actual claims experience much worse then what was originally projected;

and (v) warnings from GE actuaries and auditors regarding improper model changes and the

need to review LTC reserve assumptions, Defendants failed to materially increase the

Company’s LTC reserves, thereby violating GAAP and statutory insurance regulations.

Defendants knew that updating the Company’s LTC reserves with actual claims experience and

known trends would jeopardize GE’s quarterly cash dividends from GE Capital. Indeed, after

the end of the Class Period, Defendants admitted that GE reviewed its legacy LTC book of

business in 2015 and decided not to sell it off at that time because they did not want to sell it at

a large discount. Despite this LTC review, Defendants took no action during the Class Period to

materially increase GE’s LTC reserves.

       6.      Further, after GE Capital was designated in 2013 as a nonbank Systematically

Important Financial Institution (“SIFI”), which would have required enhanced Federal Reserve

Bank (“the Fed” or “FRBNY”) scrutiny and increased governance and reporting requirements

(including scrutiny of GE’s LTC exposure, how it was establishing LTC reserves and how it

was auditing its LTC business), GE designed a plan to shrink GE Capital by divesting a number




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of its business units.3 GE succeeded in this effort, and in 2015 GE Capital was de-designated as

a SIFI. While the divestiture was spun as a benefit to the Company, Defendants failed to tell the

market that it was still unable to divest its LTC business, which was left behind once again.

With fewer business units, GE Capital’s exposure to its LTC business was even more

pronounced.

       7.      GE’s ability to sustain its dividend and share buyback program was

simultaneously facing additional pressure. Throughout the Class Period, GE engaged in a

widespread scheme to improperly record revenue and earnings on its portfolio of long-term

contracts, including its long-term services agreements (“LTSAs”)—i.e., contracts with

customers to provide servicing and maintenance on customers’ assets, such as gas turbines.

Unbeknownst to investors, however, GE’s improper accounting for those contracts caused a

significant drain on the Company’s industrial Cash Flow From Operating Activities (“CFOA”),

and GE was forced to employ a range of unsustainable techniques to mask that impact.

       8.      Specifically, to conceal that GE’s Power segment was not generating revenue

organically, GE, in violation of GAAP, strategically renegotiated its existing portfolio of long-

term contracts for no economic purpose other than to accelerate the recording of revenue and

earnings on those contracts. Because GE was recording revenue and earnings, but not actually

receiving the associated cash payment, the Company’s Contract Asset balance ballooned during

the Class Period. (Contract Assets reflect the difference between revenue recognized and cash

received). At the same time, GE’s estimates of revenue and costs on these contracts were not



3
  In early 2015, GE announced a major restructuring strategy that included: (1) the sale of
substantial GE Capital assets; and (2) a plan to return more than $90 million to GE shareholders
through 2018 through cash dividends, a $50 billion share buyback program, and a share
exchange involving the split-off of Synchrony Financial, GE Capital’s North American retail
finance business.


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reasonably dependable because GE relied on historical data to make these estimates that were

known not to reflect either current information or reasonable projections about the realities of

the power market.

       9.      To conceal that the Company was accelerating revenue and earnings on its

contracts but not collecting cash, Defendants devised an unsustainable scheme to window-dress

GE’s industrial CFOA. To do so, GE persuaded its customers to agree to accept invoices on

contracts earlier in time than necessary for no reason other than so that GE could “factor” (i.e.,

sell) those invoices (either internally or to third parties) to generate much-needed cash flow. The

sole purpose of this practice—which was known internally as “monetization” and developed, in

part, by a former employee cited herein—was to conceal that GE was renegotiating contracts

solely to boost earnings at the expense of collecting cash payments.

       10.     In order to hide its failure to make any meaningful adjustment to the assumptions

underlying its LTC reserves and the massive exposure those legacy policies presented to GE

and to mask its manipulation of its LTSAs, GE made its periodic financial reporting

intentionally opaque. In fact, Defendants made almost no specific disclosures at all with respect

to its LTC exposure during the Class Period. Indeed, until the corrective disclosures, the

reserves for LTC were not even reported separately – they were reported under the heading

“Life Insurance Benefits.” This failure to provide meaningful disclosure so the market could

assess the true risk is, in and of itself, a violation of GAAP.

       11.     Defendants also failed to disclose to the market the Company’s woefully

insufficient internal controls over financial reporting with respect to the Company’s LTC

business and LTSAs. For example, former employees of the Company explain that GE used

recent college graduates with no audit or actuarial experience to serve in the Company’s internal




                                                  6
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audit function with respect to LTC policies. This meant that GE had no meaningful audit

function for this business leading up to and during the beginning of the Class Period. It is no

surprise then that the critical assumptions necessary to accurately calculate reserves for these

policies were never updated.

         12.     GE’s fraud concerning the LTC reserves and the Contract Assets began coming

to light through a series of partial public disclosures that began on July 21, 2017, when GE

announced that it recently had “adverse claims experience in a portion of our long-term care

portfolio” and that it would be required to “assess the adequacy of our premium returns.” With

respect to GE’s Contract Assets, GE revealed on July 21, 2017, that earnings growth caused by

LTSA gains was slowing down. In reality, the Company’s scheme of fraudulently pulling future

revenue forward was running out of gas.

         13.     On this news, GE’s common stock fell $0.78, or 2.92 percent, to close at $25.91

on July 21, 2017, shedding approximately $6.8 billion in market capital.

         14.     In another partial public disclosure that revealed parts of Defendants’ fraud, on

October 20, 2017, before the market opened, GE announced third quarter 2017 results and held

a conference call to discuss the results with analysts. During the call, GE announced to

investors that it had “recently observed elevated claims experience” for a portion of the LTC

business at GE Capital's legacy insurance business, which represented $12 billion or roughly

50% of GE Capital’s insurance reserves.4 GE stated that as a result, the Company “began a

comprehensive review in the third quarter of premium deficiency assumptions that are used in

the annual claims reserve adequacy test” which GE expected to complete by year end. GE




4
    Unless otherwise noted, all emphasis has been added.


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further stated that “until the review was completed,” it would defer the decision to pay any

additional GE Capital dividends to GE.

       15.     During the October 20, 2017 earnings conference call, details also began to

emerge about GE’s significant cash flow issues. GE slashed its guidance for 2017 industrial

CFOA, a key metric followed by analysts and investors, from an initial range of $12 to $14

billion down to $7 billion, driven largely by sharp declines in GE’s Power segment. Jamie

Miller, GE’s Chief Financial Officer (“CFO”), stated: “Power is the biggest driver on lower

volume, higher inventory, and the timing of payments on long-term equipment contracts.”

Analysts called these reductions “drastic” and found the CFOA miss to be “enormous.” What

Defendants failed to fully disclose was that GE’s Contract Asset/LTSA accelerated revenue

recognition well was drying up. According to a former employee of GE Power, there was only

so much revenue GE could pull forward via Defendants’ scheme.

       16.     On this shocking news, GE’s stock price fell more than 6% once the market

opened on October 20, 2017. While the price rebounded temporarily leading up to the market

close, by the end of the next trading day on October 23, after a number of prominent analysts

(including UBS, JP Morgan, and Morgan Stanley) downgraded the stock, the stock price had

declined $1.26 or 5.34% from its close immediately preceding the October 20th disclosures and

subsequent analysts downgrades.

       17.     On November 13, 2017, before the market opened, GE stunned investors by

announcing that it was slashing its annual dividend in half. Later that day, during market hours,

GE held its Annual Investor Update and reaffirmed that the dividend was being cut from $0.96

to $0.48 per share. This was only the second time GE had cut its dividend since the Great

Depression. The Company stated that its dividend rate was no longer appropriate because its




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industrial business did not grow as fast as previously expected. Defendant Flannery further

explained that plagued by poor cash flow, GE had been paying out a dividend above its

industrial free cash flow for a number of years. Additionally, GE Capital would not be paying a

dividend to GE in 2018, stating “we’ve been paying a dividend in excess of our free cash

flow for a number of years now.” Defendant Flannery reiterated that the “dividend was

predicated on us growing to a certain level that we just did not see happening in terms of

industrial cash flow in the next couple of years . . . . So, the single biggest delta, I think is

obvious, which is what happened in the Power business.”

        18.     Jamie Miller further explained that “we’re in the middle of an ongoing reserve

review at our insurance businesses there. . . And we mentioned to you before that we’re not

taking a second half GE Capital dividend of about $3 billion. And as we go through this

process, at this point, I do expect the charge to be more than that. . . .” Before the market

opened on November 14, 2017, several analysts either lowered price targets for GE stock or

downgraded the Company’s securities. GE also presented at the Goldman Sachs Conference on

November 14, 2017, to further discuss this shocking news.

        19.     As a result of these stunning revelations about GE’s massive dividend cut and

anticipated charges of more than $3 billion for its LTC reserves, the Company’s common stock

price fell $1.47 per share, or over 7 percent, to close at $19.02 per share on November 13, 2017.

GE’s common stock price fell an additional $1.12 per share, or 5.8 percent, to close at $17.90

per share on November 14, 2017, for a two day loss of approximately 12.6 percent, on

extremely heavy volume. Over $22.4 billion in market losses were caused by these disclosures.

        20.     On January 16, 2018, before the market opened, GE announced that the

comprehensive review and reserve testing of its legacy LTC reinsurance business had




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concluded, and the Company would be required to take a GAAP charge of $9.5 billion

(before-taxes) for the fourth quarter of 2018 on old reinsurance contracts in GE Capital. GE

further advised that it would have to set aside $15 billion in statutory LTC reserves over

seven years and that GE Capital would suspend its dividend to GE for the “foreseeable

future.” 5 That same day, on a conference call with investors and analysts, Defendant Flannery

stated, in part, that “[c]learly, in hindsight, we underappreciated the risk in [GE’s insurance

business] book.” GE also acknowledged that most LTC insurers had experienced greater claims

than originally anticipated. But, apparently, GE was the only one in the LTC industry not to

timely use that pervasive and prolonged adverse experience to adequately adjust its LTC

assumptions and increase its LTC reserves.

         21.     Disclosure of this information caused a precipitous drop in the price of GE’s

common stock which fell approximately 3% on January 16, 2018 and an additional 4.7% on

January 17, 2018, for a total two-day drop of 7.62 percent, wiping out $7.5 billion in market

value.

         22.     Analysts covering GE opined that it was likely that GE knew about its LTC

problems for a very long time. For example, Scott Davis, an analyst with Melius Research,

wrote that it is “very hard to believe that mysteriously overnight GE found problems they

didn’t know existed.” Similarly, Jeff Sprague, an analyst with Vertical Research Partners,

reported that “[i]t’s hard to imagine a $15 billion problem materialized in the course of the

year.”

         23.     Even Warren Buffett, the chairman and chief executive officer of Berkshire

Hathaway Inc., nicknamed the Oracle of Omaha, said in an interview with CNBC, that he was



5
    The $15 billion in LTC reserves represented roughly 10% of GE’s market cap at the time.


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“staggered” by the size of the charge GE took on its old LTC portfolio: “Clearly there were

mistakes made, and they made mistakes in long-term care ….. The accounting at GE has not

been a model at all in recent years....”6

       24.     On January 24, 2018, during a conference call with investors and analysts, GE

announced that the SEC had notified the Company that it would be “investigating [GE’s]

process leading to the insurance reserve increase and the fourth-quarter charge as well as GE’s

revenue recognition and controls for long-term service agreements.”7 On January 24, 2018, the

Company also revealed charges to earnings totaling at least $850 million in the fourth quarter of

2017 due to cost overruns on GE Power projects and a write-off for slow-moving and obsolete

inventory. To address the source of the cost overruns and poor execution, the Company had

recently adopted stronger internal controls to address its accounting for Contract Assets

including “much tighter” underwriting, more attention to pricing, execution, and cost

estimating, and a reevaluation of the cash generated by its LTSAs.

       25.     On this news, the price of GE’s common stock dropped again, by $0.45 to

$16.44 per share on January 24, 2018, and continued to decline another $0.26 per share, closing

at $16.18 per share on January 25, 2018, losing approximately $6.15 billion in market value.




6
  Katherine Chiglinsky, Buffett Says He Was Staggered by GE’s ‘Big Time’ Finance Lapses,
Bloomberg Markets (February 26, 2018), https://www.bloomberg.com/news/articles/2018-02-
26/buffett-says-he-was-staggered-by-general-electric-s-charge
7
  This is not the first time GE has dealt with questions about its accounting. In 2009, the
Company settled civil fraud and accounting charges with the SEC for using improper methods
to steadily increase its reported earnings to meet or exceed the consensus earnings estimates of
analysts and avoid any negative results. GE agreed to pay a $50 million penalty as part of the
settlement, a substantial price for smoothing out earnings to remain in the good graces of
investors.


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       26.     By the time the full truth was known to the market through GE’s partial

disclosures from July 21, 2017 through January 24, 2018, GE had lost an astounding $91.5

billion in market capitalization.

       27.     As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of GE’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

II.    JURISDICTION AND VENUE

       28.     The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act, 15 U.S.C. §§ 78j(b) and 78t(a), and Rule 10b-5 promulgated thereunder by the SEC, 17

C.F.R. § 240.10b-5.

       29.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331 and 1337, and Section 27 of the Exchange Act, 15 U.S.C. § 78aa.

       30.     Venue is proper in this District pursuant to Section 27 of the Exchange Act and

28 U.S.C. §1391(b) as Defendants conduct business in this District, and a significant portion of

the Defendants’ actions, and the subsequent damages, took place within this District. GE’s

stock trades on the NYSE, located within this District.

       31.     In connection with the acts alleged in this complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not

limited to, the mails, interstate telephone communications, and the facilities of the national

securities markets.

III.   PARTIES

       A.      Lead Plaintiff

       32.     Court-appointed Lead Plaintiff ATRS was established in 1937 to provide

retirement benefits for the employees of Arkansas’ education community and manages


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approximately $15 billion in assets. As set forth in the attached Certification, ATRS purchased

GE securities at artificially inflated prices during the Class Period and suffered damages as a

result of the federal securities law violations and false and/or misleading statements and/or

material omissions alleged herein.

       B.      Defendants

       33.     Defendant GE is incorporated in New York with its headquarters located in

Boston, Massachusetts. GE is a global digital industrial company with products and services

ranging from aircraft engines, power generation, and oil and gas production equipment to

medical imaging, financing, and industrial products. GE’s common stock trades on the NYSE

under the symbol “GE.” GE and its subsidiaries also issued a large number of notes, bonds and

other securities to the investing public, which are publicly traded.

       34.     Defendant Jeffrey R. Immelt (“Immelt”) was the Chairman of GE’s Board from

September 2001 to October 2, 2017 and the Company’s CEO from September 2001 through

August 1, 2017. Immelt also served as a member of the Board of Directors of GE Capital in

2014. Immelt’s total estimated compensation was $21.3 million in 2016 and $33 million in

2015. While he was employed at GE during the Class Period, Immelt signed GE’s annual

reports and quarterly and annual certifications pursuant to the Sarbanes-Oxley Act of 2002

(“SOX”) stating that the financial information contained in the Company’s financial reports was

accurate and disclosed any material changes to GE’s internal controls over financial reporting.

During the Class Period, Immelt participated in each of the Company’s quarterly earnings

conference calls described herein until his departure on August 1, 2017. Immelt was a direct and

substantial participant in the fraud.

       35.     Defendant Jeffrey S. Bornstein (“Bornstein”) served as GE’s CFO from July 1,

2013 to November 1, 2017. Bornstein also served as a member of the Board of Directors of GE


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Capital in 2014. Bornstein’s total estimated compensation was $9.9 million in 2016 and $13.3

million in 2015. Bornstein signed GE’s annual reports and quarterly and annual SOX

certifications (from the start of the Class Period through the Form 10-Q for the quarter ended

September 30, 2017) stating that the financial information contained in the Company’s financial

reports was accurate and disclosed any material changes to GE’s internal controls over financial

reporting. During the Class Period, Bornstein participated in each of the Company’s quarterly

earnings conference calls described herein until his departure on November 1, 2017. Bornstein

was a direct and substantial participant in the fraud.

       36.     Defendant John L. Flannery (“Flannery”) served as the Company’s CEO from

August 1, 2017 through the end of the Class Period and as the Company’s Chairman from

October 2, 2017 through the end of the Class Period. Flannery previously served as the CEO

and President of GE Healthcare Ltd. from October 2014 to June 12, 2017. Flannery’s total

estimated compensation for 2017 was $9 million. Flannery signed GE’s SOX certification for

the quarter ended September 30, 2017, stating that the financial information contained in the

Company’s financial report was accurate and disclosed any material changes to GE’s internal

controls over financial reporting. Flannery participated in the Company’s quarterly earnings

conference calls for the second and third quarters of 2017 and in GE’s Investor Day on

November 13, 2017. Flannery was a direct and substantial participant in the fraud from August

1, 2017 through the end of the Class Period.

       37.     Defendant Jamie Miller (“Miller”) served as the Company’s CFO from October

2017 through the end of the Class Period. Miller joined GE in 2008 and previously served as

President and CEO of GE Transportation; Vice President, Controller and Chief Accounting

Officer; and as GE’s Chief Information Officer. Miller is a CPA and was previously a partner at




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PricewaterhouseCoopers LLP. Miller participated in the Company’s quarterly earnings

conference call for the third quarter of 2017 and in GE’s Investor Update on November 13,

2017. Miller was a direct and substantial participant in the fraud from November 1, 2017

through the end of the Class Period.

       38.     Defendant Keith S. Sherin (“Sherin”) served as GE’s CFO from December 1998

until July 2013, and served as GE Capital’s Chairman and CEO from July 2013 until September

2016. Sherin also served as a member of the Board of Directors of GE Capital in 2014. Sherin’s

total estimated compensation was $30.4 million in 2016 and $26 million in 2015. Sherin

participated in the Company’s quarterly earnings conference calls as CEO of GE Capital during

the Class Period until he left GE in September 2016. During that time, Sherin was a direct and

substantial participant in the fraud.

       39.     Defendants Immelt, Bornstein, Flannery, Miller and Sherin are collectively

referred to hereinafter as the “Individual Defendants.” The Individual Defendants, because of

their positions with the Company, possessed the power and authority to control the contents of

GE’s reports to the SEC, press releases, and presentations to securities analysts, money portfolio

managers and institutional investors, i.e., the market. The Individual Defendants were provided

with copies of the Company’s reports and press releases alleged herein to be misleading prior

to, or shortly after, their issuance and had the ability and opportunity to prevent their issuance or

cause them to be corrected. Because of their positions and access to material non-public

information available to them, the Individual Defendants knew that the adverse facts specified

herein had not been disclosed to, and were being concealed from, the public, and that the

positive representations which were being made were then materially false and/or misleading.

The Individual Defendants are liable for the false statements pleaded herein.




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       40.      GE and the Individual Defendants are referred to herein, collectively, as

“Defendants.”

IV.    CONTROL PERSON ALLEGATIONS

       41.      The Individual Defendants, by virtue of their high-level positions with the

Company, directly participated in the management of the Company, and were directly involved

in the day-to-day operations of the Company at the highest levels. The Individual Defendants

participated in drafting, preparing, and/or approving the public statements and communications

complained of herein and were aware of, or recklessly disregarded, the material misstatements

contained therein and omissions therefrom, and were aware of their materially false and

misleading nature.

       42.      During the Class Period, the Individual Defendants knew or recklessly

disregarded that GE’s LTC reserves were understated by approximately $10 billion in violation

of GAAP and by $15 billion in violation of state statutory regulations, and that the Company

was overstating revenues and margins in violation of GAAP on Contract Assets in order to

artificially manipulate the Company’s quarterly and annual financial results.

       43.      The Individual Defendants, as senior executive officers of the Company, were

able to, and did, control the content of the various SEC filings, press releases, and other public

statements pertaining to the Company during the Class Period. The Individual Defendants were

provided with copies of the documents and statements alleged herein to be materially false and

misleading prior to or shortly after their issuance and/or had the ability and opportunity to

prevent their issuance or cause them to be corrected. The Individual Defendants also had the

opportunity to provide the market additional material information that was necessary in order to

make the Company’s public statements and release of financial information not misleading.

Accordingly, the Individual Defendants are responsible for the accuracy of the public reports,


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releases, and other statements detailed herein and are primarily liable for the misrepresentations

and omissions contained therein.

       44.     The Individual Defendants, because of their positions of control and authority as

senior executive officers had access to the adverse, undisclosed information about GE’s

business through their access to internal corporate documents and information, conversations

and associations with other corporate officers and employees, attendance at regularly-held

meetings, as well as other management and Board of Directors meetings and committees

thereof, and reports and other information provided to them in connection therewith.

       45.     As senior officers and controlling persons of a publicly-held company whose

securities were, during the relevant time, registered with the SEC pursuant to the Exchange Act

and traded on the NYSE, the Individual Defendants each had a duty to promptly disseminate

accurate and truthful information with respect to the Company’s operations and business, and to

correct any previously issued statements that were or had become materially misleading or

untrue, so that the market price of the Company’s securities would be based upon truthful and

accurate information. The Individual Defendants’ wrongdoing during the Class Period violated

these specific requirements and obligations.

       46.     Each of the Individual Defendants is liable as a primary participant in a wrongful

scheme and course of business that operated as a fraud and deceit on purchasers of GE

securities during the Class Period, which included the dissemination of materially false and

misleading financial statements and statements (both affirmative statements and statements

rendered misleading because of material omissions) regarding the fact that (i) GE’s LTC

reserves were being materially understated by billions of dollars in violation of GAAP and

statutory insurance regulations; and (ii) the Company was overstating costs and profitability on




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Contract Assets with respect to GE Power’s LTSAs, all in order to artificially manipulate the

Company’s quarterly and annual financial results in violation of GAAP. The scheme: (i)

deceived the investing public regarding GE’s operations and the true value of GE’s securities;

and (ii) caused Plaintiff and other members of the class to purchase GE securities at artificially

inflated prices, which plummeted in value as the truth concerning the magnitude of the

understatement of GE’s LTC reserves and the manipulation of costs and profitability in the

Power segment ultimately became known.

       47.     In making the statements complained of herein, the Individual Defendants, who

were senior officers and controlling persons of GE, were acting on behalf of the Company in the

regular course of business. Therefore, each of the statements made by the Individual Defendants

is attributable to the Company.

V.     COMPANY BACKGROUND

       48.     GE is a multi-national conglomerate with operations that are organized across

various business segments, including: (1) GE Capital, a wholly-owned subsidiary, the financial

services unit of GE; and (2) GE Power, a wholly-owned subsidiary of GE, that builds industrial

products including power plants, turbines, and generators.

       A.      GE Capital

       49.     GE Capital is GE’s financial services unit and provides lending and leasing

opportunities to customers in the aviation, energy, and industrial sectors. During the Class

Period, flow-through dividends from GE Capital provided GE with a substantial amount of its

free cash flow used for dividends and to fund buybacks to GE shareholders. Indeed, GE Capital

paid dividends to GE of approximately $28.4 billion between 2015 and 2017.




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       50.         With GE Capital, the Company uses the term “Verticals” to represent the GE

Capital businesses, primarily its Vertical financing businesses - GECAS, Energy Financial

Services, Industrial Finance, and run-off insurance activities.

       51.         The chart below shows the amount of cash dividends GE Capital funneled to GE

before and during the Class Period and how that cash flow materially contributed to GE’s

ability to fund both a stock buyback program which helped keep GE’s stock price inflated and

GE’s all important dividend to shareholders.

               GE CAPITAL's CONTRIBUTION TO GE's DIVIDENDS AND BUYBACKS
                                   ($ figures in Billions)

                                                                  TOTAL CASH
                    GE CAPITAL’S
                                          GE          GE         RETURNED TO    % FROM GE
      YEAR           DIVIDENDS
                                      DIVIDENDS    BUYBACKS           GE         CAPITAL
                       TO GE
                                                                SHAREHOLDERS
            2013               $6.0         $7.8        $10.2           $18.0       33%
            2014               $3.0         $8.9         $2.2           $11.1       27%
            2015               $4.3         $9.3         $2.7           $12.0       36%
            2016              $20.1         $8.5        $22.6           $31.1       65%
            2017               $4.0         $8.1         $3.5           $11.6       34%


       B.          GE Power

       52.         GE Power, a wholly-owned subsidiary of GE, builds industrial products

including power plants, turbines, and generators. GE Power serves power generation,

industrial, government and other customers around the world with products and services related

to energy production. The Company’s products and technologies harness resources, such as oil,

gas, coal, diesel, and nuclear to produce electric power and include gas and steam turbines.

       53.         GE Power includes a number of divisions that each provides customers different

product and services offerings. The Power Services division delivers maintenance, service, and

upgrade solutions for the GE products, such as gas turbines. GE contracts with customers to

provide servicing and maintenance on those products pursuant to long-term services agreements



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(LTSAs). For example, GE Power Services enters into long-term contracts with customers to

perform routine maintenance on gas turbines.

        54.    GE Power is the largest segment within the Industrial segment of GE’s business

and is a significant driver of overall revenue. Indeed, the GE Power segment generated $26.8

billion of GE’s overall revenue of $123.7 billion in 2016 and $36.0 billion of GE’s overall

revenue of $122.1 billion in 2017, representing approximately 30% of GE’s total revenue in

2017.

        55.    Despite the fact that demand within the power market became weak beginning in

2009, and continuing throughout the Class Period, GE’s earnings in its Power segment

remained relatively stable. Indeed, GE reported Power segment profit of $5.4 billion in 2014,

$4.5 billion in 2015, and $5.0 billion in 2016. Much of these earnings were driven by revenue

GE recorded on its LTSAs within the Power segment—the segment with the largest amount of

LTSAs. GE frequently recognized revenue and earnings on its LTSAs before it actually billed,

or received cash, from its customers. When GE recognized revenue on LTSAs (and on other

long-term contracts in its portfolio) before it billed the customer (that is, before it received

cash), GE recorded Contract Assets on its balance sheet—i.e., the difference between revenue

recognized and cash received. GE’s Contract Asset balance ballooned during the Class Period

(from $21.2 billion in 2015 to $28.9 billion at the end of 2017), which reflected that GE was

recording revenue and earnings but not yet receiving cash on many long-term contracts in its

portfolio. Although this allowed the Power segment to contribute significant profit to GE,

investors were unware that the methods used to generate revenue on GE’s LTSAs violated

GAAP and involved unsustainable business practices.




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VI.     SUBSTANTIVE ALLEGATIONS

        A.      Background of GE Capital’s LTC Insurance Exposure

        56.     LTC insurance is intended to help defray the cost of home care, assisted living

care, adult day care, respite care, hospice care, nursing home care, and other specialized skilled

facility care required when an individual becomes unable to perform the basic activities of daily

living (such as dressing, bathing, eating, toileting, continence, walking, or getting in and out of

a bed or chair). These costs are generally not covered by health insurance, Medicare or

Medicaid. LTC insurance is purchased by individuals before they become physically or

mentally infirm as a way to protect their life savings from the escalating costs of 24-hour health

care at the end of their lives.

        57.     Insurance companies began marketing and selling LTC insurance in the 1970s.

Sales of LTC policies peaked in 2002, when 755,000 policies were sold by 102 insurance

companies. By 2009, most of the 102 companies had exited the LTC market (i.e., stopped

selling policies), and fewer than 70,000 policies were sold in 2016 by approximately 12

remaining carriers. As explained herein, every major assumption used for pricing the early LTC

policies has had significant unfavorable actual experience, including morbidity, cost of care

inflation, long-term interest rates, mortality improvement, and lapse rates.

        58.     GE Capital historically underwrote and reinsured billions of dollars in LTC

policies. Under these policies, GE collects premiums to insure (or reinsure) costs associated

with assisted living and other related expenses. LTC providers hold money in reserves to pay

current and future claims on their policies. As explained below, insurance regulations and

GAAP require LTC insurers to hold sufficient cash reserves and book related liabilities for

anticipated claims.




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       59.     As explained herein, the proper level of reserves is based on a handful of key

factors including mortality, morbidity, lapse rates, claims experience, and health care costs. GE

Capital purportedly regularly reviewed the adequacy of its long-term care reserves.

               1.     The Genworth Spin-Off

       60.     GE was an early pioneer and a dominant issuer of LTC insurance policies in the

1990s and the early 2000s; GE’s insurance businesses sold more than 1 million LTC policies.

In 2001 GE held over 20% market share of new LTC policies issued.8 GE prided itself on never

increasing premiums on any in-force LTC policies that it had issued. 9

       61.     In November 2003, GE announced its intention to pursue an initial public

offering of a new company named Genworth Financial, Inc. (“Genworth”), which would

comprise most of its mortgage insurance and life insurance operations, and included portions of

its LTC insurance book.10 GE announced that it planned to sell approximately 30% of the

equity of the new company in an Initial Public Offering (“IPO”), and expected to reduce its

ownership position over the next two years as Genworth transitioned to being a fully

independent company. But as alleged below, GE retained the risk for certain riskier blocks of

its LTC insurance policies, which could not be spun off with Genworth.




8
  General Electric 2002 Annual Report,
http://www.annualreports.com/HostedData/AnnualReportArchive/g/NYSE_GE_2002.pdf;
Nat’l Health Org. of Life and Health Ins. Guaranty Assocs., State of the U. S. Long-term Care
Insurance Industry, NOLHGA Presentation to the NAIC (Mar. 30, 2017),
http://www.naic.org/documents/cmte_e_mlwg _related_state_of_ltc_industry.pdf
9
  Rick Miller, GE spinoff Genworth plans to hold line on prices, Relieves concerns over LTC
rate hikes, Investment News (June 21, 2004),
http://www.investmentnews.com/article/20040621/SUB/406210728/ge-spinoff-genworth-plans-
to-hold-line-on-prices
10
   Today, Genworth remains one of the largest providers of LTC insurance.


                                               22
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       62.    The Genworth spinoff was part of GE’s strategy to exit low-return businesses

and to redeploy capital to refocus on higher-growth businesses. On a December 16, 2003

conference call, Immelt told investors that the strategy was being implemented successfully:

       “A year ago we showed you this chart, okay, in December of ‘02. It basically
       described the GE that we thought was going to be higher tech, more service, and
       higher return financial service business. . . . We have strengthened our positions
       at the same time we’ve redeployed capital. We have exited, or announced the
       exit, in a substantial portion of our insurance businesses. Some of the low return
       industrial assets and a runoff mode of the other low return financial service
       assets. So we’ve taken a number of moves to really execute on the strategy we
       talked about a year ago.” 11

       63.    On May 25, 2004, GE finalized the initial spin-off and Genworth’s common

stock began trading on the NYSE. GE retained approximately 70% of Genworth’s equity

following the IPO. GE’s public comments at the time were limited to describing how the

Genworth IPO, as a whole, affected GE’s financial results.

       64.    In 2005, GE completed secondary public offerings of Genworth common stock,

further reducing its ownership in Genworth. And in March 2006, GE completed the sale of its

remaining 18% investment in Genworth through a secondary public offering of 71 million

shares of Class A Common Stock and direct sale to Genworth of 15 million shares of Class B

Common Stock.

       65.    At a May 18, 2005 conference, Immelt presented the Genworth spinoff as a

success for GE’s investors and a turning point from the Company’s previous woes in the

insurance industry:

       “I mean you guys are the smart ones. I’m just a humble business guy. [Laughter].
       But look, I think it’s the point of context is, look over those three years we grew
       earnings 5% a year. And it was subpar for us. It wasn’t what any of us
       expected—how much you expect of us. But look we went through the energy


11
  GE Annual Business Update and Outlook hosted by Jeffrey Immelt, Thomson Street Events
(Dec. 16, 2003) p.4.


                                               23
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        transitions. We really just didn’t belong where we were in insurance. We got out
        I think in as elegant a way as we could. And Genworth is running well and the
        balance sheet is great and we feel great about where we are. And that’s kind of
        behind us now.” 12

                  2.     GE Retained and Reinsured the Worst Blocks of its LTC Business in
                         Connection with the Genworth Spin-off

        66.       While GE sold or spun off most of its reinsurance operations, it retained certain

risks, including the riskiest LTC policies. According to an April 14, 2015 article, TheStreet

reported that “GE hung onto certain insurance businesses, reportedly for fear they would

depress Genworth’s valuation, according to an investment banker who covers the insurance

industry but did not advise GE on the Genworth IPO.”13 A January 25, 2018 Bloomberg report

echoed those sentiments, reporting that the banks underwriting the 2004 spinoff of Genworth,

including Goldman Sachs Group Inc. and Morgan Stanley, “told GE the share sale could run

into obstacles… Some Genworth businesses were too weak for investors’ tastes. GE would need

to backstop them.”14

        67.       Specifically, Immelt agreed to have GE keep the financial risk of a substantial

block of LTC insurance policies for the purpose of making the Genworth spinoff more attractive

to investors.15


12
   (May 18. 2005 11:30AM) GE - General Electric at The Electrical Products Group of New
York 2005 EPG Conference
13
   Dan Freed, GE Stuck With $28 Billion Insurance Liability, TheStreet (Apr. 14, 2015),
https://www.thestreet.com/story/13112319/1/ge-stuck-with-28-billion-insurance-liability--
exclusive.html
14
   Sonali Basak, Catherine Chiglinsky & Rick Clough, GE’s Surprise $15 Billion Shortfall Was
14 Years in Making, Bloomberg (Jan. 15, 2018 11:28AM),
https://www.bloomberg.com/news/articles/2018-01-25/ge-s-surprise-15-billion-shortfall-was-
14-years-in-the-making
15
   Katherine Chiglinsky, Why Long-Term Care Insurance Is Bringing GE Down: QuickTake,
Washington Post (Feb. 2, 2018), https://www.washingtonpost.com/business/why-long-term-
care-insurance-is-bringing-ge-down-quicktake/2018/02/02/7d207c68-081d-11e8-aa61-
f3391373867e_story.html and Aaron Levitt, GE Capital is Still Plaguing General Electric


                                                  24
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       68.      The Prospectus for the Genworth stock offering (the “2004 Genworth

Prospectus”) explained the arrangement, stating that Genworth was ceding (or surrendering)

certain businesses, including LTC policies with aggregate reserves of $1.5 billion, to GE

subsidiary Union Fidelity Life Insurance Company (“UFLIC”) through reinsurance transactions.

According to the 2004 Genworth Prospectus:

       In the Reinsurance Transactions, we [Genworth] will cede to UFLIC [GE
       subsidiary] the following business:

       •     All of our liabilities under the in-force structured settlement annuities
             reflected as policyholder reserves on our U.S. GAAP statement of financial
             position on December 31, 2003, or reinsured by us under reinsurance
             agreements in effect prior to January 1, 2004. This business had aggregate
             reserves of $12.0 billion as of December 31, 2003.

       •     All of our liabilities under the in-force variable annuity contracts reflected as
             policyholder reserves on our U.S. GAAP statement of financial position on
             December 31, 2003, other than our GERA™ product and a limited number of
             variable annuity products that we no longer offer. UFLIC will also assume
             any benefit or expense resulting from third party reinsurance that we have on
             this business. This business had aggregate general account reserves of $2.8
             billion as of December 31, 2003.

       •     All of our liabilities under the in-force long-term care insurance policies
             issued by Travelers prior to January 1, 2004 and reinsured by us. This
             business had aggregate reserves of $1.5 billion as of December 31, 2003.

       69.      Under the Reinsurance Transactions, GE agreed to indemnify Genworth for its

liability under its LTC insurance policies for an agreed-upon premium. And GE agreed to

assume those policies because, as the 2004 Genworth Prospectus described it, they failed to

meet certain “target return thresholds.”16 Thus, Genworth transferred the financial risks of the

riskier LTC blocks right back to GE (via UFLIC):

       Prior to the completion of this offering, we will enter into a number of
       arrangements with GE governing our separation from GE and a variety of

Company, Investor Place (Feb. 21, 2018 4:33pm EDT), https://investorplace.com/2018/02/ge-
capital-still-plaguing-general-electric-ge/#.WpnCqWrwZ7M
16
   Genworth Prospectus, 2004, at 241.


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         transition and other matters, including our relationship with GE while GE
         remains a significant stockholder in our company. These arrangements include
         several significant reinsurance transactions with Union Fidelity Life Insurance
         Company, or UFLIC, an indirect, wholly-owned subsidiary of GE. As part of
         these transactions, we will cede to UFLIC, effective as of January 1, 2004, all of
         our in-force structured settlement contracts, substantially all of our in-force
         variable annuity contracts, and a block of long-term care insurance policies that
         we reinsured in 2000 from The Travelers Insurance Company, a subsidiary of
         Citigroup, Inc., which we refer to in this prospectus as Travelers. In the
         aggregate, these blocks of business do not meet our target return thresholds,
         and although we remain liable under these contracts and policies as the ceding
         insurer, the reinsurance transactions will have the effect of transferring the
         financial results of the reinsured blocks to UFLIC.

                                              * * *

         When we enter into the reinsurance transactions we will transfer investment
         assets to UFLIC in exchange for the reinsurance recoverable asset from UFLIC
         and consequently we will not earn investment income on the investment assets
         transferred.

                                              * * *

         Under the reinsurance transactions, we will receive an expense allowance to
         reimburse us for costs we incur to service the reinsured blocks. Actual costs and
         expense allowance amounts will be determined by expense studies to be
         conducted periodically. . . . The reinsurance transactions will be completed and
         accounted for at book value. . . .

         70.    The Company’s divestiture of its life and mortgage insurance businesses to

Genworth also did not include GE’s other principal insurance business, GE Insurance Solutions

(formerly known as Employers Reinsurance Corp. or “ERC”). That business also had

substantial LTC exposure. Immelt told shareholders at the time of the Genworth spinoff that it

was strategically retaining ERC to maximize shareholder value:

         We didn’t feel like there was a way to do both that and ERC at the same time.
         And we really think we’re in a turn-around cycle in ERC, so that if we wait some
         time it’s going to be a better business. We’re going to generate earnings. And
         we’ll continue to make that business better. And we just kept a couple of runoff
         blocks that are pretty safe earnings, and that's basically how we picked it.17


17
     GE Investor Meeting, November 19, 2003.


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       71.     Before completing its partial exit from the insurance business, GE did not give

investors any indication that its runoff insurance operations would expose it to significant toxic

assets.18 To the contrary, Immelt told investors that other than ERC, it was only retaining “a

piece of low return, very stable run off block from the [GEFA] portfolio.”19

       72.     Former employees of GE confirm that the Company was forced to keep the

worst blocks of LTC business because neither Genworth nor Swiss Reinsurance Company Ltd.

(“Swiss Re”) would take the business.

       73.     Immelt also assured analysts and investors that its retained reinsurance

operations were safe and profitable. In fact, during the Annual General Electric Outlook

Analyst Meeting on December 14, 2004, Immelt confirmed that “[o]n the go forward basis in

the reinsurance side, we’ve continued to improve operations. And when we look at the book of

business we’ve written in the last few years it’s profitable. So we continue to drive that business

and make it smaller.”20

       74.     Immelt even assured the market that the run-off business was “pric[ed] very

diligently” and that it “maintain[ed] strong reserving practices” for its reinsurance business:

       You saw us announce the run off of the life rebook. We are pricing very
       diligently, and pricing for risk. We’ve maintained strong reserving practices, and
       we look to be in good shape there. We really have better market knowledge
       today than we’ve ever had before, and a very solid investment portfolio. I
       haven’t changed my mind in terms of how I look at reinsurance for long term in
       this business. But I think you ought to count on this business being part of GE
       for the next couple of years. And we're going to run it with excellence.21


18
   A runoff business is a business that continues to serve existing customers but no longer tries
to make new sales.
19
   GE Investor Meeting, November 19, 2003. General Electric Capital Financial Assurance
Holdings, Inc. (“GEFA”) was the subsidiary that housed substantially all of the assets that were
transferred to Genworth.
20
   Annual GE Outlook Analyst Meeting on December 14, 2004.
21
   GE Investor Meeting, November 19, 2003.


                                                27
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       75.     But the LTC business that GE reinsured was a problem from the start. Not only

had GE been advised that certain of its insurance businesses, including its LTC business, would

depress Genworth’s valuation (which led GE to either keep or agree to reinsure that business),

but the State of New York Insurance Department examined the financial condition as of

December 31, 2004 of GE Capital Life Assurance Company – one of the entities that had ceded

a substantial block of long-term care insurance to UFLIC in connection with the Genworth IPO

– and found that its “long-term care business ha[d] sustained continued losses due to the aging

of the block and persistency:”22




       76.     In July 2006, the New York Insurance Department found that GE Capital Life

Assurance Company’s reserves were based on overly aggressive assumptions and required GE

Capital Life Assurance Company to increase its reserves by almost $200 million:

       During the review, concerns were raised regarding the lack of conservatism in
       certain assumptions with respect to the Company’s LTC insurance reserves.
       The Company agreed to refine the LTC reserve analysis and to strengthen
       reserves in a manner acceptable to the Department. Toward that end, the




22
  State of N.Y. Ins. Dep’t, Report on the Examination of the GE Capital Life Assurance Co. of
N.Y. (July 31, 2006), http://www.dfs.ny.gov/insurance/exam_rpt/72990c04.pdf, p.14.


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       Company established additional LTC reserves in the amount of $184 million as
       of March 31, 2006. 23

       77.     In 2006, GE sold off the vast majority of its other insurance operations to Swiss

Re, including (1) GE Insurance Solutions for $6.8 billion; and (2) the remaining operations of

subsidiary GE Life for $0.9 billion. But as with Genworth, GE retained the risk for certain

blocks of GE Insurance Solutions’ LTC policies. According to FE-2, Swiss Re did not want

ERC’s LTC products in the deal.

       78.     Nonetheless, GE stated in its 2008 Form 10-K that as a result of these

transactions, it had “substantially completed” its exit from the insurance industry:

       In 2006, we substantially completed our planned exit of the insurance
       businesses through the sale of the property and casualty insurance and
       reinsurance businesses and the European life and health operations of GE
       Insurance Solutions Corporation (GE Insurance Solutions) and the sale of GE
       Life, our U.K.-based life insurance operation, to Swiss Reinsurance Company
       (Swiss Re). . .

       79.     In his February 10, 2006 Letter to Stakeholders, Immelt continued to highlight

GE’s exit from the insurance industry, explaining that it was a way to decrease volatility and

accelerate the Company’s growth: “Exiting Insurance is important for GE. Our poor

performance in insurance has dampened a strong performance by the rest of the Company. I am

confident you will now benefit by having a faster-growth, less volatile Company.”24

               3.     ERAC and UFLIC Reinsurance Subsidiaries

       80.     UFLIC and Employers Reassurance Corporation (“ERAC”), wholly-owned

subsidiaries of GE, primarily reinsure closed books of long-duration business such as traditional




23
   Id.
24
   To date, GE has been unable to sell off GE Capital’s remaining $28 billion in insurance
liabilities, including reinsurance on LTC policies.


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life, LTC, structured settlements and variable annuities.25 GE maintained risk-based

capitalization at a defined minimum level through Capital Maintenance Agreements with ERAC

and UFLIC and also provided claims payment guarantees for ERAC and UFLIC.26 GE Capital

contributed $964 million in capital to ERAC and UFLIC in 2012. No capital contributions were

provided by GE from 2013-2015.27

       81.     A capital contribution was made by GE to ERAC/UFLIC in 2016 in the amount

of $419 million, but this information was not included in GE’s financial statements, but only in

the statutory filings. Moreover, in another example of its opacity, even the statutory filings did

not say whether the increase in reserves was for LTC or some other line of insurance.

       82.     As mentioned above, effective January 1, 2004, UFLIC entered into several

reinsurance contracts with former affiliates which are now part of Genworth. Pursuant to those

reinsurance agreements, among other things, UFLIC assumed 100% of a LTC block of business

originally ceded from Travelers to Genworth Life Insurance Company (“GLIC”) and Genworth

Life Insurance Company of NY (“GLICNY”) totaling approximately $1.6 billion in reserves.




25
   ERAC discontinued writing new business in 2006 and placed its entire in-force book of
business into run-off. LTC and mortality reserves make-up ERAC’s largest books, representing
nearly 90% of the ERAC reserves, and annuities and disability claim reserves comprise the
remaining 10%. A.M. Best Credit Report on ERAC, July 2017. UFLIC reinsures a product
portfolio of variable annuities, structured settlements and LTC. Approximately $5.8 billion of
UFLIC’s $18.0 billion of reserves consist of LTC. UFLIC also discontinued writing new
business and placed its entire in-force book of business into run-off.
26
   See Capital Maintenance Agreement dated as of January 1, 2004 between GECC and UFLIC.
https://www.sec.gov/Archives/edgar/data/1156124/000119312504075647/dex23.htm
27
   GE Capital is, through intermediate companies, the parent of ERAC. ERAC is the parent of
UFLIC, and UFLIC is the parent of Heritage Casualty Company. All of the companies are
domiciled in Kansas. The Kansas Insurance Department is their primary regulator.


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       83.     The closed books of LTC business at ERAC and UFLIC have generated

significant statutory losses in recent years due, in part, to the low interest rates and weakening

LTC experience.28

       84.     Historically, when ERAC and UFLIC have been strained by operating losses, GE

has injected enough capital to restore risk-based capitalization to the defined minimal standard.

Approximately $1.4 billion of incremental capital has been contributed over a five-year period

by GE to these reinsurance subsidiaries to partially mitigate statutory operating losses.29

               4.      GE Capital’s SIFI Designation and the GE Capital Exit Plan

       85.     In 2013, GE Capital received a nonbank designation as a SIFI subjecting it to

Federal Reserve Board (“FRB”) supervision, under the Dodd-Frank Wall Street Reform and

Consumer Protection Act.30

       86.     Designation as a “too big to fail” SIFI entity subjected GE Capital to FRB

supervision and strict regulatory standards related to capital and liquidity, including the

requirement that [GE Capital] shall maintain a supplementary leverage ratio in excess of 4

percent (eSLR) “in order to avoid restrictions on capital distributions [i.e. dividend payments]

and discretionary bonus payments to executive officers.”31

       87.     On July 24, 2015, the FRB published a final order applying enhanced prudential

standards to GE Capital as a nonbank SIFI.32 The final order provides for application of these


28
   A.M. Best Credit Report on ERAC July 2017, p.11.
29
   A.M. Best Credit Report on ERAC July 2017, p.2.
30
   GE Capital 2015 Resolution Plan Public Section,
https://www.fdic.gov/regulations/reform/resplans/plans/gecc-165-1512.pdf
31
   Id.
32
   Application of Enhanced Prudential Standards and Reporting Requirements to General
Electric Capital Corporation, 80 FR 44111 (July 24, 2015),
https://www.federalregister.gov/documents/2015/07/24/2015-18124/application-of-enhanced-
prudential-standards-and-reporting-requirements-to-general-electric-capital


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enhanced prudential standards in two phases: the first phase requirements were effective

January 1, 2016, and the second phase requirements were to take effect January 1, 2018. The

FRB final order of July 24, 2015, noted that:

           The Board has tailored these standards to reflect [GE Capital’s] risk profile and
           its ongoing plan to divest certain assets and business lines and reorganize its
           operations. The Board has also deferred application of the enhanced capital,
           liquidity, governance, and reporting provisions until January 1, 2018.33

           88.    The FRB final order of July 24, 2015, thus, provided GE with an opportunity to

break-up GE Capital, in an attempt to remove the non-bank SIFI designation, before the January

1, 2018 phase two enhanced prudential requirements would take effect.

           89.    On April 10, 2015, the Company announced a plan (the “GE Capital Exit Plan”)

to reduce the size of its financial services businesses through the sale of most of the assets of

GE Capital. GE planned to extract $35 billion in dividends from GE Capital from the sale of GE

Capital assets. The Company also announced the split-off of its remaining interest in GE

Capital's North American Retail Finance business, Synchrony Financial. Through this split-off

transaction, GE would retire more than 671 million shares of its stock which would reduce its

outstanding float by 6.6 percent. The effect of this planned transaction was the equivalent of a

$20.4 billion share repurchase from GE shareholders.

           90.    GE asserted that the businesses it retained in the Exit Plan were those that GE

knew best. GE referred to retained businesses as “Verticals.” These businesses included

Aviation Services (“Aviation”), Energy Financial Services and Industrial Finance. According to

GE, these businesses relate to the Company’s “core industrial domain and other operations.”




33
     Id.


                                                   32
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GE’s run-off insurance operations, including its LTC business, were included within the

retained Verticals.34

       91.     As noted by the Wall Street Journal, “In the conglomerate’s most significant

strategic move in years, GE has resolved to part ways with the bulk of GE Capital, the giant

finance business that long accounted for around half the company’s profits but whose risks

have rattled investors and weighed on its stock.”35

       92.     In GE’s Report on Form 10-K for the year ended December 31, 2015 (“2015

Form 10-K”), GE updated investors on the progress of the GE Capital Exit Plan and the

expected payment by GE Capital of approximately $35 billion in dividends to GE from the sale

of GE Capital assets pursuant to the plan:

       THE GE CAPITAL EXIT PLAN

       … We expect GE Capital to release approximately $35 billion in dividends
       to GE (subject to regulatory approval) as a result of the sale of GE Capital
       assets. As of December 31, 2015, we are ahead of our plan, having signed
       agreements with buyers for $157 billion of ending net investment (ENI),
       excluding liquidity of which $104 billion has closed. In addition, as part of our
       initiative to reduce the size of our financial services businesses, we completed
       the split-off of our remaining interest in GE Capital's North American Retail
       Finance business, Synchrony Financial, to holders of GE common stock, which
       resulted in a $20.4 billion buyback of GE common stock (671.4 million
       shares) in 2015. Combined with cash dividends of $4.3 billion, GE Capital
       returned about $25 billion to GE in 2015.

       In connection with the GE Capital Exit Plan, we completed a legal
       reorganization of GE Capital that included a merger of GE Capital into GE, a
       guarantee by GE of GE Capital debt, and an exchange of $36 billion of GE
       Capital debt for new GE notes. The result of all these actions reduced GE
       Capital's total assets by 38% from $501 billion at December 31, 2014 to $312



34
  Id.
35
  Joann S. Lublin, Dana Mattioli & Ted Mann, GE Seeks Exit from Banking Business:
Company reveals intentions to part with bulk of profitable but risky GE Capital, Wall Street
Journal, (updated Apr. 10, 2015, 6:31 PM ET), https://www.wsj.com/articles/ge-prepared-to-
exit-the-bulk-of-ge-capital-1428662109


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       billion at December 31, 2015. We incurred charges of $22 billion related to these
       actions.

       Given the progress of the GE Capital Exit Plan to date, we expect to largely
       complete that plan by the end of 2016 and are on track to file for rescission of
       GE Capital's designation as a nonbank Systemically Important Financial
       Institution (nonbank SIFI) in early 2016.

       93.     On March 31, 2016, GE filed a request to the Financial Stability Oversight

Council (“FSOC”) for rescission of GE Capital’s designation as a nonbank SIFI, after the

Company spent close to one year transforming itself into a smaller financial services provider

by shedding over half of its assets.

       94.     On June 28, 2016, and as a result of the asset sales directed by GE Capital Exit

Plan, the FSOC rescinded GE Capital's designation as a nonbank SIFI. The decision meant the

FRB would no longer regulate GE Capital as a nonbank SIFI.

       95.     In GE’s Annual Report on Form 10-K for the year ended December 31, 2016

(“2016 Form 10-K”), the Company again updated investors on the progress of the GE Capital

Exit Plan and how much in dividends GE Capital had paid and was expected to pay back to GE

as a result of the sale of GE Capital assets:

       As a result of the GE Capital Exit Plan dispositions, GE Capital has paid $24.4
       billion in dividends to GE in 2015 and 2016 ($4.3 billion and $20.1 billion,
       respectively). We expect GE Capital to release additional dividends of up to
       approximately $10 billion through the remainder of the plan. In January
       2017, GE received an additional $2.0 billion of common dividends from GE
       Capital. As of December 31, 2016, we are ahead of our plan, having signed
       agreements with buyers for $197 billion of ending net investment (ENI),
       excluding liquidity (as originally reported at December 31, 2014), of which $190
       billion has closed.

       As of December 31, 2016, we have substantially completed the dispositions
       related to the GE Capital Exit Plan. In addition, as part of our initiative to reduce
       the size of our financial services businesses, we completed the split-off of our
       remaining interest in GE Capital's North American Retail Finance business,
       Synchrony Financial, to holders of GE common stock, which resulted in a $20.4
       billion buyback of GE common stock (671.4 million shares) in 2015. . .The



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          result of all these actions reduced GE Capital's total assets by 63% from $500
          billion at December 31, 2014 to $183 billion at December 31, 2016.

          96.      For each of the years ended December 31, 2015, 2016 and 2017, Verticals

generated substantially all of GE Capital’s reported revenues and profits.36 On a combined

basis, Verticals reported $1.7 billion and $1.9 billion of earnings, respectively, in fiscal years

2015 and 2016. (Id. p.98). Therefore, on a percentage basis, in each of these years, Verticals

comprised 13% and 14%, respectively, of GE’s Industrial operating earnings plus Vertical

earnings (non-GAAP). GE asserted that this earnings measure: (Id.)

          [P]rovides management and investors with a useful measure to evaluate the
          performance of the businesses after the disposition of most of our financial
          services business.

          97.      In fiscal 2017, however, Verticals resulted in a $6.2 billion loss. This loss was

substantially driven by the LTC Reserve charges announced on January 16, 2018. The loss

reported by Verticals in 2017 flipped this earnings measure from a profit of $2.3 billion to a loss

of $3.9 billion.

          98.      The liabilities of GE’s run-off insurance business represented a significant

portion of the Verticals business. The table below summarizes the liabilities of the run-off

insurance business, including LTC Reserves, as compared to the total assets reported from all

GE Capital businesses in each year:

      $s in billions                          2015                 2016                2017
      Insurance liabilities                  $25.7                $26.1               $38.1
      GE Capital total assets                $316.1               $187.8              $156.7

          99.      Consequently, the activities and related liabilities of the run-off insurance

business, and particularly the LTC Reserves, became increasingly prominent over this time

period.


36
     GE 2017 Form 10-K, p.57.


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       100.     GE divested other portions of its GE Capital business, the relative significance of

the insurance liabilities, including LTC Reserves, increased significantly.

                5.     During the Class Period, Members of GE’s Board of Directors and
                       GE’s Senior Management Oversaw the Adequacy and Effectiveness
                       of GE Capital’s Risk Management Functions

       101.     GE’s Report on Form 10-K for the year ended December 31, 2014 (the “2014

Form 10-K”) expressly places risk management of GE and GE Capital (known as “GECC” until

December 3, 2015 when GECC was acquired by GE) at the top levels of the Company

including with the Company’s Board of Directors and Senior Management. The 2014 Form 10-

K notes that:

       The GE Board of Directors (Board) has oversight for risk management with a
       focus on the most significant risks facing the Company, including strategic,
       operational, financial and legal and compliance risks. At the end of each year,
       management and the Board jointly develop a list of major risks that GE plans to
       prioritize in the next year. Throughout the year, the Board and the committees to
       which it has delegated responsibility dedicate a portion of their meetings to
       review and discuss specific risk topics in greater detail. Strategic, operational and
       reputational risks are presented and discussed in the context of the CEO's report
       on operations to the Board at regularly scheduled Board meetings and at
       presentations to the Board and its committees by the vice chairmen, GE and
       GECC Chief Risk Officers (CROs), general counsel and other employees.

                                         *       *      *

       COMMITTEES

       The Board has delegated responsibility for the oversight of specific risks to
       Board committees as follows:

                                         *       *      *

       THE GE RISK COMMITTEE oversees risks related to GE Capital and jointly
       meets throughout the year with the GECC Board of Directors (GECC Board).
       The GE Risk Committee also oversees the Company’s most critical enterprise
       risks and how management is mitigating these risks. These risks may be
       discussed during Risk Committee meetings, as well as full Board updates, Audit
       Committee updates, and/or during Director business visits.




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       SENIOR MANAGEMENT

       The GE Board's risk oversight process builds upon management's risk
       assessment and mitigation processes, which include standardized reviews of
       long-term strategic and operational planning . . . A vice-chairman of GE and
       GE’s CRO are responsible for overseeing and coordinating risk assessment and
       mitigation on an enterprise-wide basis. They lead the Corporate Risk Function
       and are responsible for the identification of key business risks, providing for
       appropriate management of these risks within GE Board guidelines, and
       enforcement through policies and procedures.

       OPERATING REVIEWS

       CORPORATE AUDIT STAFF & GE CAPITAL AUDIT are responsible for
       reviewing the governance, processes, controls and accuracy of GE's and GE
       Capital's financial and compliance reporting.

                                       *       *      *

       GE CAPITAL ENTERPRISE RISK MANAGEMENT COMMITTEE oversees
       the implementation of GE Capital's risk appetite, and senior management's
       establishment of appropriate systems to ensure enterprise risks are effectively
       identified, measured, monitored, and controlled. Additional information on GE
       Capital's Enterprise Risk Management Committee can be found in the GE
       Capital Risk Management and Mitigation section below.

       102.   Moreover, during the Class Period, in a February 2, 2015 letter from defendant

Sherin, then Vice Chairman of GE and CEO of GE Capital, to Robert Frierson, Secretary Board

of Governors of the Federal Reserve System, Sherin detailed, among other things, the

responsibilities of GE’s Risk Committee, formed in 2011, which purportedly had “[u]ltimate

responsibility for oversight of GECC’s enterprise risks” and which had “established a rigorous

meeting and engagement process to oversee GECC effectively and independently.” Sherin

described GE’s Risk Committee as follows:

       GE Risk Committee

       Ultimate responsibility for oversight of GECC's enterprise risks is currently
       vested in the GE Risk Committee, whose principal charter is to provide
       "independent oversight of the Company's wholly-owned subsidiary, General
       Electric Capital Corporation (GECC), including the adequacy and effectiveness
       of its risk management and credit review functions." This is the core of what



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       GECC and GE strongly believe to be a thoughtful and effective protocol for
       managing GECC's risks while maintaining an informed view of the relationship
       between GECC and GE.

       The GE Risk Committee consists of four eminently qualified and dedicated
       independent directors who have significant financial services experience and
       who have successfully led institutions in both the private and public sectors…
       W. Geoffrey Beattie, John J. Brennan, James E. Rohr, and Mary L. Schapiro….

       The GE Risk Committee has established a rigorous meeting and engagement
       process to oversee GECC effectively and independently. Its GECC-focused
       oversight has steadily intensified since the Committee's formation in 2011,
       with more frequent and more in-depth meetings and other sessions with GECC
       management. In 2014, the GE Risk Committee convened more than 20
       meetings focused on GECC matters. The GE Risk Committee has added
       monthly calls with the GECC Chief Risk Officer and senior leadership to allow
       for more comprehensive risk updates. The annual schedule includes in-depth
       reviews of each GECC business, site visits to GECC locations and GE Risk
       Committee exposure to a range of GECC risk and business leaders and other
       subject matter experts. We anticipate a similar GE Risk Committee schedule
       during 2015. The meeting schedule is illustrative, but of course captures only a
       portion of the time that the GE Risk Committee members spend on GECC
       oversight when also accounting for informal interactions with GECC
       management, preparation for meetings and review of board reporting and other
       materials.

       103.   As set forth in the February 2, 2015 letter, GE’s Risk Committee was made up of

four independent directors from GE’s board (W. Geoffrey Beattie, John J. Brennan, James E.

Rohr, and Mary L. Schapiro) with significant financial services, accounting and risk

management experience.

       B.     Defendants Knew or Recklessly Disregarded the Stale Assumptions and
              Inadequate LTC Reserve Situation at GE Capital

       104.   FE-1 was the former Actuarial Controller at GE Capital – ERAC from July 2015

to September 2016. FE-1 worked out of the Overland Park, Kansas office and reported to Clark

Ramsey, VP and Chief Actuary at ERAC. FE-1’s primary responsibility was governance over

experience studies, assumption setting, asset adequacy modeling, and loss recognition

modeling. Model governance involves making sure the assumptions are used properly. After



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FE-1 joined GE Capital, the executives in the ERAC business unit seemed much more

interested in “the appearance of model governance” than they were in applying it. FE-1

explained that good actuarial standards/practices are rigid around assumptions as well as putting

them in models. According to FE-1, he tried to establish those practices at GE but had a hard

time. FE-1 explained that when he was hired, he believed that ERAC was looking to modernize

its model and actuarial practices because ERAC had been functioning as an “old school shop”

that lacked transparency and was not centralized. However, according to FE-1, once he tried to

implement governance, ERAC was not supportive or cooperative. FE-1 said this was not just

normal resistance to new ways of doing things. FE-1 noted that immediately upon joining

ERAC in July 2015, he realized that he was not a good fit for the culture there.

       105.    FE-1 explained the actuarial process at ERAC including the four major business

processes: 1) Experience Study Governance, 2) Assumption Governance, 3) Asset

Adequacy/Cash Flow Testing, and 4) Loss Recognition Testing. FE-1 advised that the

experience study would be presented in the first meeting. At ERAC, each line of business

actuary owned their experience study and gathered data from the policies that they were charged

with. At ERAC, the LTC Managing Actuary is David Benz.

       106.    FE-1 would then initiate a second meeting to discuss assumptions. In the

assumptions meeting, the LTC actuary would propose LTC assumptions (to be used that year)

for asset adequacy and loss recognition tests. According to FE-1, after the assumptions are set

they become the approved assumptions, which are loaded into the liability and asset quality

models. At GE Capital during FE-1’s tenure, Benz would lock in the assumptions in his model.

He would also provide FE-1 with liability cash flows. FE-1 advised that he himself did not

model liability cash flows; he just “matched them up with asset models.”




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       107.    According to FE-1, the problems he ran into at ERAC were after the assumption

governance phase of the process. He advised that it was not uncommon at ERAC for the

liability cash flows to change and that the Chief Actuary, Ramsey, had the ability to alter

approved assumptions for various reasons. FE-1 went on to say that after the assumption setting

phase of the review, he should have been given very detailed reasons and back-up

documentation to support assumption changes. However, in late 2015 (November and

December), Ramsey and Benz stopped providing FE-1 with the documentation needed to back-

up the changes in assumptions they made during the asset adequacy phase, so FE-1 could not

reconcile those changes with the liability cash flow results. FE-1 recalled that these were

“really big changes,” especially in December.

       108.    According to FE-1, after Thanksgiving 2015, he started to get updated liability

cash flow models from Benz “without adequate justification or explanation as to what had

changed in the liability cash flow models.” According to FE-1, it became a battle between him

and Benz. FE-1 gave the example of benefit utilization changing when he asked for an

explanation as to what had changed and the response back would be “oh we met yesterday and

decided to change this or that.” FE-1 would then ask for documentation to support the change

and he would never get adequate documentation to justify the change. FE-1 went on to say that

instead he started to get iterations of liability cash flow faster than he could process them

through his asset adequacy models. He was never able to tell what the overall asset adequacy

impact was because he kept getting new updates with very little explanation or justification,

“usually none.”

       109.    FE-1 believed, based on his experiences as a modeler, that Ramsey and Benz

were targeting some present value liability cash flows. FE-1 suspected that Benz and Ramsey




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were looking at the liability cash flows and making changes to the liability assumptions; they

would then ask FE-1 to run those updated liability cash flows in the asset adequacy process.

FE-1 was never given the actual liability assumptions; he was given the results of the liability

cash flow model. When FE-1 asked for the LTC model, Benz and Ramsey would just give him

the results, and tell him “we changed utilization or we found something wrong with this

particular company so we updated the morbidity rate.” At that point, FE-1 would then take the

change in liability cash flow and compare them to previous results to see the difference. FE-1

said he started receiving “much larger” changes with very little or no justification. According to

FE-1, the changes he started to receive were “so big, I couldn’t reconcile them, get comfortable

with them.” According to FE-1, if the difference made by the change was over $50 million he

would dig deeper into the different line items such as premiums and expenses to understand the

change. FE-1 recounted how there were a couple of instances where the difference was in the

hundreds of millions of dollars and he could tell that it was coming directly from claims, which

are a result of two assumptions (morbidity, i.e., frequency, and utilization, i.e., what percentage

of the total benefit is being used). When FE-1 pushed back on Benz regarding the changes,

Benz explained that the changes had been requested by Ramsey and if FE-1 had questions he

should direct them to Ramsey.

       110.    Because the changes were “so big” and came without the proper justification,

FE-1 went to Ramsey for a verbal justification, but would not get it. FE-1 further recalled long,

closed door sessions between Benz and Ramsey after which FE-1 would get a new iteration of

liability cash flow without explanation. FE-1 suspected that they were altering the assumptions

to improve liability cash flow. When FE-1 realized assumptions were being changed with a




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cash flow target in mind, he pushed back hard. FE-1 advised that he first went to Benz and then

to Ramsey.

       111.   During the loss recognition phase in May-June 2016, which followed the asset

adequacy phase, FE-1 did his own independent calculations which uncovered a “loss

recognition event” of around $200 million. He knew that GE Capital would “need to come up

with” this amount and hold additional GAAP reserves. FE-1 then presented this to Ramsey and

others. Ramsey then went up to William Steilen’s (ERAC’s CFO) office and came back down

hours later showing that they had a $78 million surplus because they changed the way they were

doing loss recognition. FE-1 recounted how they claimed to be “calculating this in a much

better way.” FE-1 advised this was the final straw for him. The assumptions introduced during

the loss recognition phase caused him to give his notice within two weeks.

       112.   FE-1 informed the executives at ERAC that if anyone from GE Capital asked

him questions about the modeling, his intention was to give them “very truthful answers” that

would disclose his concerns about their methodology. By November 2015, FE-1 realized he was

being excluded from the assumption setting process. FE-1 expressed his concerns about the

model changes to Ramsey, Steilen, the CEO of ERAC, and to GE’s auditors (KPMG).

       113.   FE-1 recalled that when he received one of the last iterations of liability cash

flows for LTC from Benz, Benz let FE-1 know that he was “very uncomfortable” with what he

had received from Ramsey. FE-1 recounted how Benz had written a memo detailing his

concerns because as an actuary, he was required to write a memo if he was ever asked to do

something he was not comfortable with.

       114.   According to FE-1, ERAC executives, Ronald Peters (CEO of ERAC), Ramsey,

Benz, and Dale Filsinger (Chief Risk Officer of ERAC), had meetings with the CFO and COO




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of GE Capital. FE-1 recalled GE Capital executives, including Ryan Zanin, Chief Risk Officer,

and, likely, the COO of GE Capital, coming for a site visit to the Overland Park, Kansas office.

FE-1 described the visit as “odd” because C-Level executives tend to be extremely inquisitive

but when Zanin and the COO came they did not ask any questions. According to FE-1, the top

executives at ERAC may have been under tremendous pressure from GE Capital to prevent the

disclosure that they had been under-reserving for the LTC policies.

       115.    FE-1 said that the reason the LTC charge-off was so big is because “this didn’t

happen after a year or two, this happened ever since GE spun-off Genworth.” FE-1 said that

over the years GE should have been increasing its reserves based on what the actuaries were

seeing. In addition to increasing reserves, FE-1 said that GE should have been “pushing capital

down to ERAC.” According to FE-1, this was not happening.

       116.    FE-2 was employed by GE from 2006 through January 2017. He was hired by

ERAC and worked as a Valuation Actuary from 2006 – 2012 and worked for GE Capital as

Senior Insurance Audit Specialist from 2012 – 2014. From 2014 through the end of his tenure

(January 1, 2017), he was the Senior Vice President, SME (subject matter expert) at GE Capital.

FE-2 had seven to eight different supervisors at GE Capital, most recently Kevin McCord, and

ultimately reported to Joseph Pizzuto, former Chief Audit Executive of GE Capital. McCord,

the current director of Internal Audit for GE Capital’s portfolio of insurance companies, also

reported to Pizzuto.

       117.    FE-2 reported that in approximately 2012, there was “an emergency need” to

have an expert in insurance for GE Capital. According to FE-2, the timing of that emergency

coincided with ERAC being placed as a subsidiary under GE Capital. FE-2 explained that

because of the global SIFI designation looming, GE Capital needed an expert in insurance with




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a focus on internal audit. In 2012, FE-2 was promoted to Senior Insurance Audit Specialist for

all of the insurance business at GE Capital. In that position, he ultimately reported to the Chief

Audit Executive of GE Capital.

       118.    When FE-2 became the Senior Insurance Audit Specialist in 2012 he identified

140 insurance business units under the GE Capital organization, many of which were not being

audited. FE-2 reported that ERAC was one of the insurance business units that was not being

audited. In addition, FE-2 noted that Corporate Audit Staff (“CAS”) had not been auditing

many of the insurance business units and did not have the background to properly audit the

insurance business. FE-2 went to the Chief Audit Executive (Christina Selby in 2013) to

question her on the lack of insurance business audits.

       119.    FE-2 built a plan to begin auditing these previously unaudited insurance entities

which spanned the globe. FE-2 reiterated that he spoke directly with both Pizzuto and Selby

about the fact that the various insurance entities had not been audited. According to FE-2, the

Chief Audit Executive (first Selby, and then Pizzuto) reported to the Audit Committee of GE’s

Board of Directors. FE-2 confirmed that Selby and Pizzuto also prepared reports for

Defendants Sherin (then President of GE Capital and Vice Chairman of GE) and Immelt.

       120.    According to FE-2, model risk management was a huge problem at ERAC and at

GE Capital overall. FE-2 described it as a “major failure” from 2012 onward.

       121.    In the summer of 2014, FE-2 conducted a financial audit of ERAC with GE’s

CAS in Overland Park, Kansas, where he identified “well over 50 issues” at ERAC. He

explained that some of the issues were “larger issues” that were going to take a lot more than 90

days (“the audit window”) to resolve and thus required post-audit follow-up. Some of the items

FE-2 identified concerned the ERAC legacy LTC insurance portfolio being under-reserved.




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FE-2 explained that ERAC should have been updating their assumptions regularly, but in a

specific case they had not, and in fact their assumptions were “stale by several years.”

       122.    According to FE-2, following that summer 2014 audit, ERAC’s senior

management agreed that the assumptions needed to be updated and that ERAC needed to

recalculate their reserves based on the more up-to-date assumptions. FE-2 described that when

he presented ERAC’s senior management with his audit findings related to the stale

assumptions and inadequate reserves, management’s response was “no contest… [we] agree.”

FE-2 audit findings were then presented to the Chief Audit Executive and to the Managing

Director, Audit Executive at GE Capital. The Managing Director, Audit Executive then brought

FE-2’s findings to the Chief Audit Executive of GE Capital (Pizzuto).

       123.    The issues identified during FE-2’s insurance business audits also were entered

into GE Capital’s formal audit system where they were gathered together and presented to GE’s

Board of Directors and Audit Committee. FE-2 confirmed that the Audit Committee reviewed

all of his audits and that prioritized summaries on particular issues (i.e., model risk, compliance,

etc.) were put together for the GE Board. According to FE-2, Defendants Immelt and Sherin

also knew about the model validation concerns because they were systemic throughout the GE

Capital organization and had been identified by the Fed.

       124.    FE-2’s last audit, which occurred in August and September of 2016, involved

reserves, including ERAC’s reserves. According to FE-2, the audit examined all elements of

the reserves and attempted to see if ERAC had “hit a negative downside.” During that audit

FE-2 (and his team) identified issues related to the reserve methodologies and changes to those

methodologies. FE-2 confirmed that his team uncovered and flagged concerns to Clark Ramsey

(ERAC’s Chief Actuary), Ronald Peters (ERAC’s CEO) and Dale Filsinger (ERAC’s Chief




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Risk Officer). FE-2 confirmed that Filsinger would have had to tell Ryan Zanin, GE Capital’s

Chief Risk Officer, who was Filsinger’s direct supervisor.37 FE-2 explained that ERAC had a

systemic problem when it came to its loss recognition testing. FE-2 also advised that his team,

the Actuarial Controller at GE Capital, and KPMG were “all in agreement” about concerns with

loss recognition testing and suggest this was the way of “calling on the carpet” concerns of

results being manipulated. He stated that the purpose of loss recognition testing is to see if the

insurance portfolios have “the propensity of going negative” and it seemed from his audit that

ERAC was trying to “avoid [the] appearance” of ERAC going negative and it was clear that

changes needed to be made. FE-2 gave advice on how to make those changes but he was laid

off a few months later and could not follow-up on his concerns.

       125.    He explained that during his audit of ERAC’s LTC reserves in 2016, he found

that there was a lack of back-up for the numbers being used to calculate the reserves. FE-2

suggested thinking of reserves testing as a financial statement. What ERAC was doing was akin

to putting a number on a financial statement without any explanations, and would lead one to

think “where did that come from?” FE-2 explained that ERAC’s numbers for its reserves

testing lacked supporting detail and explanations, which meant that the Company could not

adequately test the numbers.

       126.    FE-2 confirmed that his 2016 loss recognition audit of ERAC was definitely

elevated to the executives at GE Capital and GE. FE-2 noted that loss recognition testing,

model validation and economic capital were “required to go up” to GE Capital and GE. FE-2

confirmed that Peters, Zanin, Immelt, and Sherin were all aware of these issues. FE-2 reiterated



37
  According to FE-2, Zanin was a part of the annual review of LTC policies and was the
communication liaison between ERAC and GE Capital. According to FE-2, Zanin understood
the ERAC business.


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that GE’s Board of Directors also was aware of these issues. According to FE-2, the Audit

Committee had to validate issues and review with the various businesses the remediation plans.

Further, according to FE-2 during the audit, the issues being identified would “percolate” up to

the business unit (ERAC) and to Pizzuto.

       127.    FE-2 advised that KPMG confirmed the concerns related to loss recognition

testing that were raised in an internal GE Capital memo. FE-2 went on to say that the very

detailed memo written during the August-September 2016 audit was sent to Ramsey and was

also shared with others, including KPMG and FE-2. According to FE-2, the memo detailed

how the author disagreed with the methodology ERAC was using and questioned ERAC’s

process in evaluating reserves. FE-2 agreed with the author’s observations. FE-2 said that the

memo was “unsettling” and made ERAC look “really bad.”

       128.    This was a GAAP violation because GE should have charged these deferred

acquisition costs to expense and set-up additional reserves due to a deficiency. In fact, this is

exactly what GE would disclose, but not until January 16, 2018.

       129.    FE-2 further explained that in order to truly calculate the LTC reserves, it is

necessary to look at the underlying paperwork from the direct (or original) writers of the LTC

policies. According to FE-2, ERAC did not have enough details on the underlying policies.

One problem FE-2 identified in the 2016 audit was that ERAC was not regularly receiving

documentation from the direct writers of the ceded policies, including Genworth. It was GE’s

responsibility (as the reinsurer of the policies) to monitor how many of the policies remained in

force. FE-2 described the lack of documentation as a “failure.” According to FE-2, his audits

were dragging up significant issues that were not easily fixed. Indeed, his team pulled up




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significant issues globally, at ERAC and other businesses involving a multitude of compliance

concerns, operational risks and many other issues.

       130.    FE-2 confirmed that the “Genworth block” of LTC policies comprised a

significant portion of the nearly $10 billion charge. FE-2 heard, early in his tenure at ERAC,

that when GE spun off Genworth, there were individuals at GE that were worried that Genworth

would not do well, so they pulled certain LTC policies out of the deal because “they are the bad

ones.” FE-2 confirmed that GE wanted to divest the LTC policies to Genworth, but they could

not. According to FE-2, Swiss Re also did not want GE’s remaining LTC blocks in ERC when

Swiss Re bought the rest of GE’s insurance business in 2006.

       131.    FE-3 confirmed that he was employed by GE from May 2006 to February 2017

including as the Strategic Initiatives Leader at GE Capital from December 2013 to December

2017. In that role, FE-3 reported to Sharon Garavel, former VP of the Enterprise Risk Initiative,

“Getting to Strong.” According to FE-3, Garavel initially reported to Ryan Zanin (Chief Risk

Officer) and then to Tom Gentile, former President and COO of GE Capital. FE-3 advised that

as the Strategic Initiatives Leader, he was responsible for Program Management of GE Capital’s

“Getting to Strong” initiative; this included Risk Management oversight at the corporate GE

Capital level with some visibility into GE Capital’s legacy insurance business.

       132.    According to FE-3, the Federal Reserve came into GE Capital following the SIFI

designation. FE-3 advised that the Strategic Initiative also was looking at GE Capital because of

its SIFI designation. He went on to say that with the SIFI designation, all of GE Capital’s Risk

Management, Operations and Finance Processes needed to look more like a bank. Additionally,

since Insurance was one of GE Capital’s businesses, Insurance participated in the “Getting to

Strong” initiative. It was FE-3’s opinion that “the controls” for the legacy insurance business




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were “not good.” According to FE-3, the Fed identified deficiencies related to the insurance

business and recommended what “needed to be built out,” as well as additional oversight from a

Risk Management perspective. According to FE-3, there was a lot of feedback from the Fed

during the “Getting to Strong” initiative that GE Capital needed to increase its controls and

presence on the capital side. FE-3 recounted how Joe Pizzuto along with a lot of other external

personnel came in during that time (SIFI designation), which FE-3 suggested was an indication

of “some lack of controls.”

       133.    FE-3 went on to say that when the Fed came into GE Capital following the SIFI

designation, the Fed “called our baby ugly” and there was a lot of work to do at GE Capital.

       134.    FE-3 reported that defendant Immelt was involved in the “Getting to Strong”

initiative. FE-3’s team did quarterly memos to the Fed. According to FE-3, those memos

“went all the way up to the Board” of Directors of GE, including to Defendant Immelt.

According to FE-3, GE’s Board of Directors reviewed those memos every single quarter. FE-3

knew this because his team was putting together the information for those memos. FE-3

reiterated that “definitely Immelt” was reviewing the quarterly Fed memos. The quarterly

reports being sent to the Fed by GE Capital and being reviewed by Immelt and the Board

“definitely” included information about GE’s Capital insurance business. FE-3’s team pulled

the quarterly reports together and prepared for Defendant Sherin, although internally the reports

were “authored” and signed by Sherin. It became apparent to FE-3 during the “Getting to

Strong” initiative that GE’s culture, at the highest levels, “is one where you don’t want to raise

issues.”

       135.    FE-4 was an Insurance Professional within GE Capital’s insurance framework

from before the start of the Class Period until the middle of the Class Period. In particular, FE-




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4, worked on model validation in GE Capital’s insurance businesses, including their legacy

LTC portfolios (e.g., the ERAC block, which included the Union Fidelity (UFLIC) block). FE-

4 confirmed that while GE Capital was under SIFI designation, scrutiny by the Fed of GE

Capital included examination of GE Capital’s model validation.

       136.    FE-4 also stated that GE did not disclose a lot of information about the legacy

insurance business for many years to Wall Street or the SEC, although there were statutory

filings stating where the legacy insurance business was domiciled. According to FE-4, the

legacy insurance business was GE Capital’s “unwanted” and “troublemaking” block of

business. He explained that many of the policies in the ERAC/UFLIC blocks dated back to the

mid-1980s. According to FE-4, at the time when these policies were written, the original policy

writers and industry professionals did not know how to design or price the policies: “It was all

guess work.”

       137.    FE-4 also explained that GE Capital sold everything in the ERC portfolio that

they could to Swiss Re and that the policies that stayed with ERAC/UFLIC were the blocks for

which Swiss Re did not like their “long-term unknown nature.” According to FE-4, GE Capital

was “stuck” with these blocks. FE-4 described the policies GE Capital was left with as “long-

tailed risk stuff” that no one wanted and that was not originally underwritten or priced properly.

FE-4 also said that “the stage at [GE Capital] was set” following the Swiss Re deal and that the

remaining ERAC/UFLIC blocks were always “the blocks that nobody wanted” even many years

ago and that these legacy blocks were “troublemaker blocks” with the highest risk.

       138.    FE-5 worked as FP&A Manager for Healthcare Equipment Finance at GE

Capital from March 2010 – July 2014. From July 2014 – December 2017, he served as CFO of

Healthcare Equipment Finance. According to FE-5, in both roles, he handled financing for




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medical practices, hospitals, medical equipment, medical devices and other related entities. FE-

5 added that as CFO, he was responsible for, among other things, pricing for his business

segment. FE-5 advised he first reported to Gregory Cameron, the CFO of GE Capital –

Americas, but around nine months into his tenure as CFO of Healthcare Equipment Finance he

began reporting to the CFO of Industrial Finance for GE Capital, Jeremy Heaton, who was then

replaced by Joel Hamlin.

       139.      FE-5 reported that GE “did not like to publicly talk about the insurance business”

because “we were out of it” even though everyone knew they were still “dealing with it.” FE-5

reported that Defendants Sherin and Bornstein were dealing with the legacy insurance issues.

According to FE-5, Robert Green and Defendants Sherin and Bornstein would each have been

involved with the insurance portfolio, and Bornstein was “heavily involved” with legacy

insurance given that he was the CFO of GE Capital before becoming GE’s CFO.

       140.      FE-6 was an executive at GE Capital from 2014 – 2015. According to FE-6 an

audit team conducted a simple audit on GE Capital’s insurance business during his tenure (in

2014 – 2015) and that the audit team had a risk based audit plan going into 2016. According to

FE-6, there were quarterly conference calls led by Ronald Peters and the ERAC executive team

with individuals from GE Capital’s risk team. FE-6 said that during those quarterly calls ERAC

would discuss the review process which included discussion of assumptions such as mortality

and morbidity.

       141.      According to FE-6, the audit team began with a simple audit of ERAC to get

people exposed to doing audits of that business. This was likely in the first four months of 2015.

According to FE-6, concerns about assumptions, loss recognition testing, and model validation

were not covered in that audit; they “came later” when KPMG delved more into those areas.




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According to FE-6, audit plans for the 2015 simple audit and the planned deeper dive into

ERAC’s assumptions, model validation, and other risk factors were submitted to Joseph

Pizzuto, GE Capital’s Chief Audit Executive, and ultimately, GE’s Audit Committee which had

the final approval authority for the audit plans.

        142.    FE-6 stated that the internal consensus amongst senior management, especially

Dan Janki (“Janki”), Treasurer of GE, was that there was risk related to the legacy LTC

portfolios. FE-6 explained that policies in the legacy LTC blocks were not being written any

longer because of how risky they were.

        143.    FE-6 advised that GE held onto certain LTC policies that did not get spun off

with Genworth because GE “refused to sell them at such a huge discount.” FE-6 recalled that

Janki had said that “his one big mistake was not selling off all the insurance policies and taking

the hit at that time.”

        C.      GE Failed to Set Appropriate LTC Reserves in Violation of GAAP and SEC
                Regulations

        144.    Huge problems within the LTC insurance business surfaced in the mid-2000s,

and were widely reported in the financial press. Many insurers were forced to scale back

benefits because they had misjudged how many people would file claims and how long the

policy holders would require benefits. Many insurers were forced to seek regulatory approval

for double-digit premium increases on their policyholders, but even then, the funds fell far short

of the amounts needed to pay out benefits. For example, MetLife Inc., Prudential Financial Inc.,

CNA Financial Corp. and Manulife Financial Corp.’s (“Manulife”) John Hancock were all

forced to dramatically increase premiums in order to make good on their LTC policies. In fact,

as discussed supra, there are only approximately a dozen companies who still sell LTC policies




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today, down from 102 a little over a decade ago. Some LTC insurers were even wound down

and placed in receivership.

       145.    In 2017, analysts from Credit Suisse projected that the industry-wide gap

between LTC insurance claims and reserves may someday surpass $300 billion.38

       146.    Pricing assumptions in the issuance of LTC policies have changed dramatically,

caused by factors such as increased healthcare costs in the U.S., lengthened life expectancy, and

lower than expected interest rates. As a result, MetLife, Prudential, and Unum Group

(“Unum”), all incurred significant losses caused by outdated LTC origination assumptions.39

       147.    Indeed, over the last decade, LTC insurers have taken repeated charges to boost

reserves after they had badly underestimated how rapidly medical costs would rise, how many

seniors would actually use the benefits and how long elderly policyholders would live, among

other miscalculations.40 In fact, Credit Suisse explained in an April 10, 2017 industry report that

all major assumptions priced into early policies turned out to be faulty because:

       [s]ince the sale of the first products in the late 1970s, experience vs. every major
       assumption factored into pricing LTC policies has turned out to be unfavorable
       to some degree, including care cost inflation, long-term interest rates morbidity,
       mortality (improved longevity), and lapse rates. Despite a long period of these
       factors moving in the wrong direction, many insurers did not seek premium rate
       increases or adjustments to in force policy benefits until the early/mid 2000s.41




38
   Credit Suisse, U.S. Life Insurance, A Deep Dive Into Long-Term Care Suggests an Ongoing
Source of Pain for the Industry, April 2017.
39
   On February 3, 2015, Unum, a large LTC provider, also disclosed another charge of
approximately $ 700 million to increase its LTC reserves.
40
   Since 2007, other companies have had to take a combined $10.5 billion in pretax earnings to
boost reserves for future LTC insurance claims. L. Sciza, The Wall Street Journal, “Millions
Bought Insurance to Cover Retirement Health Costs. Now They Face an Awful Choice,”
Jan. 7, 2018.
41
   Credit Suisse, U.S. Life Insurance, A Deep Dive Into Long-Term Care Suggests an Ongoing
Source of Pain for the Industry, April 2017.


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       148.    Discussions about the adverse claims experience were pervasive in the LTC

industry literature and were the topic of numerous articles in LTC actuarial and industry

publications, professional sessions (e.g., Society of Actuaries), and official government reports.

       149.    Genworth, and thus GE, was not immune to this market reality. Indeed, on

November 5, 2014, Genworth – which is one of the largest LTC insurance providers in the

industry -- publicly disclosed the results of a comprehensive review of its LTC Disabled Life

Reserves (also called claim reserves) which resulted in increased reserves of approximately

$531 million.42

       150.    Then, on February 10, 2015, Genworth announced an approximately $700

million charge to its LTC Active Life Reserves (also called benefits reserves – reserves for

policyholders not yet on claim).43 GE had significant exposure to Genworth’s LTC liabilities

reinsuring at least $1.6 billion of LTC policies in connection with the Genworth spin-off.44

       151.    Genworth’s LTC woes were a warning sign to the industry (especially GE) that

LTC insurance policies were more toxic than previously thought. In the midst of Genworth’s

LTC crisis, GE was asked by TheStreet in April 2015 why it still retained exposure to LTC

assets. “GE spokesman Seth Martin declined to comment on why GE isn’t selling these assets,

but says they are in runoff. ‘We have not written any new policies in several years.’”45



42
   Disabled Life Reserves (also called claim reserves) are established when a claim is incurred
or is estimated to have been incurred and represents an estimate of the ultimate obligations for
future claim payments and claim adjustment expenses.
43
   In fact, a securities class action lawsuit was commenced against Genworth in 2014 relating to
its failure to inform investors about its inadequate cash reserves on LTC policies. This lawsuit
ultimately settled in early 2016 for $219 million, at which point, Genworth increased its LTC
reserves by $435 million after an actuarial review.
44
   GE’s LTC portfolio contained only older policies written prior to 2006 (the same types of
policies to which Genworth’s reserve charges were almost entirely attributed).
45
   Freed, supra fn. 13.


                                                54
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         152.   Genworth’s regulatory filings make clear that GE should have taken heed of the

LTC crisis at Genworth, as GE (through indirect subsidiary UFLIC) had massive exposure to

the LTC policies it reinsured from Genworth. Genworth’s 2014 Form 10-K, for example, states

that “[w]e have several significant reinsurance transactions with Union Fidelity Life Insurance

Company (“UFLIC”), an affiliate of our former parent, General Electric Company (“GE”),

which results in a significant concentration of reinsurance risk.” Genworth’s Form 10-K also

set forth Genworth’s exposure to its principle reinsurers in its U.S. life insurance business as of

December 31, 2014, revealing that UFLIC had over 6 times more exposure than Genworth’s

other reinsurers combined:

         (Amounts in millions)                                Reinsurance recoverable
         UFLIC                                                                $ 14,494
         RGA Reinsurance Company                                                   798
         Munich American Reassurance Company                                       724
         Riversource Life Insurance Company                                        558
         General Re Life Corporation                                               311
                                                              Genworth 2014 Form 10-K

         153.   Genworth took an additional LTC charge of $905 million to its LTC Disabled

Life Reserves (claim reserves) as of September 30, 2016, following an additional LTC charge

for its Active Life Reserves (benefit reserves) in the year ended December 31, 2015.46 In total,

Genworth disclosed since 2004 nine changes in estimates related to its LTC portfolio,

totaling $3.8 billion.

         154.   Genworth’s CFO, Kelly Groh, was quick to distance Genworth from GE on

February 7, 2018, when the truth was emerging about GE’s LTC reserve practices. She made it

clear that GE set its own assumptions for the UFLIC block and that Genworth has no net

economic exposure to the UFLIC block because of the Reinsurance Agreements.


46
     See Genworth 2015 10-K.


                                                55
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         One last note on LTC. There’s been a lot of interest over the last two weeks
         regarding our exposure on certain assumed LTC blocks that were subsequently
         reinsured to GE’s Union Fidelity Life Insurance Company, or UFLIC,
         subsidiary. As GE had announced, GE does have LTC exposure beyond this
         UFLIC subsidiary as a part of their Employers Reassurance Corporation,
         or ERAC subsidiary, which was also a part of their reserve increase
         announced a few weeks ago. GE has assumed the risk on the UFLIC block
         and sets the assumption. We have no net economic exposure or liability
         associated with the UFLIC block. It should also be noted that even within our
         own LTC business, performance vary significantly depending on issue year,
         daily benefit amounts, inflation benefit options, underwriting, rate actions
         implemented and other factors. The charges GE is taking and the charges
         Genworth took in 2014 and 2016 illustrate the severity of the issues facing
         LTC insurers and the need for appropriate and timely premium rate
         increases or benefit modifications to ensure the adequacy of cash flows and
         reserves to pay future claims. 47

         155.   During this time, the LTC market continued to deteriorate and GE’s peers in the

LTC market were requesting significant rate increases on their LTC policies including:

         •   Genworth rate increase requests as high as 48.3%;

         •   UNUM rate increase requests as high as 91.0%;

         •   John Hancock rate increase requests as high as 61.6%;

         •   MetLife rate increase requests as high as 91.7%;

         •   CNO Financial rate increase requests as high as 35.0%; and

         •   Ameriprise rate increase requests as high as 42.9%.

         156.   In addition to shoring up its LTC reserves from 2014-2016, Genworth, as noted

above, also “has been requesting rate increases on its LTC insurance policies to boost cash

flows and has received about $8 billion in approved rate increases since 2013.” According to

media reports, Genworth “will continue to seek additional annual premium increases from

regulators over the next five to seven years with the intention of adding $8 billion to its future




47
     Genworth, Q4 2017 Genworth Earnings Call.


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cash flows.”48 For example, in 2014, Genworth conducted an asset adequacy test and

determined that its loss recognition testing49 margin,50 an important indicator of insurer

solvency, had shrunk from $3.2 billion at the end of 2013 to negative ($2.6 billion) at the end of

2014 (a deficit that exceeds GLIC and GLICNY’s combined LTC premium revenue from that

year). According to Genworth, the decrease was “driven by changes to assumptions and

methodologies primarily impacting claim termination rates … and benefit utilization rates.”

       157.    Genworth’s problems continue to this day. Genworth’s CEO, Thomas

McInerney, said he spends significant time visiting with state regulators to gain approval for

rate increases on LTC policies. GE, having previously owned Genworth, knew or recklessly

disregarded these systemic problems at Genworth, and that the problems permeated the entire

LTC insurance industry.

       158.    Similarly, in late 2015 and early 2016, insurer Allianz sought rate increases from

regulators for its LTC policies (some of which GE had reinsured). Some of those rate increase

requests were denied by regulators further compounding potential risks for GE’s LTC reserves.

       159.    LTC insurer Manulife did deep dive LTC reviews triennially, in 2010, 2013, and

2016. Based on the adverse claims experience it identified and worsening LTC trends,

Manulife asked state regulators for rate increases three times between 2010 and 2016, after

48
   Cyril Tuohy, Insurers With LTCi Blocks Draw Distinctions With GE, insurancenewsnet.com
(Feb. 12, 2018), https://insurancenewsnet.com/innarticle/insurers-ltci-blocks-draw-distinctions-
ge
49
   Loss recognition testing is an impairment test, mandated by GAAP that requires insurance
companies to recognize reserve deficiencies as they occur. Loss recognition testing is the GAAP
analog to statutory cash flow testing with the exception that, while the present value of future
surplus is the key deficiency metric on a statutory basis, loss recognition is performed using a
gross premium valuation method, which considers, not the ending surplus, but the sum of the
present value of liabilities throughout the projection period of the product being tested.
50
   The loss recognition testing margin is the deficiency metric for loss recognition testing and is
equal to the sum of the present value of liabilities offset by the present value of any profits
throughout the projection period of the product being tested – here, LTC insurance.


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finding existing reserves were not large enough to cover its growing claims. Manulife also

incurred sizable LTC reserve charges between 2010 and 2016, the latest worth $415 million

following a review of its LTC business in 2016.51

        160.    Although problems associated with LTC underwriting were rampant throughout

the industry, and many insurance providers were acting to increase their reserves and

policyholder premium payments, GE continued to assure the market that it faced no problems

and its LTC portfolio was stable increased its LTC reserves by any material amount throughout

the entire Class Period. GE knew or recklessly disregarded, however, that it was not immune

from these trends in the LTC market especially because it reinsured the worst of the LTC

policies left behind from Genworth.

        161.    Moreover, David Benz, Managing Actuary at GE Capital, in “Searching for

Morbidity Improvement in the SOA Experience Database,” Long-Term Care News, August

2017, acknowledged that GE had access to the “Long-Term Care Intercompany Experience

Study- Aggregate Database,” which is “the largest source of publicly available insured long-

term care experience. As such, it is a great source for [] trend analysis . . . .”52

        162.    Analysts covering GE have commented that it is likely that GE knew about its

problems for some time. As noted below, Scott Davis, an analyst with Melius Research, wrote

that it is “very hard to believe that mysteriously overnight GE found problems they didn’t

51
   Jonathan Ratner, Manulife Financial Corp’s long-term care business may result in a big
charge, Financial Post (last updated Apr. 8, 2016),
http://business.financialpost.com/investing/trading-desk/manulife-financial-corps-long-term-
care-business-may-result-in-a-big-charge; Manulife’s U.S. arm swept up in GE’s 95 billion
insurance writedown, The Globe and Mail (Jan. 16, 2018),
https://www.theglobeandmail.com/report-on-business/streetwise/manulifes-us-arm-swept-up-in-
ges-95-billion-insurance-writedown/article37628227/
52
   David Benz, Searching for Morbidity Improvement in the SOA Experience Database, Long-
term Care News (Issue 45, Aug. 2017),
https://www.soa.org/Library/Newsletters/.../2017/august/ltc-2017-iss45-benz.aspx?


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know existed.” Similarly, Jeff Sprague, an analyst with Vertical Research Partners, opined with

regard to GE that “[i]t’s hard to imagine a $15 billion problem materialized in the course of

the year.”

               1.      Defendants Violated GAAP by Failing to
                       Properly Calculate and Update GE’s LTC Reserves

       163.    GE filed reports with the SEC pursuant to GAAP in which it reported its overall

financial condition, as well as specific activities pursuant to GAAP in quarterly and annual

sworn statements. GAAP reporting differs from SAP accounting procedures in several ways, in

part because of the audience of GAAP-based reports—which are investors and analysts rather

than regulators.53 GAAP reports (such as GE’s Form 10-K reports) are filed to provide useful

and reliable information for investors and analysts. For this reason, several metrics and

mechanisms differ as between the two accounting procedures, with SAP accounting procedures

generally being more conservative. Nevertheless, each provides important insight into the

insurers’ (and parents’ and subsidiaries’) financial condition.

       164.    The American Institute of CPAs (“AICPA”) publishes an industry-specific

accounting guide applicable to companies with exposure to LTC insurance (the Audit and

Accounting Guide, Life and Health Insurance Entities (AAG)). The AAG distinguishes long-

term care insurance contracts as follows: (AAG 1.29)

       Long-term care insurance policies generally have fixed premiums that are
       cancellable by the policyholders but not by the insurance entity, and are
       guaranteed to be renewable.


53
   Insurance companies doing business in the United States are required to prepare statutory
financial statements in conformity with Statutory Accounting for Insurance Companies
(“SAP”), as set forth in the NAIC Accounting Practices and Procedures (“AP&P”) Manual, as
well as state laws, regulation and general administrative rules. These fundamentals of statutory
accounting for insurance companies are unique and differ from other financial accounting
methods (such as GAAP). This is because insurance contracts, like LTC insurance, involve a
promise to pay which extends years (often decades) into the future.


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       165.    As discussed above, GE has significant exposure to LTC insurance as a reinsurer

of other LTC insurance providers. Specifically, GE has entered into agreements with, and

received payments from, insurers (the “ceding entities”) in exchange for an obligation to

reimburse those insurers for claims paid. (ASC 944-20-05-40) That is, GE assumed all or part

of the risk originally undertaken by another insurer. (ASC 944-10-20, Glossary).

       166.    ASC 944, Financial Services – Insurance, sets forth GAAP applicable to

accounting for LTC obligations. (ASC 944-20-55-13).54 For reinsurers, a principal objective of

ASC 944 is to account for an agreement according to its substance. (ASC 944-20-10-4)55

                       (a)    Summary of LTC Reserve Charges

       167.    In connection with its LTC reinsurance obligations, as of December 31, 2017,

GE reported liabilities (LTC Reserves) totaling $26.1 billion. (GE 2017 Form 10-K, p.87). If

GE had presented LTC Reserves on a standalone basis, these reserves would have been GE’s

sixth largest liability. (GE 2017 Form 10-K, p.124).

       168.    GE’s LTC liabilities in the fourth quarter of 2017 were substantially higher than

in prior periods because, in that period, GE recorded an $8.9 billion charge to increase its LTC

Reserves. On an after-tax basis, the LTC Reserve charge was $6.2 billion.

       169.    This charge was reported on a GAAP basis. GE’s insurance business is a

regulated business subject to a statutory accounting framework for establishing its reserves. GE

disclosed that the reserve shortfall on the more conservatively calculated statutory basis

necessitated GE Capital to contribute $15 billion of capital to its insurance subsidiaries which

54
   “A long-term care benefit should be evaluated and accounted for in accordance with
paragraphs 944-20-15-20 through 15- 25, 944-40-25-35 through 25-39, 944-40-30-20 through
30-25, 944-40-35-9 through 35-11, 944-40-35-17 through 35-18, and 944-605-30-1 through
30-2.”
55
   “A principal objective of the Reinsurance Contracts Subsections of this Subtopic is to account
for an agreement with a reinsurer according to its substance.”


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the state insurance department had allowed to be paid over the next seven years, including $3.5

billion in the first quarter of 2018.

        170.    The LTC Reserve charge wiped out GE’s entire earnings for fiscal 2017. Indeed,

GE 2017 Form 10-K, stated: “Continuing earnings (loss) per share was $(0.68)…driven

by…GE Capital insurance-related charges…including $0.71 related to the completion of GE

Capital's insurance premium deficiency review…”

        171.    As seen in the table below, this charge also erased substantially all of the profits

previously reported by GE Capital’s “Verticals” segment over the previous four years. Verticals

comprised those GE Capital businesses that GE retained after announcing the divestiture of

most GE Capital businesses in April 2015. (GE 2015 Form 10-K, p.61).

                                                 Profit – Verticals
                        Year                      ($s in billions)
                        2015                            $1.7
                        2016                            $1.9
                        2017                           $(6.2)
                        Total                           $0.4

                        (b)     GAAP Applicable to LTC Reserves

        172.    Insurance contracts provide a future benefit to policyholders in exchange for

premiums. (AAG, 7.01) When GE recorded premium revenue, GAAP required it to also record

a liability associated with the future policy benefits to be paid to policyholders. GE reported this

liability as a component of the liability on GE’s balance sheet referred to as “Investment

contracts, insurance liabilities and insurance annuity benefits.” GE recorded the related expense

as “Investment contracts, insurance losses and insurance annuity benefits.” (GE 2016 Form 10-

K, p.133) The following chart summarizes this expense for each year from 2011 to 2017. As a

result of the LTC Reserve Charge recorded in the fourth quarter of 2017, the expense reported




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in that year was greater than the four prior years on a combined basis: (GE Form 10-Ks,

Statement of Earnings).


                                               Insurance expense
 $s in millions




                  $14,000

                  $12,000

                  $10,000

                   $8,000

                   $6,000

                   $4,000

                   $2,000

                         $0
                               2011       2012       2013       2014        2015    2016      2017


                  173.    Based on the information disclosed by GE beginning in the third quarter of 2017

(through partial corrective disclosures), investors began to understand the magnitude of GE’s

exposure to LTC. The following table summarizes the two different types of LTC liabilities

(LTC Reserves) now reflected in GE’s financial statements:



       Type of LTC                                                           Balance at    Balance at
       Reserve (GAAP)                 Reserve Description                     9/30/17       12/31/17
       Benefit                        Claims not yet received from             $9.0B         $16.5B
       (ASC 944-40-30-7)              policyholders. Calculated as the
                                      present value of future benefits to
                                      be paid less the present value of
                                      future net premiums payable.



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     Type of LTC                                                    Balance at      Balance at
     Reserve (GAAP)         Reserve Description                      9/30/17         12/31/17
     Claim                  Present value of the amount needed        $3.4B           $3.6B
     (ASC 944-40-30-1)      to provide for the estimated
                            ultimate cost of settling claims
                            relating to insured events that have
                            occurred on or before the end of
                            the respective reporting period.56
     Total                                                            $12.5B          $20.1B

         174.   These reserves address different stages in the lifecycle of LTC claims. First, a

Benefit Reserve (Active Life Reserve) is established for policies in general. Then, when an

insured event occurs, a Claim liability is incurred and the Benefit reserve is released. (AAG

7.01).

         175.   Insurance companies have developed valuation models to measure LTC

Reserves: (AAG 7.01):

         This is because the cash inflows (premiums) and cash outflows (benefits,
         expenses and withdrawals) for any large group of contracts can be modeled
         based on the preceding assumptions. Using these models, the ability to estimate


56
   ASC 944-40-30-1, “The liability for unpaid claims shall be based on the estimated ultimate
cost of settling the claims (including the effects of inflation and other societal and economic
factors), using past experience adjusted for current trends, and any other factors that would
modify past experience.” See also, AAG-LHI, 7.06. See also, Statement of Statutory
Accounting Principles No. 55, Unpaid Claims, Losses and Loss Adjustment Expenses (SSAP
55), ¶ 12. “For each line of business and for all lines of business in the aggregate, management
shall record its best estimate of its liabilities for unpaid claims, unpaid losses, and loss/claim
adjustment expenses. Because the ultimate settlement of claims (including IBNR for death
claims and accident and health claims) is subject to future events, no single claim or loss and
loss/claim adjustment expense reserve can be considered accurate with certainty. Management’s
analysis of the reasonableness of claim or loss and loss/claim adjustment expense reserve
estimates shall include an analysis of the amount of variability in the estimate. If, for a
particular line of business, management develops its estimate considering a range of claim or
loss and loss/claim adjustment expense reserve estimates bounded by a high and a low estimate,
management’s best estimate of the liability within that range shall be recorded. The high and
low ends of the range shall not correspond to an absolute best-and-worst case scenario of
ultimate settlements because such estimates may be the result of unlikely assumptions.
Management’s range shall be realistic and, therefore, shall not include the set of all possible
outcomes but only those outcomes that are considered reasonable.”


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       the timing of those cash flows can be reliably measured, and the present value of
       those cash flows will be less than the sum of the face amounts.

The valuation models focus on five key estimates identified in GAAP to set LTC Reserves:

     Factor                 Description                                  ASC
     Investment Yield       The return realized on the investment of     944-40-30-10
                            premiums prior to payment of claims.
     Mortality              The expected incidence or rate of            944-40-30-11
                            policyholder death.
     Morbidity              The expected incidence or rate of            944-40-30-13
                            disability of policyholders.
     Terminations           The rate policies are not renewed.           944-40-30-14
     Expenses               The expected cost of termination or          944-40-30-15
                            settlement of the policy.

       176.      GAAP requires these assumptions to reflect past experience, including GE’s own

experience. GAAP specifically calls for the use of experience as adjusted for current trends or

other factors that would modify past experience. (ASC 944-40-30-1, AAG 7.06 and 7.43). Thus,

although GE’s LTC Reserves were based upon assumptions about future events, those

assumptions must reflect the effects of past conditions and information. (FAS 5 ¶¶ 67-68).

GAAP also requires that these assumptions consider the risk that an entity’s actual experience

will be less favorable than when the contract was issued (AAG-LHI, 7.42):

       The assumptions used in determining benefit liabilities in GAAP financial
       statements attempt to provide a representationally faithful measure of the benefit,
       claim, and other contract liabilities, and profits reflecting the economic substance
       of the underlying contracts. For traditional long-duration insurance contracts
       described in FASB ASC 944, GAAP assumptions also provide for the risk of
       adverse deviation, which is the risk that the actual experience will be less
       favorable than that expected when the contract was issued.”

       177.      The fact that GE was a reinsurer of LTC obligations did not change GE’s

obligation to analyze these risks: (ASC 944-40-25-35):

       If a reinsurer assumes an insurance benefit feature, the reinsurer shall assess the
       significance of mortality and morbidity risk within the reinsurance contract
       following the guidance in paragraphs 944-20-15-20 through 15-25 regardless of
       whether there is an account balance.



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Indeed, as described below, GE’s only disclosures concerning its run-off insurance business

identified the need to consider these factors in its reserve-setting. (GE 2015 Form 10-K,

p.144).57

                       (c)    Benefit Reserve Assumptions Are “Locked-In” When Policies
                              Are Issued, but Should Be Unlocked When Assumptions
                              Change

       178.    The assumptions employed to compute the Benefit component of LTC Reserves

are “locked-in” during the year the related policies were issued (unless a premium deficiency is

later identified). (ASC 944-40-20). In other words, GAAP requires the ongoing application of

the original liability assumptions in subsequent periods unless a potential reserve deficiency is

identified. (ASC 944-40-35-5). Deficiencies occur when policyholder premiums are inadequate

to satisfy contract benefits and expenses, as well as enable recoverability of deferred acquisition

cost (DAC). (AAG, 7.46, 9.85-.93). If a deficiency exists, a loss is recorded in the current

period. (AAG, 7.60).

       179.    GAAP required GE to perform deficiency testing when actual experience

differed from the originally expected experience for each primary assumption: (AAG 9.88).

       Overall consideration should be given to circumstances indicating that actual
       experience for a block of business, regardless of the issue year, is significantly
       different from the originally expected experience for each primary assumption.
       In circumstances in which actual experience is significantly worse than the
       originally assumed experience, loss recognition testing is required, using revised
       assumptions that reflect actual experience and revised estimates of future
       experience, when appropriate. Significant assumptions generally include
       mortality, morbidity, persistency, expense levels, and interest rates.




57
   “Our run-off insurance activities include providing insurance and reinsurance for life and
health risks and providing certain annuity products. Two primary product types are provided:
traditional insurance contracts and investment contracts. Insurance contracts are contracts with
significant mortality and/or morbidity risks, while investment contracts are contracts without
such risks.” GE 2015 Form 10-K, p. 144.


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          180.   GAAP reflects this requirement so that profits are not front-loaded and losses are

recorded when apparent: (AAG 9.92. See also, ASC 944-60-25-7 to 9):

          In a number of instances, the liabilities on a particular line of business may not
          be deficient in the aggregate, but circumstances may be such that profits will be
          recognized in early years, and losses will be recognized in later years. In such
          situations, appropriate adjustments should be made to liabilities to eliminate the
          recognition of losses in later years. Adjustments should always be made when
          losses first become apparent.

          181.   If a deficiency is identified, GAAP requires the liability for future policy benefits

to be determined using assumptions revised to consider then-current experience. (ASC 944-60-

30-1 and 944-60-35-5). As described below, GE utterly failed to assess its LTC Reserve

assumptions in consideration of its own experience as well as observed industry experience.

Consequently, GE failed to perform appropriate premium deficiency testing on a timely basis,

and improperly delayed increasing its LTC Reserves in violation of ASC 944.

                 2.      GE Tells Investors that its Claims Experience Was Different from
                         Other LTC Insurers, Until 2017

          182.   On July 21, 2017 (the first partial corrective disclosure), GE revealed that an

increase in LTC Reserves could be forthcoming based on recent “adverse claims experience.”

Defendant Bornstein, reported:

          In the fourth quarter, we will perform our annual cash flow test of our runoff
          Insurance business. We recently have had adverse claims experience in a
          portion of our long-term care portfolio and we will assess the adequacy of our
          premium [benefit] reserves. We will update you in the fourth quarter.58

          183.   GE pointed to “recent” LTC claims experience that had been “adverse” to

explain the timing of this disclosure. GE’s assertion simply is not credible, as GE’s LTC




58
     GE Earnings Tr. 7/21/17, p.9.


                                                  66
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business has been in “run-off mode” since 2006. (GE 1/16/18 Insurance Tr. p.3).59 To credit

GE’s claim would mean that GE either (i) unlike any other company in the industry, anticipated

the dramatic increase in the cost of serving LTC claims at least a dozen years ago and reinsured

only those policies that did not experience such a cost increase, or (ii) GE, unlike any other

company in the industry, did not experience a rise in claims and related severity until 2017.

Neither of these claims is remotely plausible. Nevertheless, to address this purported adverse

experience, GE reported:

       In 2017, based on new claims experience studies, we undertook a deeper dive to
       better understand developing trends in claims.60

       184.    Thus, while the rest of the LTC industry performed deeper dives into their

actuarial assumptions for LTC policies from 2012 to 2016 to assess these same trends, GE

waited until 2017 to perform such an analysis. On January 16, 2018, GE disclosed the outcome

of its “deeper dive.” As discussed herein, GE identified an enormous LTC Reserve deficiency

and acknowledged the need to unlock its Benefit reserve to implement current LTC Reserve

assumptions. (GE 2017 Form 10-K, p.88).

               3.      Adverse LTC Experience Was Known to Defendants by at Least
                       2015

       185.    Plaintiff’s investigation has uncovered that GE’s reinsurance units have had

deteriorating LTC claims experience since even before the beginning of the Class Period. The

insurance credit rating entity, A.M. Best, provides a summary of its reviews of the financial

performance and annual statutory filings of ERAC and UFLIC, the two GE reinsurance entities




59
   “Turning to long-term care portfolio. This business was primarily underwritten in the late '80s
to early 2000s. Our book has been in run-off since 2006 with no new business written in over a
decade.”
60
   GE Insurance Update Presentation, Jan. 16, 2018, p.4.


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holding the LTC portfolio. The table below summarizes relevant findings by A.M. Best from

2013 through 2017:

Date            Finding
6/20/13         “Offsetting these positive rating factors are ERAC group’s continued operating
                losses due to reserve strengthening as a result of the low interest rates and
                business experience associated with its long-term care and certain other
                business lines.”
6/18/14         “Operating results for the long-term care block have been impacted by the
                continued low interest rate environment and incurred claims experience,
                which has led to substantial reserve strengthening and net losses. Although
                2013 net income was positive, historical trends have been unfavorable and
                required significant capital support from the parent.”
6/11/15         “Operating results for these blocks have been impacted by the continued low
                interest rate environment and adverse long-term care experience, which has
                led to net losses.”
7/1/16          “Historical earnings trends have been negatively affected by reserve
                strengthening associated with the long-term care and structured settlement
                businesses. Operating results for these blocks have been impacted by the
                continued low interest rate environment and adverse long-term care
                experience, which has led to net losses.”
7/6/17          “Operating results for these blocks have been impacted by the continued
                low interest rate environment and adverse long-term care experience, which
                has led to net losses.”

         186.    A.M. Best’s comments in 2017 occurred contemporaneous with GE’s first

disclosure of purported “recent” adverse experience in its LTC business. A.M. Best’s 2017

comments repeat, virtually verbatim, its comments from at least 2013 identifying GE’s

deteriorating experience with its LTC business. In other words, GE’s experience was not

unique from other LTC carriers. Instead, in the same earlier periods that other LTC companies

identified, responded to, and disclosed adverse claims experience to investors, GE simply made

minor adjustments to its reserves which did not take into account the deteriorating conditions in

the market and vast amount of adverse information in its possession.




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       187.    These ongoing losses by ERAC and UFLIC necessitated substantial capital

contributions by GE from the beginning of the Class Period. For example, in its June 26, 2012

report, A.M. Best observed:

       Any future losses will require ongoing capital support in this low interest rate
       environment. Over the last five years, the ERAC group has received $2.8 billion
       in capital contributions.

A.M. Best repeated similar commentary regarding the nature and magnitude of capital support

provided by GE in each year from 2008 to 2012. Thus, GE and its executives knew of this

multi-billion-dollar obligation to stabilize its LTC business and satisfy credit agencies that

ERAC and UFLIC were going concerns. Yet, GE failed to provide any disclosure of these

obligations to investors and the uncertainties these obligations imposed on GE’s capacity to

meet its targets prospectively.

                       (a)        GE’s New Disclosures Also Reveal That Adverse LTC
                                  Experience Was Systemic Before 2017

       188.    As described herein, GE’s financial statements were devoid of information

regarding its LTC exposure until the third quarter of 2017. On February 23, 2018, GE filed its

2017 annual financial statements, which for the first time, provided data on its LTC claims-

related activity. This new data is summarized in the following table:

                             Year        Claims Incurred       Claims Paid
                             2015             $1.8B               $1.7B
                             2016             $2.0B               $1.7B
                             2017             $2.0B               $1.7B

       189.    This data belies GE’s assertion that adverse LTC experience developed in

2017.61 In fact, GE’s incurrence of claims in 2017 was essentially flat with the two prior years.62




61
  GE reported that the “vast majority” of the paid claims activity related to LTC policyholders.
(GE 2017 Form 10-K, p.152)


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               4.      GE Failed to Adequately Increase its LTC Reserves as Trends and
                       Assumptions in the LTC Market Drastically Changed and GE’s
                       Peers in the LTC Market Increased Their LTC Reserves

       190.    As noted herein, GAAP requires premium deficiency testing to be performed if

emerging evidence indicates that locked-in assumptions may not result in LTC Reserves

adequate to satisfy policyholder benefits.

       191.    GE’s 2018 disclosures associate the purported “recent” adverse LTC experience

with certain policyholder features. For example, GE identified claims from older policyholders

(“…most pronounced for policyholders with higher attained ages…” and “our emerging

experience for older claimant ages and later duration policies”). (GE 2017 Form 10-K, p.87).

GE also reported the need to reconstruct “future claim cost assumptions.” (GE 2017 Form 10-K,

p.87). In other words, GE disclosed that claims costs for older policyholders were greater than

its prior LTC Reserve assumptions could accommodate.

       192.    This was not news. On the contrary, this phenomenon was widely known to the

LTC industry much earlier. For example, on January 16, 2018, when GE disclosed the massive

charge to its LTC Reserves, it acknowledged: (1/16/18 GE Tr. p.4).

       In general, long-term care policies have proven challenging for the industry….
       Virtually, the entire industry has experienced greater claims than originally
       anticipated where more people go on claim and for longer than expected.

       193.    Even if GE did not consider its own data to be sufficient to develop appropriate

LTC Reserve assumptions (which it should have), it should have looked to available industry

data. GAAP addresses this issue: (AAG 7.50):

       For accident and health contracts, assumptions may be based on the life
       insurance entity’s own claims experience, or, if its own experience is unavailable
       or insufficient, an appropriate basis for claims cost assumptions is industry
       experience adjusted for the expected experience for a specific coverage, and

62
  It is not possible to assess whether the activity in earlier years was also similar because GE
did not provide comparable disclosure in those periods.


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         the effect of the entity’s underwriting practices. External trend factors, such as
         economic conditions and medical developments, should also be considered as
         they may create higher rates of morbidity by contract duration than are provided
         in the statutory or industry experience tables.

                        (a)    Genworth

         194.   The genesis of GE’s exposure to LTC stems, in part from the spin-off of

Genworth in 2004. See Section VI(A). GE continued to have significant exposure to Genworth

related to the book of business that was spun-off in 2004.

         195.   Indeed, even in 2004, the book retained by GE likely was known to be

problematic. For example, in a January 5, 2018 report, Deutsche Bank’s John Inch stated: “[W]e

believe that the insurance portfolio retained by GE was subpar to the portfolio that comprised

the Genworth and Insurance Solutions deals – otherwise why would those exposures not have

been included with the insurance business exits?”63

         196.   On November 5, 2014 Genworth disclosed the completion of a comprehensive

review of its claim reserve-setting assumptions. As a result of that review, Genworth updated its

assumptions and increased its Claim reserve (Disabled Life Reserve) by $531 million.

(Genworth Form 8-K filed November 5, 2014, p. Exhibit 99.2, p. 3). Specifically, Genworth

updated its assumption to reflect that “[C]laimants are staying on claim longer and utilizing

more of their available benefits in the aggregate than had previously been assumed in the

company’s reserve calculations.” (Id.) The charge extinguished over three years of

Genworth’s net operating income for its LTC business.

         197.   Soon thereafter, in February 2015, Genworth announced the results of its

premium deficiency testing of its benefits reserve (Active Life Reserve). Genworth reported that

the application of updated assumptions reduced GAAP margins by $5.4 billion. Genworth


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     Deutsche Bank, 1/5/18.


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recorded a charge to earnings of approximately $730 million to increase its Benefits reserve at

that time. Genworth’s 2014 financial statements reported:

       During the fourth quarter of 2014, we completed our annual loss recognition
       testing of our long-term care insurance business and made changes to
       assumptions and methodologies primarily impacting claim termination rates,
       most significantly in later-duration claims, and benefit utilization rates.”

       198.    As with GE in the fourth quarter of 2017, this charge related to LTC Reserves

backing a block of run-off policies. Moody’s responded to Genworth’s charge noting:

       [T]he acquired block’s higher attained age makes claims likelier, with offsetting
       price increases less effective, thereby making it more susceptible to a reserve
       increase.64

       199.    In 2016, Genworth was forced to again increase its LTC Reserves for virtually

the identical reason:

       As of September 30, 2016, the liability for policy and contract claims increased
       $905 million in our long-term care insurance business largely from the
       completion of our annual review of assumptions in the third quarter of 2016
       which increased reserves by $460 million and increased reinsurance
       recoverables by $25 million. The increase was also attributable to aging and
       growth of the in-force block and higher severity on new claims in the current
       year.”

       200.    These Genworth announcements were bright red flags to GE. Not only was its

book of LTC policies comparable to those retained by GE (and on average the Genworth

policies were less risky), but GE reinsured the Genworth’s LTC policies for which Genworth

would not assume risk. See Section VI(A). Nevertheless, while Genworth was increasing LTC

reserves due to higher claims for older policies, GE refused to admit the obvious and made no

comparable increase to its LTC reserves. Notwithstanding, GAAP’s requirement to incorporate

industry experience into reserve-setting assumptions, GE now claims that the same effects



64
 Moody’s Credit Outlook, “Genworth’s Long-Term Care Review Results in Margin
Deterioration,” Feb. 16, 2015, p.17.


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Genworth encountered beginning in 2014 did not become apparent to GE until at least three

years later.

        201.   GE’s reinsurance exposure to Genworth was massive. Genworth had ceded (i.e.,

transferred the insurance risk) a huge block of LTC policies to UFLIC, a GE subsidiary.”65 At

the end of each of Genworth’s 2014, 2015, and 2016 fiscal years, it reported a reinsurance

receivable from UFLIC (i.e., GE) exceeding $14 billion. Thus, GE had an enormous risk

concentration associated with its reinsurance obligations to Genworth.66 But GE’s financial

statements for 2015 and 2016 failed to include any mention of Genworth, much less identify

this enormous obligation to a single counterparty.

                      (b)     Other LTC Insurers Were Reporting Adverse Claims
                              Experience

        202.   Unum Group, formerly a major provider of LTC insurance, discontinued offering

individual LTC coverage in 2009 and group LTC coverage in 2012. (Unum 2013 Form 10-K,

p.8).

        203.   In February 2012, Unum announced that it had “analyzed our reserve

assumptions for long-term care in conjunction with our annual loss recognition testing.” (Id. at

65
   Genworth 2016 Form 10-K pp.257-258.
66
   GE ceded a small part of its Genworth liability to another company but analysts reported that
the company possessed such limited assets that, in reality, it was not really reinsuring GE’s
reinsured liabilities. See Evercore Report by Thomas Gallagher, CFA dated September 15,
2017, entitled “Thoughts on GE's Long Term Care Insurance Review and Implications for the
Life Insurance Sector” which states: “We do note that while GE did retrocede about $2b of LTC
reserves, most of the reinsurance was to a small life insurance company, 21st Century Life,
which has a modest amount of statutory surplus of ~$100m. Thus, we would not view GE’s
economic exposure as benefitting meaningfully from this contract.” Moreover, as GE stated in
its 2016 Form 10-K: “When insurance affiliates cede insurance risk to third parties, such as
reinsurers, they are not relieved of their primary obligation to policyholders. When losses on
ceded risks give rise to claims for recovery, we establish allowances for probable losses on such
receivables from reinsurers as required. Reinsurance recoverables are included in the caption
‘Other receivables’ on our Consolidated Statement of Financial Position, and amounted to
$2,038 million and $1,880” million at December 31, 2016 and 2015, respectively.”


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p.34). After considering the then-current interest rate environment, as well as an industry study

of long-term care experience, Unum concluded a modification of its LTC Reserve assumptions

was required. Specifically, it concluded that policyholders were remaining on claim longer than

anticipated and claim costs were higher than anticipated. As a result, it recorded approximately

$769 million of charges, primarily to increase its benefits reserve. At the same time, Unum

increased its claim reserve approximately $180 million. In doing so, Unum disclosed:

       Emerging experience indicates a longer life expectancy for our older age,
       longer duration disabled claimants, which lengthens the time a claimant
       receives disability benefits.

       204.    Further, in 2013, Unum received approval from its state regulator for a 90%

increase in premium rates for its LTC coverage.

       205.    Again in its 2014 Form 10-K, Unum disclosed that its review of LTC Reserve

assumptions identified a deficiency. As in 2012, Unum disclosed the need to implement new

assumptions that reflected the continuing low interest rate environment, as well as the longer

periods of time that policyholders were living and increased morbidity. Consequently, Unum

recorded an additional $700 million charge to earnings to increase LTC Reserves. Thus, in both

2012 and 2014, Unum performed analyses considering its own experience as well as industry

experience, and increased its reserves based on what are the same circumstances that GE claims

to have suddenly and unexpectedly emerged in 2017.

                      (c)     HHS Study Examines Why Insurers Were Leaving the LTC
                              Market

       206.    In July 2013, the U.S. Department of Health and Human Services (“HHS”)

published a study entitled “Exiting the Market: Understanding the Factors Behind Carriers’




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Decision to Leave the Long-Term Care Insurance Market.” (“HHS Study”).67 This study

examined why so many LTC providers were exiting the market. Amongst its observations were:

         Since the late 1990s, all of these major determinants of premium and
         product profitability have been going in the wrong direction: interest rates
         are significantly lower than what was priced for, voluntary lapse rates are
         lower than for any other insurance product, morbidity is somewhat worse
         than expected and mortality is actually improving. (HHS Study, vi)

         While there has been variability in cumulative industry claims performance over
         the last decade, recent data suggests that performance is deteriorating. Over the
         past three years, new incurred claims are 112% higher than what was
         expected.

Id. at vii.

                        (d)     In 2015, Moody’s Assessed the Credit Impact of the Adverse
                                Experience Widely Reported in the LTC Industry

         207.   On February 16, 2015, in response to the numerous earnings charges experienced

by LTC providers, Moody’s summarized the state of the LTC industry as follows:

         LTC is a difficult product to price and has historically given trouble to those life
         insurance companies offering it. Genworth is the largest LTC provider and is one
         of a number of insurers whose LTC product has come under pressure. Earlier this
         month, Unum Group (Baa2 stable), which has no GAAP margins on its LTC
         business, took a $698 million pre-tax reserve charge related to its reserve on its
         legacy LTC block, and the charge would have been higher without the
         assumption of future rate increases. American Financial Group, Inc. (Baa1
         negative) and CNO Financial Group, Inc. (Ba2 positive) each reported
         deterioration on their LTC margins, and like other insurers, relied on rate
         increases to offset the decline.68

Thus, by February 2015, GE should have been on high alert to review and assess the

assumptions it used to develop its LTC Reserves.



67
   Marc A. Cohen, Ramandeep Kaur & Bob Darnell, Exiting the Market: Understanding the
Factors Behind Carriers’ Decision to Leave the Long-Term Care Insurance Market, U.S. Dep’t
of Health and Human Services (July 1, 2013), https://aspe.hhs.gov/report/exiting-market-
understanding-factors-behind-carriers-decision-leave-long-term-care-insurance-market
68
   Moody’s Credit Outlook, Genworth’s Long-Term Care Review Results in Margin
Deterioration, February 16, 2015, p.18.


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                         (e)    Recent Studies Confirm Adverse Experience in LTC Market

          208.   Another study entitled, “The State of Long-Term Care Insurance – The Market,

Challenge and Future Innovations” prepared jointly by the NAIC and the Center for Insurance

Policy & Research, in May 2016, reported that “Most insurers’ LTCI policies issued before

the mid-2000s have seen adverse experience when compared to their original pricing

assumptions.”

          209.   In fact, GE recently reported on January 16, 2018 that the “[n]umber, amount,

and size of claims increasing … reflects industry-wide experience with long-term care

product.”69

                 5.      GE’s Failure to Timely Record Increases its LTC Reserves Was
                         Exacerbated by its Failure to Disclose the Enormous Exposure in its
                         LTC Portfolio

          210.   GE also violated GAAP and SEC disclosure requirements from at least 2015 to

the third quarter of 2017 by failing to disclose:

          •   The concentration of risk within its run-off segment to LTC;

          •   That its LTC business had been sustaining significant and recurring losses;

          •   That reported financial results could be materially impacted by changes to its
              assumptions regarding its LTC Reserves; and

          •   The uncertainty facing its LTC business in consideration of losses widely
              reported by virtually all other companies in the LTC industry.

                 6.      GE Failed to Provide the Most Basic Disclosures Required by GAAP
                         Regarding its LTC Reserves

          211.   Until GE’s disclosure on July 21, 2017, that a review of its LTC Reserves would

be undertaken, few investors were even aware of GE’s exposure to the LTC industry. For




69
     GE Insurance Update Presentation, Jan. 16, 2018, p.4.


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example, in a January 29, 2018 report, authored by John G. Inch of Deutsche Bank, entitled

“SEC Enforcement investigation elevates GE risks,” Inch states:

       In turn, the high magnitude of the $9.5bn charge and $15bn cash bill
       (substantially beyond expectations for a business likely few were even aware
       retained such elevated risks) shocked the market and helped to drive GE’s
       share price lower while widening its credit spreads.

       In addition, recall that GE didn’t begin to flag long-term care insurance issues
       until mid-2017, well after its former insurance subsidiary Genworth first
       identified problems with its long-term care portfolio in late 2014. (Emphasis
       added).

       212.    GE’s failure to provide useful disclosure concerning its LTC Reserves violated

GAAP in numerous ways. First, GAAP required GE to disclose the basis for estimating its

Benefits and Claims reserves. (ASC 944-40-50-1 and 944-40-50-6 “Insurance entities shall

disclose in their financial statements the methods and assumptions used in estimating the

liability for future policy benefits.”). Ignoring this requirement, GE’s total disclosure regarding

its LTC business in its 2015 and 2016 Annual Reports, however, was limited to just two obscure

mentions. First, GE disclosed that it excluded LTC contractual obligations from a cash flow

table included in its MD&A. Rather than allow a user to understand GE’s financial statements,

the exclusion of these obligations suggested any exposure was minimal.

       213.    Second, GE’s Accounting Principles and Polices in its 2015 and 2016 Form

10-Ks, reported only, “For traditional long-duration insurance contracts, including long-term

care, term, whole life and annuities payable for the life of the annuitant, we report premiums as

earned income when due.”

       214.    Further, the LTC Reserves GE did record were obscured as components (of

unknown size) of GE’s “Life insurance benefits” and “Other” liabilities. (See e.g., GE Form

2016, p.167). The following chart illustrates GE’s only quantitative disclosure of these

liabilities from 2011 through 2016:


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 $s in millions                        GE's Reported Life Insurance Reserves
                  $30,000


                  $25,000


                  $20,000


                  $15,000


                  $10,000


                   $5,000


                          $0
                                    2011         2012         2013         2014         2015         2016
                                           Life insurance benefits      Claim Reserve


                   215.        GE’s inclusion of LTC Reserves within its general insurance liabilities without

any additional disclosure resulted in investors having no awareness of the elevation of risk

associated with these obligations over the prior six years. That is, investors concerned with

assessing GE’s LTC risk would likely have concluded that GE’s exposure was inconsequential

because reported liabilities remained stable. As noted above, to investors’ surprise, GE first

disclosed the magnitude of its LTC Reserves in its third quarter 2017 financial statements when

it acknowledged more than $12 billion of then-existing LTC Reserves. The very fact that GE

had to announce this demonstrates that prior charts omitted material information about a type of

insurance product known to be risky and which was losing massive amounts of money

throughout the industry.




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       216.    In addition, since 2003, the SEC has required separate disclosure concerning

significant accounting estimates. (SEC Release 33-8350). The disclosure is known as the

Critical Accounting Estimates section of periodic financial reports filed with the SEC. Even as

of December 31, 2016, however, GE omitted such disclosure related to its accounting for LTC

Reserves. It was not until the third quarter of 2017 that GE introduced such disclosure. In fact,

at that time, in an acknowledgement of the significance of the disclosure, GE presented its LTC

Reserve-related accounting methods and assumptions first amongst all of its Critical

Accounting Estimates. GE’s inexplicable failure to provide this disclosure in earlier periods

violated SEC regulations and imposed a significant barrier to investors seeking to understand

GE’s financial statements and related business risks.

               7.      GE Failed to Disclose the Risks and Uncertainties Associated With its
                       LTC Exposure in its MD&A

       217.    In addition to GE’s obligation to disclose information about its assumptions and

methods used to set LTC Reserves, GE also had a separate obligation to disclose information

concerning risks and uncertainties relevant to its accounting. Specifically, pursuant to ASC 275-

10-50-1, GE was required to provide information about the following topics in its financial

statements:

               (a)     The nature of its operations;

               (b)     The use of estimates in the preparation of financial statements;

               (c)     Certain significant estimates; and

               (d)     Current vulnerability due to certain concentrations.

Requirements “c” and “d” had particular relevance to GE’s LTC Reserves. Pursuant to ASC

275-10-50-6 to 9, GE was required to disclose the nature of the uncertainties surrounding the

significant estimates used to formulate LTC Reserves. GE was also required to disclose that it



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was at least reasonably possible that a change in estimate could occur in the near term that may

materially change LTC Reserves.

       218.    These disclosure requirements supplement those in ASC 450, which likewise

required GE to disclose the possible impact of adverse LTC claims experience. GE was required

to make such disclosure because there was at least a reasonable possibility of loss beyond its

then-existing LTC Reserves. (ASC 450-20-50-3). Thus, GE was required to disclose the nature

of the concern and provide an estimate of the range of possible loss, or state that such an

estimate was not possible. (ASC 450-20-50-3). In addition, GE’s reinsurance obligations,

particularly those to Genworth, constituted a vulnerability to concentration. (ASC 275-10-50-16

to 18). GE’s financial statements, though, completely omitted this disclosure.

       219.    Due to the risk and uncertainty associated with LTC Reserves as evidenced in

the industry as well as at GE, SEC Regulations also obligated GE to provide MD&A

disclosures. In FR 36, the SEC explained this point as follows:

       Where a trend, demand, commitment, event or uncertainty is known,
       management must make two assessments:

       (1) Is the known trend, demand, commitment, event or uncertainty likely to come
       to fruition? If management determines that it is not reasonably likely to occur, no
       disclosure is required.

       (2) If management cannot make that determination, it must evaluate objectively
       the consequences of the known trend, demand, commitment, event or
       uncertainty, on the assumption that it will come to fruition. Disclosure is then
       required unless management determines that a material effect on the registrant’s
       financial condition or results of operation is not reasonably likely to occur.

Disclosure of the adverse LTC experience was therefore required unless GE concluded that a

material effect on liquidity, capital resources, or results of operations was not reasonably likely

to occur. In view of the amount of LTC coverage that it provided, and the enormous size of its

reserve deficiencies, GE could not have reasonably made such a conclusion.



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         220.   Despite these requirements throughout the Class Period, GE’s first disclosure of

the risk associated with its LTC Reserves was in its second quarter 2017 10-Q:

         For us, particular uncertainties that could cause our actual results to be materially
         different than those expressed in our forward-looking statements include … GE
         Capital’s ability to pay dividends to GE at the planned level, which may be
         affected by GE Capital’s cash flows and earnings, claims and investigations
         relating to WMC, charges that may be required in connection with GE
         Capital’s run-off insurance operations, and other factors. (emphasis added).70

In the third quarter 10-Q, GE acknowledged further uncertainty regarding its LTC Reserve-

setting assumptions:

         Significant uncertainties exist in making these best estimate projections for these
         long-duration insurance contracts that includes consideration of a wide range of
         possible outcomes…

         221.   Thus, GE failed to disclose the uncertainty created by its failure to adequately

review LTC Reserve assumptions until 2017. GE also failed to disclose the known trend that its

actual claims experience from at least 2015 onwards demonstrated that its assumptions used to

calculate LTC Reserves were inadequate. This is a classic example of a situation in which

information known to management about the financial statements should have been disclosed to

investors to allow them to see the Company through the eyes of management and assess the

likelihood that GE’s past performance would be indicative of future performance.

                8.      GE Also Improperly Excluded LTC Commitments From its
                        Disclosure of Contractual Obligations

         222.   SEC Release 33-8182 III.D requires registrants to disclose Contractual

Obligations to “provide useful context for investors to assess a registrant’s short- and long-term

liquidity and capital resources needs and demands.” As shown in 2015 and 2016, though, GE

impaired the ability of investors to understand its cash flow commitments when it excluded



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     WMC is GE Capital’s discontinued subprime mortgage business.


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LTC from the “Insurance liabilities” commitment otherwise reported in this disclosure. GE’s

omission of LTC commitments resulted in a materially more optimistic cash flow picture.

         223.   GE’s omission of this data ran contrary to the SEC’s requirement that the table

include “other long-term liabilities reflected on the registrant’s balance sheet under GAAP.”

SEC Release 33-8182 at II.B.4, its final Rule implementing this disclosure requirement, states

that the exclusion of commitments would be inconsistent with the objective of the disclosure,

which is to enhance disclosure concerning a registrant’s contractual payment obligations. Thus,

not only did GE fail to report adequate LTC Reserves on its balance sheet, it failed to include

the billions of dollars of LTC Reserves it had from its Contractual Obligations disclosure. GE’s

omission of LTC commitments in its financial statements was at odds with other industry

participants. For example, Genworth included LTC commitments in each annual report from at

least 2014 onwards.71

         224.   It was not until February 23, 2018 that GE supplied this disclosure to investors

its 2017 Form 10-K.

                9.      GE Violated Additional GAAP Provisions and SEC Regulations by
                        Failing to Appropriately Account for and Disclose its LTC Reserves

         225.   GE’s accounting and disclosure regarding its LTC Reserves violated GAAP in a

manner that severely departed from the exercise of ordinary diligence in practices of

accounting. From at least the first quarter of 2015 through the second quarter of 2017, GE

violated at least the following aspects of ASC 944 and the AAG for Life and Health Insurance

Entities:




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     E.g., Genworth 2014 Form 10-K, p.130 and Genworth 2015 Form 10-K, p.107.


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GAAP Requirement                        GE Failure
ASC 944-40-30-7 requires the            GE applied antiquated estimates of the claim costs
Benefit reserve to reflect the future   that would be paid to policyholders, which materially
benefits to be paid to policyholders.   understated the Benefit reserve and artificially
                                        delayed the recognition of the LTC Reserve Charge
                                        until the fourth quarter of 2017.
ASC 944-40-30-1 requires the            GE failed to apply adequate estimates of claim costs
Claim reserve reflect the cost of       to be paid to policyholders, which materially
settling claims.                        understated the claims until the fourth quarter of
                                        2017.
ASC 944-40-30-10 to 16                  GE failed to adequately consider its own experience,
appropriate estimates should be         as well as industry experience, indicating its
developed for the five key              assumptions were inadequate.
estimates required to set LTC
Reserves.
ASC 944-40-35-5 and AAG 9.88            GE failed to apply assumptions reflective of known
required GE to perform testing to       conditions in the LTC industry to assess the adequacy
ensure that “locked-in”                 of its Benefits reserve. If it had done so, GE would
assumptions continued to result in      have been forced to increase its Benefits reserve
adequate Benefits reserves. In          substantially earlier than the fourth quarter of 2017.
addition, GE was required to
increase the Benefits reserve
reflecting current assumptions if the
Benefits reserve was inadequate.
ASC 944-60-25-7 to 9 and AAG            In consideration of the known adverse claims
9.92 required GE to avoid               experience, GE should have performed
recording profits in early policy       comprehensive reviews of its LTC Reserve-setting
years and losses in later years when    assumptions significantly prior to the fourth quarter
experience indicates that reserves      of 2017. Appropriate reviews would certainly have
may be inadequate. Instead, GAAP        resulted in charges to earnings experienced prior to
requires losses to be recorded when     2017.
such losses first became apparent.
ASC 944-60-30-1 and 944-60-35-5         GE inappropriately continued to apply “locked-in”
required GE to implement then-          assumptions, which allowed it to avoid reporting
current assumptions to measure the      material charges to earnings until 2017.
Benefits reserve following the
identification of a deficiency.

       226.    These failures caused GE to materially misstate the liabilities referred to as

“Investment contracts, insurance liabilities and insurance annuity benefits,” and the expenses

referred to as “Investment contracts, insurance losses and insurance annuity benefits.” The




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chart below demonstrates these false and misleading financial accounts as reported by GE

throughout the Class Period.

(In millions)                         Q1 2015   Q2 2015   Q3 2015    Q4 2015   Q1 2016    Q2 2016
Expense: Investment contracts,
insurance losses and insurance
annuity benefits                      $   616 $      660 $     676 $      653 $     642 $      776
Liability: Investment contracts,
insurance liabilities and insurance
annuity benefits                      $ 27,622 $ 26,835 $ 26,135 $ 25,692 $ 26,318 $ 27,056


(In millions)                         Q3 2016   Q4 2016   Q1 2017    Q2 2017   Q3 2017    Q4 2017
Expense: Investment contracts,
insurance losses and insurance
annuity benefits                      $   684     $ 695   $    634 $      657 $     617 $ 10,260
Liability: Investment contracts,
insurance liabilities and insurance
annuity benefits                      $ 27,126 $ 26,086 $ 26,301 $ 26,471 $ 26,597 $ 38,136

        227.     GE also violated GAAP and SEC Regulations by omitting any meaningful

disclosure concerning its LTC business, including:

GAAP and SEC Requirements                 GE Failure
ASC 944-40-50-1 and 944-40-50-6           GE omitted this information until the third quarter of
required GE to disclose the basis         2017.
for estimating its LTC Reserves.
SEC Release 33-8350 required GE           GE failed to identify its accounting for LTC Reserves
to disclose accounting estimates          as a Critical Accounting Estimate until the third
that may be material due to               quarter of 2017.
subjectivity.
ASC 275-10-50-1 required GE to            GE failed to provide any meaningful disclosure
disclose the uncertainty involved in      regarding the uncertainty associated with its LTC
its LTC Reserves.                         Reserves until the second quarter of 2017.
ASC 450-20-50-3 and SEC                   GE omitted any disclosure of this risk.
Regulation S-K Item 303 required
GE to disclose that it was
reasonably possible LTC Reserves
may have required an increase.
SEC Release 33-8182 required GE           GE excluded LTC obligations from this disclosure
to include its LTC-related cashflow       until the fourth quarter of 2017 despite the fact that
in its Contractual Obligations            the nature of these cash flows remained the same.
disclosure.




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Unsurprisingly, the violations of GAAP and SEC Regulations highlighted above and addressed

throughout are now the subject of an ongoing SEC investigation of GE’s accounting, including

its LTC Reserves, first announced on January 24, 2018.

                       (a)    GE’s Accounting Errors Should Result in a Restatement

       228.    GE accounted for the LTC Reserve Charge as a change in estimate, but it did not

restate its previously reported financial statements as a result of the LTC Reserve Charge. To

account for such a charge as a change in estimate, however, GAAP requires the charge to be the

result of new information. ASC 250-10-20 provides: “Changes in accounting estimates result

from new information.” The information culminating in the LTC Reserve Charge was known

from the beginning of the Class Period, and GE’s failure to incorporate this information at that

time was an error.

       229.    ASC Master Glossary provides that: “An error in recognition, measurement,

presentation, or disclosure in financial statements resulting from mathematical mistakes,

mistakes in the application of generally accepted accounting principles (GAAP), or oversight or

misuse of facts that existed at the time the financial statements were prepared.” Specifically, GE

had data available from the beginning of the Class Period that was simply ignored. In these

circumstances, GAAP requires GE to restate its previously issued financial statements.

       230.    GE’s only possible excuse for not restating its previously issued financial

statements was that the LTC Reserve Charge was immaterial. Yet, there can be no doubt that

the charge GE recorded was material. ASC 250-10-S99 sets forth the SEC’s guidance related to

accounting materiality, identifying factors that weigh in favor of a conclusion that an item is

material, such as whether a misstatement:

       •   Masked a change in earnings or trends;

       •   Hides a failure to meet analyst consensus earnings expectations;


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       •   Changes reported income into a loss.

       231.    GE hid a failure to meet analyst consensus earnings expectations throughout the

Class Period. Specifically, each quarter prior to Q3 2017, GE met earnings expectations only

by narrow margins. The table below shows that had GE properly accounted for its LTC

Reserves, the Company would have missed consensus expectations in any of the quarters

between Q1 2015 and Q2 2017, inclusive:

                  PERIOD          DATE              REPORTED CONSENSUS
 QUARTER          ENDING       ANNOUNCED             EPS (a)     (b)   SURPRISE
   Q1 15          03/31/15       04/17/15             $0.31     $0.30     3.3%
   Q2 15          06/30/15       07/17/15             $0.28     $0.28     0.0%
   Q3 15          09/30/15       10/16/15             $0.29     $0.26    10.7%
   Q4 15          12/31/15       01/22/16             $0.52     $0.49     5.3%
   Q1 16          03/31/16       04/22/16             $0.21     $0.19     9.4%
   Q2 16          06/30/16       07/22/16             $0.51     $0.46    11.8%
   Q3 16          09/30/16       10/21/16             $0.32     $0.30     6.7%
   Q4 16          12/31/16       01/20/17             $0.46     $0.46     0.0%
   Q1 17          03/31/17       04/21/17             $0.21     $0.17    24.3%
   Q2 17          06/30/17       07/21/17             $0.28     $0.25    11.6%
   Q3 17          09/30/17       10/20/17             $0.29     $0.50    -41.4%
   Q4 17          12/31/17       01/24/18             $0.27     $0.28     -4.9%

   (a) Industrial operating + Verticals EPS (non-GAAP) as reported by GE
   (b) Mean analyst estimates per Bloomberg

       232.    GE’s LTC Reserve Charge wiped out GE’s entire earnings reported from all

other segments. Moreover, the LTC Reserve Charge foreclosed the prospects of GE Capital’s

dividend payments to GE for years, which has been a vital source of funding for GE’s dividend

payments to shareholders. Consequently, there can be no dispute that GE’s LTC Reserve

Charge was material. Thus, GE should have, but failed to, restate its previously issued financial

statements to apportion the LTC Reserve Charge to the periods necessary to correct GE’s

misrepresentation that the LTC Reserve Charge arose exclusively in the fourth quarter of 2017.




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        D.      GE’s Statutory LTC Reserves Were More Severely Understated than Even
                its GAAP LTC Reserves

                1.      ERAC and UFLIC’s Statutory Financial Statements

        233.    As regulated insurance businesses, ERAC and UFLIC are subject to a statutory

accounting framework for establishing reserves that requires the modification of certain

assumptions to reflect moderately adverse conditions and other differences from the reserve

calculation under GAAP. As a result of this, ERAC and UFLIC were required each year to

prepare and file with their insurance regulators sworn Annual Statements that accurately

reported their financial condition. As mentioned, this obligation is independent of any

obligations to file reports with the SEC.

        234.    Financial condition is evaluated using several key metrics including an

evaluation of the insurer’s capital and surpluses as well as its loss recognition testing margins.

Loss recognition testing compares the Gross Premium Valuation (“GPV”) to the Net GAAP

Liabilities. Generally, reserves for an insurer’s obligations to policyholders are, by far, the

insurer’s largest liability. Insurance generally requires three basic types of reserves: unearned

premium reserve, Active Life Reserves (“ALR”), and Disabled Life Reserves (“DLR”). Active

Life and Disabled Life Reserves form the principal reserves held by insurance companies in

connection with LTC policies.

        235.    Active Life Reserves (also called future policy benefit reserves) represent the

present value of such benefits less the present value of future net premiums and are based on

actuarial assumptions established at the time the policies were issued or acquired. These

assumptions include, but are not limited to: (i) interest rates or discount rates; (ii) health care

experience (including type and cost of care), (iii) morbidity; (iv) mortality, and (v) the length of




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time a policy will remain in force. The adequacy of ALR should be evaluated periodically using

current assumptions through Cash Flow Testing and Loss Recognition testing.

       236.    The purpose of the ALR is essentially to match the expected premium revenue

with how the benefit costs are expected to emerge over the life of the policy. For LTC

insurance, the benefit costs are expected to increase significantly by the attained age (because

utilization increases with age), by duration (as underwriting selection wears off), and due to

plan design features such as automatic compound inflation adjustment to benefits.

       237.    Disabled Life Reserves (also called claim reserves) are established when a claim

is incurred or is estimated to have been incurred and represents an estimate of the ultimate

obligations for future claim payments and claim adjustment expenses. Key inputs include actual

known facts about the claims, such as the benefits available and cause of disability of the claim,

as well as assumptions derived from historical experience and expected future changes in

experience factors. Disabled Life Reserves should be evaluated periodically for potential

changes in loss estimates and any changes should be recorded in the period in which they are

determined.

       238.    The amount of these required reserves is determined by actuarial accounting

methods that account for, among other things, expected benefit costs over the life of the policy.

Thus, the assumptions used in establishing the expected duration of claims (i.e., the time period

from when the claim is first made until the claim terminates) and the expected benefit utilization

rate (i.e., how much of the available policy benefits are expected to be used) have a direct and

material effect on the amount of required reserves. If the claims’ duration assumption is

significantly lower than the actual experience, the insurance company’s reserves will be




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inadequate. Likewise, if the benefit utilization rate assumption understates the actual utilization,

reserves will be deficient.

       239.    SAP accounting requires insurers to make a good faith estimate of their reserves

based on certain enumerated factors. According to the Insurance Information Institute,

“actuarial estimates of the amounts that will be paid on outstanding claims must be made so that

profit on the business can be calculated. Insurers estimate claims costs . . . based on their

experience. Reserves are adjusted, with a corresponding impact on earnings, in subsequent

years as each case develops and more details become known.”

       240.    A review of annual statutory filings including Statements of Actuarial Opinion

(“SAO”), by GE’s ERAC and UFLIC reinsurance subsidiaries and by the original writers of the

LTC policies that GE reinsured, demonstrates significant one-year run-off deficiencies for 2014

through 2016 and demonstrates that LTC Disabled Life Reserve (or claim reserve) assumptions

did not reflect actual experience on the reinsured policies. Moreover, the trend in LTC adverse

experience was deteriorating significantly between 2014 and 2016.

       241.    According to NAIC instructions, LTC Experience Reporting Forms need to be

filled out only by the direct writers of the policies (the cedants in the LTC reinsurance

arrangements with ERAC and UFLIC). Thus, ERAC and UFLIC were not required to submit

these forms to regulators.

       242.    According to ERAC and UFLIC’s Annual Statements, the direct writers of GE’s

LTC policies included the following companies:

       •   Allianz Life Insurance Company of North America;

       •   Lincoln Benefit Life Company;

       •   Massachusetts Mutual Life Insurance Company;

       •   American United Life Insurance Company;


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       •   State Life Insurance Company;

       •   John Alden Life Insurance Company;

       •   Berkshire Life Insurance Company of America;

       •   Jackson National Life Insurance Company;

       •   Westport Insurance Corporation (“Westport”);

       •   SCOR Global Life American Reinsurance Company (“SCOR”);

       •   Transamerica Life Insurance Company;

       •   Metropolitan Life Insurance Company (“MetLife”)

       243.    Plaintiff’s LTC actuarial experts analyzed data from the NAIC LTC Experience

Reporting Forms, which are part of the annual statutory filings for companies with LTC inforce,

including the LTC Experience Reporting Forms for ten of the above listed twelve ceding

companies.72

       244.    LTC Experience Forms 1, 2 and 3 provided by the original writers of the LTC

business reinsured by GE indicate significant deficiencies in GE’s LTC Active Life Reserves,

Disabled Life Reserves, and Premium Deficiency Test assumptions consistently over a time

period extending back to at least 2013. This information provides very strong evidence that

GE’s actuaries needed to perform a complete study of projection and reserve assumptions from

at least the beginning of the Class Period.




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  SCOR and Westport did not have publicly available LTC Experience Reporting Forms filed
with the NAIC.


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                2.     An Analysis of Ceding Companies’ LTC Experience Forms Reveals
                       Significant Deficiencies in GE’s LTC Active Life Reserves and
                       Disabled Life Reserves and Worsening Trends

                       (a)     Actual Incurred Claims

         245.   “LTC Experience Reporting Form 1,” part of the Annual Statement, compares

actual incurred claims as well as actual lives in force against what was expected based on

Active Life Reserves assumptions.

         246.   Actual incurred claims in the chart below represent the present value of claims

paid and remaining claims reserve by year of claim incurral. For example, the actual incurred

claims for Incurral Year 2014 represents the claims paid in 2014, 2015, and 2016, plus the

claims reserve as of the end of 2016 discounted back to 2014 for claims incurred in 2014. The

discount rate is the statutory valuation interest rate for claim reserves. The expected incurred

claims by incurral year represent the aggregation of the expected claim cost for individuals

covered under a policy inforce at the beginning the incurral year based on statutory active life

reserve morbidity assumptions.

         247.   The direct writers of the policies that GE’s insurance subsidiaries were

reinsuring have been consistently showing exceedingly unfavorable Actual to Expected ratios,

well in excess of 100%, since at least 2013.73 Here, actual to expected claims ratios increased

from 122.7 (in 2013) to 137.51 (in 2016); 2015 had a ratio of 116 – which is still an “alarming”

ratio.




73
  Analysts have noted that while actual to expected claims ratios for LTC insurers of above 100
per cent indicate that claims are worse than planned, ratios of 116 “paint an alarming picture.”
Ratner, supra note 51.


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Summary of A:E Incurred Claims of Direct Writers Reinsured by GE’s Insurance
Subsidiaries
                    Actual Incurred     Expected Incurred     A:E Incurred
  Incurred Year
                         Claims              Claims              Claims
       2013          $1,163,070,256       $947,562,692          122.74%
       2014          $1,315,692,123      $1,001,765,149         131.34%
       2015          $1,371,258,779      $1,176,457,386         116.56%
       2016          $1,550,652,840      $1,127,639,021         137.51%

       248.     The aggregated LTC Experience Form 1 information shown in the chart above

details the highly unfavorable performance of the ALR assumptions used by the direct writers

of the LTC business reinsured by ERAC and UFLIC. These assumptions result in profoundly

inadequate ALR. This was (or should have been) a glaring red flag to GE that its LTC reserves

were materially understated.

       249.     Moreover, since the reinsurance arrangements between the direct writers and

ERAC and UFLIC were almost entirely coinsurance reinsurance arrangements, the percentage

deficiencies reflected in the direct writers’ LTC Experience in the chart above (and also the

chart below at ¶ 252), would have been highly indicative of the actual percentage deficiencies

for the LTC business GE subsidiaries reinsured.

       250.     Nevertheless, GE intentionally or recklessly disregarded the adverse claims

experience of the direct writers of the LTC policies it was reinsuring, even though the adverse

claims information summarized in the chart would have been shared between the direct writers

and GE’s insurance subsidiaries (ERAC/UFLIC) as a requirement of their reinsurance

arrangements.

       251.     Since GE did not revise its ALR assumptions until late 2017, it is clear that GE

recklessly or intentionally ignored this obviously poor claims experience when determining the

adequacy of its own LTC ALR since at least the beginning of the Class Period.




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                        (b)    GE’s Active Life Reserves Were Materially Understated due
                               to Stale Morbidity and Persistency Assumptions

          252.   The chart below summarizes the most recently available Experience to Reported

Policy Reserve Ratios by reporting year for the direct writers of the LTC policies that were

reinsured by GE’s insurance subsidiaries. Experience to Reported Ratios below 100% indicate

that the experience is worse than expected in the Active Life Reserves assumptions. Over

time, it is natural and expected that deficient ALR assumptions, which are locked-in at the time

of issue or since they were unlocked due to a previously recognized premium deficiency, will

produce lower Experience to Reported Policy Reserve Ratios as more actual experience is

reported.

        Summary of LTC Experience Form 2 Results of Direct Writers Reinsured by
        GE's Insurance Subsidiaries
                       Experience Policy  Reported Policy         Experience to
           Year
                           Reserves          Reserves            Reported Ratio
           2013         $10,024,333,414   $12,536,550,252            79.96%
           2014         $10,174,347,027   $13,261,663,268            76.72%
           2015         $10,365,887,872   $14,412,297,693            71.92%
           2016         $10,487,649,962   $15,386,060,046            68.16%

          253.   As evident from the decreasing ratios by year in the chart above, GE was or

should have been aware that the unfavorable Experience to Reported Policy Reserve Ratios in

2013 and 2014 were decidedly urgent warning signals that even worse ratios were extremely

likely in the following years, and that their LTC ALR assumptions were materially inadequate.

          254.   Claims experience changes occur over a period of time, not all of a sudden, as

purportedly claimed by Defendant Flannery on January 16, 2018.74 Thus, GE was reckless, at

the least, to have not acted upon the poor experience shown in the aggregated LTC Experience




74
     GE Insurance Update Call Transcript 1/16/2018, pp. 8-9.


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Form 2 forms of the direct writers of the LTC business it was reinsuring, by doing a thorough

review of its LTC assumptions many by 2014 at the latest.

                         (c)     GE Failed to Properly Update the Projection Assumptions
                                 Used in its Annual Asset Adequacy Testing

          255.   Actuaries must have a reasonable basis to draw conclusions about the adequacy

of their reserve estimates or financial projections. This would include a review of all actuarial

assumptions used to develop the reserve estimates and/or the financial projections. Without a

thorough comparison of the actuarial assumptions with emerging results from actual experience,

it is impossible for the actuary to assess the adequacy or reasonableness of his calculations.

          256.   On January 16, 2018, Ryan Zanin, Chief Risk Officer at GE Capital, disclosed

the following with respect to the comprehensive LTC Reserve testing the Company initiated in

2017:

          The actuarial analysis included a fundamental shift in estimating future claims
          costs, from one that involved making incremental adjustments to existing
          projections in response to observed levels of claims experienced, to one that
          rebuilds the projections utilizing the additional credible data for older attained
          ages that has become available.75

          257.   By only making incremental adjustments to existing projections, GE failed to

compare actuarial assumptions with emerging results for multiple years prior to late 2017.

When GE finally did this comparison in late 2017, it was forced to increase its Disabled Life

Reserves (or claim reserves) by approximately $500 million, or over 16%, and its Active Life

Reserves (future benefit reserves) by approximately $8.9 billion, or over 117%.

          258.   Given GE’s numerous failures to properly account for its recent experience in

developing LTC reserves, its violations of pertinent actuarial standards, its failures to implement

proper actuarial practices and its numerous hindsight tests showing significant deficiencies in its


75
     GE Insurance Update Call Transcript 1/16/2018, p. 4.


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LTC reserves, GE did not have a reasonable basis to state that its LTC reserves were adequate

in its ERAC and UFLIC annual statutory financial statements on GE’s SEC filings.

       259.    Moreover, GE intentionally or recklessly failed to comply with the requirements

of ASOP No. 41 by failing to communicate deficient reserves and insufficient reserve

assumptions to regulatory authorities.76

       E.      GE Violated GAAP and Employed Unsustainable Business Practices to
               Record Revenue and Earnings on its LTSAs and to Conceal the Truth
               About its Contract Asset Balance

       260.    Throughout the Class Period, GE relied on a range of unsustainable techniques to

improperly record revenue and earnings on its long-term contracts, including LTSAs, often with

no legitimate expectation that the Company would ever receive cash payment on those

contracts. To conceal that GE Power (the segment with the largest balance of LTSAs) was not

generating revenue organically, GE actively renegotiated existing LTSAs with customers for no

economic purpose other than to accelerate the recording of revenue to meet internal growth and

earnings targets. This practice typically required GE to make concessions to customers on a

contract’s payment terms, such as offering discounts and pushing out the payment dates,

dramatically decreasing the likelihood that GE would ever actually receive the cash payment

associated with the earnings GE recorded.

       261.    What’s more, GE’s accounting for its LTSAs also violated GAAP, and enabled

GE to record revenue based on estimates that did not reflect reality. Indeed, GE’s estimates of

revenue and costs were not reasonably dependable because GE relied on historical data to make

these estimates, rather than taking into account known current information or reasonable


76
  ASB ASOP No. 41, paragraph 3.4.4.b.2. “If the assumption or method significantly conflicts
with what, in the actuary’s professional judgment, would be reasonable for the purpose of the
assignment, the actuary must disclose that fact and the additional information specified in
section 4.3.”


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projections about the realities of the power market when making those estimates. These GAAP

violations were particularly egregious considering that GE was simultaneously relying on

accounting adjustments to accelerate profit on its LTSAs on the basis of purported costs

savings—savings that were directly tied to the Company’s deficient cost and revenue estimates.

       262.    Because GE was recording revenue and earnings but not collecting cash, the gap

between GE’s earnings and cash flow grew—a gap that GE recorded on its balance sheet as a

Contract Asset (i.e., the difference between revenue recorded and payment received). To help

mask this growing discrepancy and the rapid rise of GE’s Contract Asset balance—which is

typically a “red flag” for investors and was described by analysts as a “black box”—GE

employed yet another unsustainable business technique that involved persuading customers to

agree to accept invoices on contracts earlier than necessary for no reason other than so that GE

could “factor” those invoices to generate much-needed cash flow, which cash flow was merely

the result of GE Capital taking on the attendant risk rather than GE’s Industrial business. Had

GE not employed this unsustainable practice, the gap between earnings and cash would have

been even greater and would have required GE to disclose the truth about its revenue

recognition techniques earlier than it did.

       263.    The techniques used to accelerate the recording of revenue depended on GE’s

ability to renegotiate existing LTSAs with customers. However, GE Power only had a finite

number of LTSAs and there were only a finite number of ways to manipulate a particular

contract to accelerate earnings on it. By the end of 2017, GE had largely run out of ways to

manipulate its LTSAs to conceal that GE Power Services was not generating revenue

organically, and Defendants ultimately were forced to disclose the truth about GE Power’s weak

earnings and the segment’s negative impact on GE’s industrial CFOA.




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                1.       Background on GE’s LTSAs and Contract Assets

        264.    LTSAs represent agreements that require GE to maintain and service its

customers’ assets over the contract term (generally 5 to 25 years).77 GE recognizes revenue for

LTSAs as it performs work under the agreements based on the costs it incurred to date at the

estimated margin rate for the contract.78 However, GE billed its customers, and customers

generally paid GE, under LTSAs based on the utilization of the asset or major events within the

contracts.79 Consequently, GE frequently recognized revenue and earnings before it actually

billed, or received cash from, its customers.

        265.    When GE recognized revenue on LTSAs before it was entitled to bill the

customer, GE recorded Contract Assets on its balance sheet. For example, GE reported, “The

difference between the timing of our revenue recognition and cash received from our customers

results in either a contract asset (revenue in excess of billings) or a contract liability (billing in

excess of revenue).”80

        266.    GE’s 2014 Form 10-K reported the following with respect to contract costs and

estimated earnings for LTSAs:

        Contract costs and estimated earnings reflect revenues earned in excess of
        billings on our long-term contracts to construct technically complex equipment
        (such as power generation, aircraft engines and aeroderivative units) and long-
        term product maintenance or extended warranty arrangements.81




77
   GE 2017 Form 10-K, p.82.
78
   Id.
79
   Id.
80
   Id.
81
   GE’s 2014 Form 10-K, p. 168.


                                                  97
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          267.   The 2014 Form 10-K also stated as follows with respect to revenue recognition

on LTSAs:

          Revenue recognition on long-term product services agreements requires
          estimates of profits over the multiple-year terms of such agreements, considering
          factors such as the frequency and extent of future monitoring, maintenance and
          overhaul events; the amount of personnel, spare parts and other resources
          required to perform the services; and future billing rate, cost changes and
          customers' utilization of assets. We routinely review estimates under product
          services agreements and regularly revise them to adjust for changes in outlook.
          We also regularly assess customer credit risk inherent in the carrying amounts of
          receivables and contract costs and estimated earnings, including the risk that
          contractual penalties may not be sufficient to offset our accumulated investment
          in the event of customer termination. We gain insight into future utilization and
          cost trends, as well as credit risk, through our knowledge of the installed base of
          equipment and the close interaction with our customers that comes with
          supplying critical services and parts over extended periods.82

          268.   LTSAs represent approximately half of the total Contract Asset balance. Indeed,

in the 2016 Form 10-K—which was the first time the Company broke out the balance of

different types of Contract Assets in its financial statements—GE reported total Contract Assets

of $25.2 billion and $21.2 billion for 2016 and 2015, respectively, of which LTSAs represented

$12.75 billion in 2016 and $10.3 billion in 2015. As of December 31, 2017, LTSAs represented

$15.2 billion of GE’s total contract asset balance of $28.9 billion.

          269.   The majority of GE’s Contract Assets reside within the Power segment (with

Aviation as the next largest holder of Contract Assets):

                     Asset Breakdown                             Power                 Total
                                                              Dec. 31, 2017         Dec. 31, 2017
Revenue in Excess of Billings
   Long-term product service agreements (b)(f)            $7.439 billion           $15.157 billion
   Long-term equipment contract revenue (c)               $3.777 billion           $6.954 billion
Total revenue in excess of billings                       $11.215 billion          $22.111 billion

Deferred inventory costs (d)                              $1.565 billion           $3.839 billion
Non-recurring engineering costs (e)                       $7 billion               $1.814 billion

82
     Id. pp.85-86.


                                                  98
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Other                                                       –                    $1.097 billion
Total Contract Assets                                  $12.786 billion           $28.861 billion


                Asset Breakdown                                Power                 Total
                                                            Dec. 31, 2016         Dec. 31, 2016
Revenue in Excess of Billings
   Long-term product service agreements (b)            $6.595 billion            $12.752 billion
   Long-term equipment contract revenue (c)            $3.062 billion            $5.859 billion
Total revenue in excess of billings                    $9.657 billion            $18.611 billion

Deferred inventory costs (d)                           $1.168 billion            $3.349 billion
Non-recurring engineering costs (e)                    $18 billion               $2.185 billion
Other                                                  $10 billion               $1.018 billion
Total Contract Assets                                  $10.852 billion           $25.162 billion

       (b) Long-term product service agreement balances are presented net of related
       billings in excess of revenues of $3,037 million and $3,750 million at December
       31, 2017 and 2016, respectively.

       (c) Reflects revenues earned in excess of billings on our long-term contracts to
       construct technically complex equipment (such as gas power systems or
       commercial aircraft engines).

       (d) Represents cost deferral for shipped goods (such as components for wind
       turbine assembly within our Renewable Energy segment) and labor and overhead
       costs on time and material service contracts (primarily originating in Power and
       Aviation) and other costs for which the criteria for revenue recognition has not
       yet been met.

       (e) Includes costs incurred prior to production (e.g., requisition engineering) for
       long-term equipment production contracts, primarily within our Aviation
       segment, which are allocated ratably to each unit produced.

       (f) The assets of legacy GE Oil & Gas were contributed to BHGE upon
       formation. The contributed assets included certain small-scale liquefied natural
       gas (LNG) contracts that were historically reported in our Power segment;
       therefore, on January 1, 2017, $236 million was transferred to Oil & Gas and
       additional $239 million was transferred to Oil & Gas on July 3, 2017 at the
       completion of the transaction.

       270.   As these charts demonstrate, total Contract Assets increased by $3.7 billion in

2017, driven mostly by Contract Assets within the Power segment, which increased by $1.9

billion—i.e., GE Power accounted for 52% of the 2017 increase in total Contract Assets.



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Indeed, 44% of GE’s Contract Assets are within the Company’s Power segment, which explains

how the Power segment impacts the growing Contract Asset most significantly.83 Moreover

$1.558 billion of Power’s Contract Asset rise was explained by revenues recognized in excess

of billings on service ($844 million) and equipment ($715 million).

               2.     GE’s Unsustainable Reliance on Cumulative Catch-Up
                      Adjustments and its Impact on GE’s Contract Asset Balance

       271.    During the Class Period, a key driver of the growth in the reported balance of

GE’s Contract Assets was accounting adjustments to reflect purported changes in the estimated

profitability of its LTSAs. GE recorded these adjustments as cumulative catch-up adjustments

or “cum catch adjustments.” For example, GE’s 2016 Form 10-K explained that the

Company’s contract asset balance increased by approximately $4 billion over the prior year

(from $21.156 billion to $25.162 billion) “primarily driven by a change in estimated

profitability within our long-term product service agreements resulting in an adjustment

of $2,216 million, as well as an increase in deferred inventory costs.”

       272.    Put differently, changes to how GE estimated profitability on its long-term

product service agreements added $2.2 billion to GE’s 2016 earnings—a significant amount

considering that GE’s total earnings from continuing operations was $9.8 billion for 2016.

       273.    These significant accelerations of profit were accounting adjustments. As a

simple illustration, assume GE had a 5-year long-term product service agreement for which it


83
   GE did not even include contract assets as its own line item on the Company’s balance sheet
until February 2016, when GE first did so in the Company’s Form 10-K for the fiscal year
ended December 31, 2015. Prior to that, GE included its contract asset balance within the
“Other Assets” line item (although the Company did provide the amount of its contract asset
balance on an annual basis in the Form 10-K notes). GE only began to report its contract asset
balance on a quarterly basis in 2016, and it was not until February 2017—when GE issued its
Form 10-K for the fiscal year ended December 31, 2016 (the “2016 Form 10-K”)—that GE
broke out the different type of assets that make up the Company’s reported “contract assets”
line item.


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estimated it could bill the customer $100 per year. At the outset of the agreement, GE would

estimate the total costs required to perform this agreement (e.g., GE 2017 Form 10-K, p.82,

“We recognize revenue as we perform under the arrangements based upon costs incurred at the

estimated margin rate of the contract.”). The following table illustrates a hypothetical of this

estimate:

                      Contract Term                                   5 years
                      Estimated Contract Cash Flow                     $500
                      Estimated Cost to Complete Contract             $(450)
                      Profit Margin                                     $50
                      Profit %                                         10%

       274.    In this scenario, GE would expect to account for the revenue and costs pursuant

to the agreement as follows:

                               Year 1    Year 2 Year 3 Year 4 Year 5              Total
            Revenue            $ 100     $ 100  $ 100  $ 100  $ 100               $ 500
            Cost               $ (90)    $ (90) $ (90) $ (90) $ (90)              $(450)
            Profit              $ 10      $10    $10    $10    $10                 $ 50

       275.    Assume further that in the third year of the agreement, GE implemented a new

estimate based on an assumption that the costs to complete the contract had been reduced as

follows:

                   Contract Term                                        5 years
                   Estimated Contract Cash Flow                          $500
                   Revised Estimated Cost to Complete Contract          $(400)
                   Revised Profit Margin                                 $100
                   Revised Profit %                                      20%

       276.    In this scenario, GE would have, in theory, understated the profit in the first two

years of the agreement. That is, GE originally had applied a 10% profit margin to years 1 and 2,

but the newly estimated profit margin was 20%. As a result, GE recorded a cumulative catch-up

adjustment so that the total profit recognized on the agreement-to-date “caught up” and was

equal to the present profit margin.


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                              Year 1     Year 2    Year 3    Year 4 Year 5       Total
          Revenue             $ 100      $ 100     $ 100     $ 100  $ 100        $ 500
          Cost                $ (90)     $ (90)    $ (80)    $ (80) $ (80)       $(420)
          Catch-Up                                  $20                            20
          Cost, net            $(90)      $(90)    $(60)      $(80)     $(80)    $(400)
          Profit               $ 10        $10      $40        $20       $20     $ 100
          Profit Margin        10%        10%       40%       20%       20%       20%

       277.    The table above illustrates the sudden and significant increase in profitability due

to a cumulative catch-up adjustment in the quarter or year the adjustment is recorded. As

described below, GAAP permitted such adjustments so long as GE reasonably estimated the

costs to complete the contract. This requirement exists to prevent an optimistic estimate of costs

in early periods, which may not be supported if, for example, project cost overruns were to

emerge. In that instance, profits would have been overstated.

       278.    GAAP applicable to this accounting method (ASC 605-35-05-10) is designed to

reflect the “economic substance of an entity’s transactions” and should present the relationship

between a contract’s profits and costs accurately. GE Power, however, relied on unsustainable

methods to generate cum catch adjustments and, thereby, accelerate the recording of revenue

and related profit. According to FE-7, a former Finance Leader who worked at GE Power in

Europe through the Class Period, GE actively renegotiated LTSAs with customers solely for the

purpose of increasing the total contract margin, and often did so for no economic reason other

than to generate positive cum catch adjustments.

       279.    In substantial part due to these accounting adjustments, GE’s overall Contract

Assets drastically increased from $12 billion as of December 31, 2013 to $29 billion as of

December 31, 2017. Therefore, on a cumulative basis, GE’s financial statements reflected the

benefit of approximately $29 billion of revenue for which it was not yet entitled to bill the




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customer. The graphs below demonstrate the contract asset balance on an annual and quarterly

basis.84


                                       Total Contract Assets
 $s in millions




                  $35,000


                  $30,000


                  $25,000


                  $20,000


                  $15,000


                  $10,000


                   $5,000


                      $-
                              2013        2014          2015            2016           2017




84
     It does not appear that GE reported Contract Assets on a quarterly basis until 2016.


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 $s in millions                                    Contract Assets
                  $35,000

                  $30,000

                  $25,000

                  $20,000

                  $15,000

                  $10,000

                   $5,000

                      $-
                            Dec-15   Mar-16   Jun-16   Sep-16   Dec-16   Mar-17   Jun-17   Sep-17   Dec-17


                  280.      Throughout 2017, GE’s financials continued to benefit from changes to estimates

on the Company’s portfolio of Contract Assets. GE’s Contract Assets increased from the year-

end 2016 balance of $25.2 billion by $2.2 billion in the first quarter and $3.8 billion in the

second quarter of 2017, “primarily due to adjustments driven by lower forecasted costs to

complete the contracts and timing of billings relative to revenue recognition on [GE’s] long-

term equipment and service contracts.” Thus, as in the example above, in each of these quarters,

GE revised its cost estimates downward as an accounting enabler of additional present period

profits.

                  281.      FE-5 described GE’s business model of hunting for a more efficient way to

service contracts in order to support claims of cost reduction. FE-5 explained the LTSAs have a

flat revenue stream (as in the example above), thus if GE could find efficiencies in servicing the




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contracts, GE would not “see the cash flow benefit” for 15-20 years because the contracts are

long.

        282.   By the end of the third-quarter 2017, through September 30, 2017, GE’s Contract

Asset balance had increased $4.6 billion for the year. GE’s LTSAs increased as well, as the

Company explained in its 3Q 2017 Form 10-Q:

        Revenues in excess of billings increased $2,606 million and $1,328 million for
        our long-term service agreements and long-term equipment contracts,
        respectively. The increase in our long-term service agreements is due to a
        $1,930 million cumulative catch up adjustment driven by lower forecasted
        costs to complete these contracts as well as increased forecasted revenue and
        $676 million due to the timing of revenue recognized for work performed
        relative to billings and collections.85

        283.   Once again, GE revealed that this increase in Contract Assets was, in large part,

the product of additional changes to estimated profitability on its LTSAs, which had the added

effect of boosting earnings by $649 million for the third quarter 2017 and by $1.93 billion for

the first nine months of 2017. In this instance though, GE provided new disclosure concerning

these assets. Specifically, GE indicated that the Contract Assets had also grown due to

“increased forecasted revenue.” In the context of the example above, GE assumed that future

annual billings would increase from the $100 per year baseline. As with assumed improvement

in costs, this assumption of increased revenue also enabled GE to accelerate the recognition of

accounting profits.

        284.   These accounting adjustments to earnings were vital to GE’s consolidated

financial results: As noted by the Wall Street Journal on November 1, 2017:86




85
  3Q 2017 Form 10-Q, p. 86.
86
  Michael Rapoport, GE Shows How ‘Black Box’ Assets Boost Profits, Wall Street Journal,
(updated Nov. 1, 2017, 4:36 PM ET, https://www.wsj.com/articles/ge-shows-how-black-box-
assets-boost-profits-1509549624.


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         This time around, GE said how much the increase in the portfolio boosted
         earnings, by $649 million in the third quarter and $1.93 billion for the first nine
         months of 2017, on a pretax basis. That is equal to 44% and 51% of pretax
         earnings from continuing operations for each period, respectively.

         285.   Quite simply, without these improper accounting adjustments, GE would have

fallen dramatically short of consensus earnings targets. Based on information initially disclosed

by GE on a quarterly basis in the third quarter of 2017, it is now possible to understand how

significant these adjustments had been to GE’s reported EPS. For example, in the third quarter

of 2016, GE reported EPS of $0.32 slightly exceeding the consensus EPS estimate of $0.30.

These undisclosed adjustments, however, accounted for $0.07 or 20% of GE’s reported EPS in

that period. Similarly, in the fourth quarter of 2016, GE’s reported EPS of $0.46 exactly

matching the consensus EPS estimate. These adjustments, however, accounted for $0.05 or 12%

of reported EPS in that period. Absent these adjustments, GE’s reported EPS in each of these

quarters would have fallen far short of consensus EPS targets. GE’s failure to provide

appropriate disclosure related to these adjustments precludes expansion of this analysis to other

quarters during the Class Period.

                3.      The “Black Box” of GE’s Contract Assets

         286.   As discussed above, the primary driver of the $4 billion increase in GE’s

Contract Assets in 2016 was assumed accounting changes to the estimated profitability of its

customer agreements. Specifically, $2.2 billion (or 55%) of the increase was due to these “cum

catch” adjustments.87

         287.   During 2017, GE accelerated an additional $2.1 billion of profit pursuant to these

purported changes in estimates of contract profitability. The adjustments therefore constituted a

massive percentage of GE’s total earnings from its industrial businesses (i.e., the non-GE


87
     GE 2016 Form 10-K, pp. 90; 164.


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Capital businesses). The quantum of profit GE derived from these accounting tricks was

markedly higher in 2016 and 2017 than in previous periods (The table below understates the

significance of these adjustments because GE presents a favorable picture of Industrial profits

by excluding significant costs of its corporate function, losses incurred by its GE Capital

business, and other charges. Thus, these adjustments, when measured against GE’s pre-tax

earnings, as done by the Wall Street Journal, comprised a greater concentration of GE’s overall

reported earnings.):

                       Year        Acceleration of      % of Total Industrial
                                       Profit             Segments Profit
                       2014            $1.0B                    6%
                       2015            $1.4B                    8%
                       2016            $2.2B                   13%
                       2017            $2.1B                   14%

         288.   In GE’s 2017 Form 10-K, filed on February 23, 2018, the Company also

reported, for the first time, the segments where these accounting adjustments were recorded.

Approximately $1.3 billion of these changes were recorded in the Power segment.88 Thus,

these changes resulted in 47% of the total profit reported by the Power segment in 2017.

         289.   The accumulation of Contract Assets within GE’s Power segment, in particular,

raised significant concern amongst securities analysts, as well as the press. This was especially

so considering the importance of GE Power to GE’s overall business. Part of this concern was

GE’s acceleration of profits, including through cum catch adjustments, at a time when the

Power segment was otherwise experiencing a dramatic decline.

         290.   According to an October 31, 2017 article in the Wall Street Journal, entitled

“GE’s Numbers Game: Pick From Four Earnings Figures”:



88
     GE 2017 Form 10-K, p.149.


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       Another area of concern is how GE accounts for its $29.8 billion portfolio of
       assets relating to long-term equipment and product-service contracts. That
       portfolio has grown 18% this year, as GE adjusts estimates and assumptions
       about how much profit it will ultimately reap from those contracts. Such
       adjustments added $2.2 billion to GE’s earnings in 2016, the company said in its
       annual report.

       Some analysts are concerned because GE provides little visibility into those
       estimates and assumptions—and because the company’s actions can boost its
       earnings but not current free cash flow. Typically, big gaps between earnings,
       which are calculated on an accrual basis, and cash flow, which is money
       going into and out of a company, are a red flag for investors.

       291.    During GE’s 3Q 2017 earnings call, on October 20, 2017, Jeff Sprague, analyst

from Vertical Research Partners, pointedly asked GE management how it was comfortable with

its seemingly ever increasing Contract Assets balance. The inquiry challenged the reality of this

increase in light of GE’s poor results during the quarter, including “aggressive forecasts” and

“unrealistic assumptions.” As shown below, the analyst referred to Contract Assets as one of the

“elephants in the room”:

       Jeff Sprague - Vertical Research Partners – Analyst

       There’s been a couple elephants in the room leading up to today, and another one
       has been the contract asset account, which is also built upon numerous
       assumptions. As we sit here and listen to aggressive forecasts, unrealistic
       assumptions, et cetera, particularly in power, how do we get comfortable with
       what’s gone on in that account? And have you guys actually been able to scrub
       through that yet?

       Jeff Bornstein

       [W]e have been digging through that, I would say, over the last six months. I
       think we are very comfortable with where we are. And I think you’ve got to
       think about it, in power’s case, in a number of buckets. The first is long-term
       service agreements. And I want to be clear here: in the third quarter with this
       performance, our productivity or CSA cum catch was actually down $45 million
       year-over-year. So it’s a small contributor to where we are year-over-year in the
       quarter. But it’s not that reason that we were way off where we thought we
       would be in the third quarter.

       The second is we have really grown long-term equipment agreements. Now, this
       is 81-1 accounting. These are long-term contracts. They’re generally anywhere


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       from 12 to 24 months, where we build projects out, and along – as we go along
       the way we incur cost, we rev rec on milestones, and then there's also cash
       billing milestones. And they don’t always line up on top of one another.

       That has grown over the last two years really as a function of two things. One is
       we added Alstom to the portfolio, which had a much higher content of long-term
       projects. And as we built out the H units, we’ve done a lot more full scope, much
       larger scope projects, even if it was just contained to the turbine island, all the
       way through HRSGs and the steam tail that we got with Alstom.

       So the amount of this activity in the portfolio has grown. And as a result of that,
       our 81-1 balances, particularly in power, have grown. And so that cost, if you
       will, generally liquidates over 12 to 18 months. So we’re higher this year by
       about $800 million than we originally forecast, almost all of that in power. But
       that will liquidate and turn to cash as we hit billing milestones over the next 12 to
       18 months.

       292.    On October 23, 2017, JPMorgan published a report calling into question the

actual value of GE’s Contract Assets. JPMorgan focused specifically on the fact that more than

50% of the sales in GE Power had been sold at prices insufficient to achieve profitability:89

       Our view is that GE is competing irrationally, giving away content and terms that
       underprice the risk around these projects, something that management alluded to
       when discussing the growth in equipment related contract assets that now have
       elongated payment terms of 12-24 months. Looking at contract assets . . . and
       receivables sold to GE Capital (~$4B in Power), we see ~$10B in estimated
       deals that we believe represent business that was too competitively bid. This
       represents > 50% of Power equipment sales.

       293.    A Deutsche Bank analyst was quoted in a November 1, 2017 Wall Street Journal

article as stating GE’s Contract Assets were “kind of a black box.”90 On November 4, 2017,

Barron’s published an interview of the JPMorgan analyst covering GE, Stephen Tusa.91 The




89
   JPMorgan, “Not Much Left for Bears to Say…The Numbers Now Speak For Themselves,”
October 23, 2017.
90
   Michael Rapoport, GE Shows How ‘Black Box’ Assets Boost Profits, Wall Street Journal,
(updated Nov. 1, 2017, 4:36 PM ET, https://www.wsj.com/articles/ge-shows-how-black-box-
assets-boost-profits-1509549624.
91
   Jack Hough, JPMorgan Analyst: The Case Against GE, Barron’s (Nov. 4, 2017),
https://www.barrons.com/articles/jpmorgan-analyst-the-case-against-ge-1509761964


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analyst expressed concern that a charge was forthcoming related to GE’s Contract Assets

because GE had been overly optimistic in its pricing:

       [Q] Is that what you meant when you wrote that GE ‘is competing irrationally,
       giving away content and terms that underprice the risk’?

       Tusa: [A] Correct. What I believe, whereas Mitsubishi Heavy Industries may
       come in with a gas turbine that’s a little more efficient than GE’s gas turbine and
       priced competitively, GE will come to the customer and say, ‘Hey, we will
       finance this for you at a very competitive rate, and make an investment in the
       power plant if you want us to, and throw in all this content.’ And they do that at
       an all-in price that doesn’t necessarily position GE to withstand some of the
       risk that project may face over the next 18 to 24 months. Ultimately, where
       that will manifest itself, 18 or 24 months down the road, GE will book this
       charge that says, ‘Hey, we underestimated how much this would cost us.’
       But ultimately, they’ve already got the turbine in place. They’ve already got the
       market share. And that’s kind of the most important thing to them. That’s a big
       reason their cash flow has been so weak relative to their earnings. That’s where
       these things called contract assets, which are about $29 billion on the GE
       industrial balance sheet, would show up. This contract accounting is based on
       certain long-term assumptions that may or may not come true from a cash
       perspective.

       294.    Other analysts expressed surprise that GE was able to accelerate this magnitude

of profit, particularly when GE’s Power unit, the key segment in which these adjustments are

recorded, was in a free fall. For example, a July 24, 2017 JPMorgan report stated:

       Starting with Power, there is a negative mosaic here that we have been talking
       about recently, where Power Gen is the next “distributor like” vertical at risk of
       disruption from the triple threat of renewables, energy efficiency and storage, but
       we were flat out speechless (not easy for us) to hear the commentary on the
       deteriorating state of this business which was all new news in terms of
       messaging from the company…even non cash earnings can’t drive a positive
       result. The Power dynamics are not cyclical, they are potentially secular, getting
       worse, and we are cutting our numbers here further.




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       295.    A November 13, 2017 Forbes article, reported “In terms of divisions, power

looks to continue to be a black hole; organic revenues may decline double digits and operating

profits may fall by a quarter.”92

       296.    Following GE’s announcement on January 24, 2018 that the SEC had opened an

investigation into its revenue recognition for LTSAs, among other things, the press and analysts

were quick to highlight the lack of disclosure from GE surrounding its profits from the

accumulation of Contract Assets. For example, a January 29, 2018 Bloomberg article stated:

       General Electric Co. investors have long griped that the sprawling company’s
       financials can be a black box.

       Now, securities regulators are poking around in one of the biggest and darkest
       corners of that box. GE’s power-equipment division, its single largest unit, has
       come under scrutiny – alongside its ailing insurance business – for how it
       accounts for revenue for servicing gas turbines and other heavy duty machines
       the company sells.93

       297.    Again, the media has expressed concern that these accounting changes were

accelerating profit at the same time when GE’s Power segment was otherwise experiencing

widespread demise:

       Given how significantly the power markets have deteriorated and how severely
       GE underestimated those trends, there is rightful concern that the company
       wasn’t conservative enough.94


92
   Antoine Gara, General Electric Slashes Its Dividend 50% As CEO Flannery Resets Ailing
Conglomerate, Forbes (Nov. 13, 2017),
https://www.forbes.com/sites/antoinegara/2017/11/13/general-electric-slashes-its-dividend-50-
as-new-ceo-flannery-resets-ailing-conglomerate/#4ccd08384bed
93
   Rick Clough, How a Bad Bet on Power Put a Spotlight on GE’s Murky Accounting,
Bloomberg (updated on Jan. 29, 2018 12:38PM ET),
https://www.bloomberg.com/news/articles/2018-01-29/how-a-bad-bet-on-power-put-a-
spotlight-on-ge-s-murky-accounting
94
   Brooke Sutherland, GE SEC Probe Shows Bad News Is Far From Over, BloombergGadfly
(updated on Jan. 25, 2018 6L50AM ET),
https://www.bloombergquint.com/opinion/2018/01/24/ge-sec-probe-shows-bad-news-is-far-
from-over


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         298.   As highlighted by the securities analysts above, and set forth in further detail

below, during the Class Period, GE failed to disclose material information regarding the

significance of its Contract Asset accounting. Further, GE failed to maintain adequate internal

controls over and account for its Contract Assets in accordance with GAAP. In particular, it

failed to establish reasonably dependable estimates of contract revenues and costs. These

failures began to emerge in the fourth quarter of 2017, when GE reported an $850 million

charge to earnings to correct for project cost overruns that eviscerated a substantial portion of

previously recognized profits.

                4.     GE’s Accounting for Contract Assets Violated GAAP

         299.   GE recognized revenue from LTSAs based on the costs it incurred plus the

estimated margin of its contracts.95 GAAP related to this method of accounting is set forth in

ASC 605-35 (Revenue Recognition, Construction-Type and Production-Type Contracts).

         300.   GE’s accounting involved estimating both revenue and the related costs (e.g., GE

2017 Form 10-K, p.82, “Revenue recognition on long-term product services agreements

requires estimates of both customer payments expected to be received over the contract term as

well as the costs to perform required maintenance services.”). GAAP is clear that use of this

accounting method is dependent on the ability to make reasonably dependable estimates—

specifically estimates of progress towards completion, contract revenues, and contract costs.

(ASC 605-35-05-11).

         301.   The estimated revenue from a contract is the amount the seller expects to realize

from the customer. (ASC 605-35-25-16). For example, for LTSAs, GE was paid based upon the

utilization of assets (e.g., on an hourly basis) or on a milestone basis (e.g., when an overhaul



95
     GE 2017 Form 10-K, p.82.


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occurred).96 GE’s estimate of asset utilization impacted both the amount of customer payments

and the costs to provide the service. This is because asset utilization influences the timing and

extent of service events such as overhauls.97

       302.    The determination of estimated revenue requires “careful consideration.” (Id.)

GAAP states that “a contractor’s estimating procedures should provide reasonable assurance of

a continuing ability to produce reasonably dependable estimates.” (ASC 605-35-25-60). In other

words, GAAP require an ongoing review of the contract to ensure revenue estimates continue to

remain reasonable.

       303.    Consistent with the requirement set forth in GAAP, GE disclosed that it used a

combination of historical utilization trends and information about market trends to formulate

revenue estimates.98 Thus, GE’s accounting should have taken into consideration whether

expected revenue was likely to be lower than revenue in recent periods (e.g., due to declines in

Power generation requirements). These conditions clearly confronted GE’s Power segment

during the Class Period. For example, on July 24, 2017, JPMorgan commented about the

downward revenue trends GE faced:

       Of note, in services, they pointed to outage volumes, particularly larger F-class
       outages, running down close to 10%, driven by lower utilization, lower capacity
       payments in North America, and extended intervals between outages.

       304.    Given these conditions, during the Class Period, GE’s estimates of revenue and

related profit on LTSAs in its Power segment required downward revision—the opposite of the

direction assumed by GE as evidenced by its favorable cum catch adjustments. Further,




96
   GE 2017 Form 10-K, p.82.
97
   Id.
98
   Id.


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pursuant to ASC 605-10-S99, the accounting should have taken into consideration factors such

as whether, and to what extent, the revenue will be collectible.

       305.    As with revenue, GAAP also require that contract costs are identified, estimated,

and accumulated with a reasonable degree of accuracy and that total estimated costs of a project

include costs incurred to date and an estimate of the costs to complete the contract. (ASC 605-

35-25-32). For costs incurred to date on a contract, GAAP at ASC 605-35-25-33 states:

       An entity should be able to determine costs incurred on a contract with a
       relatively high degree of precision, depending on the adequacy and effectiveness
       of its cost accounting system…[A]n objective of each system or of each set of
       procedures should be to accumulate costs properly and consistently by contract
       with a sufficient degree of accuracy to assure a basis for the satisfactory
       measurement of earnings.

       306.    GAAP, at ASC 605-35-25-44, recognizes the estimate of costs to complete a

contract is a “significant variable” in determining profit on a contract. GAAP requires that

estimates of future costs are determined using “systematic and consistent procedures” and that

the estimates of future costs include the same elements of costs that have been incurred on the

contract to-date. Further, GAAP requires that estimates of costs to complete a contract are

reviewed periodically and revised to reflect new information.

       307.    Pursuant to ASC 605-35-25-62, GE was required to employ estimating

procedures that provided a “reasonable assurance of a continuing ability to produce reasonably

dependable estimates.” Further, GAAP at ASC 605-35-25-63 states:

       Ability to estimate covers more than the estimating and documentation of
       contract revenues and costs; it covers a contractor's entire contract administration
       and management control system. The ability to produce reasonably dependable
       estimates depends on all the procedures and personnel that provide financial or
       production information on the status of contracts. It encompasses systems and
       personnel not only of the accounting department but of all areas of the entity that
       participate in production control, cost control, administrative control, or
       accountability for contracts.




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       308.    In other words, GAAP requires that future costs estimates for long-term contracts

not be based simply on costs incurred to date and a projection of future costs, but a full

complement of procedures, internal controls, and personnel to produce dependable estimates.

       309.    As described below, GE’s internal control environment related to, and its

accounting for, Contract Assets prior to the fourth quarter of 2017 failed to achieve these

objectives.

                       (a)     GE Failed to Implement Adequate Internal Controls to
                               Ensure GAAP was Appropriately Applied to Contract Assets

       310.    On January 24, 2018, during the Company’s Q4 2017 earnings conference call,

GE disclosed that the SEC was investigating its revenue recognition and internal controls

associated with Contract Assets.

       311.    While GE has not disclosed the nature of the SEC’s investigation, the allegations

by FE-7 (¶¶ 321-336 ) clearly indicate that GE’s accounting associated with Contract Assets,

particularly during 2016 and 2017, failed to incorporate reasonably dependable estimates.

Specifically, in a period of markedly down performance for the Power segment, GE’s

accounting failed to incorporate reasonably dependable estimates of expected project revenues

and costs to complete contracts. Instead, GE accelerated the use of accounting gimmicks that, in

violation of GAAP, ignore the economic substance of its LTSAs. Indeed, GE’s cumulative

catch-up adjustments wreak of earnings management.

       312.     During that same January 24, 2018 call, Russell Stokes, the CEO of GE Power,

provided a closer look at the weakened state of GE’s internal controls and accounting for GE’s

Contract Assets. Mr. Stokes responded to an analyst inquiry as follows:




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       Scott Davis, Melius Research

       If I was to look at one part of our model that we’re probably a little bit insecure
       of, I should say, it’s just around price in Power . . . maybe just Russell could fill
       us in on where we stand there.

       Russell Stokes – CEO of GE Power

       There is an element of price that we have acknowledged that we felt up to now,
       just given that we did not have the level of attention that we should have had on
       that portion of the business. We also acknowledged in the past cost overruns
       around some of the execution that had taken place as well.

       313.    Indeed, Stokes acknowledged that GE did not have the internal controls in place

expected by GAAP to formulate dependable estimates. Moreover, the gaps in GE’s internal

controls had not detected project cost overruns, which would have negated GE’s assumptions

enabling the massive accounting-related accelerations of profits. Consequently, the analyst

pressed on:

       Scott Davis, Melius Research

       So Russell, I mean, one of the things that – your competitors have always said
       that GE is a little bit tough on price. And maybe you guys had made some
       decisions in the past that weren’t economic. Is that something that has materially
       changed under your watch?...

       Russell Stokes

       So across the board, we are implementing much more disciplined underwriting
       practices…The process is definitely tighter than I would say it was in the past.

       314.    In this response, Mr. Stokes addressed the concern raised by the JPMorgan

analyst. That is, GE’s contract underwriting, or pricing, had been too aggressive to acquire new

business, the result of which was that customer payments would be insufficient to enable GE to

profitably deliver these contracts. In other words, GE acknowledged that the cumulative catch-

up (cum-catch) adjustments violated GAAP because GE’s estimates were not, in fact,

reasonably dependable reflections of the revenues and costs associated with the Contract Assets.




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       315.    Indeed, the internal controls apparently implemented by new management

culminated in charges to earnings of $850 million in the fourth quarter of 2017. To uncover

the reasons for this charge, analysts were forced to press GE for more information:

       Jeff Sprague - Vertical Research Partners

       It seems like there’s something below the line. I don’t know what I am missing.

       Jamie Miller

       Yes, Jeff, the thing I would probably point you to is that Power in the fourth
       quarter had a very tough quarter. And when you look at where we thought 2017
       would land versus where it did, it was substantially lower there. Now, when you
       really deconstruct the fourth quarter for Power, there were really two or three
       main items there. One of which is just sort of one-time adjustments and some
       non-repeat items. . . . And as Russell and the team have come in, first, the one-
       time items piece of it, which is about $850 million, about half of that was a
       charge for slow-moving and obsolete inventory that we took. We obviously don’t
       expect that to repeat as we get into next year.

       316.    Mr. Stokes, however, conceded that GE’s implementation of new controls

resulted in this substantial charge to earnings reducing the profit that had been accelerated into

prior quarters. In doing so, Mr. Stokes shined a light on GE’s use of estimates in prior periods

that violated GAAP because those estimates were not reasonably dependable. (Id.)

       Jamie is right. On execution, we continue to just do everything we need to run
       the business better. We dove deeply into projects and we are working through
       cost overruns and adjustments that we needed to take in those projects, as we
       were nearing the conclusion of a number of legacy contracts. Truing up costs
       with partners on deals that were underwritten back in the 2013, 2014, 2015
       timeframe.

       317.    This charge to earnings had serious ramifications on GE’s financial results for

2017. As of September 30, 2017, GE had reported $2.5 billion of profit from its Power segment.

But, on an annual basis, GE reported only $2.8 billion of profit from the Power segment. In

other words, the charges recorded in the fourth quarter of 2017 significantly impaired GE’s




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annual profit run rate. The SEC’s ongoing investigation into GE’s accounting for Contract

Assets indicates that this $850 million charge is the tip of the iceberg.

       318.    The charge recorded to correct GE’s Contract Assets in the Power segment in the

fourth quarter of 2017 reduced GE’s total Industrial Operating Profit by 19%. (GE 1/24/18

Press Release, p.1 reporting metric as $3,526 million). GE acknowledged “Power continues to

be challenging, Power segment profit down 88%.” (Id.) The Power segment reported profit of

$260 million in the fourth quarter of 2017 as compared to $2,167 million in the fourth quarter of

2016. (Id. p.2).

       319.    The root cause of this charge was GE’s failure to implement disciplined internal

controls surrounding the estimation of project revenues and costs in accordance with GAAP. As

described by FE-7 (¶¶ 321-336), this exposed GE’s failure to implement reasonably dependable

estimates. Specifically, despite its disclosures indicating otherwise, GE relied only on historical

data to estimate contract revenues and costs. In doing so, GE failed to consider the then-current

outlook for revenues and costs.

       320.    Consequently, GE violated GAAP because GE’s estimates of revenue and costs

were not reasonably dependable estimates. GE’s failures in this regard was egregious

considering the massive accounting adjustments it recorded to accelerate profits on the basis of

purported cost savings, thus enabling GE to meet prior earnings targets particularly when GE

was well aware that analysts characterized GE’s accounting in this area as a black box. Those

concerns were proven well-founded when GE belatedly appears to have implemented such

controls and swiftly detected and corrected the accounting deficiencies.




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                      (b)     GE Used Monetization and Cumulative Catch-up
                              Adjustments to Mask the Declines in the Power Segment and
                              Manipulate GE’s Earnings and Cash Flow

       321.    FE-7 worked in Europe as a Finance Leader at GE Power Services at all times

through the Class Period. FE-7 reported to the Finance Manager for GE Power Europe, who

reported to the CFO of GE Power Europe, who then reported to the CFO of Power Generation

Services, Tim Donovan.

       322.    According to FE-7, GE Power Services actively renegotiated LTSAs with

customers in order to trigger positive cum catch margin adjustments or avoid negative cum

catch margin adjustments. FE-7 explained, for example, that GE would renegotiate contracts

solely for the purpose of increasing the total contract margin, and often did so for no economic

reason other than to generate a positive cum catch (or avoid a negative cum catch).

       323.    FE-7 explained that one technique GE Power Services Europe used during the

2015-2016 timeframe to trigger positive cum catch adjustments (and the associated revenue

boost) was called “de-scoping.” This meant that GE would approach a current LTSA customer

and persuade the customer to eliminate or “de-scope” the GE-provided service labor portion of

a contract and instead use the customer’s own labor services. GE Power Services did this

because its margin on the service labor portion of a contract was very small relative to the much

higher profit margin on capital parts and upgrades. Even though GE made money on the labor

portion of the agreement, removing the low-margin GE service labor from the contract

mathematically increased the overall average contract profit margin over the life of the contract,

because the contract would, as a result, consist of mostly higher margin future capital parts and

upgrades, despite the absence of any indication that the customer would eventually use their

own labor. This, in turn, would trigger a positive cum catch adjustment to increase revenue,




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because the profit margin on the contract was now higher (despite the decrease in overall

contract price/scope).

       324.    FE-7 explained that these contract-renegotiation techniques (such as the example

described above) were often employed for no economic purpose (and despite the negative

business consequences of the contract renegotiations, as in the de-scoping example above) other

than to accelerate the recording of revenue into a particular accounting period in order to meet

internal growth or earnings targets. Indeed, according to FE-7, it was internally acknowledged

within GE Power Services Europe that once growth and earnings targets were set each year,

cum catch adjustments would be used to make up the difference between the numbers that were

actually achievable and the targets that were set. FE-7 explained that GE Power Services had

teams dedicated to determining which contracts were good candidates for generating positive

cum catch adjustments through renegotiation (and also for determining which contracts needed

to be renegotiated to avoid triggering a negative cum catch). According to FE-7, GE Power

Services Europe employed several contract-renegotiation techniques (like the example

described above) on the vast majority of its LTSAs. Indeed, FE-7 estimated that, between 2015

to 2017, a significant portion of GE Power Services Europe’s profits were generated from cum

catch adjustments.

       325.    Using contract renegotiations to boost revenue from cum catch adjustments was

not sustainable. Indeed, according to FE-7, GE Power Services only had a finite number of

LTSA in its portfolio, and there were only a finite number of ways to amend and manipulate a

particular LTSA to squeeze positive cum catch revenue increases from each contract.

According to FE-7, by the end of 2017, GE Power Services Europe had already exhausted most




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of the techniques used to trigger these revenue-boosting cum catch adjustments, which GE

relied on to conceal the fact that the Company was not generating revenue organically.

       326.    According to FE-7, the techniques used to manipulate cum catch profit

adjustments had the additional negative effect of often requiring a substantial postponement of

cash collection for GE Power. Indeed, FE-7 explained that in order to persuade customers to

agree to renegotiate contracts (which GE had to do to trigger positive cum catch adjustments)

GE had to give concessions, such as price discounts and deferrals of payment dates. GE was

therefore often foregoing future cash solely for the purpose of triggering cum catch adjustments

and revenue recognition in the short term, which eventually caught up with the Company.

       327.    FE-7 explained that because GE was recording revenue (as a result of cum catch

adjustments) but not collecting cash, the Company’s contract asset balance increased, which

also led to a growing discrepancy between GE’s operating profit and the CFOA generated

during that same period. As a result of this cash crisis, FE-7 explained that beginning in Q4

2015, GE Power management created a task force that was responsible for determining how to

accelerate cash collection on GE Power’s LTSAs, which would help to conceal that GE was

renegotiating contracts solely to boost earnings at the expense of collecting payment. FE-7 was

directly involved in working with his U.S. counterparts during Q1 2016 through Q3 2016 to

come up with ways to generate CFOA and mask the growing gap between operating profit and

CFOA (as well as the steady increase in GE’s total contract asset balance).

       328.    The solutions FE-7 and his U.S. counterparts developed were known as

“monetization,” which involved factoring (i.e., selling) receivables in order to generate CFOA.

To create the invoices used for factoring, GE Power Services would persuade its customers to

renegotiate the billing contract terms so that the triggering event for an invoice was earlier in




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time than it would have been (in some cases, by a number of years), but for the contract

renegotiation. This was done solely in order to allow GE Power to accelerate the invoicing of

the customer (i.e., create invoices) for purposes of factoring, with no actual change to the

underlying performance obligations.

       329.    According to FE-7, this enabled GE to pull forward the future customer billing

into the current accounting period so that it could bill the customer immediately. However, in

order to induce the customer to enter into such a modification and agree to revised invoicing

terms, GE would typically have to discount the payment required and also push the actual

payment due date further into the future—often by a year or more (compared to the non-

renegotiated scenario). To actually “monetize” this payment, which was not yet due, GE would

then factor the receivable, either by selling it to itself (selling it to Working Capital Solutions

(“WCS”)—a subsidiary of GE Capital) or selling it to an outside party, often with recourse.

       330.    According to FE-7, since GE Power was selling fewer and fewer power turbines

and equipment after the economic crisis began in 2008, it consequently had fewer new

customers to whom it could sell new LTSAs. At the same time, the existing number of LTSAs

available to monetize was finite. As a result, after monetizing customers’ future payments as

often as possible in 2016 (which GE did to mask the discrepancy between profit and CFOA and

obtain desperately needed cash), there were less and less monetization opportunities, and

eventually the cash crisis could no longer be concealed.

       331.    FE-7 also explained that the estimations used for future costs, revenues, and

margins on GE Power Services’ LTSAs were deficient (such estimates were performed on an

annual basis for each contract). Indeed, according to FE-7, GE Power did not adequately

consider the current and future “run rates” (i.e., the amount of hours a turbine runs) when




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estimating costs on its contracts, and instead used the historical average of the prior three years,

which were known not to reflect the current and likely future turbine run rates. FE-7 explained

that GE Power Services also failed to adequately consider the customers’ own current and

future estimation of their run rates. Indeed, a steady downturn in the energy markets between

2009 and 2014 (driven not just by the economic crisis but also as a result of improved energy

conservation and a greater supply of energy from renewable sources during that time) meant

that GE’s customers ran their power turbines for fewer and fewer hours each year. As FE-7

explained, this impacted GE’s contract revenue because the significant service work and billing

dates on many LTSAs were often tied, in part, to the number of hours a turbine runs—the less

hours a turbine runs, the less opportunity for GE to perform and bill for major service work. By

using a historic three-year average—rather than taking into account the known current and

estimated future decline in hours—to project revenue and costs on a multi-year contract, GE

was able to improperly delay recognizing the necessary negative contract cum catch adjustment

to reflect fewer anticipated billing opportunities during the remainder of the contract.

       332.    What’s more, FE-7 explained, GE also did not adequately account for customers’

overall risk profile (including credit risk), despite that GE Power Services entered into long-

term (i.e., 20 to 30 years) contracts with customers. Indeed, GE Power Services was often

pushing out payment dates when it renegotiated contracts with customers (which it did to

generate positive or avoid negative cum catch adjustments), but was not accounting for the

possibility that GE would not be able to collect payment that far out in the future. As FE-7

explained it, GE Power Services was effectively lending to its customers but failing to account

for any associated credit risk, and assumed for its own accounting purposes that future




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collection on the LTSAs was certain (and therefore did not maintain any sort of reserve to

account for future risk on its contract asset account).

       333.    FE-7 interfaced with multiple inter-disciplinary functions that were directly

involved in creating GE’s positive cum catch and monetizing its contract assets to create CFOA.

For example, FE-7 interfaced directly with the finance, risk, modeling, sales, and controllership

teams in Europe and globally that contributed to the generation of an increase in the margin

percentage that GE used to create positive cum catch in the Power Services business in Europe.

FE-7 also was involved in 2016 in simulating what would have happened to GE Power

Service’s cum catch if it utilized a one year average instead of a three year average to estimate

the unit’s margin percentage. FE-7 understood, based on conversations with GE Power

employees, that the simulation was requested by Teo Osben, the Chief Financial Officer of

Multi-Year Agreements, and that he ultimately decided against using a one year average

because it had a negative impact on GE’s overall global cum catch.

       334.    FE-7 also worked with Kevin Weber, GE Power’s Senior Commercial Finance

Manager in the U.S., who informed and educated FE-7 on various techniques and principles that

GE Power used globally to generate CFOA—i.e., “monetization.” As detailed above, this

process involved GE Power encouraging its customers to accept revised contract terms to better

enable GE power to monetize (sell or factor) those assets to either WCS or to a pool of third

party investors. In fact, FE-7 discussed “best practices” with Kevin Weber to utilize in their

respective monetization efforts. FE-7 explained that Estela Delgadillo, GE’s Global Cash

Leader for GE Power who reported directly to Tim Donovan (CFO of Power Generation

Services since 2011), hired Kevin Weber in early 2016 specifically to lead the global

monetization effort.




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       335.    FE-7 was aware that there were (and occasionally received) weekly, monthly,

and quarterly reports regarding GE’s monetization efforts. According to FE-7, the quarterly

reports outlined the total amount of cash that GE had generated through these monetization

efforts and broke those figures down across GE Power by region. It was FE-7’s understanding

that the quarterly reports, which were PowerPoint slides, were to ultimately be used for GE’s

quarterly Blueprint Review for discussion with GE Power’s global leadership, including Paul

McElhinney (President & CEO of GE Power Services from May 2014 through December 2017)

and Tim Donovan. The monthly reports contained the same information as in the quarterly

reports for Power Services in Europe, and the weekly reports were used to assess which

customer contracts needed to be renegotiated for purposes of GE’s cum catch adjustments and

its monetization efforts.

       336.    FE-7 was also tasked with writing quarterly status update reports on contractual

renegotiations for purposes of GE’s reporting requirements. Those reports included the number

of renegotiations, the number of commitments secured from the renegotiations, the impact on

cum catch, and a description of each renegotiation and the main drivers of the renegotiation.

These reports were written for the controller in Europe to send to GE’s corporate headquarters.

It was FE-7’s understanding that these status update reports were sent to GE’s Global

Controller, who then delivered them to Jan Hauser, Sr. VP, Controller, and Chief Accounting

Officer, who ultimately signed off on GE’s Sarbanes-Oxley certifications.

                       (c)    GE Failed to Provide Adequate Disclosure Regarding
                              Contract Assets

       337.    Item 303 of Regulation S-K, Management's Discussion and Analysis of Financial

Condition and Results of Operations (MD&A), requires a discussion of liquidity, capital




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resources, results of operations, and other information necessary to an understanding of a

registrant’s financial condition, changes in financial condition, and results of operations.

         338.   Item 303(a)(3) establishes the following relevant requirements related to revenue

and results of operations:

         • Describe any unusual or infrequent events or transactions or any significant
         economic changes that materially affected the amount of reported income from
         continuing operations and, in each case, indicate the extent to which income was
         so affected; and

         • Describe any known trends or uncertainties that have had or that the registrant
         reasonably expects will have a material favorable or unfavorable impact on net
         sales or revenues.

         339.   The SEC has summarized the principal objectives of MD&A disclosure as

follows: “The purpose of MD&A is not complicated. It is to provide readers information

“necessary to an understanding of [a company’s] financial condition, changes in financial

condition and results of operations.”99 The MD&A requirements are intended to satisfy three

principal objectives:

         • to provide a narrative explanation of a company's financial statements that
         enables investors to see the company through the eyes of management;

         • to enhance the overall financial disclosure and provide the context within which
         financial information should be analyzed; and

         • to provide information about the quality of, and potential variability of, a
         company’s earnings and cash flow, so that investors can ascertain the likelihood
         that past performance is indicative of future performance.

         340.   The last principal objective means that the user should be provided with the

information to assess whether an extrapolation of historical operating results is a sound basis for

assessing future results.




99
     Financial Reporting Release (FR) 72, December 29, 2003.


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       341.    Despite these requirements, GE provided inadequate disclosures, simply stating

that it had increased its estimated billings or reduced its estimated costs to complete its contract

resulting in billions of dollars of increased Contract Assets. For example, in its second quarter

of 2017 financial statements, GE reported, “Contract assets increased $3.8 billion, primarily due

to adjustments driven by lower forecasted cost to complete the contracts and timing of billings

relative to revenue recognition on our long-term equipment and service contracts.” (GE Form

10-Q for the quarter ended June 30, 2017, p.37)

       342.    Consequently, investors lacked sufficient information to assess the uncertainty in

GE’s assumptions embedded in Contract Assets, including whether hoped-for levels of

profitability could be realistically achieved. For example, GE did not indicate that its estimates

relied extensively, if not exclusively, on historical, rather than reasonably dependable estimates

of GE’s expected experience. Further, GE did not disclose that its weighting of historical data

was engineered to maximize profit recognized in the current period. Moreover, as described

further below, GE did not disclose the erosion of its backlog of contracts from which it could

sustain its acceleration of profit. Importantly, GE’s cumulative catch-up adjustments had the

impact of recognizing profit today that would otherwise have been recognized in the future.

Such disclosures were particularly needed in consideration of the lack of disciplined internal

controls at GE prior to the fourth quarter of 2017.

       343.    As noted herein, GE’s lack of disclosure in this area caused analysts and the

media to describe GE’s accounting as a “black box” during the Class Period. Contrary to GE’s

financial reporting, the issues identified above clearly warranted disclosure due to the trend of

the enormous growth of Contract Assets from 2014 through 2017.




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          344.   Further, the SEC has specific MD&A disclosure requirements for unusual

transactions that have had, or might reasonably be expected to have material effect on revenue

or operating income. As an example, the SEC identifies “Shipments of product at the end of a

reporting period that significantly reduce customer backlog and that reasonably might be

expected to result in lower shipments and revenue in the next period.” (SEC Staff Accounting

Bulletin No. 101) GE’s cumulative catch-up adjustments had exactly this result. This

consideration was particularly relevant because GE’s Power segment was experiencing a

downturn. As a result, GE’s population of contracts was aging, with fewer opportunities to

identify further cost savings, and the slowdown in the Power business resulted in a shrinking

number of new contracts to provide resources GE could draw from for future comparable

adjustments. As GE’s cumulative catch-ups slowed beginning in the second quarter of 2017,

JPMorgan reacted to GE’s impaired ability to lever Contract Assets for further profit

acceleration:100

          Management said that LTSA gains were $0.5B in 2Q vs $0.6B prior year,
          showing what happens to segment profits when this lever becomes less of a
          [year-to-year] contributor (2Q segment profits of $3.9B were down $0.2B y/y,
          and missed our estimate by $0.1B). This is contrary to the 1Q segment profit
          results which beat our estimates by $0.3B, when LTSA gains were $0.8B, up
          $0.3B y/y. Looking to 2H17, contract assets (of which LTSA gains are a portion)
          are expected to be flat y/y, showing this source of non-cash earnings growth
          is slowing.

          345.   The next example highlighted by the SEC as warranting disclosure and enhanced

discussion was “Granting of extended payment terms that will result in a longer collection

period for accounts receivable (regardless of whether revenue has been recognized) and slower

cash inflows from operations, and the effect on liquidity and capital resources.”




100
      JPMorgan, July 24, 2017,.


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       346.    This factor was also relevant because, as noted above, to alleviate the growth of

Contract Assets, GE offered customers extended payment terms in exchange for the ability to

bill in the current period. GE first disclosed the existence of this program in its 2017 Annual

Report. (GE 2017 Form 10-K, p.80, “In certain circumstances, GE provides customers primarily

within our Power, Renewable Energy and Aviation businesses with extended payment terms for

the purchase of new equipment, purchases of significant upgrades and for fixed billings within

our long-term service contracts.”).

       347.    As detailed in ¶¶ 321-336, GE masked its growing Contract Asset balance by

coming up with a way to generate cash flow on its LTSAs—a practice known internally as

“monetization.” To do so, GE Power Services, for example, would persuade its customers to

renegotiate the billing contract terms so that the triggering event for an invoice was earlier in

time than it would have been but for the contract renegotiation. In order to induce the customer

to agree to revised invoicing terms, GE would typically have to discount the payment required

and also push the actual payment date further into the future. This practice was employed solely

to accelerate the invoicing of the customer for purposes of “factoring”—the process of selling

long-term receivables either internally or to third parties—which allowed GE to generate cash

flow, despite that it was not entitled to payment on the underlying invoices for years.

       348.    Indeed, during the Class Period, GE’s industrial units sold billions of dollars of

receivables, including these long-term receivables to GE Capital. Although the factoring was an

intercompany transaction, it served as meaningful window dressing. GE reported the receipt of

cash on the sale of the receivable as CFOA, which was offset by use of cash for financing

activities by GE Capital.




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       349.     In each way, this presentation continued to allow GE to conceal its developing

cash crisis. Analysts were focused on 1) GE’s ability to generate cash flow from its core

industrial businesses and 2) discounted the cash flow reported by GE Capital since that business

was being wound down. Consequently, GE solved two key problems: 1) GE pumped the brakes

on the growth of Contract Assets and 2) GE was able to improve its reported CFOA. GE

expanded this financing vehicle greatly in 2016, when the balance of related GE Capital

receivables was $1.9 billion at December 31, 2016 as compared to $0.1 billion as of the prior

year. As of December 31, 2017, GE Capital had $2.1 billion of these long-term receivables

outstanding.

       350.     Factoring of receivables to GE Capital had the following impact on CFOA from

2015 to 2017:

CFOA Increase/(Decrease)                                2015           2016           2017

Current Receivable Sales                               $2.1B           $2.1B        $(2.0)B
Long-Term Receivable Sales                             $0.1B           $1.6B         $0.3B
Total Factoring Included in CFOA                       $2.2B          $3.7B         $(1.7)B
Industrial CFOA                                        $12.1B         $11.6B         $9.7B

       351.     As shown in the table above, the factoring of receivables to GE Capital was a

significant source of cash included in Industrial CFOA in both 2015 and 2016. In 2017,

however, when GE curtailed this activity, Industrial CFOA was dramatically reduced. This

activity was a surprise to even the most sophisticated users of GE’s financial statements. For

example, after GE’s new disclosures in its Annual Report filed on February 23, 2018, JPMorgan

observed:

       The evidence here now points to the systemic use of GE Capital as the grease
       for the machine. Receivables factoring, among other instruments, is a key
       building block, which management added helps to ‘manage short term liquidity,’
       not just credit exposure as in the past. Here, while current receivables factoring is
       being wound down, the enhanced disclosure around ‘long term receivables’


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       factoring was most interesting, in which management fully acknowledges they
       extend terms across their businesses to compete. This all matters because
       adjusting for the $3.5B in factoring, which is likely going to be incrementally
       more of a challenge/expensive, [Free Cash Flow] would have been $3.5B in
       2016, a year that had been viewed as more ‘normalized’ than 2017. . . . We
       continue to see that receivables activity inflated cash in 2016 even more than
       we had previously expected, for which 2017 is beginning to come down, but is
       far from ‘normal’ (factoring activities increased cash by > $10B since 2011). All
       in, adjusting 2016 and 2017 for receivables factoring we now know of….

       352.    GE’s financial engineering of reported cash flow was the subprime version of the

industrial world. GE Capital gave little regard to the credit quality and risk of the underlying

cash flow because it was a related party.

       353.    Ultimately, the explosive growth in Contract Assets, the massive cumulative

catch-up adjustments, and the liquidity management programs were precisely the type of

transactions that warranted enhanced MD&A disclosure. GE, however, continued to leave

investors guessing about its “black box” accounting.

       354.    On January 16, 2018, during the same call in which GE disclosed it recorded an

$8.9 billion charge to increase its LTC Reserves, GE advised that it would reduce the size of its

Industrial Finance business within GE Capital by $15 billion.101 GE’s CFO further explained a

large portion of the reduction would come from moving its internal factoring of receivables off

the books of GE Capital.102 JPMorgan commented on this issue as follows:103

       New management appears to be working to wind down this program that we
       have always considered to be of questionable practice and value, inflating
       Industrial CFOA using [GE Capital] and the lack of disclosure there.

       355.    Thus, GE’s previously reported financial information concerning Contract

Assets: 1) violated GAAP; 2) failed to provide appropriate disclosure; and 3) evidence further


101
    GE Insurance Update Transcript, 1/16/2018, p. 5.
102
    Id. at p.7.
103
    JPMorgan, February 23, 2018, p.5


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deficiencies in GE’s internal controls for financial reporting.

       F.      Defendants Also Failed to Disclose a Known Trend or Uncertainty at GE

       356.    Item 303 of SEC Regulation S-K requires the Company’s quarterly and annual

SEC filings to describe “any known trends or uncertainties that have had or that the registrant

reasonably expects will have a material favorable or unfavorable impact on net sales or

revenues or income from continuing operations.” 17 C.F.R. § 229.303(a)(3)(ii).

       357.    Similarly, the regulation required GE to disclose events that the registrant knew

would “cause a material change in the relationship between costs and revenues” and “any

unusual or infrequent events or transactions or any significant economic changes that materially

affected the amount of reported income from continuing operations and, in each case, indicate

the extent to which income was so affected.” 17 C.F.R. § 229.303(a)(3)(i).

       358.    In violation of Item 303, the Company’s SEC filings during the Class Period

failed to disclose the following facts known or recklessly disregarded by Defendants:

               (a)     the serious risks and uncertainties associated with GE’s LTC exposure;

               (b)     that in 2015 the Company “again reviewed [its] insurance exposure” and

took no action to increase its LTC reserves despite alarming adverse claims experience in the

LTC policies it was reinsuring and mounting industry-wide negative trends in the LTC market;

               (c)     that the Company failed to timely record: (i) approximately $10 billion in

before-tax charges to its LTC reserves in violation of GAAP; and (ii) $15 billion in

contributions to its statutory LTC reserves in violation of statutory insurance regulations;

               (d)     that only by materially under-reserving for liabilities related to GE

Capital’s legacy LTC reinsurance policies was GE able to maintain cash flow for its quarterly

“key” dividend payments and stock buyback program;




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               (e)     that the Company was intentionally manipulating forecasted costs and

profitability on its portfolio of Contract Assets in order to artificially inflate the Company’s

quarterly and annual earnings in violation of GAAP without which GE would have fallen

dramatically short of consensus earnings targets;

               (f)     the Company failed to maintain adequate internal controls over its

financial reporting with respect to both its LTC reserves and Contract Assets; and

               (g)     that as a result of the foregoing, GE materially overstated its earnings and

cash flows during the Class Period.

       359.    Moreover, pursuant to Section 302 of the Sarbanes-Oxley Act of 2002,

defendants Immelt and Bornstein signed certifications appearing in GE’s mandatory periodic

filings with the SEC throughout the Class Period, stating those filings did not contain false and

misleading statements. Defendants Immelt and Bornstein signed these certifications in

connection with the GE’s annual and quarterly SEC filings, while they were at the Company.

       360.    Specifically, Defendants Immelt and Bornstein certified that “the information

contained in [SEC filings] fairly presents, in all material respects, the financial condition and

results of operations of the [Company].” Moreover, Defendants Immelt and Bornstein certified

that these SEC filings did “not contain any untrue statement of a material fact or omit to state a

material fact necessary to make the statements made, in light of the circumstances under which

such statements were made, not misleading with respect to the period covered by [those]

report.”

       G.      GE Failed to Maintain Adequate Internal Controls Over its Financial
               Reporting

       361.    GE’s management was responsible for maintaining a system of internal control

over financial reporting (“ICFR”) that provided reasonable assurance regarding the reliability of



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financial reporting and the preparation of its financial statements in accordance with GAAP.

The Sarbanes-Oxley Act of 2002 (SOX) Section 404 (SOX 404), as implemented by SEC Rule

33-8238, required GE management to evaluate its ICFR on an annual basis to determine

whether it was effective for the purpose specified above. Further, SOX Section 302 (SOX 302)

required GE’s CEO and CFO to make certifications that included the effectiveness of disclosure

controls and procedures on a quarterly basis. GE and its management were also required to

disclose these assessments. At all times during the Class Period, GE’s SOX 404 and SOX 302

disclosures purported that its ICFR was effective. These disclosures necessitated that GE did not

have a material weakness in its ICFR.

       362.    In general, management’s SOX 404 report is presented on an annual basis as of

the end of an entity’s fiscal year, while management’s SOX 302 certification is included in each

period the Company issues financial statements. Among other elements, the SOX 302

certification includes a discussion of any significant changes in the entity’s ICFR since the prior

reporting period. The specific nature of these reports, including management’s obligations prior

to releasing those reports, is discussed in greater detail in the sections below.

                       (a)     GE’s SOX 404 Assertions

       363.    During the Class Period, GE assured investors that its ICFR functioned properly

to prevent or detect and correct instances of materially inaccurate financial reporting. For

example, GE reported: (GE 2016 Form 10-K, p.129).

       Management is responsible for establishing and maintaining adequate internal
       control over financial reporting for the Company. With our participation, an
       evaluation of the effectiveness of our internal control over financial reporting
       was conducted as of December 31, 2016, based on the framework and criteria
       established in Internal Control – Integrated Framework (2013) issued by the
       Committee of Sponsoring Organizations of the Treadway Commission. Based on
       this evaluation, our management has concluded that our internal control over
       financial reporting was effective as of December 31, 2016.



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          364.   These disclosures assured investors that GE did not have a material weakness in

its internal control over financial reporting. A material weakness is a: (SEC Release No. 33-

8810 § II.A, p.9 n.18).

          [D]eficiency, or a combination of deficiencies, in internal control over financial
          reporting such that there is a reasonable possibility that a material misstatement
          of the registrant’s annual or interim financial statements will not be prevented or
          detected on a timely basis.

          365.   A reasonable possibility arises when the chance of a future event occurring (e.g.,

a material misstatement) is more than slight. (SEC Release No. 33-8810 § II.B, n.47).

          A significant deficiency is: (SEC Release No. 33-8829 § I, p.3)
          A deficiency, or a combination of deficiencies, in [internal control over financial
          reporting] that is less severe than a material weakness, yet important enough to
          merit attention by those responsible for oversight of the registrant’s financial
          reporting.

          366.   The SEC’s SOX 404 guidance is organized around two broad principles, namely

that in evaluating the effectiveness of ICFR, management should consider the design of its

ICFR, and the operation of its ICFR.104

          367.   An evaluation of ICFR begins with the identification and assessment of the risks

to reliable financial reporting. (Id. § II.A., pp.9-10) For example, it is axiomatic that effective

internal control over assumptions, such as those used in LTC Reserve-setting, requires that

documentation be maintained regarding important assumptions (or other similar criteria) used in

financial reporting. (SEC Rule 33-8810 states “Management is responsible for maintaining

evidential matter, including documentation, to provide reasonable support for its assessment.”)

          368.   While undertaking this evaluation, Defendants should have considered the

sources and potential likelihood of misstatements occurring within its financial statements. (Id.

§ I, p.4). In other words, the SEC emphasizes that management should “perform more extensive


104
      SEC Release No. 33-8810 § I, pp.4-5.


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testing in high-risk areas.” (Id. § I, p.5. See also, § III.B., p.48). In particular, the SEC observes

that the likelihood that a control would fail to operate was an important consideration,

including, for example, due to the complexity of the control or the risk of management override.

(Id., see § II.A.2.a, pp.25-26). Further, the SEC reiterates that ICFR impacting significant

accounting estimates or critical accounting estimates, such as those impacting LTC Reserves, is

generally assessed as higher risk. (Id., see § II.A.2.a, pp.26-27).

          369.   Next, management evaluates whether its ICFR is in place to address those risks

(i.e., the design of ICFR). (Id., see § II.A.1, p.12). Finally, management should ensure that

testing procedures are performed regarding the operating effectiveness of those ICFR. (Id., see

§ II.A.2, p.21). The COSO Framework characterizes such testing as part of an entity’s

monitoring of ICFR (e.g., “Monitoring ensures that internal control continues to operate

effectively.”). (COSO Internal Control – Integrated Framework, May 2013, Ch. 9, Monitoring,

p.124).

          370.   If management is aware, or determines, that a control is not designed or

operating effectively, a deficiency exists that must be evaluated. (SEC Release No. 33-8810, see

§ II.A.1.b, p.15). Management’s evaluation of the severity of a control deficiency does not

necessitate that a material misstatement has already occurred. (Id. § II.B.1, p.35). Rather, the

evaluation focuses on whether a reasonable possibility of a material misstatement existed. (Id.,

“The severity of a deficiency in ICFR does not depend on whether a misstatement actually has

occurred but rather on whether there is a reasonable possibility that the company’s ICFR will

fail to prevent or detect a misstatement on a timely basis.”)

          371.   This evaluation focuses on the impact if a misstatement were to occur. Impact is

assessed as higher in consideration of factors such as financial materiality, the business area




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affected, the business processes affected, effect on the entity’s reputation, expected response of

external stakeholders, as well as mitigating controls.

       372.    The proper evaluation of the severity of deficiencies is critical. All significant

deficiencies and material weaknesses must be reported to the audit committee. Further,

management cannot disclose in its report that ICFR is effective if there is a single material

weakness, and any material weakness requires disclosure of the nature of the deficiency in

management’s SOX 404 report. (SEC Release No. 33-8238, see § II.B.3.c). This is because

significant internal control deficiencies adversely affect a company’s ability to initiate,

authorize, record, process, or report external financial data reliably in accordance with GAAP.

These risks expose a company’s financial statements to material misstatement.

                       (b)     GE’s SOX 302 Certifications

       373.    The Committee of Sponsoring Organizations of the Treadway Commission

(“COSO”) Framework states the CEO has the responsibility to establish the tone at the top for

the organization. (COSO Internal Control – Integrated Framework, May 2013, Ch. 5, Control

Environment, p.40 and Appendix B, p.149)105 The CEO has “ultimate ownership responsibility

for the internal control system.” (Id.) This is why, at least in part, in addition to the requirements

of SOX 404, SOX 302 requires executive officers of SEC registrants to certify that appropriate

ICFR has been implemented and was operating effectively to enable an opinion that the

Company’s regulatory filings did not contain any untrue material facts or omit to state a

material fact (see example certification included below).




105
   COSO is a joint initiative of five private sector accounting and auditing organizations
dedicated to providing guidance on enterprise risk management, internal controls and fraud
deterrence.


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       374.   During the Class Period, in each of GE’s periodic financial statements filed with

the SEC, GE’s CEO and CFO made the following certification: (GE 2016 Form 10-K, Exs.

31(a) and 31(b))

       1. I have reviewed this annual report on Form 10-K of GE Electric Company;

       2. Based on my knowledge, this report does not contain any untrue statement of a
       material fact or omit to state a material fact necessary to make the statements
       made, in light of the circumstances under which such statements were made, not
       misleading with respect to the period covered by this report;

       3. Based on my knowledge, the financial statements, and other financial
       information included in this report, fairly present in all material respects the
       financial condition, results of operations and cash flows of the registrant as of,
       and for, the periods presented in this report;

       4. The registrant’s other certifying officer(s) and I are responsible for
       establishing and maintaining disclosure controls and procedures (as defined in
       Exchange Act Rules 13a-15(e) and 15d-15(e)) and internal control over financial
       reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the
       registrant and have:

              (a) Designed such disclosure controls and procedures, or caused
              such disclosure controls and procedures to be designed under our
              supervision, to ensure that material information relating to the
              registrant, including its consolidated subsidiaries, is made known
              to us by others within those entities, particularly during the period
              in which this report is being prepared;

              (b) Designed such internal control over financial reporting, or
              caused such internal control over financial reporting to be
              designed under our supervision, to provide reasonable assurance
              regarding the reliability of financial reporting and the preparation
              of financial statements for external purposes in accordance with
              generally accepted accounting principles;

              (c) Evaluated the effectiveness of the registrant’s disclosure
              controls and procedures and presented in this report our
              conclusions about the effectiveness of the disclosure controls and
              procedures, as of the end of the period covered by this report
              based on such evaluation; and

              (d) Disclosed in this report any change in the registrant’s internal
              control over financial reporting that occurred during the
              registrant’s most recent fiscal quarter (the registrant’s fourth fiscal



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               quarter in the case of an annual report) that has materially
               affected, or is reasonably likely to materially affect, the
               registrant’s internal control over financial reporting; and

       5. The registrant’s other certifying officer(s) and I have disclosed, based on our
       most recent evaluation of internal control over financial reporting, to the
       registrant’s auditors and the audit committee of the registrant’s board of directors
       (or persons performing the equivalent functions):

               (a) All significant deficiencies and material weaknesses in the
               design or operation of internal control over financial reporting
               which are reasonably likely to adversely affect the registrant’s
               ability to record, process, summarize and report financial
               information; and

               (b) Any fraud, whether or not material, that involves management
               or other employees who have a significant role in the registrant’s
               internal control over financial reporting.

       375.    The SOX 302 certification addresses whether the financial statements and

financial information are “fairly present[ed].” By rule, this statement is intended to include the

management’s discussion and analysis [MD&A] of financial condition and results of operation.

(SEC Release No. 33-8124 § II.B.3). The term “fairly present” extends beyond whether the

financial information was presented in accordance with generally accepted accounting

principles (GAAP). Rather, the SEC’s view was that fair presentation: (Id.)

       [E]ncompasses the selection of appropriate accounting policies, proper
       application of appropriate accounting policies, disclosure of financial
       information that is informative and reasonably reflects the underlying
       transactions and events and the inclusion of any additional disclosure
       necessary to provide investors with a materially accurate and complete
       picture of an issuer’s financial condition, results of operations and cash flows.

       376.    A fact is material if there is “a substantial likelihood that the . . . fact would have

been viewed by the reasonable investor as having significantly altered the ‘total mix’ of

information made available.” (ASC 250-10-S99).

       377.    In addition, as seen in the certification above, SOX 302 certifications contain

representations regarding two types of controls: 1) disclosure controls and procedures (see #4


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above) and 2) ICFR (see #4b and d, and #5 above). While disclosure controls and procedures

include key aspects of ICFR, (SEC Release No. 33-8238 §§ II.D and E) disclosure controls and

procedures have a broader definition. (SEC Release No. 33-8124, § II.B ). Disclosure controls

and procedures should “capture information that is relevant to an assessment of the need to

disclose risks and developments that pertain to the issuer’s business.” (Id.)

       378.    Ultimately, prior to making the SOX 302 certifications, management was

required to conduct an appropriate evaluation of ICFR. In doing so, the SEC expected

management’s evaluation to focus on “areas of weakness or continuing concern.” (SEC Release

No. 33-8238 § II.E)

       While the evaluation is of effectiveness overall, a company’s management has
       the ability to make judgments (and it is responsible for its judgments) that
       evaluations, particularly quarterly evaluations, should focus on developments
       since the most recent evaluation, areas of weakness or continuing concern or
       other aspects of disclosure controls and procedures that merit attention.

       379.    This is because the “required evaluation should help to identify potential

weaknesses and deficiencies in advance of a system breakdown, thereby ensuring the

continuous, orderly and timely flow of information within the company and, ultimately, to

investors and the marketplace.” (SEC Release No. 33-8124 § VII).

                       (c)     GE’s “Audit” Personnel Were Not Competent to Assess LTC
                               Reserves

       380.    The outsized risk and uncertainty associated with GE’s LTC Reserves warranted

close attention from GE. In particular, for ICFR to operate effectively, GE needed experienced

personnel to evaluate the Company’s claims experience, monitor industry data, and assess

whether GE had processes in place such that LTC Reserves were set in consideration of such

data. GE, however, not only lacked the frontline personnel to enable such a process to occur,




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GE also failed to implement effective monitoring of such processes to enable an adequate

assessment of the effectiveness of its ICFR.

       381.    For example, FE-2 explained that prior to his audit of ERAC’s LTC reserves, the

only people that had ever looked into ERAC were part of GE’s CAS program. FE-2 described

CAS as a program at GE where entry level personnel (newly graduated from college) spend up

to three years moving through the GE organization by going into various business units.

According to FE-2, the CAS personnel would send 4-6 inexperienced people to supposedly

audit “everything under the sun.” CAS did not have actuaries or anyone experienced with

evaluating models, so none of ERAC’s underlying assumptions could be evaluated. This,

according to FE-2, is not the same as a proper audit by experienced internal audit staff, but more

akin to a management training program. Indeed, according to FE-2, Senior Management

including Joseph Pizzuto, former Chief Audit Executive of GE Capital acknowledged that CAS

is “not Internal Audit.” According to FE-2, CAS was not capable of auditing the insurance

business because they lacked understanding and were unable to challenge anything

questionable. FE-2 adamantly reiterated that business units like ERAC need auditors that

understand the business.

       382.    FE-1 further reported that GE’s internal controls were a “myth.” FE-1 recounted

how he went through an internal audit and that GE’s audit team did not have the necessary

expertise. According to FE-1, GE was “looking for the appearance of controls” to make it look

like the models were being audited, but they did not have the experience or knowledge to deal

with the reality of the situation. He added that the reason that he was hired was to modernize

and improve model governance, but he soon realized that GE management did not want actual




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model governance controls; rather, they merely “wanted it look like they had model governance

controls.”

       383.    FE-5 also reported that while GE created a more defined internal audit

department after the Company had been officially designated as a SIFI, in 2015 GE’s internal

audit program was “bastardized” – particularly as it related to GE Capital issues. According to

FE-5, GE’s CAS program morphed into a resource for GE rather than providing the function of

thoroughly auditing all of the business units. FE-5 advised that ultimately this led the auditors

to be “less audit focused” which was detrimental to GE Capital specifically. FE-5 added that

Internal Audit became more hands-off and things were lost in the shuffle.

       384.    FE-6 also confirmed that prior to the early 2015 audit of ERAC, no internal

auditors had been auditing the ERAC unit. According to FE-6, the Fed described GE’s CAS

which had previously audited GE’s various business units, as “a bunch of young individuals”

with limited experience. According to FE-6, the Fed’s MRA (Matters Requiring Attention)

memo detailed that GE Capital needed a more robust internal audit department than CAS with

deeper industry knowledge and institutional knowledge of the various business units across all

of GE Capital, including Insurance. FE-6 further described the CAS personnel as not having

the background knowledge to properly audit the various business units within GE Capital,

especially the legacy insurance business which required oversight from an actuary. According

to FE-6, CAS would rotate every three months to a different business unit so there was no

institutional knowledge or continuity.

       385.    FE-6 explained that the Fed’s “mandate” to increase the size, scope and

knowledge of GE Capital’s internal audit staff was carried out by Joseph Pizzuto. Prior to the

Fed’s mandate the internal audit staff at GE Capital (excluding CAS) was roughly 15-20 people.




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FE-6 also reported that the Fed required GE Capital to enhance their internal audit function

from a “risk based perspective” by developing detailed audit plans that focused on higher risk

areas of GE Capital and have more permanent personnel that were assigned to specific

businesses.

                       (d)    Defendants Violated SOX and Relevant SEC Regulations

       386.    These issues in combination with the many control deficiencies described herein

caused GE’s internal controls concerning its LTC Reserves and Contract Assets to contain an

material weakness at least as of December 31, 2014. This material weakness was attributable to

the fact that GE’s ICFR was not adequately designed to provide reasonable assurance regarding

the reliability of the Company’s financial reporting.

       387.    GE’s internal control for LTC Reserves was deficient in numerous respects,

including in regard to the setting and review of reserve-related assumptions, model validation

and control, and experience studies that underlay the LTC assumptions. The scope and

seriousness of these control deficiencies evidenced a material weakness in internal control for

GE’s LTC Reserve processes concerning its financial reporting and disclosures because a

reasonable possibility of a material misstatement resided in its financial statements.

       388.    Put simply, and as described above, GE’s ICFR was inadequate, which

implicated the Company’s inability to identify and correct material issues in its financial

reporting associated with its LTC Reserves including the related benefit expenses reflected in its

purported earnings and its margin testing. GE’s material control weakness includes its:

       • Failure to design or implement controls that provided reasonable assurance of
       appropriately assessing LTC reserve-related assumptions. This deficiency
       included inadequate testing of the data employed in GE’s assumptions and
       failure to consider adequate experience data, including industry data.




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       • Failure to have the right staff (i.e., experience and depth), the right data (e.g.,
       without errors and for relevant recent periods and appropriate systems/models),
       adequate documentation, and adequate peer review.

       • Failure to design or implement controls that provided reasonable assurance of
       appropriately governing and implementing the changes to assumptions into LTC
       models.

The LTC-related material weakness persisted through the Class Period.

       389.    On January 16, 2018, the full extent of GE’s deficient ICFR associated with LTC

Reserves was revealed when GE acknowledged a massive charge to earnings and ongoing

recapitalization of its LTC subsidiaries would be required.

       390.    As described in herein, GE’s ICFR associated with Contract Assets was also

exposed to control deficiencies. While GE needed systematic and consistent procedures to yield

reasonably dependable estimates of project costs instead, GE leveraged financial engineering

techniques focused on accelerating profits.

       391.    Ultimately, the Contract Asset-related control deficiencies failed to detect and

correct the shortcomings in GE’s estimation of project costs. While GE assumed revenue

improvements and cost efficiencies to support material accelerations of accounting profit, GE

was actually materially exposed to the declining power market and project cost overruns. Had

GE’s ICFR operated effectively, these cost overruns would have been identified and addressed

on a timely basis. In that event, GE’s acceleration of profits into earlier periods using Contract

Assets would have been limited, or eliminated altogether.

       392.    Further, GE’s disclosure controls and procedures also failed to address the need

for enhanced disclosures concerning GE’s heightened use of its monetization strategy during

2016 and 2017.

       393.    These Contract Asset-related control deficiencies comprised a material weakness

that persisted through at least September 30, 2017. Soon thereafter, in the fourth quarter of


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2017, GE installed new management, which implemented disciplined controls designed to

address whether reported Contract Assets and related disclosures were appropriate. These

controls, in turn, swiftly detected project cost overruns that required an $850 million change to

earnings first reported by GE on January 24, 2018, along with enhanced disclosure regarding

GE’s financial engineering.

       394.    As set forth above, SEC regulations required GE to focus on areas of weakness

or continuing concern. Clearly, both LTC Reserves and Contract Assets met this criterion. As

the SEC has stated, the reason for this focus is to identify deficiencies before a system

breakdown so that users of GE’s financial statements were provided with timely information.

       395.    GE’s control deficiencies aggregated in such a way that there was at least a

reasonable possibility that a material misstatement of GE’s financial statements relating to its

LTC reserves or Contract Assets would not be prevented or detected on a timely basis (i.e., the

definition of a material weakness). Despite this, GE violated SOX and relevant SEC regulations,

including SEC Release 33-8238 and 33-8810, by failing to make appropriate and required

disclosure of this material weakness at any point during the Class Period.

       396.    Consequently, GE’s evaluation of its ICFR and its related disclosures in earlier

periods constituted a severe departure from the diligence ordinarily expected in similar

circumstances under SOX 404 and 302. These violations made Defendants statements and

certifications relating to ICFR, including the assertions by GE management regarding the

effectiveness of its Disclosure Controls and Procedures, pursuant to SOX 404 and 302

materially false and misleading.

VII.   GE’S MATERIALLY FALSE AND MISLEADING FINANCIAL STATEMENTS

       397.    Throughout the Class Period, as detailed above, the financial metrics that GE

published to investors with respect GE and GE Capital’s quarterly and annual pre-tax earnings,


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cash and equivalents, CFOA, and Segment Profits were each materially false and misleading

because Defendants omitted to disclose that GE Capital failed to timely increase its reserves by

billions of dollars for its LTC reinsurance business as required under state insurance regulations

and GAAP.

       398.    Specifically, Defendants failed to disclose that: (1) the assumptions and

modeling underlying the LTC reserves were woefully stale and not properly updated despite

GE’s own experience (including its experience with the Genworth spin-off) and its knowledge

of LTC trends and experience requiring the updating of these assumptions and modeling which

would have led to material increases in LTC reserves; (2) GE was intentionally obfuscating the

facts of its LTC exposure by failing to make the most basic disclosures required by GAAP

(indeed during the Class Period, Defendants almost completely failed to make any meaningful

disclosure regarding GE’s LTC business or exposure); (3) GE failed to maintain sufficient

internal controls over its financial reporting with respect to LTC reserves including for many

years having a woefully insufficient internal audit function; (4) GE was stuck reinsuring the

worst block of LTC policies after the Genworth spin-off because including them with Genworth

jeopardized the spin-off; (5) GE had analyzed its LTC portfolio in 2015 and intentionally

decided not to sell it because it would have required a large discount; (6) GE failed to take

appropriate steps to increase its LTC Reserves because doing so would have eliminated the

dividend cash flow from GE Capital to GE and would have impaired GE’s ability to continue

funding a dividend and repurchase shares for its shareholders; and (7) GE violated GAAP and

SEC regulations by, among other things, under-reserving for LTC exposure and failing to

disclose the true risks and uncertainties associated with the LTC book.

       399.    Additionally, throughout the Class Period, as detailed above, the financial




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metrics that GE published to investors with respect GE’s Quarterly and Annual CFOA,

Industrial CFOA, Contract Asset Balance, and Power Segment revenue and operating profits

were each materially false and misleading because Defendants omitted to disclose that those

figures were generated in reliance on unsustainable business practices and GAAP violations.

Specifically, Defendants failed to disclose that: (1) in violation of GAAP, the Company had

relied on unsustainable business practices to renegotiate LTSAs with customers for no true

economic purpose and solely to generate positive cum catch margin adjustments (or avoid

negative cum catch margin adjustments) in order to meet internal revenue and earnings

projections, which GE used to conceal the fact that GE Power was not generating revenue

organically; (2) in order to mask the growing gap between earnings and CFOA that resulted

from over-reliance on cum catch adjustments, GE Power generated CFOA by factoring

receivables it obtained through contract renegotiation—a practice, known as “monetization,”

that was unsustainable because the existing number of LTSAs available to monetize in this way

was finite; and (3) the Company was overstating revenues, margins, and earnings on its LTSAs

(which corresponded with an inflation of the Company’s Contract Assets) in order to artificially

manipulate the Company’s quarterly and annual financial results in violation of GAAP, in part

because the estimations used for future costs, revenues, and margins on LTSA within the GE

Power segment were deficient and did not adequately account for the risk of non-payment from

customers.

       400.    Accordingly, all of the Company’s financial disclosures detailed in the charts

below were materially false and misleading. Additionally, all of the SOX certifications

contained in the Company’s Form 10-Ks and Form 10-Qs detailed above and referenced in the

charts below (including the representations that the reports did not contain material




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misrepresentations or omissions and concerning management’s assessment of internal controls)

were false and misleading for failure to disclose the information detailed above.

                 GE’s Annual Earnings, Cash, Profits, Cash Flow from
 Operating Activities, Contract Asset Balance, Industrial CFOA and Power Revenues 106

            Earnings From Cont. Ops Before Taxes (In millions)   2014      2015      2016
            GE Capital                                            7,641   (2,739)   (2,037)
            Consolidated                                         17,229     8,186     9,030

            Cash & Equivalents (In millions)                     2014     2015      2016
            GE Capital                                           74,292   60,111    37,604
            Consolidated                                         90,208   70,483    48,129

            Segment Operating Profits (In millions)              2014      2015      2016
            Total Industrial Segment Profit (Loss)               17,764   17,966    17,598
            GE Capital Profit (Loss)                              7,019   (7,983)   (1,251)
            Total Segment Profit (Loss)                          24,783     9,983   16,347

            Cash Flows From Operating Activities (In millions)   2014     2015      2016
            GE CFOA                                              15,171   16,354    29,960
            GE Industrial CFOA                                   12,171   12,054    11,610

            Contract Assets (In millions)                        2014     2015      2016
            Consolidated                                         16,960   21,156    25,163

            GE Power Segment (In millions)                       2014     2015      2016
            GE Power revenues                                    27,564   21,490    26,827
            GE Power operating profits                            5,352    4,502     4,979




106
   The numbers included within these charts represent what GE published to investors after
each quarterly or annual reporting period through its SEC filings. Because GE had discontinued
operations within GE Capital at different times during the Class Period, subsequent SEC filings
may contain adjusted historical numbers for comparability purposes that may differ from the
numbers published in these charts.


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                                              GE’s Quarterly Earnings, Cash, Profits, Cash Flow
                                     from Operating Activities, Contract Asset Balance and Industrial CFOA
                                                                Q 4 2014 - Q4 2017

Earnings From Cont.
Ops Before Taxes (In
millions)                  Q4 2014 Q1 2015 Q2 2015 Q3 2015 Q4 2015 Q1 2016 Q2 2016 Q3 2016 Q4 2016 Q1 2017 Q2 2017 Q3 2017
GE Capital                     2,247 (6,301)     856     769 (2,454)   (948)   (623)   (163)   (303)   (139)   (195)   (211)
Consolidated                   6,079 (4,948)   3,583   3,257   1,903     238   3,824   2,074   2,893     832   1,515   1,466

Cash & Equivalents (In
millions)                  Q4 2014 Q1 2015 Q2 2015 Q3 2015 Q4 2015 Q1 2016 Q2 2016 Q3 2016 Q4 2016 Q1 2017 Q2 2017 Q3 2017
GE Capita
      l                      74,292  73,632  74,644  82,276  60,111  65,778  42,192  41,939  37,604  33,689  29,829  27,019
Conso
  l idated                   90,208  87,055  91,666  99,086  70,483  75,075  52,123  52,530  48,129  41,564  44,049  39,854

Segment Operating
Profits (In millions)      Q4 2014     Q1 2015     Q2 2015    Q3 2015    Q4 2015     Q1 2016    Q2 2016    Q3 2016    Q4 2016    Q1 2017     Q2 2017    Q3 2017
Total Industrial
Segment Profit (Loss)         5,988        3,560      4,356      4,530       5,522      3,314      4,122      4,320      5,842      3,622       3,947      3,630
GE Capital Profit (Loss)      1,891     (12,544)        218        734     (1,615)      (893)      (600)         26        215        (47)      (172)         24
Total Segment Profit
(Loss)                        7,879      (8,984)      4,574      5,264      3,907       2,421      3,523      4,345      6,057      3,575       3,775      3,654

Cash Flows From
Operating Activities (In
millions)                  Q4 2014     Q1 2015 Q2 2015 Q3 2015 Q4 2015 Q1 2016 Q2 2016 Q3 2016 Q4 2016 Q1 2017 Q2 2017 Q3 2017
GE CFOA                                    1,340   2,610   2,576   9,828   7,856   2,833   7,653 11,618      370   3,215     465
GE Industrial CFOA                           890   2,610   2,576   5,978     356   (745)   3,757   8,242 (1,630)   1,467   1,740

Contract Assets (In
millions)                  Q4 2014 Q1 2015         Q2 2015    Q3 2015    Q4 2015 Q1 2016 Q2 2016 Q3 2016 Q4 2016 Q1 2017 Q2 2017 Q3 2017
Consolidated                 16,960                                        21,156  21,654  23,458  24,354  25,163  27,382  28,924  29,809




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VIII. DEFENDANTS’ ADDITIONAL MATERIALLY FALSE AND MISLEADING
      STATEMENTS AND OMISSIONS REGARDING LTC RESERVES AND
      CONTRACT ASSETS

       A.      Defendants’ Statements107

               1.      Fourth Quarter and Full Year 2014

       401.    On January 23, 2015, GE issued a press release, and filed the same on Form 8-K

with the SEC, entitled “GE 4Q 2014 Earnings” summarizing the Company’s financial and

operating results for the quarter and year ended December 31, 2014 and containing the same

false and misleading financial metrics referenced in the charts above.

       402.    On the same day, the Company hosted a conference call during which Defendant

Immelt spoke positively about the Company and its financial condition:

       We ended the year with substantial liquidity and financial strength. GE Capital
       ended the year with Tier 1 common ratio of 12.7%, substantially above the
       regulatory guidelines. We returned about $11 billion to investors in dividends
       and buyback, and we remain on track for $12 billion to $15 billion for free cash
       flow and dispositions in 2015.

       403.    Defendant Bornstein also provided opening remarks and added additional

information regarding GE Capital’s financials:

       Our liquidity levels are strong, ending the quarter at $76 billion. This includes
       $13 billion attributable to Synchrony. . . . On the right side of the page, asset
       quality trends continue to be stable, with significant improvements in our
       mortgage portfolio . . . .

                                          *      *       *

       Overall, Keith and the team continue to execute the portfolio strategy and
       deliver solid operating results. As we look forward to 2015, we expect GE
       Capital to generate about $0.60 on an EPS basis, as Jeff discussed last month
       during the annual Outlook Meeting. We expect GE Capital to earn approximately
       $1.5 billion in the first quarter of the year.

107
    In addition to GE’s materially false and misleading financials and overstated earnings, cash
flow, profits and contract assets, Plaintiff also alleges that the statements highlighted in bold and
italics within this section were materially false and misleading and/or omitted to disclose
material information as detailed herein.


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       404.    Following the opening remarks, Steve Tusa of JPMorgan asked about the

outlook for GE Capital dividends:

       Steve Tusa - JPMorgan - Analyst

       Got you. Then just one last question, just on cash. Jeff, just philosophically
       around the dividend, you guys are bumping up against an 80%-ish type of payout
       ratio on the free cash when it comes to the dividend. I mean, there is a pretty
       significant -- it’s a big dividend relative to your free cash flow.

       Is that dividend viewed -- I mean, is there a fine line here? Given obviously the
       location of cash makes it a little bit complicated as far as moving things around
       and being able to pay that. Would you -- is there a fine line as a percentage of
       free cash flow that you don’t mind going over Industrial free cash flow and
       paying the dividend?

       I mean is it -- and as far as growth, do you view the dividend, it’s a must-grow
       over time? I’m just trying to get my hands around how much you defend that
       dividend.

       Jeff Immelt

       You’ve got $16 billion of cash on the balance sheet right now. We are going to
       do Alstom this year. You’re still sitting on top of substantial excess cash in GE
       Capital.

       Look, I view the dividend as being key. We have capital allocation choices we
       make. We’re going to continue to grow our free cash flow as time goes on, and
       we’re comfortable with where we are right now.

       405.    On February 27, 2015, GE filed its Annual Report on Form 10-K with the SEC,

announcing GE’s financial and operating results for the quarter and fiscal year ended December

31, 2014 (the “2014 Form 10-K”). This report contained the same false and misleading financial

metrics referenced in the charts above.

       406.    In the 2014 Form 10-K, GE reported its total insurance liabilities at $27.578

billion and stated as follows with respect to asset impairment testing:

       We review identified intangible assets with defined useful lives and subject to
       amortization for impairment whenever events or changes in circumstances
       indicate that the related carrying amounts may not be recoverable. . . . For our
       insurance activities remaining in continuing operations, we periodically test


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       for impairment our deferred acquisition costs and present value of future
       profits.

       407.    The 2014 Form 10-K also stated as follows with respect to GE’s Contract Assets

(which at the time were identified in SEC filings as “contract costs and estimated earnings”):

       Contract costs and estimated earnings reflect revenues earned in excess of
       billings on our long-term contracts to construct technically complex equipment
       (such as power generation, aircraft engines and aeroderivative units) and
       long-term product maintenance or extended warranty arrangements. These
       amounts are presented net of related billings in excess of revenues relating to
       long-term product maintenance or extended warranty arrangements of $2,329
       million and $1,842 million at December 31, 2014 and 2013, respectively.

       408.    With respect to revenue recognition on LTSAs, the 2014 Form 10-K stated:

       Revenue recognition on long-term product services agreements requires
       estimates of profits over the multiple-year terms of such agreements, considering
       factors such as the frequency and extent of future monitoring, maintenance and
       overhaul events; the amount of personnel, spare parts and other resources
       required to perform the services; and future billing rate, cost changes and
       customers' utilization of assets. We routinely review estimates under product
       services agreements and regularly revise them to adjust for changes in outlook.
       We also regularly assess customer credit risk inherent in the carrying amounts of
       receivables and contract costs and estimated earnings, including the risk that
       contractual penalties may not be sufficient to offset our accumulated investment
       in the event of customer termination. We gain insight into future utilization and
       cost trends, as well as credit risk, through our knowledge of the installed base of
       equipment and the close interaction with our customers that comes with
       supplying critical services and parts over extended periods. Revisions may affect
       a product services agreement's total estimated profitability resulting in an
       adjustment of earnings; such adjustments increased earnings by $1.0 billion,
       $0.3 billion and $0.4 billion in 2014, 2013 and 2012, respectively. We provide
       for probable losses when they become evident.

       409.    Defendants’ statements regarding excess cash and stable asset quality trends at

GE Capital and periodic testing of GE Capital’s insurance portfolio for impairment (¶¶ 403 and

404) were materially false and misleading and failed to disclose:

               (a)    the serious risks and uncertainties associated with GE’s LTC exposure;

               (b)    that the Company failed to timely record increases to LTC Reserves by

billions of dollars in violation of GAAP and statutory insurance regulations;


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               (c)     that the Company failed to maintain adequate internal controls over its

financial reporting with respect to LTC Reserves; and

               (d)     that as a result of the foregoing, GE materially overstated its earnings and

cash flows during the Class Period.

       410.    Defendant Immelt’s statement regarding the dividends (¶ 402) was materially

false and misleading and failed to disclose that only by materially under-reserving for liabilities

related to GE Capital’s legacy LTC reinsurance policies was GE able to maintain sufficient free

cash flow for its quarterly dividend payments and stock buyback program.

       411.    Defendants’ statements regarding contract assets and revenue recognition on

LTSAs (¶¶ 406-408) were materially false and misleading and failed to disclose:

               (a)     that, in violation of GAAP, the Company had relied on unsustainable

business practices to renegotiate LTSAs with customers for no true economic purpose and

solely to generate positive cum catch margin adjustments (or avoid negative cum catch margin

adjustments) in order to meet internal revenue and earnings projections, which GE used to

conceal the fact that GE Power was not generating revenue organically;

               (b)     that in order to mask the growing gap between earnings and CFOA that

resulted from over-reliance on cum catch adjustments, GE Power generated CFOA by factoring

receivables it obtained through contract renegotiation—a practice, known as “monetization,”

that was unsustainable because the existing number of LTSAs available to monetize in this way

was finite;

               (c)     that the Company was overstating revenues, margins, and earnings on its

LTSAs (which corresponded with an inflation of the Company’s Contract Assets) in order to

artificially manipulate the Company’s quarterly and annual financial results in violation of




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GAAP, in part because the estimations used for future costs, revenues, and margins on LTSA

within the GE Power segment were deficient and did not adequately account for the risk of non-

payment from customers;

               (d)     that the Company failed to maintain adequate internal controls over its

financial reporting with respect to its Contract Assets; and

               (e)     that as a result of the foregoing, GE materially overstated its earnings and

cash flows during the Class Period and GE’s public statements were materially false and

misleading at all relevant times and omitted the material information discussed herein.

               2.      GE’s February 2, 2015 Letter to the Fed

       412.    Moreover, in a February 2, 2015 letter from Keith S. Sherin, then Vice Chairman

of GE and CEO of GE Capital, to Robert Frierson, Secretary Board of Governors of the Federal

Reserve System, Sherin detailed, among other things, the responsibilities of GE’s Risk

Committee, formed in 2011, which purportedly had “ultimate responsibility for oversight of

GECC’s enterprise risks” and which had “established a rigorous meeting and engagement

process to oversee GECC effectively and independently.” Sherin described GE’s Risk

Committee as follows:

       GE Risk Committee

       Ultimate responsibility for oversight of GECC's enterprise risks is currently
       vested in the GE Risk Committee, whose principal charter is to provide
       "independent oversight of the Company's wholly-owned subsidiary, General
       Electric Capital Corporation (GECC), including the adequacy and effectiveness
       of its risk management and credit review functions." This is the core of what
       GECC and GE strongly believe to be a thoughtful and effective protocol for
       managing GECC's risks while maintaining an informed view of the relationship
       between GECC and GE.

       The GE Risk Committee consists of four eminently qualified and dedicated
       independent directors who have significant financial services experience and
       who have successfully led institutions in both the private and public sectors…
       W. Geoffrey Beattie, John J. Brennan, James E. Rohr, and Mary L. Schapiro….


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       The GE Risk Committee has established a rigorous meeting and engagement
       process to oversee GECC effectively and independently. Its GECC-focused
       oversight has steadily intensified since the Committee's formation in 2011,
       with more frequent and more in-depth meetings and other sessions with GECC
       management. In 2014, the GE Risk Committee convened more than 20
       meetings focused on GECC matters. The GE Risk Committee has added
       monthly calls with the GECC Chief Risk Officer and senior leadership to allow
       for more comprehensive risk updates. The annual schedule includes in-depth
       reviews of each GECC business, site visits to GECC locations and GE Risk
       Committee exposure to a range of GECC risk and business leaders and other
       subject matter experts. We anticipate a similar GE Risk Committee schedule
       during 2015. The meeting schedule is illustrative, but of course captures only a
       portion of the time that the GE Risk Committee members spend on GECC
       oversight when also accounting for informal interactions with GECC
       management, preparation for meetings and review of board reporting and other
       materials.108

       413.    Defendant Sherin’s statements regarding risk management at GE were materially

false and misleading and failed to disclose that the Company maintained inadequate internal

controls over its financial reporting with respect to LTC reserves and financial reporting.

               3.      Barclays Industrial Select Conference (February 18, 2015)

       414.    On February 18, 2015, GE presented at the Barclays Industrial Select

Conference. After opening remarks, the Company answered analyst questions. Scott Davis of

Barclays Capital asked:

       Scott Davis - Barclays Capital – Analyst

       [W]hat is it that the GE management team is missing that isn’t capturing the
       attention of investors and getting people to own the stock?

       Jeff Bornstein

       I think that there has been a lot of uncertainty around GE Capital and what is the
       right size; what options do we have; what does it mean to be a SIFI. Your
       dividend and capital allocation policy at GE capital is subject to, ultimately in
       2017, to a formal CCARs process publicly, etc.

108
   As set forth in the February 2, 2015 letter, GE’s Risk Committee was made up of four
independent directors from GE’s board (W. Geoffrey Beattie, John J. Brennan, James E. Rohr,
and Mary L. Schapiro) with significant financial services, accounting and risk management
experience.


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       I get a lot of questions around what is the optionality or what is the right -- and
       we are absolutely laser focused on monetizing the entirety of the $130 billion
       [ret] portfolio. And we will continue to look at the balance of the portfolio and
       make sure we are staying in platforms that add real value.

       415.    Defendant Bornstein’s comments (¶ 414) were materially false and misleading

and failed to disclose that instead of being able to “monetize” the GE Capital portfolio, only by

materially under-reserving for liabilities related to GE Capital’s legacy LTC reinsurance

policies was GE able to maintain sufficient free cash flow for its quarterly dividend payments

and stock buyback program.

               4.         GE Capital Investor Meeting (April 10, 2015)

       416.    On April 10, 2015, GE announced a major restructuring strategy that included:

(1) the sale of substantial GE Capital assets; and (2) a plan to return more than $90 million to

GE shareholders through 2018 through cash dividends, a $50 million share buyback program

and a share exchange involving the split-off of Synchrony Financial, GE Capital’s North

American retail finance business.

       417.    The same day, the Company hosted a conference call during which Defendant

Immelt stated, in part:

       Today we are announcing a definitive step in our evolution to create a focused
       infrastructure and technology company. We plan to sell most GE Capital assets
       over the next 18 to 24 months and remain primarily in core verticals and
       markets GE knows best.

       418.    Keith Sherin provided additional information regarding GE Capital:

       Thank you, Jeff. As you all know, we have done a lot over the last six years to
       shrink GE Capital while also making it much safer.

                                          *      *      *

       [T]here has been more discussion around the SIFI de-designation process. De-
       designation guidance was published in February and the recent congressional
       hearings gave us additional input on regulatory thinking around the subject.



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                                  *       *       *

We have obviously been just watching what the FSOC is saying. In February,
there were some brief guidelines issued about the offramp and that is a start.
Obviously no one has ever done it.

And then obviously the hearings, the Congressional hearings, I think you look at
some of the commentary around the hearings, one that SIFIs received higher
capital charges to encourage them to shrink. Two, that if a SIFI actually changed
its business model they should come in and talk to the FSOC about the change
and what it meant for the designation. And those things, those three things, all
line up with our strategy here around capital allocation.

So we are trying to achieve an objective that is good for the financial system
that is also really good for our shareholders and I think we have found that
sweet spot here.

I would say is the faster we go and the smaller we get, certainly in the US, as Jeff
said, the earlier we will be able to address the characteristics that made us
systemic and apply to de-designate.

419.   In discussing the “Future [of] GE Capital segment,” Sherin stated, in part:

So next I want to just give you a snapshot of GE Capital going forward. The left
side shows the ending net investment forecast for the next several years. You can
see that we plan to shrink rapidly. Our goal is to get down to $90 billion globally
by the end of 2017. Our estimate is that we will have about $50 billion of ENI
outside the US and about $40 billion in the US.

On the right side you can see that the future GE Capital segment will have about
$1.5 billion in net income and a 13% return on tangible equity, ex[cluding]-
insurance. We plan on giving you the pro forma financial information for this
future GE Capital every quarter as we go forward.

420.   Defendant Bornstein followed up by summarizing as follows:

In this construct we believe that we will be in a position to return up to $90
billion or more of cash between 2015 and 2018 through dividends, buybacks
and the Synchrony exchange. The dividend remains a priority for the Company.
We plan to maintain the current dividend through 2016 and expect it to grow
thereafter. The current dividend yield on the stock is an attractive 3.7%.

421.   The Bank of America analyst, Andrew Obin, asked:

Andrew Obin - BofA Merrill Lynch - Analyst

I guess what I was asking is that there is a linkage -- there is a regulatory linkage
between GE Industrial balance sheet and GE Capital and from that perspective


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       the fact that you still continue to support GE Capital’s debt, what does that imply
       for ability to lever up GE Industrial? That’s what I am asking. (multiple
       speakers)

       Jeff Bornstein

       I understand your question. As Dan went through, we are going to maintain
       enormous amounts of liquidity. We will have 24 months of maturity coverage in
       excess of 140% as we work through this plan. So that’s effectively defeasing the
       maturities associated with that GE Capital debt. There is not going to be
       anything implied on the GE balance sheet for that debt as part of the
       guarantee. As long as GE Capital and the rating agencies are comfortable that
       the cash flows of GE Capital can be a source to repay those maturities, that debt
       will not be applied on the GE Company metrics.

       422.    Jeff Sprague, an analyst from Vertical Research, asked a question regarding the

dividend going forward:

       Jeff Sprague - Vertical Research - Analyst

       All right. And then finally, what would you consider a normal payout ratio then
       as you think about the dividend going forward?

       Jeff Bornstein

       Around 50%.

       Jeff Immelt

       I think in the context, Jeff, of the dividend, flat or growing. In other words I
       think the dividend is key for the stock and I think that’s the way investors ought
       to be thinking about it. And again with all of this buyback, the cash outlay on
       dividends is -- reduces dramatically.

       423.    On this news, GE’s common stock jumped by $2.78, or 10.8 percent to close at

$28.51 per share on April 10, 2015.

       424.    Defendants Immelt’s and Bornstein’s statements regarding the dividends (¶¶ 420

and 422) were materially false and misleading and failed to disclose that only by materially

under-reserving for liabilities related to GE Capital’s legacy LTC reinsurance policies was GE

able to maintain sufficient free cash flow for its quarterly dividend payments and stock buyback

program.


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       425.    Defendant Sherin’s statements (¶ 418) about SIFI de-designation were materially

false and misleading and failed to disclose that the real reason GE was seeking de-designation

as a non-bank SIFI was that the Company did not want federal regulators looking into GE

Capital’s books including its materially understated LTC liabilities and weak internal controls.

       426.    GE’s calculation of income and tangible equity excluding LTC insurance

liabilities (¶ 419) and the Company’s failure to address its substantial LTC liabilities in a call

devoted entirely to GE Capital’s businesses made these statements materially false and

misleading.

               5.      GE Responds to Genworth’s LTC Reserve Charges (April 14, 2015)

       427.    An April 14, 2015 article in TheStreet.com, written by Dan Freed and entitled,

“GE Stuck With $28 Billion Insurance Liability” noted that in the wake of Genworth’s increases

to its LTC Reserves GE was asked about its own LTC exposure and why it was selling its LTC

assets.109 The article reported:

       GE spokesman Seth Martin declined to comment on why GE isn’t selling these
       assets, but says they are in runoff. “We have not written any new policies in
       several years.”

       428.    GE’s statements were materially false and misleading and failed to disclose that

the Company was failing to timely record increases to LTC Reserves of billions of dollars in

violation of GAAP and statutory insurance regulations.

               6.      First Quarter 2015

       429.    On April 17, 2015, GE issued a press release, and filed the same on Form 8-K

with the SEC, entitled “GE 1Q 2015 Earnings,” summarizing the Company’s financial and



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   Dan Freed, GE Stuck With $28 Billion Insurance Liability, TheStreet (Apr. 14, 2015),
https://www.thestreet.com/story/13112319/1/ge-stuck-with-28-billion-insurance-liability--
exclusive.html


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operating results for the quarter ended March 31, 2015 and containing the same false and

misleading financial metrics referenced in the charts above.

       430.    On the same day, the Company hosted a conference call during which Defendant

Immelt stated, in part:

       Meanwhile simplification continues to track good results and we’re seeing more
       benefits ahead. One of the goals for 2015 is to expand margins in both
       equipment and service. We grew equipment margins by 120 basis points and
       service by 70 basis points in the quarter. We are making progress on margins
       as a Company.

                                         *       *      *

       Dispositions in CFOA are on track and we expect GE Capital to dividend
       between $500 million and $7 billion in line with what we talked about last week
       and we will update this as we go through the year. We will continue to drive
       investor friendly capital allocation. The dividend remains a top priority. . . So
       between Synchrony, the buyback and dividends we can return $90 billion to
       investors over the next few years.

       431.    In response to a question from Joe Richie of Goldman Sachs about whether de-

designation as a non-bank SIFI was the goal of the GE Capital asset sales, Defendant Bornstein

responded in the affirmative:

       You are correct, I would say the second order of priority would be we think in
       the US our ability to execute quickly and in scale is very favorable today and it is
       a big part of the discussion around the SIFI status.

       432.    Defendant Immelt’s statement regarding the dividends (¶ 430) materially false

and misleading and failed to disclose that only by materially under-reserving for liabilities

related to GE Capital’s legacy LTC reinsurance policies was GE able to maintain sufficient free

cash flow for its quarterly dividend payments and stock buyback program.

       433.    Defendant Bornstein’s statement about the goal of the GE Capital Exit Plan asset

sales being SIFI de-designation (¶¶ 430-431) was materially false and misleading and failed to

disclose that the real reason GE was seeking de-designation as a non-bank SIFI was that the



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Company did not want federal regulators looking into GE Capital’s books including its

materially understated LTC liabilities and weak internal controls.

       434.    GE filed a Quarterly Report on Form 10-Q with the SEC, on May 4, 2015,

announcing GE’s financial and operating results for the quarter ended March 31, 2015. This

report contained the same false and misleading financial metrics referenced in the charts above.

               7.     Annual Shareholders Meeting (April 22, 2015)

       435.    On April 22, 2015, GE hosted its Annual Shareholders Meeting during which

Defendant Bornstein stated, in relevant part:

       And we have more clarity now regulatorily on the off ramp from de-designated
       from being a systemically important financial institution. And we’ve got an
       approach that we think is shareholder friendly, allows us to execute this with a
       level of purchasing cost that we think is plausible for shareholders. And over
       time, as Keith Sherin and the team execute this plan, we see an opportunity to
       return about $35 billion of capital from GE Capital back to the company, and
       ultimately, back to you.

       So between now and 2018, our view is, we can deliver $90 billion plus back to
       shareholder, and we’ll do that a number of different ways. One is through the
       dividends. We are very focused and supportive of the dividend. It’s one of our
       single biggest priorities.

       We plan for the dividend to remain where it is today, probably through 2016. We
       expect it from there to grow as earnings grow into the future.

                                        *        *     *

       And then in the plan that Keith and the team are executing, where we shrink
       GE Capital to just the core, return $35 billion of excess capital, and we use
       those proceeds to buy back the company stock, we’ll lose $0.25 a share of
       earnings from GE Capital from those businesses we sold, but we'll get $0.25
       back in accretion with a lower share count outstanding.




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       436.    Defendant Immelt stated:

       Two weeks ago, we announced a significant strategic change for G.E. Capital. In
       the future, we'll focus only on financing businesses connected to G.E.’s industrial
       markets and sell the remainder of G.E. Capital. We’ve already achieved a large
       part of this goal through the Synchrony split and the sale of our commercial real
       estate business.

       Executing this plan should allow us to deliver $90 billion in dividends and
       buyback over the next few years.

       437.    Defendants Immelt and Bornstein’s statements regarding the dividends and

buybacks (¶¶ 435-436) were materially false and misleading and failed to disclose that only by

materially under-reserving for liabilities related to GE Capital’s legacy LTC reinsurance

policies was GE able to maintain sufficient free cash flow for its quarterly dividend payments

and stock buyback program.

       438.    Defendant Bornstein’s statements about the GE Capital SIFI de-designation off-

ramp (¶ 435) were materially false and misleading and failed to disclose that the real reason GE

was seeking de-designation as a non-bank SIFI was that the Company did not want federal

regulators looking into GE Capital’s books including its materially understated LTC liabilities

and weak internal controls.

               8.     Electrical Products Group Conference (May 20, 2015)

       439.    On May 20, 2015, GE attended the Electrical Products Group Conference during

which Defendant Immelt made a presentation on behalf of the Company regarding reducing the

Company’s investment in GE Capital:

       So who gets the money? This is again just talking about -- there is going to be a
       ton of cash generated and the answer is primarily you. Primarily our investors are
       going to get dividend growth. You’re going to get -- the Synchrony split comes
       back in $20 billion, the $35 billion coming from. . . .

                                        *       *      *



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       So that’s GE. I think like the portfolio, like the moves we have made. Strong
       portfolio, balanced portfolio, really in good shape.

       440.    Defendant Immelt’s statement regarding GE Capital having a “[s]trong portfolio,

balanced portfolio, really in good shape” (¶ 439) was materially false and misleading and

omitted to disclose that the Company was failing to timely record increases to LTC reserves of

billions of dollars in violation of GAAP and statutory insurance regulations.

               9.     Sanford C. Bernstein Strategic Decisions Conference (May 27, 2015)

       441.    On May 27, 2015, GE made a presentation at the Sanford C. Bernstein Strategic

Decisions Conference during which Defendant Sherin reported the following business update

on GE Capital:

       Keith Sherin

       The verticals as we go forward. These are really very strong businesses. They
       are connected to GE. They provide synergy between the industrial and the
       financial business. We will have about $90 billion of investment. We will earn
       about $1.5 billion, have a tangible equity of 13% ex-insurance.

                                        *       *       *

       In terms of the Company priorities, the dividend remains a priority. It’s going to
       be flat in 2016 and then grow thereafter. . . . The buyback of $35 billion from
       GE Capital, basically we need to shrink our risk-weighted assets, get the
       proceeds from those sales and then return that capital back to the parent over
       time and we have a small amount that we think we’ve will be working on for the
       fourth quarter of 2015 and then our capital plan for 2016 will deliver a
       substantial amount of that back and there may be some that comes back in 2017.

       442.    Defendant Sherin’s statement regarding the dividends and buyback (¶ 441) was

materially false and misleading and failed to disclose that only by materially under-reserving for

liabilities related to GE Capital’s legacy LTC reinsurance policies was GE able to maintain

sufficient free cash flow for its quarterly dividend payments and stock buyback program.

       443.    Defendant Sherin’s statement regarding GE Capital’s Verticals business

(including the insurance businesses) being “really very strong businesses” (¶ 441) was


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materially false and misleading and failed to disclose that the Company was failing to timely

record increases to LTC Reserves by billions of dollars in violation of GAAP and statutory

insurance regulations.

               10.       Second Quarter 2015

       444.    On July 17, 2015, GE issued a press release, and filed the same on Form 8-K

with the SEC, entitled “GE 2Q 2015 Earnings,” summarizing the Company’s financial and

operating results for the period ended June 30, 2015 and containing the same false and

misleading financial metrics referenced in the charts above.

       445.    On July 30, 2015, GE filed a Quarterly Report on Form 10-Q with the SEC,

announcing GE’s financial and operating results for the quarter ended June 30, 2015. This

report contained the same false and misleading financial metrics referenced in the charts above.

       446.    In the Form 10-Q’s MD&A section, GE again described its GE Capital Exit Plan

in substantially the same language that it used on May 4, 2015.

               11.       Third Quarter 2015

       447.    On October 16, 2015, GE issued a press release, and filed the same on Form 8-K

with the SEC, entitled “GE 3Q 2015 Earnings,” summarizing the Company’s financial and

operating results for the quarter ended September 30, 2015 and containing the same false and

misleading financial metrics referenced in the charts above.

       448.    On November 2, 2015, GE filed a Quarterly Report on Form 10-Q with the SEC,

announcing GE’s financial and operating results for the quarter ended September 30, 2015. This

report contained the same false and misleading financial metrics referenced in the charts above.




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               12.     Annual Outlook Investor Meeting (December 16, 2015)

       449.    On December 16, 2015, GE hosted its Annual Outlook Investor Meeting during

which Defendant Immelt presented an overview of the Company and spoke at length regarding

the restructuring of GE Capital:

       We are returning a lot of cash to investors, $32 billion to investors from a
       standpoint of dividend and Synchrony and buyback. And we continue to invest
       in growth, in organic growth.

                                         *       *       *

       Free cash flow plus dispositions will be towards the higher end of that range. The
       way to think about that is we received a $2.5 billion dividend from GE Capital
       last Friday for a total of $3 billion for the year. We could get an additional
       dividend yet this year and so that has made up for the lack of having the
       appliance transaction close in 2015.

                                         *       *       *

       Dividends in 2015 and 2016 what we are counting on and then the rest will come
       in in 2017 and 2018. Like I said earlier, we had a $500 million dividend in the
       first quarter this year. We received an additional $2.5 billion last week, so that is
       a total of $3 billion. And we still think there is a good chance we will get a good
       chance we will get an additional $1.5 billion this year and still do $18 billion
       next year.

       450.    Defendant Immelt’s statement regarding the dividends (¶ 449) was materially

false and misleading and failed to disclose that only by materially under-reserving for liabilities

related to GE Capital’s legacy LTC reinsurance policies was GE able to maintain sufficient free

cash flow for its quarterly dividend payments and stock buyback program.

               13.     Fourth Quarter & Full Year 2015

       451.    On January 22, 2016 GE issued a press release, and filed the same on Form 8-K

with the SEC, entitled “GE 4Q 2015 Earnings,” summarizing the Company’s financial and

operating results for the quarter and year ended December 31, 2015 and containing the same

false and misleading financial metrics referenced in the charts above.




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       452.    On February 26, 2016, GE filed its 2015 Form 10-K announcing GE’s financial

and operating results for the quarter and fiscal year ended December 31, 2015. This report

contained the same false and misleading financial metrics referenced in the charts above.

       453.    The 2015 Form 10-K stated as follows with respect to Contract Assets:

       Contract assets reflect revenues earned in excess of billings on our long-term
       contracts to construct technically complex equipment (such as gas power
       systems and aircraft engines), long-term product maintenance or extended
       warranty arrangements and other deferred contract related costs. Long-term
       product maintenance amounts are presented net of related billings in excess of
       revenues of $2,602 million and $2,329 million at December 31, 2015 and 2014,
       respectively. Included in contract assets at December 31, 2015, is $1,979
       million related to the Alstom acquisition.

       454.    The 2015 Form 10-K also reported as follows with respect to revenue

recognition on LTSAs:

       Revenue recognition on long-term product services agreements requires
       estimates of profits over the multiple-year terms of such agreements, considering
       factors such as the frequency and extent of future monitoring, maintenance and
       overhaul events; the amount of personnel, spare parts and other resources
       required to perform the services; and future billing rate, cost changes and
       customers' utilization of assets. We routinely review estimates under product
       services agreements and regularly revise them to adjust for changes in outlook.
       We also regularly assess customer credit risk inherent in the carrying amounts of
       receivables and contract costs and estimated earnings, including the risk that
       contractual penalties may not be sufficient to offset our accumulated investment
       in the event of customer termination. We gain insight into future utilization and
       cost trends, as well as credit risk, through our knowledge of the installed base of
       equipment and the close interaction with our customers that comes with
       supplying critical services and parts over extended periods. Revisions may affect
       a product services agreement’s total estimated profitability resulting in an
       adjustment of earnings; such adjustments increased earnings by $1.4 billion,
       $1.0 billion and $0.3 billion in 2015, 2014 and 2013, respectively. We provide
       for probable losses when they become evident.

       455.    The 2015 Form 10-K also repeated the following with respect to asset

impairment testing:

       We review identified intangible assets with defined useful lives and subject to
       amortization for impairment whenever events or changes in circumstances
       indicate that the related carrying amounts may not be recoverable. . . For our


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       insurance activities remaining in continuing operations, we periodically test
       for impairment our deferred acquisition costs and present value of future
       profits.

       456.    With respect to LTC reserve testing, the 2015 Form 10-K stated:

       Our run-off insurance activities include providing insurance and reinsurance for
       life and health risks and providing certain annuity products. Two primary
       product types are provided: traditional insurance contracts and investment
       contracts. Insurance contracts are contracts with significant mortality and/or
       morbidity risks, while investment contracts are contracts without such risks. . . .
       For traditional long-duration insurance contracts, including long-term care, term,
       whole life and annuities payable for the life of the annuitant, we report premiums
       as earned income when due . . . . Liabilities for unpaid claims and estimated
       claim settlement expenses represent our best estimate of the ultimate
       obligations for reported and incurred-but-not-reported claims and the related
       estimated claim settlement expenses. Liabilities for unpaid claims and
       estimated claim settlement expenses are continually reviewed and adjusted
       through current operations.

       457.    Defendants’ statements regarding (i) periodic testing of GE Capital’s insurance

portfolio for impairment; (ii) LTC Reserves “represent[ing] our best estimate of the ultimate

obligations” and (iii) LTC liabilities being “continually reviewed and adjusted through current

operations” (¶ 456) were materially false and misleading and failed to disclose:

               (a)    emerging LTC trends in GE’s own “Tests of Claims Reserves” at ERAC

and UFLIC;

               (b)    the serious risks and uncertainties associated with GE’s LTC exposure;

               (c)    that the Company had “again reviewed” its insurance exposure, including

its LTC insurance exposure in 2015 but had taken no action to materially increase its LTC

reserves despite alarming adverse claims experience in the LTC policies it was reinsuring and

mounting industry-wide negative trends in the LTC market;

               (d)    that the Company failed to timely record increases to LTC reserves by

billions of dollars in violation of GAAP and statutory insurance regulations;




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               (e)    the Company failed to maintain adequate internal controls over its

financial reporting with respect to LTC reserves; and

               (f)    that as a result of the foregoing, GE materially overstated its earnings and

cash flows during the Class Period.

       458.    Defendants’ statements regarding contract assets and revenue recognition on

LTSAs (¶¶ 453 and 454) were materially false and misleading and failed to disclose:

               (a)    that, in violation of GAAP, the Company had relied on unsustainable

business practices to renegotiate LTSAs with customers for no true economic purpose and

solely to generate positive cum catch margin adjustments (or avoid negative cum catch margin

adjustments) in order to meet internal revenue and earnings projections, which GE used to

conceal the fact that GE Power was not generating revenue organically;

               (b)    that in order to mask the growing gap between earnings and CFOA that

resulted from over-reliance on cum catch adjustments, GE Power generated CFOA by factoring

receivables it obtained through contract renegotiation—a practice, known as “monetization,”

that was unsustainable because the existing number of LTSAs available to monetize in this way

was finite;

               (c)    that the Company was overstating revenues, margins, and earnings on its

LTSAs (which corresponded with an inflation of the Company’s Contract Assets) in order to

artificially manipulate the Company’s quarterly and annual financial results in violation of

GAAP, in part because the estimations used for future costs, revenues, and margins on LTSA

within the GE Power segment were deficient and did not adequately account for the risk of non-

payment from customers;




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               (d)     that the Company failed to maintain adequate internal controls over its

financial reporting with respect to its Contract Assets; and

               (e)     that as a result of the foregoing, GE materially overstated its earnings and

cash flows during the Class Period and GE’s public statements were materially false and

misleading at all relevant times and omitted the material information discussed herein.

               14.     Barclays Industrial Select Conference (February 17, 2016)

       459.    On February 17, 2016, GE participated in the Barclays Industrial Select

Conference during which Defendant Bornstein provided a summary of the Company’s current

financial status and future prospects, including those specific to GE Capital. As part of his

presentation, with respect to the dividend from GE Capital, Defendant Bornstein stated “we

expect the business to dividend about $18 billion back to the Company this year. We plan on

investing that $18 billion in reducing the share count in the Company.”

       460.    Defendant Bornstein’s statements regarding dividends and buybacks (¶ 459)

were materially false and misleading and failed to disclose that only by materially under-

reserving for liabilities related to GE Capital’s legacy LTC reinsurance policies was GE able to

maintain sufficient free cash flow for its quarterly dividend payments and stock buyback

program.

               15.     First Quarter 2016

       461.    On April 22, 2016, GE issued a press release, and filed the same on Form 8-K

with the SEC, entitled “GE 1Q 2016 Earnings,” summarizing the Company’s financial and

operating results for the quarter ended March 31, 2016 and containing the same false and

misleading financial metrics referenced in the charts above.




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       462.   On the same day, the Company hosted a conference call during which Defendant

Immelt spoke positively about the Company overall, including GE Capital, its portfolio and the

expected dividend:

       We continue to execute our GE Capital strategy. We have $166 billion of Capital
       deals signed. GE Capital sent a $7.5 billion dividend to the Parent in the quarter,
       and GE Capital filed for SIFI de-designation in March.

                                        *       *      *

       We returned $8.3 billion to investors in dividend and buyback, and our capital
       allocation framework remains on track. Importantly, we are reaffirming our 2016
       framework goal of $1.45 to $1.55 EPS, 2% to 4% organic growth, CFOA of $29
       billion to $32 billion, and $26 billion of cash to investors.

       Our performance in the quarter again validates the strength of the GE operating
       model. Diversity is a key strength during this period of volatility.

                                        *       *      *

       Cash was in line with expectations. As I said earlier, we received a $7.5 billion
       dividend from Capital.

                                        *       *      *

       Our balance sheet remains very strong, and we ended the quarter with $106
       billion of liquidity at GE Capital and $9 billion of cash on the balance sheet.
       Meanwhile, we returned $8.3 billion of cash to investors in buyback and
       dividend.

       We expect to receive $18 billion from GE Capital for the year . . .

       463.   Defendant Bornstein also provided some insight into GE Capital:

       The last segment I’ll cover is GE Capital. Our Verticals businesses earned $496
       million this quarter. That’s up 43% from prior year, driven by higher gains,
       better operations, partially offset by lower tax benefits and impairments.
       Portfolio quality continues to remain stable.

                                        *       *      *

       The timing of dividends for the rest of the year is dependent on the timing of deal
       closures, but we expect to pay roughly half of the $18 billion we’ve targeted in
       the first half of the year and the remainder in the second half.

                                        *       *      *


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       Overall, Keith and the GE Capital team have executed ahead of schedule and on
       all aspects of the plan we shared with you one year ago. We expect to be largely
       completed with the asset sales by 2016.

       On March 31 we filed the request to the FSOC for the rescission of GE Capital’s
       designation as a SIFI. The filing demonstrates that GE Capital has substantially
       reduced its risk profile and is significantly less interconnected to the financial
       system, and therefore does not pose any threat to the US financial system. We
       hope to complete the de-designation process as soon as possible.

       464.    Following the Company’s opening remarks, the Company opened the line to

analysts’ questions. Deane Dray of RBC Capital Markets asked about the “cadence of

buybacks, that $18 billion” and the “sequence” for the “balance of the year,” to which

Defendant Bornstein responded:

       The way we planned it out, as you saw in the cash flow walk that Jeff took you
       through, we bought $6.1 billion worth of stock back through the first quarter.
       Our plan is to buy back roughly 50% in the first half, 50% in the second half; and
       that’s how we’re still planning for the dividends to flow from GE Capital. No
       change versus what we suggested we would do.

       465.    On May 4, 2016, GE filed a Quarterly Report on Form 10-Q with the SEC,

announcing GE’s financial and operating results for the quarter ended March 31, 2016. This

report contained the same false and misleading financial metrics referenced in the charts above.

       466.    The Form 10-Q also stated the following with respect to Contract Assets:

       Contract assets reflect revenues earned in excess of billings on our long-term
       contracts to construct technically complex equipment (such as gas power
       systems and aircraft engines), long-term product maintenance or extended
       warranty arrangements and other deferred contract related costs. Long-term
       product maintenance amounts are presented net of related billings in excess of
       revenues of $2,675 million and $2,602 million at March 31, 2016 and
       December 31, 2015, respectively.

       467.    Defendant Immelt’s statements regarding the dividends (¶ 462) were materially

false and misleading and failed to disclose that only by materially under-reserving for liabilities

related to GE Capital’s legacy LTC reinsurance policies was GE able to maintain sufficient free

cash flow for its quarterly dividend payments and stock buyback program. Defendant


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Bornstein’s statement regarding the portfolio quality at the GE Capital Verticals business

“remain[ing] stable” was materially false and misleading and failed to disclose that the

Company was failing to timely record increases to LTC Reserves by billions of dollars in

violation of GAAP and statutory insurance regulations.

       468.    Defendants’ statements regarding its Contract Assets (¶ 466) were materially

false and misleading and failed to disclose:

               (a)     that, in violation of GAAP, the Company had relied on unsustainable

business practices to renegotiate LTSAs with customers for no true economic purpose and

solely to generate positive cum catch margin adjustments (or avoid negative cum catch margin

adjustments) in order to meet internal revenue and earnings projections, which GE used to

conceal the fact that GE Power was not generating revenue organically;

               (b)     that in order to mask the growing gap between earnings and CFOA that

resulted from over-reliance on cum catch adjustments, GE Power generated CFOA by factoring

receivables it obtained through contract renegotiation—a practice, known as “monetization,”

that was unsustainable because the existing number of LTSAs available to monetize in this way

was finite;

               (c)     that the Company was overstating revenues, margins, and earnings on its

LTSAs (which corresponded with an inflation of the Company’s Contract Assets) in order to

artificially manipulate the Company’s quarterly and annual financial results in violation of

GAAP, in part because the estimations used for future costs, revenues, and margins on LTSA

within the GE Power segment were deficient and did not adequately account for the risk of non-

payment from customers;




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               (d)     that the Company failed to maintain adequate internal controls over its

financial reporting with respect to its Contract Assets; and

               (e)     that as a result of the foregoing, GE materially overstated its earnings and

cash flows during the Class Period and GE’s public statements were materially false and

misleading at all relevant times and omitted the material information discussed herein.

               16.     Sanford C. Bernstein Strategic Decisions Conference (June 1, 2016)

       469.    On June 1, 2016, GE presented at the Sanford C. Bernstein Strategic Decisions

Conference during which Defendant Sherin spoke about GE Capital:

       So, we are a lot smaller. Assets are down 50% when we filed and even within
       that a third of the assets that are remaining are in cash and liquidity. That’s up
       substantially from where it was when we were designated. And we are not just
       smaller; we exited whole pools of risk.

                                         *       *      *

       In 2016 our plan is to return $18 billion of dividends. We are on track for that.
       We paid $7.5 billion in the first quarter. We do need a SIFI de-designation to
       realize the total objectives we have here, but we feel confident about our ability
       to finish the remaining sales and close the assets. That’s the biggest driver here
       is lowering our risk-weighted assets by closing on these asset sales. That frees
       up the capital and the excess capital we’re returning back to the parent.

                                         *       *      *

       Here’s the earnings outlook for GE Capital. We’ve been giving the total net
       income forecast for GE Capital just to try to make it easier. With all the moving
       parts it’s been tough to forecast. So, our verticals estimate for this year is $1.6
       billion, as we said.

                                         *       *      *

       So, to be able to basically dismantle GE Capital and take it to a place where
       we’ve got $80 billion of ending net investment and to get the excess interest cost
       out of here in that time frame has been a really -- it’s a great profile overall.

                                         *       *      *

       And then you look at capital continuing overall. We are going to lose a little over
       $1 billion this year. We had in April 10 we forecast to lose around $1 billion. We
       think we will make between zero and $0.5 billion in 2017 and we had a forecast


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       for breakeven roughly. And then in 2018 a little under $1 billion is what we
       forecast on April 10, and we are somewhere between $0.5 billion and $1 billion
       on a consolidated basis.

       470.     Following Sherin’s remarks, Steve Winoker, an analyst from Sanford C.

Bernstein, asked Sherin to put GE’s transformation into context. Sherin falsely represented that

all of GE Capital’s “insurance business is gone.”

       Steve Winoker - Sanford C. Bernstein

       And I was going to say, Keith, you may not look it, but you’ve been at the
       Company for 35 years. And so, can you help portfolio managers in the audience
       from a long-term contexts put the current transformation over just the last year
       and a half into context from an investment perspective as they think about the
       business going forward?

       Sherin

       Yes, I think the last year and a half has been dramatic, but it’s really it’s been
       many years of portfolio change. If you look at what the portfolio is today versus
       take it when Jeff started, all of the insurance business is gone. That was a
       huge change in the portfolio. All the materials businesses are now out of the
       portfolio, the plastics, the specialty materials, silicones.

                                        *       *       *

       We feel like this GE Capital plan just makes the Company so much simpler.
       One, for investors, I think it’s been too complicated for investors; and two, to
       run. I think for GE leadership going forward it’s just a simpler portfolio with a
       lot more common processes, a lot more common customers and a lot more
       common shared services inside the Company from, as I said, the R&D, the
       services and the globalization. It’s a cleaner more synergistic portfolio.

       So we feel great about it.

       471.     Defendant Sherin’s statement that GE Capital’s insurance portfolio was gone

(¶ 470) was materially false and misleading and failed to disclose:

                (a)    that GE in fact retained significant LTC business and exposure;

                (b)    the serious risks and uncertainties associated with GE’s existing LTC

insurance exposure;




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               (c)     that the Company had “again reviewed” its insurance exposure, including

its LTC insurance exposure in 2015 but had taken no action to materially increase its LTC

reserves despite alarming adverse claims experience in the LTC policies it was reinsuring and

mounting industry-wide negative trends in the LTC market; and

               (d)     that the Company was failing to timely record increases to LTC reserves

by billions of dollars in violation of GAAP and statutory insurance regulations.

       472.    Defendant Sherin’s statements regarding the dividends (¶ 469) were materially

false and misleading and failed to disclose that only by materially under-reserving for liabilities

related to GE Capital’s legacy LTC reinsurance policies was GE able to maintain sufficient free

cash flow for its quarterly dividend payments and stock buyback program.

               17.     Second Quarter 2016

       473.    On July 22, 2016, GE issued a press release, and filed the same on Form 8-K

with the SEC, entitled “GE 2Q 2016 Earnings,” summarizing the Company’s financial and

operating results for the quarter ended June 30, 2016 and containing the same false and

misleading financial metrics referenced in the charts above. The press release also noted that on

June 28, 2016, the FSOC rescheduled GE Capital’s designation as a non-bank SIFI.

       474.    On the same day, the Company hosted a conference call during which defendant

Bornstein noted that the Company had a higher insurance reserve provision “resulting from

updates to our models on our runoff long-term care book” and that the portfolio quality of the

LTC book “remains stable.”

       In addition, in the second quarter, GE borrowed $5 billion from GE Capital
       which will mature in the fourth quarter of this year. This makes a ton of sense for
       the Company as we already own the excess debt and the borrowing cost is lower
       than our dividend yield. The proceeds were used for an accelerated share
       repurchase program launched in June. This helps accelerate our buyback within
       the year.



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                                           *       *       *

          Last, I will cover GE Capital. As mentioned earlier on June 28, GE Capital was
          de-designated as a systemically important financial institution marking a major
          step in our GE Capital exit plan. Our vertical businesses earned $452 million this
          quarter down 15% from prior year including higher base earnings offset by lower
          gains and higher insurance reserve provisions resulting from updates to our
          models on our runoff long-term care book. Portfolio quality remains stable.

          475.   On August 1, 2016, GE filed a Quarterly Report on Form 10-Q with the SEC,

announcing GE’s financial and operating results for the quarter ended June 30, 2016 (the “2Q

2016 Form 10-Q”). This report contained the same false and misleading financial metrics

referenced in the charts above.

          476.   The 2Q 2016 Form 10-Q also stated the following with respect to Contract

Assets:

          Contract assets reflect revenues earned in excess of billings on our long-term
          contracts to construct technically complex equipment (such as gas power
          systems and aircraft engines), long-term product maintenance or extended
          warranty arrangements and other deferred contract related costs. Long-term
          product maintenance amounts are presented net of related billings in excess of
          revenues of $2,948 million and $2,602 million at June 30, 2016 and December
          31, 2015, respectively.

          477.   In the 2Q 2016 Form 10-Q’s MD&A section discussed the GE Capital Exit Plan

in relevant part as follows:

          THE GE CAPITAL EXIT PLAN

          Under the GE Capital Exit Plan . . . the Company will retain certain GE Capital
          businesses, principally its vertical financing businesses . . . that relate to the
          Company's core industrial domain and other operations, including our run-off
          insurance activities, and allocated corporate costs (together referred to as GE
          Capital Verticals or Verticals).

          We expect GE Capital to release approximately $35 billion in dividends to GE
          (subject to regulatory approval) as a result of the sale of GE Capital assets. We
          received $4.3 billion in dividends from GE Capital in 2015 and $11 billion in the
          first half of 2016. In July 2016, we received an additional $4 billion of common
          dividends from GE Capital bringing our year-to-date total to $15 billion. . . .



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       Given the progress of the GE Capital Exit Plan to date, we expect to largely
       complete that plan by the end of 2016. On March 31, 2016, GE filed its request
       to the Financial Stability Oversight Council (FSOC) for rescission of GE
       Capital's designation as a nonbank Systemically Important Financial Institution
       (SIFI). On June 28, 2016, we received approval of our request to the FSOC for
       rescission of GE Capital's designation as a nonbank SIFI.

       478.    In the 2Q 2016 Form 10-Q, GE also announced a $100 million increase in its

insurance reserves, revealing: “Within [GE] Capital, Verticals net earnings decreased by $0.1

billion due to higher insurance reserve provisions [$0.1 billion] and lower gains, partially

offset by core increases.”

       479.    Statements during the second quarter 2016 conference call and in GE’s 2Q 2016

10-Q regarding the $100 million LTC reserve charge taken “due to higher insurance reserve

provisions” (¶¶ 474 and 478) and comments that the $100 million LTC reserve charge

“result[ed] from updates to our models on our runoff long-term care book” which “portfolio

quality remain[ed] stable” were materially false and misleading and failed to disclose:

               (a)     that the $100 million LTC reserve increase was woefully deficient given

emerging LTC trends in annual statutory filings of the ceding companies GE was reinsuring and

shown in its own “Tests of Claims Reserves”;

               (b)     that in 2015 the Company had “again reviewed [its] insurance exposure”

and taken no action to materially increase its LTC reserves despite alarming adverse claims

experience in the LTC policies it was reinsuring and mounting industry-wide negative trends in

the LTC market;

               (c)     that the Company failed to timely record increases to LTC reserves by

billions of dollars in violation of GAAP and statutory insurance regulations;

               (d)     the Company failed to maintain adequate internal controls over its

financial reporting with respect to LTC reserves; and



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               (e)     that as a result of the foregoing, GE materially overstated its earnings and

cash flows during the Class Period.

       480.    Statements in GE’s 2Q 2016 10-Q regarding the dividends (¶ 477) were

materially false and misleading and failed to disclose that only by materially under-reserving for

liabilities related to GE Capital’s legacy LTC reinsurance policies was GE able to maintain

sufficient free cash flow for its quarterly dividend payments and stock buyback program.

       481.    Defendants’ statements regarding its Contract Assets (¶ 476) were materially

false and misleading and failed to disclose:

               (a)     that, in violation of GAAP, the Company had relied on unsustainable

business practices to renegotiate LTSAs with customers for no true economic purpose and

solely to generate positive cum catch margin adjustments (or avoid negative cum catch margin

adjustments) in order to meet internal revenue and earnings projections, which GE used to

conceal the fact that GE Power was not generating revenue organically;

               (b)     that in order to mask the growing gap between earnings and CFOA that

resulted from over-reliance on cum catch adjustments, GE Power generated CFOA by factoring

receivables it obtained through contract renegotiation—a practice, known as “monetization,”

that was unsustainable because the existing number of LTSAs available to monetize in this way

was finite;

               (c)     that the Company was overstating revenues, margins, and earnings on its

LTSAs (which corresponded with an inflation of the Company’s Contract Assets) in order to

artificially manipulate the Company’s quarterly and annual financial results in violation of

GAAP, in part because the estimations used for future costs, revenues, and margins on LTSA




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within the GE Power segment were deficient and did not adequately account for the risk of non-

payment from customers;

               (d)     that the Company failed to maintain adequate internal controls over its

financial reporting with respect to its Contract Assets; and

               (e)     that as a result of the foregoing, GE materially overstated its earnings and

cash flows during the Class Period and GE’s public statements were materially false and

misleading at all relevant times and omitted the material information discussed herein.

               18.     Third Quarter 2016

       482.    On October 21, 2016, GE issued a press release, and filed the same on Form 8-K

with the SEC, entitled “GE 3Q 2016 Earnings,” summarizing the Company’s financial and

operating results for the quarter ended September 30, 2016 and containing the same false and

misleading financial metrics referenced in the charts above.

       483.    On the same day, the Company hosted a conference call to discuss its third

quarter 2016 results. During the call, Defendant Bornstein stated, in part:

       GE Capital paid $5 billion of dividends during the third quarter. In October,
       they paid an additional $2 billion, and we expect an incremental $2 billion
       dividend before the end of the year for a total of $20 billion in 2016 versus the
       $18 billion target.

       Overall, the Capital team continued to execute ahead of schedule on all aspects
       of the plan that we shared with you 18 months ago. We expect to be largely
       complete by the end of 2016.

       484.    Defendant Immelt provided additional details regarding the anticipated buyback:

“We’re increasing the buyback from $18 billion to $22 billion. This makes the total cash

returned to investors $30 billion for the year, ahead of plan. So in a time of volatility, the GE

model is performing.”




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       485.    On November 2, 2016, GE filed a Quarterly Report on Form 10-Q with the SEC,

announcing GE’s financial and operating results for the quarter ended September 30, 2016 (the

“3Q 2016 Form 10-Q”). This report contained the same false and misleading financial metrics

referenced in the charts above.

       486.    The 3Q 2016 Form 10-Q also stated the following regarding Contract Assets:

       Contract assets reflect revenues earned in excess of billings on our long-term
       contracts to construct technically complex equipment (such as gas power
       systems and aircraft engines), long-term product maintenance or extended
       warranty arrangements and other deferred contract related costs. Long-term
       product maintenance amounts are presented net of related billings in excess of
       revenues of $2,970 million and $2,602 million at September 30, 2016 and
       December 31, 2015, respectively.

       487.    Defendants’ statements regarding the dividends and buyback program (¶¶ 483

and 484) were materially false and misleading and failed to disclose that only by materially

under-reserving for liabilities related to GE Capital’s legacy LTC reinsurance policies was GE

able to maintain sufficient free cash flow for its quarterly dividend payments and stock buyback

program.

       488.    Defendants’ statements regarding Contract Assets (¶ 486) were materially false

and misleading and failed to disclose:

               (a)    that, in violation of GAAP, the Company had relied on unsustainable

business practices to renegotiate LTSAs with customers for no true economic purpose and

solely to generate positive cum catch margin adjustments (or avoid negative cum catch margin

adjustments) in order to meet internal revenue and earnings projections, which GE used to

conceal the fact that GE Power was not generating revenue organically;

               (b)    that in order to mask the growing gap between earnings and CFOA that

resulted from over-reliance on cum catch adjustments, GE Power generated CFOA by factoring

receivables it obtained through contract renegotiation—a practice, known as “monetization,”


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that was unsustainable because the existing number of LTSAs available to monetize in this way

was finite;

               (c)     that the Company was overstating revenues, margins, and earnings on its

LTSAs (which corresponded with an inflation of the Company’s Contract Assets) in order to

artificially manipulate the Company’s quarterly and annual financial results in violation of

GAAP, in part because the estimations used for future costs, revenues, and margins on LTSA

within the GE Power segment were deficient and did not adequately account for the risk of non-

payment from customers;

               (d)     that the Company failed to maintain adequate internal controls over its

financial reporting with respect to its Contract Assets; and

               (e)     that as a result of the foregoing, GE materially overstated its earnings and

cash flows during the Class Period and GE’s public statements were materially false and

misleading at all relevant times and omitted the material information discussed herein.

               19.     Annual Investor Outlook Meeting (December 14, 2016)

       489.    On December 14, 2016, the Company hosted its Annual Outlook Investor

Meeting with analysts. During the conference call, Defendants represented that the GE

dividend would be $8 billion, the stock buyback between $11 billion and $13 billion, and the

GE Capital dividend would be $6 billion to $7 billion. When discussing the dividend, Immelt

stated: “And then we still have $10 billion on the sidelines as it pertains to incremental leverage

and we will think about that as time goes on in terms of the best usage of that capital.”

       490.    Defendants also provided an industrial CFOA guidance of between $12 billion

and $14 billion.

       491.    Defendant Immelt projected a strong year for the Power segment, specifically

with respect to service upgrades within that segment:


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       Next year when I look at backlogs and we look at run rates there is a fantastic
       opportunity to have a great year in services in 2017. And that is going to be
       driven by upgrades, we still see a very strong pipeline not just in the Power
       business but across the portfolio, but another good year in Power upgrades. . . .
       So, between repower, upgrades, big installed basis in Power and in Aviation, we
       are going to see very strong organic growth in the service franchises in 2017. So
       that is service.

       492.    A JPMorgan analyst noted that the “$6 billion to $7 billion GE Capital dividends

to [GE]” was “a little bit below what [GE] had initially laid out,” and expressed concern

regarding anticipated cash flows and dividends from GE Capital. In response, CFO Bornstein

suggested that dividends were sustainable by stressing that GE Capital was performing well on

cash flows, stating: “We pulled dividends [from 2017] into 2016. We are actually several

billion dollars ahead of the plan that we gave you, we are not behind plan.”

       493.    Steve Tusa, analyst at JP Morgan, asked about how LTSA cumulative catch-ups

were accounted for by the Company. Specifically, “Do you exclude those because they are non-

cash or does that kind of play into that whole bucket of (multiple speakers) the $1.5 million

service and productivity?” Immelt responded that, “it all goes into the service, Steve. But I

think we always look at these as kind of like net beneficial to both the customers and us.”

       494.    Defendants’ statements regarding the dividends (¶¶ 489 and 492) were materially

false and misleading and failed to disclose that only by materially under-reserving for liabilities

related to GE Capital’s legacy LTC reinsurance policies was GE able to maintain sufficient free

cash flow for its quarterly dividend payments and stock buyback program.

       495.    Defendants’ statements regarding GE’s industrial CFOA, the “very strong

pipeline” in Power, specifically with respect to the services division, revenue recognition on

LTSAs and Contract Assets and the impact of cum catch adjustments (¶¶ 490-493) were

materially false and misleading for the reasons set forth in ¶ 488.




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               20.    Fourth Quarter & Full Year 2016

       496.    On January 20, 2017, GE issued a press release, and filed the same on Form 8-K

with the SEC, entitled “GE 4Q 2016 Earnings,” summarizing the Company’s financial and

operating results for the quarter and year ended December 31, 2016 and containing the same

false and misleading financial metrics referenced in the charts above.

       497.    On the same day, the Company hosted a conference call to discuss its fourth

quarter and year end 2016 results. During the call, CFO Bornstein reiterated the prior 2017 EPS,

CFOA, and dividend guidance, stating:

       Finally, I will cover GE Capital. The verticals earned $478 million in this
       quarter, up 9% from prior year driven principally by lower impairments in EFS.
       GECAS, EFS and Industrial Finance all had strong quarters and overall portfolio
       quality remains stable.

                                         *      *       *

       GE Capital paid $4 billion of dividends during the fourth quarter for a total
       of $20 billion in 2016 versus the original $18 billion target for the year.

       Dividends of $5 billion ahead of the original plan announced in April of 2015.
       Overall the GE Capital team delivered a strong verticals performance while
       executing on all aspects of the exit plan.

       498.    During the call, Defendant Bornstein assured investors that earnings in the

Power segment would be strong in 2017: “As we said in December we expect double-digit

earnings growth in Power in 2017.” Defendant Bornstein also stated as follows with respect to

GE Power Services:

       We need our service business to do more or less what they did this year. The
       service business for the year grew operating profit about 7%. We are looking
       for mid-single digits, that kind of performance in 2017. We’ve got to deliver
       the structural cost-out just given where we are in the industry and the volatility.




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       499.    Analysts were provided an opportunity to ask questions following the

Company’s prepared remarks. Steve Winoker, the analyst from Sanford C. Bernstein & Co.,

asked specifically with regard to cash flow and the following exchange took place:

       Steven Winoker - Sanford C. Bernstein & Co. - Analyst

       Thanks, good morning. Since I only have one question I’d love to focus on cash
       here. And within that, Jeff, is there any factoring this quarter from GE Capital
       into GE industrial?

       And then also while it’s the strongest cash flow quarter in a while, still a little bit
       below what we thought you guys implied when we talked about it before. Then
       as you think about it progressing through 2017 and beyond maybe just talk a
       little more about the cash flow initiative comp that really can give investors
       confidence that the cash flow part of the story is improving.

       Jeff Bornstein

       Okay, there’s a lot in that. So let me start with the fourth quarter, Steve.

       We improved working capital in fourth quarter about $5.2 billion which the best
       we can tell is the strongest working capital quarter the Company has ever had.
       And I want to just give you some of the pieces on that.

                                          *       *       *

       So within that accounts receivable performance you asked about factoring. For
       the total year, factoring with GE Capital was a $1.6 billion change for the year. It
       was $1.7 billion last year, so actually year-to-year it was $100 million less of a
       benefit in the year between what we did with GE Capital around factoring. And
       in the fourth quarter importantly, and you see it because our receivables
       improved $500 million, is from the third to fourth quarter of 2015, the benefit
       was $2.3 billion, the benefit going from this past third quarter to this quarter was
       $700 million.

       So it was actually down $1.6 billion year-to-year between third and fourth
       quarter each of those years. So there’s very good underlying performance here.
       It’s not just about, it’s actually very little to do with GE Capital factoring.




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       Jeff Immelt

       Steve, I would add, the one piece that we’re still not happy with in terms of Q4 is
       inventory. And I think we generated, we reduced working capital by $3 billion
       for the year and still didn’t do what I think either Jeff or I want to see on
       inventory.

       We expect inventory to go down by $2 billion next year. And we think that’s
       going to give us a ton of momentum as it pertains to CFOA and working
       capital in 2017.

       Jeff Bornstein

       So let me just follow up and answer that part of your question. So we came in at
       $11.6 billion of industrial CFOA. We were shooting to be something closer to
       $12 billion of CFOA in the latest update we gave you.

       When you subtract CapEx you get industrial free cash flow we ended up at $8.9
       billion. That was actually right in the middle of the range we gave you coming
       into the year on industrial free cash flow. But the $400 million light is really all
       about inventory and it’s essentially the $1 billion roughly, the $1 billion sales
       miss left more in inventory than we expected.

       Now not all of that would have converted to receivables and then from
       receivables would have converted to cash but a significant piece of it would have
       been. So I would say on an industrial free cash flow basis a couple hundred
       million lighter, on industrial CFOA closer to $400 million lighter and most of it
       is about that volume not going out the door and not being rev rec.

       500.    On February 24, 2017, the Company filed its 2016 Form 10-K. This report

contained the same false and misleading financial metrics referenced in the charts above.

       501.    In the 2016 Form 10-K, the Company updated investors on the progress of the

GE Capital Exit Plan and how much in dividends GE Capital had paid and was expected to pay

back to GE as a result of the sale of GE Capital assets:

       As a result of the GE Capital Exit Plan dispositions, GE Capital has paid $24.4
       billion in dividends to GE in 2015 and 2016 ($4.3 billion and $20.1 billion,
       respectively). We expect GE Capital to release additional dividends of up to
       approximately $10 billion through the remainder of the plan. In January 2017,
       GE received an additional $2.0 billion of common dividends from GE Capital.
       As of December 31, 2016, we are ahead of our plan, having signed agreements
       with buyers for $197 billion of ending net investment (ENI), excluding liquidity
       (as originally reported at December 31, 2014), of which $190 billion has closed.



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       As of December 31, 2016, we have substantially completed the dispositions
       related to the GE Capital Exit Plan. In addition, as part of our initiative to reduce
       the size of our financial services businesses, we completed the split-off of our
       remaining interest in GE Capital's North American Retail Finance business,
       Synchrony Financial, to holders of GE common stock, which resulted in a $20.4
       billion buyback of GE common stock (671.4 million shares) in 2015. . .The
       result of all these actions reduced GE Capital's total assets by 63% from $500
       billion at December 31, 2014 to $183 billion at December 31, 2016.

       502.    The 2016 Form 10-K stated the following with respect to Contract Assets:

       Contract assets increased $4,006 million in 2016, which was primarily driven
       by a change in estimated profitability within our long-term product service
       agreements resulting in an adjustment of $2,216 million, as well as an increase
       in deferred inventory costs.

       503.    The 2016 Form 10-K also reported a balance of LTSAs of $12.75 billion and

stated as follows: “Long-term product service agreement balances are presented net of related

billings in excess of revenues of $3,750 million and $2,602 million at December 31, 2016 and

2015, respectively.”

       504.    The 2016 Form 10-K also stated as follows with respect to revenue recognition

on long-term product services agreements:

       Revenue recognition on long-term product services agreements requires
       estimates of profits over the multiple-year terms of such agreements, considering
       factors such as the frequency and extent of future monitoring, maintenance and
       overhaul events; the amount of personnel, spare parts and other resources
       required to perform the services; and future billing rate, cost changes and
       customers’ utilization of assets. We routinely review estimates under product
       services agreements and regularly revise them to adjust for changes in outlook.
       We also regularly assess customer credit risk inherent in the carrying amounts of
       receivables and contract costs and estimated earnings, including the risk that
       contractual penalties may not be sufficient to offset our accumulated investment
       in the event of customer termination. We gain insight into future utilization and
       cost trends, as well as credit risk, through our knowledge of the installed base of
       equipment and the close interaction with our customers that comes with
       supplying critical services and parts over extended periods. Revisions may affect
       a product services agreement's total estimated profitability resulting in an
       adjustment of earnings; such adjustments increased earnings by $2.2 billion,
       $1.4 billion and $1.0 billion in 2016, 2015 and 2014, respectively. We provide
       for probable losses when they become evident.



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       505.    In the 2016 Form 10-K, while discussing the impact of the new accounting

standards to be effective in 2018, Defendants continued to provide materially false and

misleading information regarding the historic and current accounting for the Company’s

LTSAs:

       Power and Aviation Service Agreements - For our long-term product service
       agreements, primarily in our Power and Aviation businesses, we expect to
       continue to recognize revenue based on costs incurred plus an estimated
       margin rate (over time model). However, the new standard provides
       prescriptive guidance tied to several factors for determining what constitutes the
       proper scope of a customer contract for accounting purposes. These factors
       include optional purchases, contract modifications, and termination clauses. For
       example, under the new standard contract modifications will be accounted for
       prospectively by recognizing the financial effect of the modification over the
       remaining life of the contract. Under existing accounting guidance revisions to
       estimated margin rates resulting from modifications were reflected as
       cumulative effect adjustments to earnings in the current period.

       506.    The 2016 Form 10-K also repeated the following with respect to asset

impairment testing and accounting for insurance liabilities:

       For our insurance activities remaining in continuing operations, we
       periodically test for impairment our deferred acquisition costs and present
       value of future profits.

                                         *       *       *

       Liabilities for unpaid claims and estimated claim settlement expenses represent
       our best estimate of the ultimate obligations for reported and incurred-but-not-
       reported claims and the related estimated claim settlement expenses. Liabilities
       for unpaid claims and estimated claim settlement expenses are continually
       reviewed and adjusted through current operations.

       507.    Defendants’ statements regarding the dividends (¶¶ 497 and 501) were materially

false and misleading and failed to disclose that only by materially under-reserving for liabilities

related to GE Capital’s legacy LTC reinsurance policies was GE able to maintain sufficient free

cash flow for its quarterly dividend payments and stock buyback program.




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       508.    Defendants’ statements regarding industrial CFOA, GE’s Power segment,

specifically with respect to the services division, Contract Assets, revenue recognition on

LTSAs and factoring (¶¶ 498-499, 501-505) were materially false and misleading for the

reasons set forth in ¶ 488.

       509.    Defendants’ statements regarding periodic testing of GE Capital’s insurance

portfolio for impairment (¶ 506) were materially false and misleading and failed to disclose:

               (a)     the serious risks and uncertainties associated with GE’s LTC exposure;

               (b)     that in 2015 the Company had “again reviewed [its] insurance exposure”

and taken no action to materially increase its LTC reserves despite alarming adverse claims

experience in the LTC policies it was reinsuring and mounting industry-wide negative trends in

the LTC market;

               (c)     that the Company failed to timely record billions in contributions to its

statutory LTC reserves in violation of statutory insurance regulations;

               (d)     the Company failed to maintain adequate internal controls over its

financial reporting with respect to both its LTC reserves and Contract Assets; and

               (e)     that as a result of the foregoing, GE materially overstated its earnings and

cash flows during the Class Period.

               21.     Barclays Industrial Select Conference (February 22, 2017)

       510.    On February 22, 2017, GE participated in the Barclays Industrial Select

Conference during which Defendant Bornstein provided a summary of the Company’s current

financial status and future prospects, including those specific to GE Capital:

       On the GE Capital restructuring, it’s the largest corporate restructuring we think
       in the world that anybody has ever attempted. We have moved about $300 billion
       of assets in a year and a half. We’re essentially done. We have one deal in France
       we’re waiting for EU approval on, hopefully in the next week or two, and we’ll
       be largely done with the M&A piece of what is the restructuring of GE Capital.


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       From here, we’ll have some assets that will run off with time, just because it
       makes more economic sense to do that. And so I think the capital team has
       executed everything they committed that they would and more, and the
       dividends are slightly ahead of plan.

       So we expect in 2017 the GE Capital dividend above $7 billion for the Company;
       keeps us right on track with what we committed to investors.

       511.    Defendant Bornstein responded to a participant’s question about GE Capital and

it’s “longer-term capital structure,” as follows:

       Jeff Bornstein

       So, I think we’re going -- by 2018, I think we’ll be pretty close to steady-state in
       GE Capital in terms of what the capital structure is going to shake out. We’re
       not regulated anymore, so the capital structure is more a function of where we sit
       with the rating agencies in terms of their capital allocation models.

                                          *         *    *

       So I think that the GE Capital structure balance sheet, how we ought to think
       about the business going forward, is starting to play itself out. And I think when
       we get through 2018, we’ll have a very clear picture of what the cap structure
       looks like and what we should expect.

       We still think -- when we talked in April 2015, we talked about a business that
       we thought could return 10% or 11%. I think we’re still in that ballpark.

       512.    A participant asked specifically with regard to insurance:

       Unidentified Participant

       Will you be selling that insurance -- will you sell the liability in that insurance;
       kind of write a check and get rid of it? Is that in the cards?

       Jeff Bornstein

       Not today. I continually look at it. I think interest rates are a fundamental
       challenge and (inaudible) long-term liabilities in a low interest rate
       environment is a challenge.

       513.    At the conference, Defendant Bornstein detailed GE’s reliance on cum-catch

adjustments on its LTSAs:

       The other is in our long-term service contract accounting. We have an enormous
       portfolio, many times bigger than anybody else in the space, both in power--


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       principally in Power Systems and Aviation. And the rules around it are changing.
       And it’s complex, but there are several things that we do today that we account
       for on a cum-catch basis. And I’ll explain that in a moment that now we’ll be
       accounted for on a prospective basis.

       So, for instance, if you have a contract with a customer today and you modify
       it, you add a bunch of new equipment to it, you extend the maturity, you
       change something around the operating conditions, and you reprice it. A lot of
       these things are priced on a per-utilization per-hour basis, if you will. In
       today’s model, that kind of a modification you would go back to the first day of
       the contract, recalculate based on the changes. What’s the margin rate for the
       contract now? If the margin rate went down, you go back to day one, and
       you’ll book a loss for restating time zero to the current date on the lower
       margin rate. If the margin rate is higher, you do the opposite. You get a cum-
       catch gain, and you restate the margin rate of contract. So for things like
       modifications, termination clauses, et cetera, upgrades; all of that will be
       accounted for prospectively, as opposed to retrospectively. Things like
       productivity will continue to act like they do today, which is a cum-catch.

       So, we’ll go through some of those details in the K. Our best estimate today, our
       expectation is that 2018 impact of all that is, we think, is going to be about a
       $0.05 EPS decline. After 2018, that will get smaller and start to approach zero.
       And at some point a few years after that, it will actually be accretive to what
       otherwise we would have-- in the old accounting model-- reported as earnings.
       So there’s no cash associated with any of this accounting change. It doesn’t
       change anything about the economics of these contracts in any way. It’s just a
       point of where you’re recognizing revenue and where you’re recognizing cost.

       514.    Defendant Bornstein’s statements regarding cum catch adjustments, and revenue

recognition on LTSAs (¶ 513) were materially false and misleading and omitted material

information for the reasons set forth in ¶ 488. Defendants’ statements regarding the dividends

(¶ 510) were materially false and misleading and failed to disclose that only by materially

under-reserving for liabilities related to GE Capital’s legacy LTC reinsurance policies was GE

able to maintain sufficient free cash flow for its quarterly dividend payments and stock buyback

program.




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       515.    Defendant Bornstein’s statement regarding the “steady-state” in GE Capital

(¶ 511) was materially false and misleading and failed to disclose:

               (a)     the serious risks and uncertainties associated with GE’s LTC exposure;

               (b)     that in 2015 the Company had “again reviewed [its] insurance exposure”

and taken no action to materially increase its LTC reserves despite alarming adverse claims

experience in the LTC policies it was reinsuring and mounting industry-wide negative trends in

the LTC market;

               (c)     that the Company failed to timely record billions in contributions to its

statutory LTC reserves in violation of statutory insurance regulations;

               (d)     the Company failed to maintain adequate internal controls over its

financial reporting with respect to its LTC reserves; and

               (e)     that as a result of the foregoing, GE materially overstated its earnings and

cash flows during the Class Period.

               22.     GE Power and Renewable Energy Investor Meeting (March 8, 2017)

       516.    On March 8, 2017, GE held its Power and Renewable Energy Investor Meeting.

During the meeting, Defendant Bornstein reiterated the Company’s industrial CFOA guidance

range of $12 billion to $14 billion: “Back to the 2017 framework. . . . No change on free cash

flow or cash flow, $16 billion to $20 billion, with industrial CFOA embedded in there of $12

billion to $14 billion.”

       517.    Steve Bolze explained that the Company felt “very strongly about double-digit

earnings growth in 2017” within the Power segment. Bolze also emphasized a focus on cash

conversion within the Power segment:

       Now as we have gone through this transition now and transformation, as I said
       earlier, it has opened our eyes to how much we can run this place with better



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       cost efficiency and cash flow. We are now, and I am turning more of my
       attention on two key incremental areas for value generation, cost and cash.

       You will hear a big focus on cash generation action; all of our incentives are
       aligned as a leadership team around Power. We are going to be leveraging the
       same awesome playbook that you saw in the integration for all the costs across
       the Power business. And then as far as working capital, another $1 billion to be
       released in working capital from the business and part of our increasing our free
       cash flow from operations.

                                             * * *

       Now let’s talk about the game plan going forward. This is it. It is three key
       strategic priorities: deliver organic growth; aggressive cost out for a flat
       market; and improving cash conversion. And with that our plan in 2017 calls
       for 5% organic growth, operating profit double-digit, with a 150 plus point
       greater than expansion in our margins. We are going to walk – I’m going to
       walk through each of these three things in more detail and show you the clarity
       we have on this path.

       518.    GE’s statements about industrial CFOA and a focus on cash conversion within

the Power segment (¶¶ 516-517) were materially false and misleading and failed to disclose:

               (a)    that, in violation of GAAP, the Company had relied on unsustainable

business practices to renegotiate LTSAs with customers for no true economic purpose and

solely to generate positive cum catch margin adjustments (or avoid negative cum catch margin

adjustments) in order to meet internal revenue and earnings projections, which GE used to

conceal the fact that GE Power was not generating revenue organically;

               (b)    that in order to mask the growing gap between earnings and CFOA that

resulted from over-reliance on cum catch adjustments, GE Power generated CFOA by factoring

receivables it obtained through contract renegotiation—a practice, known as “monetization,”

that was unsustainable because the existing number of LTSAs available to monetize in this way

was finite;

               (c)    that the Company failed to maintain adequate internal controls over its

financial reporting with respect to Contract Assets; and


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               (d)     that the Company was overstating revenues, margins, and earnings on its

LTSAs (which corresponded with an inflation of the Company’s Contract Assets) in order to

artificially manipulate the Company’s quarterly and annual financial results in violation of

GAAP, in part because the estimations used for future costs, revenues, and margins on LTSA

within the GE Power segment were deficient and did not adequately account for the risk of non-

payment from customers.

               23.     JPMorgan Aviation, Transportation & Industrials Conference
                       (March 13, 2017)

       519.    On March 13, 2017, GE participated in the JPMorgan Aviation, Transportation

& Industrials conference during which Rich Laxer, CEO of GE Capital, responded to a question

about GE Capital’s runoff insurance business:

       Steve Tusa - JPMorgan - Analyst

       And then just lastly from me on a discops basis, the insurance liability, what’s
       the plan, anything planned there, or you just want that down over an extended
       period of time; not something that’s talked about a lot but it's relatively sizable....

       Richard A. Laxer:

       Those are long-dated assets. And given the interest rate environment we’re in
       right now, it’s not attractive to do something. We always look at it, but just
       given where rates are at this point, it's not an attractive exit.

                                         *        *       *

       Steve Tusa - JPMorgan - Analyst

       Regarding the insurance liabilities, you mentioned it was because of the rate
       environment is not attractive to look at a solution now. What sort of bogey level
       would you think you’d have to see in terms of the rate environment to consider
       that transaction where the bid/ask comes...?

       Richard A. Laxer

       I think there’s are a lot of factors there. So it’s hard to give you a specific
       number, but we would like to see a few increases before that would be
       attractive.



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       520.    Rich Laxer’s statements regarding GE Capital’s runoff insurance business

(¶ 519) were materially false and misleading and failed to disclose:

               (a)    the serious risks and uncertainties associated with GE’s LTC exposure;

               (b)    that in 2015 the Company had “again reviewed [its] insurance exposure”

and taken no action to materially increase its LTC reserves despite alarming adverse claims

experience in the LTC policies it was reinsuring and mounting industry-wide negative trends in

the LTC market;

               (c)    that the Company failed to timely record billions in contributions to its

statutory LTC reserves in violation of statutory insurance regulations;

               (d)    the Company failed to maintain adequate internal controls over its

financial reporting with respect to its LTC reserves; and

               (e)    that as a result of the foregoing, GE materially overstated its earnings and

cash flows during the Class Period.

               24.    JPMorgan Aviation, Transportation and Industrials Conference

       521.    On March 13, 2017, GE participated in the JP Morgan Aviation, Transportation

and Industrials Conference, where Rich Laxer, CEO of GE Capital, provided a summary of the

GE Capital’s overall financial condition:

       Since we announced the exit plan we paid $47 billion of dividends, $5 billion
       ahead of where we thought we’d be at this point. That includes the spinoff of
       Synchrony and we’ve got good momentum coming into this year. We paid $2
       billion already of a dividend out of the $6 billion to $7 billion that we project
       that we will pay in 2017. GE Capital now is aligned with the industrials. Our
       businesses are in the business of supporting industrial growth, working with our
       industrial businesses and their customers to help drive orders for the Company. I
       will talk more about that.

       And the go-forward business has a good financial profile.

                                        *       *       *



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       From a dividend standpoint we paid $47 billion between the Synchrony and cash
       dividends. We will have $51 billion paid out by the end of this year and as I said
       we’ve already paid $2 billion so far this year and our capital levels and liquidity
       for the Company remain very conservative and very strong.

       Steve Tusa - JPMorgan - Analyst

       Okay. And then just one other check-the-box item on getting an update on the
       trajectory. $10 billion in dividends leftover, $6 billion to $7 billion this year. Is
       that the right number for 2018, $3 billion to $3.5 billion depending on what you
       get done this year?

       Rich Laxer

       Yes. So the way to think about it is we have paid up until this year $24.4 billion.
       If you add in the $2 billion that we’ve already paid this quarter puts you at $26.4
       billion. By the end of this year we will be at $31 billion. Now what we talked
       about and 2015, we said that about $31 billion of dividends would come from
       the sale of the assets and that’s roughly what you see there the rest will come
       from earnings from the assets that we kept, the reason of Capital, etc. So, $31
       billion is on track by the end of this year. In terms of the $35 billion, as just
       mentioned at the outlook meeting in December, we will probably be inside of
       that number because we sold a lot faster than we expected.

       522.    Rich Laxer’s statements regarding the dividends and the “good financial profile”

of GE Capital moving forward (¶ 521) were materially false and misleading and failed to

disclose that only by materially under-reserving for liabilities related to GE Capital’s legacy

LTC reinsurance policies was GE able to maintain sufficient free cash flow for its quarterly

dividend payments and stock buyback program.

               25.      First Quarter 2017

       523.    On April 21, 2017, GE issued a press release, and filed the same on Form 8-K

with the SEC, entitled “GE 1Q 2017 Earnings,” summarizing the Company’s financial and

operating results for the quarter ended March 31, 2017 and containing the same false and

misleading financial metrics referenced in the charts above.

       524.    On an earnings call the same day, Defendant Bornstein presented information

regarding GE Capital:


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        Finally, I’ll cover GE Capital. The verticals earned $535 million in the quarter,
        up 8% from the prior year, driven principally by lower impairments, higher tax
        benefits, partially offset by lower gain. GECAS, energy finance and industrial
        finance all had strong quarters, and overall portfolio quality remains stable.

        In the first quarter, the verticals funded $1.8 billion of unbooked volume and
        enabled $2.2 billion of industrial orders. Other continuing operations generated a
        $582 million loss in the quarter, driven by excess interest expense, restructuring
        costs related to portfolio transformation and headquarters operating cost. . . .

        Discontinued operations generated $242 million loss, driven by exit plan-related
        items and operating cost. Overall, GE capital reported a net loss of $290 million.
        We ended the quarter with $167 billion of assets, including $43 billion of
        liquidity. Assets were down $16 billion from year-end.

                                         *       *      *

        GE Capital paid $2 billion of dividends during the quarter and an additional
        $2 billion this week. We remain on track for $6 billion to $7 billion of
        dividends for the total year. Overall, the GE Capital team delivered a strong
        performance from the verticals, while executing on all aspects of our exit plan.

        525.    During the call, Defendant Bornstein also discussed GE’s weak industrial CFOA

results for the quarter:

        [O]ur industrial CFOA was at $1.6 billion usage of cash, about $1 billion below
        our expectations. We expect to see most of this come back over the remainder
        of the year, and we see no change for our outlook for the year of $12 billion to
        $14 billion of industrial CFOA.

        526.    Despite these poor industrial CFOA results, CEO Immelt emphasized that GE

still posted a net positive CFOA figure, aided by a GE Capital dividend, stating:

        On cash, we have CFOA of $400 million. This included a dividend from GE
        Capital of $2 billion. Industrial CFOA was a negative $1.6 billion . . . . Cash is
        lumpy, and we expect to have a strong second quarter.

                                         *       *      *

        GE Capital paid $2 billion of dividends during the quarter and an additional $2
        billion this week. We remain on track for $6 billion to $7 billion of dividends for
        the total year.




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       527.    Defendant Immelt also explained that GE’s industrial CFOA would improve:

       Despite a slow start, we plan to hit $12 billion to $14 billion of industrial
       CFOA for the year. We believe that capital dividend should be $6 billion to $7
       billion for the year. Dispositions are on track. We’re on track to return $19
       billion to $21 billion to investors through dividend and buyback.

       So to recap, we had 10% orders growth, 7% organic growth, 130 basis points of
       margin expansion and 20% organic industrial operating profit growth, and a
       commitment to hit CFOA for the year. So this is a good start.

       528.    During the call, Defendant Bornstein detailed the impact that Contract Assets

had on GE’s weak industrial CFOA for the quarter, explaining that the Company would

“recover the vast majority [of it] over the second to the fourth quarter”:

       Contract assets were a use of $1.9 billion. This was $300 million worse than
       expected. Of the $1.9 billion, $500 million was from our long-term equipment
       contracts, where the timing of our $1 billion revenue recognition milestones
       differ. This will catch up throughout the year as we execute against the
       contract. The remaining $1.4 billion is our long-term service agreements. There
       were 2 pieces to this. $600 million is related to service contracts where we’ve
       incurred cost and booked the revenue, but haven’t yet billed the customer. We
       expect this to partly come back over the year as we see higher asset utilization in
       Power and Aviation. And we’ve seen these similar trends in the prior years.

       The other $800 million are contract adjustments driven by better cost
       performance and part life, primarily driven by Power and Aviation. Versus
       expectations, the $300 million of lower cash on contract assets is driven by
       $200 million of long-term equipment contracts that we expect to come back
       throughout the year, and the $100 million is from services contract
       adjustments I just walked through, which will come back over the remaining
       life of those contracts as we build the utilization. In total, we’re about $1
       billion off our first quarter plan, but we’ll recover the vast majority over the
       second to the fourth quarter.

       529.    Bornstein went on to say:

       Over the past several years, the strong growth in our long-term services
       agreements and the associated shop visits has driven the percentage of spares
       used in LTSA to be a much greater proportion of the historical order and sales
       rate. These spares are also part of the LTSA billing and are already accounted for
       in revenues. We believe the new spares rate provides investors with more
       visibility to transactional market dynamics. Consumption of spares in long-term
       service agreements can be impacted by customer fleet management, optimization
       shop visits over the life of the contract over various other reasons. Starting with


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       the first quarter of ‘17, we will report only a ship rate for spares on this new basis
       as the orders and shipments are virtually the same. This change does not impact
       any reported financial information. Historical information for spares rate on the
       new basis, as well as the old method, are included in the supplemental
       presentation material.

       530.    Defendant Bornstein also assured investors that “the contract drag on cash flow”

for 2017 would be the same as in 2016, and that GE was “not pulling future profit forward”

on the contracts:

       [W]e expect the contract drag on cash flow for the year to be roughly the same,
       ’16 versus ’17 . . . I think you got a number of phenomena that’s going on. We’re
       investing like crazy in productivity and cost-out. . . . When we get lower cost, the
       cost to execute against our contracts improves. And when they improve, the
       accounting has to account for that and where it changes our view on the ultimate
       profitability of these contracts. That’s one mechanism, and we’re hugely focused
       on that. And I think you want us focused on that, that’s all future cash, future
       economics, et cetera, on a go-forward basis. We’re not pulling future profit
       forward. That is not what we’re doing. We’re just restating what – where we are
       in the contract from inception to date. The second part is where the long-term
       service agreements that protect our installed base, our penetration continues to
       improve. . . .

       531.    When an analyst pressed Defendants for more clarity on the Company’s

“noncash earnings from contract assets.” In response, Bornstein explained what drove the

increase in Contract Assets for the quarter:

       CSA contracts in the quarter were up $1.4 billion year-over-year. $800 million of
       that increase was associated with contract updates, okay? And that’s versus $500
       million a year ago. So it’s higher by $266 million year-over-year. Of the about
       $300 million, it’s up year-over-year, a little more than half of that is in power.
       And most of that is associated with updates of part costs when we change
       standards every year. So for the contracts that were under review in the first
       quarter, if we change the standard on the part cost and deliver against that
       contract in the future, we did that update. And then there’s a small update for
       escalation that’s mostly around our Aviation business. We update it once a year
       on escalation within the service contract.

       The – that part of long-term contracts that are revenues versus billing, so outside
       of contract updates was $600 million in the first quarter. And that’s really where
       we’ve incurred shop visits, outages. We’ve incurred cost against those service
       contracts ahead of actually billing the hours or the events associated with it. So
       that’s mostly timing. And some of that will come back over the course of the


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       year, as we actually bill against the utilization or bill against an outage or a
       shop visit. So I would say that’s mostly timing. That’s the $1.4 billion increase
       that you see in contracts year-over-year.

       532.    On May 5, 2017, the Company filed its quarterly report for the quarter ended

March 31, 2017 on a Form 10-Q (the “1Q 2017 Form 10-Q”) with the SEC. This report

contained the same false and misleading financial metrics referenced in the charts above.

       533.    The 1Q 2017 Form 10-Q also stated as follows with respect to Contract Assets:

       Contract assets increased $2.2 billion, primarily due to adjustments driven by
       lower forecasted cost to complete the contracts and timing of billings relative to
       revenue recognition on our long-term equipment and service contracts.

       534.    The 1Q 2017 Form 10-Q also reported a balance of LTSAs of $14.19 billion and

stated as follows: “Long-term product service agreement balances are presented net of related

billings in excess of revenues of $3,171 million and $3,750 million at March 31, 2017 and

December 31, 2016, respectively.”

       535.    The 1Q 2017 Form 10-Q also stated that cash from operating activities decreased

$7.5 billion, primarily due to:

       Cash used for industrial operating activities of $1.6 billion in the three months
       ended March 31, 2017, compared to cash generated of $0.4 billion in the three
       months ended March 31, 2016, primarily due to [among other things]. . . An
       increase in contract assets of $1.9 billion and $0.7 billion in the three months
       ended March 31, 2017 and 2016, respectively, primarily due to adjustments
       driven by lower forecasted cost to complete the contracts and timing of billings
       relative to revenue recognition on our long-term equipment and service
       contracts.

       536.    In the 1Q 2017 Form 10-Q’s MD&A section, GE stated, in relevant part:

       Capital revenues decreased by $0.2 billion, or 7%, primarily due to organic
       revenue declines and lower gains, partially offset by lower impairments.

       Capital losses decreased $0.8 billion, or 95%, primarily due to lower treasury
       operation expenses, lower preferred dividend expenses and lower restructuring
       expenses associated with the GE Capital Exit Plan.




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       Within Capital, Verticals net earnings increased due to lower impairments ($0.1
       billion) and core increases ($0.1 billion), partially offset by lower gains ($0.1
       billion).

       537.    Defendants’ statements regarding the dividends (¶ 524) were materially false and

misleading and failed to disclose that only by materially under-reserving for liabilities related to

GE Capital’s legacy LTC reinsurance policies was GE able to maintain sufficient free cash flow

for its quarterly dividend payments and stock buyback program. Defendants’ statements

regarding Contract Assets and CFOA (¶¶ 525-528, 530-531, 533-535) were materially false and

misleading and failed to disclose:

               (a)     that, in violation of GAAP, the Company had relied on unsustainable

business practices to renegotiate LTSAs with customers for no true economic purpose and

solely to generate positive cum catch margin adjustments (or avoid negative cum catch margin

adjustments) in order to meet internal revenue and earnings projections, which GE used to

conceal the fact that GE Power was not generating revenue organically;

               (b)     that in order to mask the growing gap between earnings and CFOA that

resulted from over-reliance on cum catch adjustments, GE Power generated CFOA by factoring

receivables it obtained through contract renegotiation—a practice, known as “monetization,”

that was unsustainable because the existing number of LTSAs available to monetize in this way

was finite;

               (c)     that the Company failed to maintain adequate internal controls over its

financial reporting with respect to Contract Assets; and

               (d)     that the Company was overstating revenues, margins, and earnings on its

LTSAs (which corresponded with an inflation of the Company’s Contract Assets) in order to

artificially manipulate the Company’s quarterly and annual financial results in violation of

GAAP, in part because the estimations used for future costs, revenues, and margins on LTSA


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within the GE Power segment were deficient and did not adequately account for the risk of non-

payment from customers.

               26.     Electrical Products Group Conference (May 24, 2017)

       538.    On May 24, 2017, GE participated in the Electrical Products Group Conference

at which the Company made an opening presentation discussing its overall financial condition

and future prospects. Immelt unequivocally stated: “This is a strong, very strong company,”

       539.    With regard to capital allocation and GE Capital, Immelt stated:

       And that just leads into a discussion on capital allocation really for the next 2
       years. So let’s say, ‘17 and ‘18, we have $72 billion or $74 billion of capital to
       allocate inside the company. If you add up, what I would call, just the bedrock of
       the company, keeping it safe and secure, the dividend, funding new products,
       kind of the first 4 things, the pension, that’s roughly half of the cash we have
       available to allocate, right? So the company’s incredibly strong from a balance
       sheet standpoint. You should look to capital allocation decisions around dividend
       and buyback and things like that. These are things that we’re committed to. This
       shows what’s remaining on the buyback, the announced M&A. This is kind of
       the Alstom, finishing out the Alstom JVs, finishing out Baker Hughes. And
       there’s still probably $8 billion to $12 billion of cash out there to allocate in the
       future.

       The other thing I would say is that we tend sometimes to look at -- despite all the
       cash we’ve got on GE Capital, we’re going to get ongoing dividends from GE
       Capital as time goes on. There’s other sources of cash that aren’t even on this
       page as you think going forward. So very strong, very committed to the capital
       allocation choices we’ve made, especially the dividend. And this is the way to
       think about GE and the strength of the company going forward.

       540.    Defendant Immelt’s statements regarding the dividends, capital allocation, and

strength of the Company (¶¶ 538-539) were materially false and misleading and failed to

disclose, among other things, that only by materially under-reserving for liabilities related to GE

Capital’s legacy LTC reinsurance policies was GE able to maintain sufficient free cash flow for

its quarterly dividend payments and stock buyback program.




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               27.      CEO Succession Plan Meeting (June 12, 2017)

       541.    On June 12, 2017, the Company hosted a conference call to discuss its “CEO

Succession” plan. During that call, Immelt announced that Flannery, then President and CEO

of GE Healthcare, would become CEO of GE effective August 1, 2017 and Chairman and CEO

effective January 1, 2018. Jeff Immelt would remain on at the Company as Chairman of the

Board through his retirement from the Company on December 31, 2017. In addition, Jeff

Bornstein, current CFO, was promoted to Vice Chair of GE. During the meeting, Defendant

Bornstein discussed expectations for the Company’s cash flow, stating: “We expect to deliver

cash performance in the second quarter that’s sequentially better than the first. And we

expect it to be better than the second quarter of the previous year. So no change to anything we

talked to you about.”

       B.      The Truth Begins to Emerge While Defendants Continue to Mislead the
               Market

               1.       July 21, 2017: Results for Second Quarter 2017 (Partial Corrective
                        Disclosure)

       542.    On July 21, 2017, before the market opened, GE issued a press release, and filed

with the SEC the same on Form 8-K, entitled “GE 2Q 2017 Earnings” summarizing the

Company’s financial and operating results for the quarter ended June 30, 2017 and containing

the same false and misleading financial metrics referenced in the charts above. The Company

disclosed industrial operating and verticals EPS of $0.28 and CFOA of $3.2 billion ($1.5 billion

industrial CFOA) for the second quarter 2017. Defendant Immelt stated in the press release that

“we expect cash flow to continue to improve throughout the year.”

       543.    On the same day, before the market opened, the Company hosted a conference

call to discuss its second quarter 2017 financial results. Defendants Immelt, Bornstein, and

Flannery participated in the call. During the call, the Company hinted for the first time of a


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looming issue at GE Capital, but did not provide context or the magnitude of the problem: “We

recently have had adverse claims experience in a portion of our long-term care portfolio and

we will assess the adequacy of our premium reserves. We will update you in the fourth

quarter.”110 With respect to GE Capital Verticals business, Bornstein represented that, “In the

second quarter, the Verticals funded $1.9 billion of unbooked volume and enabled

approximately $3.9 billion of industrial orders. Overall, portfolio quality remains stable.”

           544.   During the call, Defendant Immelt explained that cash flow would improve in

the second half of the year and reiterated a “solid” industrial CFOA range of $12 billion to $14

billion:

           For cash, CFOA was $3.5 billion in the quarter: $2 billion from capital and $1.5
           billion from Industrial CFOA, in line with expectations. . . . Contract assets were
           a drag, but better than a year ago. The second-half CFOA profile will be a lot
           like last year. . . . Contract assets will grow at about the same level, and we will
           benefit from timing of other items. We ended the quarter with $14 billion of
           cash on the balance sheet, in line with expectations. And we should be within the
           $12 billion to $14 billion goal for Industrial CFOA.

           545.   Despite reiterating that cash flow would improve through the remainder of the

year, Defendant Bornstein revealed that GE was trending towards the lower end of the $12

billion to $14 billion range for industrial CFOA for the year, driven in part by weakness in

Power:

           We had a better cash quarter. CFOA was $3.5 billion, including a $2 billion
           dividend from GE Capital. Industrial CFOA was $1.5 billion in the quarter. It
           was up $3.1 billion from the first quarter and up substantially from the second
           quarter of last year. At the half, Industrial CFOA is a $200 million usage.

           We expect substantial improvement in cash in the second half, driven by
           higher earnings, continued working capital improvement on higher shipments,
           partly offset by contract assets. For the year, we are trending to the bottom end
           of the $12 billion to $14 billion range on CFOA, driven by pressure, principally
           in Power and Oil & Gas. . . Dividend remains our priority. We are relooking the


110
      Corrective information is underlined.


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       $11 billion to $13 billion range of cash used for buyback based on the timing of
       dispositions. Year to date, we bought back $3.6 billion of shares.

       546.    During the call, Defendant Bornstein clarified his statements about CFOA in the

second quarter:

       What I meant to say on the call was we expected that CFOA in the second
       quarter would be substantially better sequentially from the first and
       substantially better than the second quarter of last year. I didn’t mean to say
       that we would be flat year over year.

       547.    Bornstein also represented on the call that Power would be up in the second half

of 2017:

       Then when you think about total year, we still think about the Power business
       being up mid-single digits on revenue and up roughly high- to low-double
       digits on earnings. I just think that in the backdrop of everything we’ve got in
       front of us here that it does feel softer.

       548.    During the call, Defendant Immelt asserted that the Company would meet its

“target of $17.2 billion for Industrial EBIT . . ., even with those headwinds” and also stressed

that “[w]e have created a very strong position in Power . . . . We don’t like the current oil and

gas cycle, but our business is significantly improved and will prosper as the cycle recovers.”

Defendant Immelt further explained that recent growth in equipment had “open[ed] up service

growth in the long term” and while “[c]ontract assets were a drag” they were “better than a

year ago” and would “grow at about the same level.”

       549.    During the Q&A portion of the earnings call, analysts were focused on the

announcement that industrial CFOA was expected to come in at the lower end of the $12 billion

to $14 billion range, and one analyst asked for more “transparency” into the expected cash

conversion within the Power segment. Rather than reveal the truth about GE’s improper

accounting on its Contract Assets, Defendant Bornstein continued to conceal the fraud and

assured investors that the Power business would deliver a positive CFOA: “So we expect the



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Power business to deliver a positive CFOA in the year for sure. . . . So the Power business is

going to be something like a 50% to 60% conversion in the year.”

       550.    Defendant Bornstein also provided details on the expected drivers of strong

second-half CFOA which included a discussion of the impact of Contract Assets on cash flow

that continued to conceal that GE’s improper accounting for its Contract Assets was how the

Company was able to manufacture positive industrial CFOA and that the Company had been

relying on unsustainable techniques:

       [O]n contract assets, we still expect contract assets to be a cash usage in the
       second half, but not nearly the rate that we saw in the first half. And we expect
       it to look very similar to the change in contract assets in the second half of last
       year, which was about $1.4 billion, $1.5 billion.

       So if you look at second-half cash flow versus 2016, we delivered $11 billion of
       CFOA in the second half of last year. We need to do about $1 billion more this
       year, which is primarily a function of earning. And we expect working capital to
       be about $3.9 billion better in the second half. So the total improvement for the
       year of about $3.3 billion, and that’s less than the $5.1 billion of working capital
       improvement we had in the second half of last year. As I said, contract assets
       will be a little bit of a drag in the second half, but in line with where we were in
       the second half of last year.

       And I’d say lastly, other operating – all the other elements of cash flow will be
       better in the second half than the first half and will be better substantially
       versus 2016. So that is kind of how we think about going from first half to
       second half.

       551.    On this news, the Company’s stock price fell $0.78 per share, or 2.9 percent, to

close at $25.91 per share on July 21, 2017.

               2.     July 28, 2017: Q2 2017 Form 10-Q

       552.    On July 28, 2017, the Company filed its quarterly report for the quarter ended

June 30, 2017 on a Form 10-Q with the SEC (the “2Q 2017 Form 10-Q”). This report contained

the same false and misleading financial metrics referenced in the charts above.




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       553.   The 2Q 2017 Form 10-Q also disclosed the following with respect to LTC

Reserve testing:

       We test future policy benefit reserves associated with our run-off insurance
       activities for premium deficiencies annually. We have recently experienced
       elevated claim experience for a portion of our long-term care insurance
       products, which may result in a deficiency in reserves plus future premiums
       compared to future benefit payments. Should such a deficiency exist, we would
       record a charge to earnings in the second half of 2017 upon completion of this
       review.

                                        *       *       *

       The future policy benefit reserve is subject to an annual review to determine its
       adequacy. Should the liability for future policy benefits plus the present value of
       expected future gross premiums be insufficient to provide for the present value
       of expected future policy benefits and expenses, a premium deficiency would be
       recorded.

       554.   In 2Q 2017 Form 10-Q, GE stated:

       Contract assets increased $3.8 billion, primarily due to adjustments driven by
       lower forecasted cost to complete the contracts and timing of billings relative to
       revenue recognition on our long-term equipment and service contracts.

       555.   The 2Q 2017 Form 10-Q also reported an LTSA balance of $14.76 billion and

stated as follows: “Long-term product service agreement balances are presented net of related

billings in excess of revenues of $2,679 million and $3,750 million at June 30, 2017 and

December 31, 2016, respectively.”

       556.   The 2Q 2017 Form 10-Q also stated that CFOA decreased $7.2 billion, primarily

due to, among other things:

       Cash used for industrial operating activities amounted to $0.4 billion and $0.2
       billion in 2017 and 2016, respectively, primarily due to [among other things] . . .
       . An increase in contract assets of $3.2 billion and $2.4 billion in 2017 and
       2016, respectively, primarily due to adjustments driven by lower forecasted cost
       to complete the contracts and timing of billings relative to revenue recognition
       on our long-term equipment and service contracts.




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       557.    Despite revealing part of the truth regarding adverse claims experience as it

related to LTC reserves and the initiation of a comprehensive review of LTC reserves,

Defendants continued to mislead the market by failing to disclose that the adverse claims

experience causing the insufficiency of the Company’s LTC reserves was not a “recent”

occurrence, but had been persistent since at least the beginning of the Class Period (see e.g.,

¶¶ 240-259).

       558.    Despite revealing part of the truth regarding industrial CFOA performing worse

than initially anticipated, Defendants continue to mislead the market by failing to disclose:

               (a)     that, in violation of GAAP, the Company had relied on unsustainable

business practices to renegotiate LTSAs with customers for no true economic purpose and

solely to generate positive cum catch margin adjustments (or avoid negative cum catch margin

adjustments) in order to meet internal revenue and earnings projections, which GE used to

conceal the fact that GE Power was not generating revenue organically;

               (b)     that in order to mask the growing gap between earnings and CFOA that

resulted from over-reliance on cum catch adjustments, GE Power generated CFOA by factoring

receivables it obtained through contract renegotiation—a practice, known as “monetization,”

that was unsustainable because the existing number of LTSAs available to monetize in this way

was finite;

               (c)     that the Company failed to maintain adequate internal controls over its

financial reporting with respect to Contract Assets; and

               (d)     that the Company was overstating revenues, margins, and earnings on its

LTSAs (which corresponded with an inflation of the Company’s Contract Assets) in order to

artificially manipulate the Company’s quarterly and annual financial results in violation of




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GAAP, in part because the estimations used for future costs, revenues, and margins on LTSA

within the GE Power segment were deficient and did not adequately account for the risk of non-

payment from customers.

       559.    Moreover, Defendant Bornstein’s statements about monetization were materially

false and misleading and failed to disclose that GE was using factoring and other means in order

to mask its cash crisis and by pulling cash from GE’s future earnings. In addition, as set forth in

¶¶ 321-336, the Company’s factoring/monetization program was devised specifically in order to

cover up the future cash hole at GE and that GE was improperly accelerating the recording of

revenue and earnings on its LTSA through cum catch adjustments.

       560.    Indeed, certain analysts picked up the Company’s use of factoring to pull

forward revenues. A July 24, 2017 report by Stephen Tusa of JPMorgan entitled, “Framework

Reaffirmed” noted that:

       [C]ontract assets are now a ~$4.7B difference this year (prior guide had been
       $3.9B), another step higher set to reverse on earnings in the years ahead.
       Receivables sales to GECS and extended payables terms are ways to
       temporarily drive working capital, though progress payments ($2B positive
       last year), and what promises to be heavy cash restructuring means there
       are still negative cash calls here.

                                         *      *       *

       Two items of note we will be watching are receivables sales to GECS, and
       payables for which there is some evidence from the WSJ article of extended
       terms, despite an already stretched payables days ~90. In any event, the absolute
       FCF levels at the low end of guidance ($9B), and when considering an additional
       $1.8B in pension funding and $1+B of outflows for “other investing activities”,
       equates to ~$6B, not enough to cover the dividend ($8.5B).

                                         *      *       *

       The key TBD here is the magnitude of LTSA gains and y/y uptick particularly
       after a ~$200mm y/y increase in 1H, and while there could be upside pressure to
       our/street’s 3Q estimates driven by these gains, it will all come down to rolling
       4-qtr cash flow, which we think will be the ultimate indicator of quality of
       earnings.


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                                         *       *      *

       Management said that LTSA gains were $0.5B in 2Q vs $0.6B prior year,
       showing what happens to segment profits when this lever becomes less of a y/y
       contributor (2Q segment profits of $3.9B were down $0.2B y/y, and missed our
       estimate by $0.1B). This is contrary to the 1Q segment profit results which beat
       our estimates by $0.3B, when LTSA gains were $0.8B, up $0.3B y/y. Looking to
       2H17, contract assets (of which LTSA gains are a portion) are expected to be flat
       y/y, showing this source of non-cash earnings growth is slowing. In 2Q17,
       contract assets were $1.3B. For the full year contract assets are now expected to
       grow by ~$4.7B vs $3.9B prior.

       561.    Tusa also noted that GE “did not allow analysts with a differing perspective a

question on the call.”

               3.        October 20, 2017: Results for Third Quarter 2017 (Partial Corrective
                         Disclosure)

       562.    On October 20, 2017, before the market opened, GE issued a press release, and

filed the same on Form 8-K with the SEC, entitled “GE 3Q 2017 Earnings,” summarizing the

Company’s financial and operating results for the quarter ended September 30, 2017 and

containing the same false and misleading financial metrics referenced in the charts above. The

earnings fell short of analyst expectations.111 The announcement also included a disclosure that

the claims rate in the LTC unit was sufficiently high to necessitate a thorough review and might

prevent GE Capital from providing the parent company a dividend, thus putting pressure on

whether GE could maintain its dividends to investors. In particular, as stated in the press

release, the Company was “…deferring decision on additional dividends until Insurance reserve

review is completed.”



111
   “General Electric Company: Reports Third Quarter Earnings,” William Blair & Company,
October 20, 2017: “General Electric reported third-quarter industrial operating and verticals
EPS of $0.29, compared with the consensus of $0.49 and our estimate of $0.50.”
“General Electric: Large EPS miss; 2017 cash flow cut almost in half,” Deutsche Bank, October
20, 2017: “GE reported a shocking 3Q17 miss of 29 cents (adjusted) or 20 cents below the
consensus forecast of 49 cents.”


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       563.    On the same day, before the market opened, the Company hosted a conference

call to discuss its third quarter 2017 financial results. Defendants Flannery, Bornstein, and

Miller participated in the call. GE shocked the market when Defendant Bornstein announced

that GE “did not receive a dividend in the quarter from GE Capital” and GE had “deferred the

decision to pay approximately $3 billion of additional GE Capital dividends.”

       564.    Defendant Bornstein expanded on the Company’s comprehensive review of its

LTC reserves and further explained the delayed dividend:

       [W]e’ve recently observed elevated claims experience for a portion of the long-
       term care book at GE Capital’s legacy insurance business, which represents
       $12 billion or roughly 50% of our insurance reserves. As a result, we began a
       comprehensive review in the third quarter of premium deficiency assumptions
       that are used in the annual claim reserve adequacy test. This is a very complex
       exercise, and the team is making good progress. We expect to complete this
       process by the end of the year. Until the review has been completed we’ve
       deferred the decision to pay approximately $3 billion of additional GE Capital
       dividends. Year to date, GE Capital has paid $4 billion of dividends to GE.

       565.    Defendant Miller also briefly addressed the ongoing LTC reserve review:

       At GE Capital, Jeff mentioned that we expect our insurance actuarial review to
       be concluded in the fourth quarter. As many of you may know, this book of
       business includes long-term care reinsurance, which can be quite difficult to
       analyze and reset the reserves. Jeff mentioned the decision to hold off on the GE
       Capital additional dividends for the third and fourth quarters until that analysis is
       finalized.

       566.    Details also began to emerge about GE’s significant cash flow issues, which the

Company attributed to, among other things, the impact of its growing Contract Asset balance.

Indeed, during the call, Defendant Miller announced that GE was slashing its guidance for

2017 industrial CFOA from an initial range of $12 to $14 billion down to $7 billion.

Defendant Flannery also explained that the Company’s 2017 EPS guidance was being revised

downward to $1.05 to $1.10 per share (vs. prior guidance of $1.60 to $1.70 per share).




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        567.      Defendant Flannery, who had only recently assumed the CEO position, stated

that the Company had been completing a review of its operations and that, “[w]hile the

company has many areas of strength, it’s also clear from our current results that we need to

make some major changes with urgency and a depth of purpose. Our results are unacceptable, to

say the least.”

        568.      During the call, Defendant Miller explained that the weak cash flow performance

that forced GE to slash its industrial CFOA guidance was driven largely by the Power segment,

in part as a result of the accounting used for Contract Assets within the segment: “Power is the

biggest driver on lower volume, higher inventory, and the timing of payments on long-term

equipment contracts.” Analysts at Cowen called these reductions “drastic” and found the CFOA

miss to be “enormous.”

        569.      Defendant Bornstein provided additional details about the impact that Contract

Assets had on GE’s weak industrial CFOA:

        Versus our expectations, our CFOA in the quarter was negatively impacted by
        two things: lower-than-expected power earnings, and underperformance in
        working capital.

                                          *       *      *

        Contract assets were a use of $800 million in the quarter. Of the $800 million,
        $300 million was from our equipment contracts, given the timing of our revenue
        recognition milestones which will catch up as we execute against these contracts.
        The remaining $500 million is from our long-term service agreements due to
        better cost performance and parts life, primarily in power and transportation.

        570.      During a detailed discussion of the poor performance within the Power segment,

Defendant Bornstein revealed the impact the weakening power market was having on GE’s

business:

        We are severely disappointed in the results of power, and are taking action to
        position the business going forward. This includes a refocus on the basics,
        significant additional cost-out plans, and changes to management, including


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       announcing a new head of power services this week. The business has been
       undergoing market changes and we haven't changed fast enough with it. . . .

       The structure of the service market has also changed, as we discussed on the
       second-quarter conference call, driven by renewables, fleet penetration for
       AGPs, lower capacity payments, utilization, and outages. However, the decline
       we saw in our service business in the third quarter was much sharper than the
       decrease in the first half. We expect these issues to persist through the fourth
       quarter and into 2018.

       571.    Defendant Bornstein also revealed the poor performance of GE’s Power services

business, as well as the impact of cum catch adjustments for the quarter:

       Service revenues of $4.3 billion were down 4%, with energy connections up 6%,
       and power down 5%. Power services were down on lower AGPs, down 54%, at
       13 versus 28 units last year, and outages were down 18%. Our CSA [cum catch]
       adjustments in the quarter were $323 million, down from last year’s $366
       million.

       572.    Analysts focused on GE’s Contract Assets and the negative impact the

accounting for those contracts had on cash flow. During the call, Jeff Sprague of Vertical

Research Partners, pointedly confronted GE about the lack of transparency in how GE

accounted for its Contract Assets:

       There’s been a couple elephants in the room leading up to today, and another one
       has been the contract asset account, which is also built upon numerous
       assumptions. As we sit here and listen to aggressive forecasts, unrealistic
       assumptions, et cetera, particularly in power, how do we get comfortable with
       what’s gone on in that account? And have you guys actually been able to scrub
       through that yet?

       573.    In response, Defendant Bornstein assured investors that he stood behind the

methods used to account for the Company’s Contract Assets and that the asset balance would

soon convert to cash, thereby continuing to conceal the true extent of the impact of GE’s

improper accounting for Contract Assets on industrial CFOA:

       [W]e have been digging through that, I would say, over the last six months. I
       think we are very comfortable with where we are. And I think you’ve got to
       think about it, in power’s case, in a number of buckets. The first is long-term
       service agreements. And I want to be clear here: in the third quarter with this


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       performance, our productivity or CSA cum catch was actually down $45
       million year-over-year. So it’s a small contributor to where we are year-over-
       year in the quarter. But it’s not that reason that we were way off where we
       thought we would be in the third quarter.

       The second is we have really grown long-term equipment agreements. Now, this
       is 81-1 accounting. These are long-term contracts. They’re generally anywhere
       from 12 to 24 months, where we build projects out, and along – as we go along
       the way we incur cost, we rev rec on milestones, and then there’s also cash
       billing milestones. And they don’t always line up on top of one another.

       That has grown over the last two years really as a function of two things. One is
       we added Alstom to the portfolio, which had a much higher content of long-term
       projects. And as we built out the H units, we’ve done a lot more full scope, much
       larger scope projects, even if it was just contained to the turbine island, all the
       way through HRSGs and the steam tail that we got with Alstom.

       So the amount of this activity in the portfolio has grown. And as a result of that,
       our 81-1 balances, particularly in power, have grown. And so that cost, if you
       will, generally liquidates over 12 to 18 months. So we’re higher this year by
       about $800 million than we originally forecast, almost all of that in power. But
       that will liquidate and turn to cash as we hit billing milestones over the next 12
       to 18 months.

       574.    Defendant Miller also explained that with respect to Contract Assets she was

“deeply familiar with the model”:

       On contract assets, look, I’m deeply familiar with that model. I’ve only been
       here in Boston for a couple of weeks, but I have gone through and sat through
       a number of the reviews with businesses, and I know GE balance sheet very
       well. Look, there’s nothing I’ve seen that gives me any indication of an
       accounting issue here. I think Jeff explained it pretty well in terms of the long-
       term contract equipment build we’re seeing.

       575.    Relatedly, Defendant Miller assured investors that GE’s “cum catch” was

expected to be in the range it had been previously, thereby continuing to conceal that

Defendants were improperly relying on cum catch adjustments to accelerate revenue and

earnings:

       So look, we’ll take you through this on November 13. Obviously this is a big
       fourth-quarter focus area. The one thing I’d add to what Jeff said is the cum
       catch is still in the range of what we’ve been estimating before. And as we go
       through it, we’ll lay out both how we think you should think about margins on


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       long-term equipment, margins on services, and just how best to sort of gauge
       the 2018 to 2017 run rate views.

       576.    In reaction to this news, there was an immediate price decline in GE’s common

stock price which opened 5.65% lower than the previous day’s close. While the price

rebounded temporarily leading up to the market close, by the end of the very next trading day

(October 23), after a number of prominent analysts (including UBS, JP Morgan and Morgan

Stanley) downgraded the stock in light of the disclosures, the price closed at $22.32, down

$1.26 or 5.34% from its close immediately preceding the October 20th disclosures.

       577.    Analysts were not surprised by the substantial decline in the stock price and were

more surprised by the temporary recovery on October 20:

       GE has declined 11% this week, marking its worst one-week performance since
       2009. Clearly the wave of broker downgrades post-earnings is a factor, but we
       believe that the +1% close on earnings day is also a contributing cause;
       quite frankly that was the harder move to explain in light of the guidance
       cut to $1.05-1.10 (vs. $1.54 extant consensus). In our 12 year history of
       covering GE, we have not seen such a sharp intra-day reversal as the one we
       saw on Friday, and one that was so difficult to explain. But, in aggregate, the
       share price is reflecting the reduction to consensus earnings estimates for FY18,
       lower sell-side target prices and income-focused investors/funds re-positioning
       ahead of the dividend cut. We believe $20 is the level that folks are gravitating
       towards, as a key support level.112

       578.    This theme of surprise was echoed by analysts at Deutsche Bank in a report

issued on October 23, 2017:

       We find it extraordinary that investors and analysts appear to have jumped so
       quickly to adopt GE’s narrative that cash flow is heading for a substantial
       rebound – driven by cost cutting (significantly already in the numbers) and the
       absence of black box one-time items such as Alstom taxes. Moreover, Aviation
       and other business “strength” (commercial spares +21%) will eventually soften –
       possibly blunting the future benefit from Power one day turning higher. We
       calculate a paltry FCF yield even if GE were able to realize a sizeable cash
       bounce next year.


112
  “General Electric Co.: What Is the Push Back?” Morgan Stanley, October 27, 2017 12:00
PM EST (emphasis added).


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       579.   Deane Dray, CPA, analyst at RBC Capital Markets reported, on October 23,

2017, that this meant that the “review may determine that roughly half of GE Capital’s reserves

are insufficiently funded and that additional contributions must be committed.” Thus, the GE

Capital dividend “may no longer be feasible depending on the conclusion of the insurance

reserve assessment.”113

       580.   Dray also expressed surprise that GE’s stock price closed up 1%, after falling by

6 percent intraday on October 20, 2017. Dray opined that:

       Biggest surprise: Despite guidance cuts, GE’s stock ends the day up 1%.
       Given the magnitude of the guidance cuts, the urgent question we fielded on Oct-
       20 was why the stock rallied from -6% at the open to up 1% at the close. Our
       take is that this rally was driven by two factors: (1) The bridge of cash usage
       items that will not repeat in 2018, demonstrating how $7 bil is not the “new
       normal”, eased some shock over the CFOA guidance cut. (2) John Flannery’s
       brutal honesty about GE’s prior failings, along with a heartfelt “falling on his
       sword” by outgoing CFO Jeff Bornstein. These factors helped investors conclude
       that a bottom could be at hand.114

       581.   In a report on October, 27, 2017, Morgan Stanley analyst Nigel Coe also

addressed GE’s steep intra-day price decline on Friday October 20, 2017 and substantial price

drop on Monday October 23, 2017, noting:

       What explains the sharp sell-off? GE has declined 11% this week, marking its
       worst one-week performance since 2009. Clearly the wave of broker downgrades
       post-earnings is a factor, but we believe that the +1% close on earnings day is
       also a contributing cause; quite frankly that was the harder move to explain in
       light of the guidance cut to $1.05-1.10 (vs. $1.54 extant consensus). In our 12
       year history of covering GE, we have not seen such a sharp intra-day reversal as
       the one we saw on Friday, and one that was so difficult to explain. But, in
       aggregate, the share price is reflecting the reduction to consensus earnings
       estimates for FY18, lower sell-side target prices and income-focused




113
    RBC Capital Markets, October 23, 2017, “General Electric Company - First Signs of
Bottoming with Kitchen-Sinked 3Q17 + Reset 2017”
114
    Id. Emphasis in original.


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       investors/funds re-positioning ahead of the dividend cut. We believe $20 is the
       level that folks are gravitating towards, as a key support level.115

       582.    On October 23, 2017, in a report entitled “General Electric Co., Not Much Left

For Bears To Say...The Numbers Now Speak For Themselves,” Stephen Tusa from JPMorgan

questioned how deep the problems at GE Power went:

       We also wonder how, immediately following the departure of Power head Steve
       Bolze, a segment that is supposed to be driven by services can unravel so
       quickly. We are not saying there are accounting issues here, but given the
       legendary earning management prowess of historical GE, there would appear to
       be something perhaps more systemic, a challenge for anyone to cleanse,
       especially a 30 year insider.

Tusa also wrote, “How ‘great’ can businesses that have to sell receivables to a facility and build

billions in Contract Assets to drive market share actually be?”

       583.    On October 23, 2017, John Inch of Deutsche Bank issued a report on GE

entitled, “Back to the Future” in which Inch expressed surprise and astonishment at GE’s

October 20, 2017 disclosure:

       GE’s Power 3Q17 segment profit collapse was astounding with revenues down
       4% and profits down 51% y/y. In only a matter of weeks, the company’s service,
       aeroderivative and power conversion businesses seemingly fell apart. . .

                                         *      *       *

       The fact that GE owes such a large bill for legacy insurance likely surprised a lot
       investors considering GE supposedly exited Genworth, ERC and GE’s other
       insurance businesses many years ago. In fact, of GE Capital’s ~$155bn of assets
       at 3Q17, roughly $27bn are reportedly tied to insurance. . . Why is GE still
       taking charges for its discontinued operations . . . .

       584.    Despite revealing part of the truth regarding adverse claims experience as it

related to LTC reserves and the initiation of a comprehensive review of LTC reserves,

Defendants continued to mislead the market by failing to disclose that the adverse claims


115
   Nigel Coe, Morgan Stanley, “General Electric Co., What Is the Push Back?” (Oct. 27,
2018).


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experience causing the insufficiency of the Company’s LTC reserves was not a “recent”

occurrence, but had been persistent since at least the beginning of the Class Period (see e.g.,

¶¶ 240-259).

       585.    Despite revealing part of the truth regarding industrial CFOA performing worse

than initially anticipated, Defendants continue to mislead the market by failing to disclose:

               (a)     that, in violation of GAAP, the Company had relied on unsustainable

business practices to renegotiate LTSAs with customers for no true economic purpose and

solely to generate positive cum catch margin adjustments (or avoid negative cum catch margin

adjustments) in order to meet internal revenue and earnings projections, which GE used to

conceal the fact that GE Power was not generating revenue organically;

               (b)     that in order to mask the growing gap between earnings and CFOA that

resulted from over-reliance on cum catch adjustments, GE Power generated CFOA by factoring

receivables it obtained through contract renegotiation—a practice, known as “monetization,”

that was unsustainable because the existing number of LTSAs available to monetize in this way

was finite;

               (c)     that the Company failed to maintain adequate internal controls over its

financial reporting with respect to Contract Assets; and

               (d)     that the Company was overstating revenues, margins, and earnings on its

LTSAs (which corresponded with an inflation of the Company’s Contract Assets) in order to

artificially manipulate the Company’s quarterly and annual financial results in violation of

GAAP, in part because the estimations used for future costs, revenues, and margins on LTSA

within the GE Power segment were deficient and did not adequately account for the risk of non-

payment from customers.




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               4.      October 30, 2017: 3Q 2017 Form 10-Q

       586.    On October 30, 2017, the Company filed its quarterly report for the quarter

ended September 30, 2017 on a Form 10-Q with the SEC (the “3Q 2017 Form 10-Q”). This

report contained the same false and misleading financial metrics referenced in the charts above.

       587.    The 3Q 2017 Form 10-Q also provided information regarding its LTC liabilities

and its ongoing reserve testing:

       Our run-off insurance activities include future policy benefit reserves of $ 19.2
       billion and claim reserves of $4.9 billion at September 30, 2017 of which
       approximately $9.0 billion and $3.4 billion, respectively, relates to long-term
       care insurance contracts. We test future policy benefit reserves associated with
       our run-off insurance activities for premium deficiencies annually.

       We have recently experienced elevated claim experience for a portion of our
       long-term care insurance contracts that requires the completion of a
       comprehensive review of premium deficiency assumptions across all insurance
       products. This review will be completed in the fourth quarter of 2017. Based
       upon the work performed to date and complexity of the review as further
       described within our Critical Accounting Estimates and Note 11 to the
       consolidated financial statements, a charge related to a probable deficiency is not
       reasonably estimable at September 30, 2017.

                                        *       *      *

       We have recently experienced elevated claim experience for a portion of our
       long-term care insurance contracts, which is most pronounced for policyholders
       with higher attained ages. As a result, and as described below, we are conducting
       a comprehensive review of premium deficiency assumptions across all insurance
       products, including a reassessment of future claim projections for long-term care
       contracts that will be incorporated within our annual test of future policy benefit
       reserves for premium deficiencies, which is expected to be completed in the
       fourth quarter of 2017.

                                        *       *      *

       Should the net liability for future policy benefits plus the present value of
       expected future gross premiums be insufficient to provide for the present value
       of expected future policy benefits and expenses, we would be required to reduce
       any remaining capitalized acquisition costs and, to the extent a shortfall still
       exists, increase our existing future policy benefit reserves. We would record a
       charge to earnings for any premium deficiencies in the fourth quarter of 2017
       upon completion of this review.


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       Based upon the work performed to date and complexity of the review described
       above, a charge related to a probable deficiency is not reasonably estimable at
       September 30, 2017. Until the above described review has been completed we
       have deferred the decision whether GE Capital will pay additional dividends to
       GE.

       588.    The 3Q 2017 Form 10-Q stated the following with respect to Contract Assets:

       Revenues in excess of billings increased $2,606 million and $1,328 million for
       our long-term service agreements and long-term equipment contracts,
       respectively. The increase in our long-term service agreements is due to a
       $1,930 million cumulative catch up adjustment driven by lower forecasted
       costs to complete these contracts as well as increased forecasted revenue and
       $676 million due to the timing of revenue recognized for work performed
       relative to billings and collections. Revenue in excess of billings for our long-
       term equipment contracts increased $1,328 million primarily due to the timing
       of revenue recognized for work performed relative to the timing of billings and
       collections. The remaining increase in contract assets of $712 million is
       primarily due an increase in deferred inventory costs and non-recurring
       engineering costs.

       The change in estimated profitability within our long-term product service
       agreements in our Power, Aviation, Transportation, and Oil & Gas segments
       resulted in an adjustment of $649 million and $588 million for the three months
       ended September 30, 2017 and 2016, respectively, and $1,930 million and
       $1,714 million for the nine months ended September 30, 2017 and 2016,
       respectively, driven primarily by cost execution and increased productivity.

       589.    In the 3Q 2017 Form 10-Q, GE further stated:

       Contract assets increased $4.6 billion. Revenues in excess of billings increased
       $2.6 billion and $1.3 billion for our long-term service and equipment
       agreements, respectively. The remaining increase in contract assets of $0.7
       billion is primarily due an increase in deferred inventory costs and non-
       recurring engineering costs.

       590.    The 3Q 2017 Form 10-Q reported an LTSA balance of $15.36 billion and stated

as follows: “Long-term product service agreement balances are presented net of related

billings in excess of revenues of $2,595 million and $3,750 million at September 30, 2017 and

December 31, 2016, respectively.”

       591.    The 3Q 2017 Form 10-Q reiterated that cash from operating activities decreased

$14.3 billion, primarily due to, among other things:


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       Cash generated from Industrial CFOA[] amounted to an insignificant amount and
       $2.3 billion in 2017 and 2016, respectively, primarily due to [among other
       things] . . . . An increase in contract assets of $4.0 billion in 2017 compared
       with $3.0 billion in 2016, primarily due to cumulative catch up adjustments
       driven by lower forecasted cost to complete the contracts as well as increased
       forecasted revenue on our long-term service agreements and the timing of
       revenue recognized relative to the timing of billings and collections on both
       our long-term service agreements and long-term equipment contracts.

       592.    Despite revealing part of the truth regarding adverse claims experience as it

related to LTC reserves, the initiation of a comprehensive review of LTC reserves, and the

negative adjustments necessary to GE Power’s cum catch adjustments and a growing Contract

Asset balance and its effects on GE’s industrial CFOA, Defendants continue to mislead the

market by failing to disclose:

               (a)     that the adverse claims experience causing the insufficiency of the

Company’s LTC reserves was not a “recent” occurrence, but had been persistent since at least

the beginning of the Class Period (see ¶¶ 321-336).

               (b)     that, in violation of GAAP, the Company had relied on unsustainable

business practices to renegotiate LTSAs with customers for no true economic purpose and

solely to generate positive cum catch margin adjustments (or avoid negative cum catch margin

adjustments) in order to meet internal revenue and earnings projections, which GE used to

conceal the fact that GE Power was not generating revenue organically;

               (c)     that in order to mask the growing gap between earnings and CFOA that

resulted from over-reliance on cum catch adjustments, GE Power generated CFOA by factoring

receivables it obtained through contract renegotiation—a practice, known as “monetization,”

that was unsustainable because the existing number of LTSAs available to monetize in this way

was finite;




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               (d)     that the Company failed to maintain adequate internal controls over its

financial reporting with respect to Contract Assets; and

               (e)     that the Company was overstating revenues, margins, and earnings on its

LTSAs (which corresponded with an inflation of the Company’s Contract Assets) in order to

artificially manipulate the Company’s quarterly and annual financial results in violation of

GAAP, in part because the estimations used for future costs, revenues, and margins on LTSA

within the GE Power segment were deficient and did not adequately account for the risk of non-

payment from customers.

       593.    On November 1, 2017, Investor’s Business Daily published an article entitled

“Why There Is Little Hope General Electric’s Dividend Will Stay Intact” highlighting concerns

from equity analysts regarding GE’s dividend. The article cited two main factors contributing

to the uncertainty of the dividend: (i) declining industrial cash from operations, and (ii) and “the

suspension of GE Capital dividends pending review of reserves needed to support a long-term

care insurance business.”

               5.      November 13-14, 2017: Investor Update and Goldman Sachs
                       Conference (Partial Corrective Disclosure)

       594.    On November 13, 2017, before the market opened, GE issued a press release

slashing its annual dividend in half, from $0.96 to $0.48 per share, only the second dividend cut

for GE since the Great Depression.

       595.    The Company later hosted its Investor Update, during market hours the same

day, which JPMorgan later described as “an all hope is lost event,” and reported that GE’s

dividend rate was no longer appropriate. Defendant Flannery explained that, plagued by poor

CFOA, GE had been paying out a dividend above its industrial CFOA for a number of years,

and that GE Capital would not be paying a dividend to GE in 2018, stating:



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           [T]he reduction of this dividend to $0.48 is a product, really, of where we are as
           a company right now. So we had a $0.96 dividend established. We had a path
           where we thought the industrial cash flow generation would grow, that would
           grow into the dividend . . . . The reality is that hasn’t unfolded that way . . . .
           [W]e’ve been paying a dividend in excess of our free cash flow for a number of
           years now.

           596.   Defendant Flannery reiterated the Company’s CFOA forecast reduction, stating:

           [Unidentified Participant]:

           [S]hortly after you were named CEO, it was widely quoted in the Journal and
           elsewhere that the dividend was safe. Surprised that you would make such a
           strong statement early on, which . . . has hurt your credibility right out of the gate
           . . . . When did you make the decision?

           Flannery

           So I think there’s been major change in our cash flow forecast. So the time we
           went out with that first statement, we were having a $12 billion to $14 billion
           CFOA. And the day I started, there was a guide to the low end of that range . . . .
           So we’re now at a $7 billion number. . . . [F]undamentally, that dividend was
           predicated on us growing to a certain level that we just did not see happening in
           terms of industrial cash flow in the next couple of years . . . . So the single
           biggest delta, I think is obvious, which is what happened in the Power business.

           597.   Defendant Miller, who assumed the CFO role on November 1, 2017, also

provided an update regarding the Company’s review of its GE Capital insurance reserves,

stating:

           One area, I’ll just pause and talk about for a minute, is GE Capital. And as many
           of you know we’re in the middle of an ongoing reserve review at our insurance
           businesses there. This process is ongoing. It involves multiple third parties and
           it’s not done at this point. And I don’t have a number for you today.

           We’re on track to conclude that in December. And we mentioned to you before,
           that we’re not taking a second half GE Capital dividend of about $3 billion. And
           as we go through this process at this point I do expect the charge to be more than
           that. But we do have capital plans in place and we don’t expect to have to put GE
           parent cash into GE Capital.

           598.   GE also slashed its 2018 profit outlook by 50% to adjusted earnings of $1.00 to

$1.07 a share, compared with its earlier estimate of $2 per share. GE also announced a series of




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steps to save cash and refine operations, including revising compensation plans and shrinking

the size of the Company’s Board to 12 from 18 members. Indeed, Defendant Miller indicated

that GE would reduce its corporate workforce, which currently has approximately 24,000

employees, by 25 percent, or approximately 6,000 job cuts.

       599.    During the conference, Russell Stokes claimed that Power’s “CSA assets have

been running fine,” but also stated that:

       We will have lower CSA or contractual asset gains. And I’d say really part of
       this is focusing the organization on actions that generate a cash return today.
       There is nothing wrong with CSAs. I’ve been around them for a long time. But
       what we do get into is creating value that is going to play out and cash flows that
       play out over a 10-, 15-plus-year period. We’re going to redeploy some of our
       resources to look and understand at how do we do more things in our service
       business to be able to ensure that we’re generating cash today, but at the same
       time, taking care of those customers and understanding the performance
       guarantees and commitments there.

       600.    Stokes also answered a question regarding Contract Assets from Jeff Sprague of

Vertical Research Partners:

       [W]e’ve looked very hard at what’s in those contracts in terms of some of the
       commitments that have been made. That’s really what we were talking about in
       terms of the new strike zone-type process and what we’re doing around pricing
       governance. We have taken a hard look at the way they’ve – service areas. I
       think there’s a view around the service portfolio in terms of are we giving
       things away, et cetera. The contracts have a degree of productivity in them, at
       times, working with customers to look at how we restructure to ensure value
       for them. We may trade value, but then we get long-term economics back as
       well. There’s actually short-term economics at times on things like AGPs and
       making sure that the assets are continuing to run. So I feel pretty good about
       where we are, but we’re continuing to make sure that we put the right controls
       in place to make sure that we don’t have issues going forward. There’s a degree
       of complexity, obviously, based on by country and financing requirements, et
       cetera, and we’re working through all of that.

                                        *       *      *

       On the – if you looked at the contracts where we’ve worked through
       restructuring, the margin on the contracts remains the same. So the economic
       trade is something where we get value and the customer gets value. . . There’s
       less of that risk associated with the CSAs. Everything that we’re seeing around


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       the – where we have the long-term contracts, those assets we monitor, we can see
       that they’re running equal to the utilization that we had assumed they have. And
       that's about 50% of our service book.

       601.    Defendant Miller attempted to explain the basis for GE’s cost and productivity

estimates on the Contract Assets:

       So a minute on contract assets, and I know there is a lot of discussion here. . . .
       So we have about $30 billion of contract assets, and about half of that relates
       to our contractual services arrangements. About 40% of it relates to our long-
       term equipment assets. And just to explain for a minute what a contractual
       service arrangement really is, these are long-term contracts, typically 10 to 20
       years, where our customers have predictable maintenance costs in exchange for
       performance guarantees on equipment, okay. . . .

       602.    Also during the call, an analyst asked whether “[t]he contract asset headwind for

2018 [was] cum catch adjustments,” or whether it was core project related activity. In response,

Defendant Miller continued to conceal the improper reliance on cum catch adjustments to

accelerate revenue and earnings on Contract Assets and the related impact on cash flow:

       Most of that is core project-related activity. I think our cum catch is
       somewhere in the 700 to 800 number next year . . . .

       603.    A presentation GE provided investors as part of the Company’s Investor Update

showed that Contract Assets caused a $3.9 billion outflow of cash in 2016, a projected $5

billion outflow of cash for 2017, and a projected $3 billion outflow for 2018.




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       604.    This chart shows that GE expected Contract Assets to continue to negatively

impact cash flow, which meant GE remained heavily reliant on non-cash earnings from its

LTSAs. Post-Class Period, analysts at Deutsche Bank, in a January 29 and February 8, 2018

report, cautioned that GE’s reliance on non-cash earnings, combined with a weak power market,

could force GE to write down its Contract Assets at some point in the near future.

       605.    On November 14, 2017, before the market opened, analysts at RBC Capital

Markets issued a research report in which they downgraded GE stock, noting that “the market

was caught by surprise by the magnitude of the missteps and secular challenges at Power, as

well as the systemic cash flow shortfalls.” Indeed, they found the “admission that GE had been

paying out a dividend above its industrial free cash flow for a number years, and that GE

Capital would not be paying a dividend” to be “particularly damaging.” They also stated that

the GE Capital dividend announcement “was a negative surprise and further compounded

concerns that the final insurance reserve charge would be more severe than feared.”

       606.    Also before the market opened on November 14, 2017, analysts at Citigroup

lowered its price target for GE from $27 to $25 per share. The analysts observed that: “Power is


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a mess right now, GE Capital will likely take a big insurance charge, and Cash/EPS could flat-

line close to $1.”

       607.    On November 14, 2017, starting at 9:30 a.m., GE attended a Goldman Sachs

Group Inc.-sponsored conference during which analysts were particularly focused on GE

Capital and noted that “GE Capital was noticeably absent in the discussion [yesterday].”

Defendant Miller reiterated the information provided by the Company the day prior:

       [W]e’re in the middle of a review of our insurance reserves. This is a book of
       largely reinsured long-term care businesses back from more than a decade ago.
       That review is ongoing, we’re right in the middle of it. It involves multiple third
       parties. . . . It’s on track for completion in December . . . . We had announced
       earlier that we had deferred the decision on a GE Capital dividend of about $3
       billion in the second half of the year. At this point in the process, I’d tell you
       that I expect that charge to be more than that, but we also have capital plans in
       place and I don’t expect to have to put parent cash into GE Capital at this point.

       608.    Despite the negative announcements on November 13, 2017 and November 14,

2017, Defendant Flannery provided false assurances about GE’s accounting in a CNBC

interview during trading hours on November 14, 2017. Specifically, Flannery said that “there’s

no accounting issue. No one’s been had.”116

       609.    Defendant Flannery’s statement was materially false and misleading and omitted

to disclose that GE was failing to timely record billions of dollars of increases to its LTC

reserves and was overstating costs and profitability on Contract Assets.

       610.    As a result of these stunning revelations about GE’s massive dividend cut and

anticipated charges of more than $3 billion for its LTC reserves, the Company’s stock price fell

$1.47 per share, or over 7 percent, to close at $19.02 per share on November 13, 2017. GE’s



116
   Berkely Lovelace, Jr., GE CEO Flannery: I’m not surprised by our stock’s 2-day plunge,
CNBC (updated Nov. 14, 2017 1:26PM ET), https://www.cnbc.com/2017/11/14/ge-ceo-
flannery-im-not-surprised-by-our-stocks-2-day-loss-of-nearly-9-percent-we-disappointed-
investors.html


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stock price fell an additional $1.12 per share, or 5.8 percent, to close at $17.90 per share on

November 14, 2017, for a two day loss of approximately 12.6 %, on extremely heavy volume.

       611.    On November 16, 2017, Moody’s Investors Service cut GE’s long-term debt

rating, citing “extreme deterioration” in the energy business. The cut was from A1 to A2.

According to an article by CNBC:

       The move comes the same week that GE rocked investors with news that it was
       slashing its dividend in half and making a multitude of other changes at the 125-
       year-old industrial conglomerate. GE shares were rocked on the news and are
       down nearly 10 percent on the week.

       Moody’s indicated that it’s unlikely GE makes the changes anytime soon that
       will justify the former rating on its bonds.

       Specifically, Moody’s takes GE to task for using $25 billion from asset sales in
       2016 and 2017 to repurchase stock in an effort to boost share price, taking out
       $10 billion of debt to fund acquisitions, and paying out a dividend higher than
       cash flows and as the company was downsizing key operations.

       The downgrades reflect the severe deterioration in the financial performance of
       GE's Power segment that will last through at least 2019, Rene Lipsch, senior
       credit officer, said in a statement. Along with the challenges in the Oil & Gas
       business posed by continued weakness in the global oil field services industry
       and the downturn in the North American market for freight locomotives, GE has
       to contend with weak earnings and cash flows in several segments that represent
       in aggregate about 50% of expected revenues in 2017.

                                         *       *       *

       Moody’s does not anticipate that GE will allocate a meaningful portion of any
       proceeds from planned asset disposals to debt reduction in the near term to help
       expedite the restoration of its credit metrics,” Lipsch said. “Over the last several
       years, GE pursued an aggressive financial policy that contributed to the
       weakening of its credit profile.

       612.    Despite revealing part of the truth regarding the scope of the potential charge

concerning LTC reserves (greater than $3 billion) and the weakening cash flow situation at the

Company, Defendants continue to mislead the market by failing to disclose the full truth

regarding the overstatement of costs and profitability on Contract Assets.




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IX.     ADDITIONAL CORRECTIVE DISCLOSURES

        613.    During the Class Period, as detailed herein, GE and the Individual Defendants

engaged in a course of conduct that artificially inflated the price of GE securities and operated

as a fraud or deceit on the Class Period purchasers of GE securities by making the materially

false and misleading statements and omissions recited above.

        614.    When the truth was disclosed and became known to the market, the price of GE

securities declined precipitously as the prior artificial inflation was removed. As a result of

their purchases of GE securities at artificially inflated prices during the Class Period, Plaintiff

and other members of the Class suffered a substantial economic loss (i.e., damages under the

federal securities laws). The price decline in GE securities was a direct result of the nature and

extent of the materially false and misleading statements and omissions revealed to investors and

the market. Thus, the Defendants’ wrongful conduct, as alleged herein, directly and proximately

caused the damages suffered by Plaintiff and the Class.

        615.    The truth about GE’s business was disclosed through a series of corrective

disclosures beginning on July 21, 2017, as discussed above, with the disclosure of the

comprehensive review of the Company’s LTC reserves and concluding on January 24, 2018,

with the announcement of the Company’s fourth quarter 2017 results and the disclosure of an

SEC investigation into the Company’s understatement of its LTC reserves and “revenue

recognition and controls for its long-term service agreements.”

        A.      January 16, 2018: Insurance Update (Partial Corrective Disclosure)

        616.    On January 16, 2018, before the market opened, GE issued a press release

entitled “GE Provides Update on Insurance Review; $6.2B after-tax GAAP charge in 4Q’17,”

confirming a multi-billion dollar loss in GE’s legacy reinsurance business. The press release

stated in relevant part:


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       GE (NYSE: GE) announced today that the comprehensive review and reserve
       testing for GE Capital’s run-off insurance portfolio, North American Life &
       Health (NALH), will result in an after-tax GAAP charge of $6.2 billion for the
       fourth quarter of 2017, and GE Capital expects to make statutory reserve
       contributions of ~$15 billion over seven years. The Kansas Insurance
       Department, NALH’s primary regulator, approved a phased contribution of ~$3
       billion in 1Q’18 and ~$2 billion annually from 2019 through 2024.

       As we disclosed during the company’s second- and third-quarter earnings calls
       and further discussed during our November 13, 2017, investor presentation,
       earlier this year GE Capital initiated a comprehensive review of our insurance
       reserves with the assistance of leading outside experts, said John Flannery,
       chairman and CEO of GE. This was a rigorous process involving complex
       factors and estimates relating primarily to long-term care policies written by
       primary insurance companies and reinsured by NALH.

       Flannery added, “The required contributions to the statutory reserve will be made
       by GE Capital, which has sufficient liquidity to do so. We have been taking
       ongoing actions to make GE Capital smaller and more focused while maintaining
       its key capabilities to support financing for GE Industrial products. These actions
       will also help restore GE Capital ratios to appropriate levels. At a time when we
       are moving forward as a company, a charge of this magnitude from a legacy
       insurance portfolio in run-off for more than a decade is deeply disappointing.”

       The required statutory contributions will be a higher number than the GAAP
       charge, due primarily to modifications of certain assumptions to reflect various
       potential adverse conditions, as is required for statutory accounting purposes.

       617.    That same day, on a conference call with investors and analysts, Defendant

Flannery stated, in part:

       [W]e’ve been performing a comprehensive review of our insurance portfolio. We
       finished that work late last week and reviewed it with our regulator, and we’re
       going to share those results of that review with you today.

       We’ve taken an after-tax GAAP charge of $6.2 billion, which is $7.5 billion at a
       21% tax rate. And you will see that reflected in our fourth quarter financials. GE
       Capital will make a $3 billion statutory cash contribution to its insurance
       subsidiary in the first quarter of 2018 and approximately $2 billion annually from
       2019 to 2024, for a total of approximately $15 billion.

       Needless to say, at a time when we are moving forward as a company, I'm
       deeply disappointed at the magnitude of the charge in this legacy portfolio.

                                        *      *       *




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       Clearly, in hindsight, we underappreciated the risk in this book. Similar to
       the rest of the industry, the assumptions we made at that time have played out
       differently. In 2015, as part of the GE Capital exit process, we again reviewed
       our insurance exposure and determined that we’d looked at exit options when the
       interest rate environment was more favorable.

       618.    Miller provided further details about the LTC reserve charge:

       In the quarter, we recorded a pretax charge of $9.5 billion . . . The
       components of the pretax charge are the following: an $8.9 billion increase in
       policy benefit reserves; and a $600 million write-down of the remaining
       deferred acquisition cost. This GAAP charge represents our best estimate of the
       future cost based on what we know today. The related statutory capital
       contributions will be approximately $15 billion, which will be funded over
       the next 7 years. We estimate that our 2018 funding requirement will be
       approximately $3 billion, and we'll make that contribution in late February using
       GE Capital's excess cash. At this point, we estimate the annual contributions
       from 2019 to 2024 to be approximately $2 billion.

       619.    In response to a question on the difference in the GAAP charge versus the

statutory contribution, Miller added:

       The capital contribution is not based on GAAP numbers. It’s actually based on
       regulatory or statutory accounting. And there is very prescribed rules not only
       around the accounting, but also around the required capital of insurance entities.
       So for statutory, you use more adverse assumptions. There is -- examples of that
       might be for morbidity. You use more adverse morbidity improvement
       assumptions. The discount rates tend to be prescribed as opposed to something
       where you estimate. And then a lot of these assumptions are set as of the end of
       the year as well. So it’s just a different process than GAAP. And then when you
       get to actually looking at required capital, the insurance regulators have a
       regulatory calculation around risk-based capital. So that’s really what determined
       the $15 billion contribution. This funding will be spread over 7 years, as we
       talked about before, so $3 billion next year, roughly $2 billion thereafter each
       year. And really, the statutory process, we’ve worked very closely with the
       Kansas Insurance Department. However, that process really runs for another
       month or so. The $15 billion is what we think it will be.117


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   The Company also disclosed that the Kansas Insurance Department had approved GE’s
request for a permitted accounting practice to recognize the reserve increase over a seven-year
period and as a result, GE Capital expected to contribute capital to its insurance subsidiaries of
approximately $3.5 billion in 2018 and an additional $11.5 billion through 2024 subject to
ongoing monitoring by the Kansas Insurance Department. As part of the deal with the Kansas
Insurance Department, GE was also required to maintain specified capital levels at its insurance
subsidiaries under capital maintenance agreements.


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       620.    Ryan Zanin, GE Capital’s Chief Risk Officer since 2010, provided further detail:

“This [LTC] business was primarily underwritten in the late ‘80s to early 2000s. Our book has

been in run-off since 2006 with no new business written in over a decade. Across our books, we

reinsure approximately 300,000 policies.” Zanin also acknowledged the poor state of the LTC

industry’s adverse claims experience and poor financial performance during this call, stating:

“Virtually, the entire industry has experienced greater claims than originally anticipated where

more people go on claim and for longer than expected.” While Zanin failed to acknowledge

that most LTC insurers had made adjustments to their assumptions and increased reserves years

before GE, his comments are an acknowledgement of the appropriateness of considering

industry trends and experience when analyzing LTC reserves.

       621.    Specifically, Zanin acknowledged the following:

       Turning to long-term care portfolio. This business was primarily underwritten in
       the late ‘80s to early 2000s. Our book has been in run-off since 2006 with no
       new business written in over a decade. Across our books, we reinsure
       approximately 300,000 policies. . . .

       In general, long-term care policies have proven challenging for the industry.
       Decades can pass between when policies are underwritten and when
       policyholders begin to claim benefits. As the insured population ages and actual
       claims arise, those claims are compared with the projected claims, and the
       adequacy of reserves is assessed. Virtually, the entire industry has experienced
       greater claims than originally anticipated where more people go on claim and for
       longer than expected.

                                         *       *       *

       Each year, we perform an annual premium deficiency test, which, under GAAP,
       test to ensure the sufficiency of our current reserves plus future premiums to pay
       future claims across all insurance books. In all prior years, these test resulted in a
       positive margin, which, under GAAP, requires that original assumptions above
       the book remain locked.

       In 2017, based on new claims experience studies, we undertook a deeper dive to
       better understand developing trends in claims. This led to a comprehensive
       actuarial review of all policy assumptions and a bottoms-up rebuilding of claims



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       cost curves. We engaged 2 independent third-parties with actuarial experts to
       help us with that work in addition to KPMG's audit review.

       The actuarial analysis included a fundamental shift in estimating future claims
       costs, from one that involved making incremental adjustments to existing
       projections in response to observed levels of claims experienced, to one that
       rebuilds the projections utilizing the additional credible data for older retained
       ages that has become available. The revised and reconstructed long-term care
       claims cost projections, combined with the fact that claims costs stand out over
       40 years, results in a very significant premium deficiency and is a primary driver
       of today's aggregate after-tax GAAP reserve charge of $6.2 billion.

       On a statutory basis, reserves are calculated assuming moderately adverse
       conditions rather than our best estimate under GAAP. On a statutory basis, we
       estimate today that we may contribute approximately $15 billion over 7 years to
       build reserves at North America Life & Health.

       622.    Zanin’s comments are an acknowledgement that GE had not performed adequate

analysis of its LTC portfolio, including known trends and experience prior to 2017, and that the

Company had not previously employed or retained sufficient actuarial staff to perform such

analyses.

       623.    After the conference call, on January 16, 2018, John G. Inch from Deutsche

Bank issued a report entitled “Insurance woes hit GE hard.” In that report, Inch noted that not

only were the “charges and scope of the problem . . . significantly worse than we had

anticipated,” “[t]he charges come well after Genworth first flagged [LTC] issues in late 2014.”

Inch went on to warn that “given GE’s weak track record at accurately assessing its future

exposures for GE Capital businesses . . . , we believe future charges could still be forthcoming

both for GE’s insurance businesses and other $ billions of remaining GE Capital liabilities.”

       624.    Deane Dray from RBC Capital Markets agreed and noted, in a January 25, 2018

report, that “our prior experience has been that the initial reserve charges for distressed GE

Capital businesses are usually inadequate in size and necessitate follow-on charges in




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subsequent years . . . we would not be surprised to see further charges related to GE Capital

insurance businesses.”

        625.       An article in the Financial Times issued on January 26, 2018 reported that

“investors in General Electric were shocked to learn that the US industrial group would have to

pay $15bn to cover long-term care insurance liabilities it retained after spinning off its

Genworth Financial unit more than a decade before.” 118

        626.       On January 17, 2018, Nicholas Heymann of William Blair issued an analyst

report on GE entitled, “Charge for Legacy Reinsurance Announced to Reduce Uncertainty,”

stating in part:

        GE’s shares so far in 2018 had risen 4.3% versus a 3.9% rise for the S&P 500,
        reflecting a 2.9% decline in GE’s share price yesterday following news of the
        $6.2 billion after-tax charge to restore NALH’s reinsurance reserves. While there
        were widespread expectations that GE would likely be announcing a charge with
        its fourth quarter 2017 results relating to resolving NALH’s inadequate reserves,
        we believe retaining the business and enhancing its reserves over time is likely to
        be less positively received than taking a charge and being able to outright divest
        the business. However, given regulatory concerns about the required reserve
        additions expected to total $15 billion from 2018 to 2024, this may not currently
        been an option for GE.

        NALH’s primary regulator, the Kansas Insurance Department, approved the
        phased contributions to restore the adequacy of NALH’s insurance reserves for
        long-term care policies written by primary insurance companies that were
        reinsured by NALH. The required contributions to NALH’s statutory reserve
        will be made by GE Capital, which has adequate liquidity to make the reserve
        contributions. GE Capital had originally been expected to return excess capital
        dividends of $2 billion-$3 billion in the fourth quarter and a final $3 billion-$4
        billion (primarily in 2018) as it continued to reduce the size of its receivable
        portfolios while it completed the exit from the vast majority of its prior financial
        service businesses. It is expected that these previously anticipated excess capital
        dividends, which GE’s CEO John Flannery noted on November 14, 2017, would
        now not be made to the parent pending completion of the comprehensive review
        of the adequacy of NALH’s reserves, will be used to fund the future


118
   Ed Crooks & James Fontanella-Khan, GE’s Insurance Liabilities Return to Haunt Investors,
FINANCIAL TIMES, (Jan. 26, 2018), https://www.ft.com/content/41a3ce2a-0155-11e8-9650-
9c0ad2d7c5b5.


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       contributions to NALH’s reserves. As a result, GE Capital will suspend its
       dividend to GE. GE expects this decision will have no impact on its industrial
       businesses or its 2018 capital allocation plans. . . . The extended period (through
       2024) that NALH will continue require funding makes resolution of the
       adequacy of NALH’s reinsurance reserves a now quantified but ongoing issue
       for several years.

       627.   Analysts covering GE opined that it is likely that GE knew about its problems for

a very long time. For example, Scott Davis, an analyst with Melius Research, told Bloomberg in

a January 25, 2018 article that it is “very hard to believe that mysteriously overnight GE

found problems they didn’t know existed.”

       628.   Similarly, Jeff Sprague, an analyst with Vertical Research Partners, directly

confronted Defendant Flannery during the conference and told him that it was “hard to

imagine a $15 billion problem materialized in the course of the year.”

       629.   The Economist published an article on January 18, 2018 entitled, “After a huge

loss on old reinsurance contracts, GE contemplates a break-up,” which stated, in part:

       Even before the 2007-08 financial crisis, which prompted the firm massively to
       pare back GE Capital, it had already spun out much of its insurance business into
       Genworth Financial, an American insurance company which listed in 2004 in the
       biggest initial public offering of that year, and sold the rest of it to Swiss Re, a
       reinsurer, in a deal worth $6.8bn, in 2006. Mr Immelt conceded at the time of the
       insurance sale that the business had always been a “tough strategic fit” for GE
       because of its low returns, volatility and need for capital. But a number of
       substantial life- and health-reinsurance liabilities, notably those related to long-
       term care insurance (which pays for products such as nursing-home care for the
       elderly), were left out of both the 2004 listing and the Swiss Re deal, although
       GE Capital did at least stop issuing new contracts.

       That in the 12 years since then the firm appears to have done little about this
       residual portfolio seems an odd omission. The risk, after all, was well known.
       Other firms had problems with policyholders living longer and incurring higher
       medical costs than insurers had built into their initial assumptions; the long-term
       care market as a whole in America has run into trouble. One Pennsylvania
       insurer, Penn Treaty, was liquidated in 2017 after being left with just $500m in
       assets to cover a projected $4.6bn in claims.




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         630.   On the news of GE’s $9.5 billion GAAP charge, $15 billion required addition to

the Company’s statutory LTC reserves, and the burgeoning Contract Asset balance, GE’s stock

price fell from a close of $18.76 per share on Friday, January 12, 2018 to a close of $18.21 per

share on Tuesday, January 16, 2018 (the next trading day)119 – an approximately 3% decline.

GE’s common stock continued to slide the following trading day, closing at $17.35 per share on

Wednesday, January 17, 2018 (an additional drop of 4.7%), for a total two-day drop of 7.52%

on extremely heavy trading volume.

         B.     January 24, 2018: Results for Fourth Quarter 2017 and Disclosure of Multi-
                Faceted SEC Investigation (Corrective Disclosure)

         631.   On January 24, 2018, before the market opened, GE issued a press release, and

filed the same on Form 8-K with the SEC, entitled “GE Announces Fourth Quarter 2017

Results,” disclosing a net loss of $9.8 billion for the fourth quarter 2017, including a $6.2 billion

after-tax charge to increase LTC insurance reserves and steep declines in profit in its Power

division. The press release stated, in part:

         GE Chairman and CEO John Flannery said, “In the fourth quarter, EPS was at
         the low-end of guidance, excluding insurance-related items, U.S. tax reform, and
         industrial portfolio actions. . . . Power was down significantly and we expect
         market challenges to continue.

                                          *      *       *

         GE Capital ended the quarter with $157 billion of assets, including $31 billion of
         liquidity. On a reported basis, the Verticals generated a loss of $(7.6) billion,
         which is down from last year driven by the effects of the charges in the Insurance
         business, and the associated Energy Financial Services impairments. Other
         continuing operations generated $1 billion in earnings in the quarter driven by
         tax benefits.

         632.   On the same day, the Company hosted a conference call during which it

disclosed that GE was being investigated by the SEC in connection with the insurance reserves


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      The market was closed on Monday January 15, 2018.


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increase and accounting for the Company’s Contract Assets. Miller shocked the market by

announcing:

       I also want to note that we have been notified by the SEC that they are
       investigating the process leading to the insurance reserve increase and the fourth-
       quarter charge as well as GE’s revenue recognition and controls for long-term
       service agreements. We are cooperating fully with the investigation, which is in
       very early stages.

       633.     During that same call, Russell Stokes, the CEO of GE Power, revealed the true

state of GE’s internal controls and accounting for GE’s Contract Assets. Mr. Stokes responded

to an analyst inquiry as follows:

       Scott Davis, Melius Research

       If I was to look at one part of our model that we’re probably a little bit insecure
       of, I should say, it’s just around price in Power…maybe just Russell could fill us
       in on where we stand there.

       Russell Stokes – CEO of GE Power

       There is an element of price that we have acknowledged that we felt up to now,
       just given that we did not have the level of attention that we should have had on
       that portion of the business. We also acknowledged in the past cost overruns
       around some of the execution that had taken place as well.

       634.    Indeed, Stokes acknowledged that GE did not have the internal controls in place

expected by GAAP to formulate dependable estimates. Moreover, the gaps in GE’s controls had

not detected cost overruns, which would have negated GE’s assumptions enabling the massive

accounting-related accelerations of profits. Consequently, the analyst pressed on:

       Scott Davis, Melius Research

       So Russell, I mean, one of the things that – your competitors have always said
       that GE is a little bit tough on price. And maybe you guys had made some
       decisions in the past that weren’t economic. Is that something that has materially
       changed under your watch?...




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       Russell Stokes

       So across the board, we are implementing much more disciplined underwriting
       practices.…The process is definite[ly] tighter than I would say than it was in the
       past.

       635.    Indeed, the internal controls apparently implemented by new management

culminated in charges to earnings totaling at least $850 million in the fourth quarter of 2017

due to cost overruns on certain Power projects and a write-off for slow-moving and obsolete

inventory.

       636.    To uncover the reasons for this charge, analysts were forced to press GE for

more information:

       Jeff Sprague - Vertical Research Partners

       It seems like there’s something below the line. I don’t know what I am
       missing….

       Jamie Miller

       Yes, Jeff, the thing I would probably point you to is that Power in the fourth
       quarter had a very tough quarter. And when you look at where we thought 2017
       would land versus where it did, it was substantially lower there. Now, when you
       really deconstruct the fourth quarter for Power, there were really two or three
       main themes there. One of which is just sort of one-time adjustments and some
       non-repeat items.…And as Russell and the team have come in, first, the one-time
       items piece of it, which is about $850 million, about half of that was a charge for
       slow-moving and obsolete inventory that we took. We obviously don’t expect
       that to repeat as we get into next year.

       637.    Stokes confirmed that GE’s implementation of new controls resulted in this

substantial charge to earnings reducing the profit that had been accelerated into prior quarters:

       Jamie is right. On execution, we continue to just do everything we need to run
       the business better. We dove deeply into projects and we are working through
       cost overruns and adjustments that we needed to take in those projects, as we
       were nearing the conclusion of a number of legacy contracts, showing up costs
       with partners on deals that were underwritten back in the 2013, 2014, 2015
       timeframe.




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       638.      Relatedly, Defendant Miller emphasized that GE would adopt stronger controls

to address its accounting for Contract Assets. For instance, Defendant Miller explained that:

“Some of the controls that we’re implementing are things like just really making sure that we

are much tighter on our underwriting, not only how we think about the strike zone around

returns, but importantly how the cash profile really looks on these contracts going out several

years.” Miller clarified that the Company was not at that point “seeing the effect of [those]

controls yet.”

       639.      In response to a question from Gautam Khanna, analyst at Cowen and Company,

regarding the nature and the scope of the SEC investigation into Contract Assets, Miller

revealed the following:

       Sure. I can comment on that one. So this is a space, CSAs, that I’ve spent a ton
       of time on over the years. This is something that at the Company level we have
       really exhaustively reviewed it. We’ve got a deep finance team, a deep
       controllership team.

       And as the SEC has started to take a look at this, I would tell you it’s very early
       days. As I have come into the role, I mean, just like John, I am going through a
       very deep review on pretty much everything in finance.

       Look, there is nothing here that I am overly concerned about. But look, if I see
       something, we will deal with it. But I don’t see anything at this point.

       640.      On this news, GE stock fell 2.66%, from a close on January 23, 2018 of $16.89

per share to a close of $16.44 per share on January 24, 2018, shedding approximately $6.15

billion in market capital.

       641.      As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s securities, Plaintiff and other Class members have

suffered significant losses and damages.




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X.     POST-CLASS PERIOD EVENTS

       642.    On January 25, 2018, Bloomberg published an article commenting on the

mysterious timing of GE’s disclosure of the LTC Reserve charge, entitled, “GE’s Surprise $15

Billion Shortfall Was 14 Years in the Making,” which stated, in part:

       The trouble at General Electric Co. began decades ago when a hole started to
       form inside its sprawling financial unit.

       The hole became a $15 billion shortfall in insurance reserves, disclosed last
       week. It’s prompted a Securities and Exchange Commission investigation, called
       into question the oversight of GE leadership, pushed down the share price, and
       shocked investors who were asking Wednesday how this icon of American
       capitalism could allow the situation to deteriorate to this point.

       “It sure seems that previous management had a rosy view,” said Scott Davis, an
       analyst with Melius Research in New York. “There seemed to be no effort on
       their part to get ahead of the liability. I find it very hard to believe that
       mysteriously overnight GE found problems they didn’t know existed.”

                                        *       *       *

       Some employees were aware that long-term-care insurance was in bad shape.
       And even as it sold the bulk of its finance business, executives resisted selling
       reinsurance assets, even when bankers encouraged them.

       Doing so would have forced GE to book a huge charge to reflect a drop in value,
       according to people with familiar with the situation who asked for anonymity
       because they weren’t authorized to speak. That was an indication that the
       business was worth less than what GE reported to investors, the people said.120

       643.    On January 29, 2018, John G. Inch of Deutsche Bank issued a report entitled

SEC Enforcement investigation elevates GE risks in which he discussed GE’s Contract Assets:

       In 2018, GE expects contract assets to represent a further roughly $3bn asset
       flow drag – suggesting a still high prospective reliance on non-cash LTSA
       income off EPS expectations (based on FactSet consensus) that are expected to
       decline by 5 cents to $1.00.

       GE Power’s 4Q17 operating profit decline of 88% and single digit Power
       operating profit margins in 2017 against a backdrop of ongoing power

120
   https://www.bloomberg.com/news/articles/2018-01-25/ge-s-surprise-15-billion-shortfall-
was-14-years-in-the-making


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       industry contraction and pricing pressures could elevate the risks of sizeable
       contract asset writedowns – hurting GE’s book value at a time of rapidly rising
       Industrial debt. In turn, forced LTSA revisions could significantly reduce
       associated 2018 contribution to GE total EPS (currently likely >20%) –
       potentially significantly negatively pressuring GE’s valuation if EPS guidance
       were to be consequently revised….

       644.    Inch further explained in a February 8, 2018 report:

       The current SEC Enforcement investigations into the company’s contract asset
       accounting could end up requiring GE to incur write-downs, restate earnings and
       account for LTSAs on a more conservative basis – thereby reducing the LTSA
       contribution to future earnings. (We estimate LTSAs could comprise >20% of
       GE’s 2018 EPS of roughly $1.00 based on FactSet consensus).

       If GE were to modify aggressive accounting practices in other areas, apart from
       contract asset accounting, this could place incremental downward pressure on
       future reported adjusted earnings.

       645.    A MarketWatch article published on February 10, 2018 noted that GE’s “huge”

accounting charges had given rise to an SEC investigation, and cited to a note written by

research firm Audit Analytics, that, based on the new disclosures concerning GE’s LTC

business, the “magnitude of the $6.2 billion charge is far more staggering than … the

market anticipated.”121

       646.    On February 21, 2018, CFO Jamie Miller presented at two separate analyst

conferences, the Barclays Industrial Select Conference and the Citi Global Industrials

Conference. During the Citi Global Industrials Conference, Miller noted that the SEC had made

several requests for information from GE and that the Company was meeting in-person with the

SEC concerning its ongoing investigation of GE in March 2018. Specifically, Miller responded

as follows to a question from a Citigroup analyst:




121
   Francine McKenna, GE says shock multi-billion dollar insurance charge is ‘a special case’,
MarketWatch (Feb. 10, 2018), https://www.marketwatch.com/story/ge-says-shock-multibillion-
dollar-insurance-charge-is-a-special-case-2018-01-26


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       Andrew Alec Kaplowitz - Citigroup Inc, Research Division - MD and U.S.
       Industrial Sector Head

       Okay. And then the other one with regard, obviously, is the SEC investigation.
       So maybe just tell us anything that you could tell us on it from where you
       updated us last time. How is it progressing? Does the SEC move slowly, fast?
       Anything you could tell us there?

       Jamie S. Miller

       So the process has started. They’ve made several requests for information.
       We’re, of course, cooperating with that. And we’ve provided them some
       information. We’ll have some face-to-face meetings with them in March.
       Regulatory investigations sort of proceed at their own pace. And we’re working
       cooperatively with them, as they go through their process.

       647.   In a February 21, 2018 article in the Wall Street Journal, by Thomas Gryta,

entitled, “How Jeffrey Immelt’s ‘Success Theater’ Masked the Rot at GE ” Gryta writes:

       Mr. Immelt and his top deputies projected an optimism about GE’s business and
       its future that didn’t always match the reality of its operations or its markets,
       according to more than a dozen current and former executives, investors and
       people close to the company.

       This culture of confidence trickled down the ranks and even affected how those
       gunning to succeed Mr. Immelt ran their business units, some of these people
       said, with consequences that included unreachable financial targets, mistimed
       bets on markets and sometimes poor decisions on how to deploy cash.

       “The history of GE is to selectively only provide positive information,” said
       Deutsche Bank analyst John Inch, who has a “sell” rating on the stock. “There is
       a credibility gap between what they say and the reality of what is to come.”

       Said Sandra Davis, who knows several GE executives as the founder of MDA
       Leadership Consulting: “GE itself has never been a culture where people can
       say, ‘I can’t.’”

                                        *      *       *

       Several GE executives were aware the 2018 profit goal of $2 a share wasn’t
       realistic, they said, and some were surprised Mr. Immelt stuck to it at the May
       event.

                                        *      *       *

       But Mr. Immelt didn’t like hearing bad news, said several executives who
       worked with him, and didn’t like delivering bad news, either. He wanted people


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       to make their sales and financial targets and thought he could make the numbers,
       too, they said.

       The optimism was evident in how Mr. Immelt and the board used the company’s
       cash. Over the past three years, GE spent more than $29 billion on share
       repurchases, at an average price of almost $30, about twice the current level.
       That included billions of dollars spent less than a year before GE suddenly found
       itself strapped for cash last fall.

                                         *       *       *

       When GE later sold most of GE Capital, Mr. Immelt laid out a strategy in which
       the industrial businesses would grow enough to offset the lost cash flow from the
       financial unit, so that GE’s long-term financial projections and dividend were
       sustainable. It didn’t work out that way. Free cash flow wasn’t sufficient to cover
       the dividend for years.

                                         *       *       *

       Mr. Immelt’s optimism was part of the problem, according to some people close
       to the situation. They said he told the board that management had identified risks
       in the power business, yet downplayed them. The probability and risk were way
       off, one said.

       648.    In a February 22, 2018 article by Michelle Fox of CNBC entitled “GE has been

‘brushing things under the rug’ for decades, Deutsche Bank analyst says,” Fox reported that

Deutsche Bank opined that GE has been “brushing things under the rug and leveraging

aggressive accounting” for several decades. “One could infer the prior management basically

did this to drive the … adjusted EPS up as much as possible to pay themselves as much as

possible,” Inch said in an interview with CNBC’s Power Lunch.122 Inch also stated that among

the problems plaguing the Company is a collapse in cash flow and a severely curtailed profit

outlook. Inch stated, there are “a lot of parties that are culpable here. The information they

provided was one-sided. They made it overly complicated to dissect the financials. They




122
   https://www.cnbc.com/2018/02/22/ge-has-been-brushing-things-under-the-rug-for-decades-
deutsche-bank-analyst-says.html


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compounded the complexity on purpose so people wouldn’t look at the details.” Inch added,

“Now unfortunately they’re paying a bit of a price for it.”

       649.    On February 23, 2018, GE filed its Annual Report on Form 10-K with the SEC,

announcing its financial and operating results for the quarter and fiscal year ended December

31, 2017 (the “2017 Form 10-K”). With respect to the LTC reserve charges, the 2017 Form 10-

K disclosed:

       On January 16, 2018, GE reported the results of a review of premium deficiency
       assumptions related to GE Capital’s run-off insurance business. With the
       completion of that review and of the annual premium deficiency test, GE
       recorded an increase in future policy benefit reserves of $8.9 billion and $0.6
       billion of related intangible asset write-off for the fourth quarter of 2017. This
       resulted in an after-tax charge of $6.2 billion to GE’s earnings in the fourth
       quarter of 2017. In addition, GE Capital will contribute approximately $15
       billion of capital to its run-off insurance business over the next seven years. GE
       Capital plans to make its first contribution of approximately $3.5 billion in the
       first quarter of 2018 and expects to make further contributions of approximately
       $2 billion per year in each of the six following years, subject to ongoing
       monitoring by the Kansas Insurance Department, its primary regulator. GE
       Capital plans to fund the capital contributions with its excess liquidity and other
       GE Capital portfolio actions and does not expect to make a common share
       dividend distribution to GE for the foreseeable future.

                                         *      *       *

       Future policy benefit reserves amounted to $30.6 billion and $18.7 billion
       primarily comprising $16.5 billion and $7.6 billion related to long-term care
       insurance contracts and $9.4 billion and $9.3 billion related to structured
       settlement annuities and other life and disability insurance products at December
       31, 2017 and 2016, respectively.

                                         *      *       *

       During 2017 . . . we initiated a comprehensive review of premium deficiency
       assumptions across all insurance products, which included reconstructing our
       future claim cost assumptions for long-term care contracts utilizing trends
       observed in our emerging experience for older claimant ages and later duration
       policies. . . In addition to the adverse impact from the revised future claim cost
       assumptions over a long-term horizon, our premium deficiency assumptions
       considered mortality, length of time a policy will remain in force and both near-
       term and longer-term investment return expectations. . .The test indicated a
       premium deficiency resulting in the unlocking of reserves and resetting of


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       actuarial assumptions to current assumptions. This resulted in a $9.5 billion
       charge to earnings, which included a $0.4 billion impairment of deferred
       acquisition costs, a $0.2 billion impairment of present value of future profits,
       and an $8.9 billion increase in future policy benefit reserves. . . . In
       connection with our premium deficiency test in 2017, additions to reinsurance
       recoverables of $2.4 billion were largely offset by an allowance for losses of
       $2.2 billion based upon our assessment of collectability that would otherwise
       have reduced the earnings impact of the premium deficiency. . . . Claim reserves
       amounted to $5.1 billion and $4.6 billion of which $3.6 billion and $3.1 billion
       relates to long-term care insurance contracts as of December 31, 2017 and 2016,
       respectively.

       650.   The Company also disclosed that in Power, Renewables and Aviation, it

provides “extended payment terms.” The program ramped up in 2016, shortly after the Alstom

deal, boosting GE CFOA by $1.6B in 2016, before stabilizing this year at $300 million. The

2017 Form 10-K disclosed:

       In certain circumstances, GE provides customers primarily within our Power,
       Renewable Energy and Aviation businesses with extended payment terms for
       the purchase of new equipment, purchases of significant upgrades and for
       fixed billings within our long-term service contracts. Similar to current
       receivables, GE may sell these long-term receivables to GE Capital to manage
       short-term liquidity and fund growth. These transactions are made on arm's
       length terms and any fair value adjustments, primarily related to time value of
       money, are recognized within the Industrial business in the period these
       receivables are sold to GE Capital. GE Capital accretes interest and factoring fee
       income over the life of the receivables. Factoring fee income is eliminated in our
       consolidated results. In addition, the long-term portion of any remaining
       outstanding receivables as of the end of the period are reflected in All other
       assets within our consolidated statement of financial position. GE Capital had
       approximately $ 2.1 billion, $ 1.9 billion and $ 0.1 billion of financing
       receivables related to GE long-term customer receivables outstanding, net of
       deferred income of approximately $ 0.3 billion, $ 0.3 billion and an insignificant
       amount recorded in its balance sheet as of December 31, 2017 , 2016 and 2015 ,
       respectively. The effect of cash generated from the sale of these long-term
       receivables with GE Capital increased GE's CFOA by $0.3 billion, $1.6 billion
       and $ 0.1 billion in 2017, 2016 and 2015 , respectively.

       651.   On the insurance portfolio, GE disclosed that, as announced on January 16, 2018,

reserves for LTC insurance contracts increased from $7.6 billion in 2016 to $16.5 billion in

2017, driven by the $9.5 billion charge in 4Q17, with total future policy benefit reserves



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amounting to $30.6 billion in 2017 versus $18.7 billion in 2016. Disabled Life Reserves (claim

reserves) increased from $4.6 billion in 2016 to $5.1 billion in 2017, of which $3.6 billion

related to long-term care insurance contracts ($3.1 billion in 2016).

          652.   On February 25, 2018, an analyst from RBC noted that the Company’s 2017

Form 10-K included: “More transparency on Contract Asset balances. Likely as a result of the

criticism over the lack of transparency in its contract asset reporting (including an ongoing

investigation by the SEC), for the first time, GE has now broken out its disclosures by

individual segment on Page 149, vs. its prior practice of only providing it on a total company

basis.

          653.   On February 26, 2018, JP Morgan issued an analyst report entitled, “Takeaways

from the 10-K” which analyzed GE’s 2017 Form 10-K. The report states, in part:

          The evidence here now points to the systemic use of GE Capital as the grease for
          the machine. Receivables factoring, among other instruments, is a key
          building block, which management added helps to “manage short term
          liquidity,” not just credit exposure as in the past. Here, while current
          receivables factoring is being wound down, the enhanced disclosure around
          “long term receivables” factoring was most interesting, in which
          management fully acknowledges they extend terms across their businesses
          to compete. . . We continue to see that receivables activity inflated cash in 2016
          even more than we had previously expected, for which 2017 is beginning to
          come down, but is far from “normal” (factoring activities increased cash by
          >$10B since 2011) . . . . The bottom line is that the incremental details paint
          the picture of the structural box of high leverage, weak FCF and
          increasingly limited pockets to pull from to change that narrative, a mosaic
          that we think is not reflected at the current stock price, highlighting the
          negative skew on risks, with greater visibility on the factors that bring the
          SOTP to our downside scenario of ~$10-12.123

          654.   On February 26, 2018, in an article entitled, “Buffett Says He Was Staggered by

GE’s ‘Big Time’ Finance Lapses,” Bloomberg Markets reported that billionaire investor Warren

Buffett said he was “staggered” by the size of the charge GE took earlier this year tied to an old


123
      Emphasis in original.


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insurance portfolio.124 “Clearly there were mistakes made, and they made mistakes in long-term

care. . . . The accounting at GE has not been a model at all in recent years.”

XI.    ADDITIONAL SCIENTER ALLEGATIONS

       655.    As alleged herein, Defendants acted with scienter in that Defendants knew, or

recklessly disregarded, that the public documents and statements issued or disseminated in the

name of the Company, or in their own name, were materially false and misleading; knew or

recklessly disregarded that such statements or documents would be issued or disseminated to

the investing public; and knowingly and substantially participated or acquiesced in the issuance

or dissemination of such statements or documents as primary violations of the federal securities

laws. Defendants, by virtue of their receipt and/or access to information reflecting the true facts

regarding GE, their control over, and/or receipt and/or modification of GE’s allegedly

materially misleading misstatements, were active and culpable participants in the fraudulent

scheme alleged herein.

       656.    Defendants knew and/or recklessly disregarded the false and misleading nature

of the information which they caused to be disseminated to the investing public. The ongoing

fraudulent scheme described herein could not have been perpetrated during the Class Period

without the knowledge and complicity, or at least, the reckless disregard, of GE personnel at the

highest levels of the Company.

       657.    The following allegations all support a strong inference of scienter:

           •   The magnitude of GE’s $15 billion understatement of its LTC reserves;

           •   Defendant Flannery’s admission that GE’s LTC Experience was like the rest of
               the industry and that in 2015, the Company “again reviewed [its] insurance
               exposure” but took no action to increase its LTC Reserves;


124
   https://www.bloomberg.com/news/articles/2018-02-26/buffett-says-he-was-staggered-by-
general-electric-s-charge


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            •   GE’s acknowledgement, on January 24, 2018, that most LTC insurers had made
                adjustments to their assumptions and increased their LTC reserves years before,
                and it is appropriate to consider industry trends and experience when analyzing
                LTC reserves;

            •   An analysis of the actual incurred claims compared to the expected incurred
                claims for the LTC insurers reinsured by GE subsidiaries shows an extremely
                unfavorable ratio since at least 2013;

            •   GE’s acknowledgement that the Company had not previously employed or
                retained actuaries with appropriate experience to conduct an adequate review of
                its LTC Reserves;

            •   GE relied on billions in cash from GE Capital to continue paying its dividends
                and funding its stock buyback program;

            •   The “retirement” of former GE Capital CEO Richard A. Laxer in the middle of
                GE’s long-delayed deep dive into the adequacy of its LTC reinsurance reserves
                is highly suspicious in terms of timing;

            •   During the Class Period, GE selectively only provided investors with positive
                information;

            •   Defendants made financial disclosures for LTC and Contract Assets overly
                complicated and vague in order to hide the truth; and

            •   Statements by former employees corroborate that Defendants knew or were
                reckless in not knowing that the Company (i) materially under-reserved its LTC
                portfolio and (ii) manipulated cost and profitability estimates in violation of
                GAAP.

       A.       The Magnitude of GE’s $15 Billion Understatement of its LTC Reserves
                Supports a Strong Inference of Scienter; They Had To See It Coming

       658.     On January 16, 2018, GE announced that it would have to set aside up to $15

billion of additional reserves for GE Capital’s LTC reinsurance business over the next seven

years. GE also announced that it would assess a before-tax GAAP charge related to the review

of its LTC insurance business of nearly $10 billion. Later that day, on a conference call with

investors and analysts, Defendant Flannery stated, in part, that “[c]learly, in hindsight, we

underappreciated the risk in [GE’s insurance business] book.”




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       659.    This charge is the largest, by far, in the history of LTC insurers. Indeed, this

single charge almost equals the $10.5 billion in pre-tax charges for all of the reserve charges

taken by LTC insurers since 2007. By way of further comparison, in 2016, Genworth took a

charge for $905 million to increase LTC reserves, and it made nine changes in estimates since

2004 totaling $3.8 billion. And in 2017, Penn Treaty was liquidated after being left with just

$500 million in assets to cover a projected $4.6 billion in claims.

       660.    Although GE tried to sell the story that this massive deficiency was only recently

discovered, analysts covering GE weren’t buying it. It was clear to them that GE knew or

recklessly disregarded this problem for years.

       661.    For example, Jeff Sprague, an analyst with Vertical Research Partners, reported,

“[i]t’s hard to imagine a $15 billion problem materialized in the course of the year.”

       662.    After the January 16, 2018 conference call, John G. Inch from Deutsche Bank

issued a report entitled “Insurance woes hit GE hard” noting that not only were the “charges and

scope of the problem . . . significantly worse than we expected,” “[t]he charges came well

after Genworth first flagged LTC issues in late 2014. “

       663.     On January 18, 2018, The Economist issued an article entitled, “After a huge

loss on old reinsurance contracts, GE contemplates a break-up,” which stated, in part:

       That in the 12 years since [it sold certain of its insurance businesses to Swiss Re
       in 2006] the firm appears to have done little about this residual portfolio seems
       an odd omission. The risk, after all, was well known. Other firms had problems
       with policyholders living longer and incurring higher medical costs than insurers
       had built into their initial assumptions; the long-term care market as a whole in
       America has run into trouble. One Pennsylvania insurer, Penn Treaty, was
       liquidated in 2017 after being left with just $500m in assets to cover a projected
       $4.6bn in claims.

       664.    Finally, Scott Davis, an analyst with Melius Research, told Bloomberg in a

January 25, 2018 article that: “There seemed to be no effort on [the part of previous GE



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management] to get ahead of the liability. I find it very hard to believe that mysteriously

overnight GE found problems they didn’t know existed.” Very hard to believe, indeed!

       B.      Defendant Flannery Admitted That GE’s LTC Experience Was Like the
               Rest of the Industry and That in 2015 The Company “again reviewed [its]
               insurance exposure” but Took No Action to Increase its LTC Reserves

       665.    On the January 16, 2018 conference call with analysts and investors, Defendant

Flannery admitted that “we underappreciated the risk in this book. Similar to the rest of the

industry, the assumptions we made at that time have played out differently.”

       666.    He also admitted that in 2015 the Company “again reviewed [its] insurance

exposure and determined that we’d looked at exit options when the interest rate

environment was more favorable.”

       667.    Thus, by 2015, Defendants knew or recklessly disregarded that GE’s LTC

reserves were materially understated, but they did not disclose that to investors, did not

commission a deeper dive into the adverse LTC conditions and the sufficiency of their LTC

assumptions, and did not take steps to materially increase the Company’s LTC reserves.

Rather, they just decided to do and say nothing, then plan to sell their problem LTC business

when interest rates rose.

       C.      GE Acknowledged That it is Appropriate to Consider Industry Trends and
               Experience When Analyzing LTC Reserves and That Most LTC Insurers
               Had Adjusted Their Assumptions and Increased Reserves Years Before GE

       668.    On January 16, 2018, Ryan Zanin, GE Capital’s Chief Risk Officer, stated during

a conference with analysts and investors that “In general, long-term care policies have proven

challenging for the industry. Decades can pass between when policies are underwritten and

when policyholders begin to claim benefits. As the insured population ages and actual claims

arise, those claims are compared with the projected claims, and the adequacy of reserves is




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assessed. Virtually, the entire industry has experienced greater claims than originally

anticipated where more people go on claim and for longer than expected.”

       669.    Thus, Zanin conceded that one has to consider industry trends when analyzing

the sufficiency of LTC reserves. Zanin did not state, however, whether GE had done that in the

past (and ignored those industry trends) or whether GE had not previously considered industry

trends for LTC insurers. In other words, he did not explain whether GE had failed to previously

increase its LTC reserves with full knowledge of industry trends or by failing to even consider

them; an intentional act or a reckless one.

       D.      An Analysis of the Actual Incurred Claims Compared to the Expected
               Incurred Claims for the LTC Insurers Reinsured by GE Subsidiaries Shows
               an Extremely Unfavorable Ratio Since At Least 2013

       670.    While actual to expected claims ratios for LTC insurers of above 100 per cent

indicate that claims are worse than planned, ratios of 116% or more “paint an alarming picture.”

Here, as shown in the chart at ¶ 247, supra, an average of the actual to expected claims ratios

for ten of the twelve LTC insurers reinsured by ERAC and UFLIC were more than 122%,

131%, 116% and 137% respectively, in years 2013 – 2017. These consistent, extremely

unfavorable ratios show that the Active Life Reserve assumptions used in underwriting the

policies were profoundly inadequate. This was a bright red flag for GE that it had to review its

own Active Life Reserve assumptions.

       671.    Likewise, LTC Experience Reporting Form 2 compares experience policy

reserves against reported policy reserves. See supra ¶ 252 (summarizing Experience to Reported

Policy Reserve Ratios by reporting year for the direct writers of the LTC policies reinsured by

GE’s subsidiaries). Experience to Reported Ratios below 100% indicate that the experience is

worse than expected in the Active Life Reserves assumptions.




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        672.      Over time, if the Active Life Reserve assumptions are deficient, this analysis will

produce lower Experience to Reported Policy Reserve ratios as more actual experience is

reported. As shown in the chart at ¶ 252 this basic analysis would have shown ratios declining

from an already very bad 79.9% in 2013 to a horrific 68.1% in 2016.

        673.      Since GE did not review and revise its Active Life Reserve assumptions until

late 2017, it is clear that since at least 2014 (when the numbers for 2013 would have been

available), GE intentionally or recklessly ignored the extremely poor claims experience of the

companies it was reinsuring when determining the adequacy of its LTC Active Life Reserve.

        E.        GE Acknowledged That the Company Had Not Previously Employed
                  Sufficient Actuarial Staff to Conduct an Adequate Review of its LTC
                  Reserves

        674.      GE Capital CRO Zanin stated on January 16, 2018 that in 2017, “we undertook a

deeper dive to better understand developing trends in claims. This led to a comprehensive

actuarial review of all policy assumptions and a bottoms-up rebuilding of claims cost curves.

We engaged 2 independent third-parties with actuarial experts to help us with that work

in addition to KPMG's audit review.”

        675.      Thus, GE admitted that prior to 2017 it had not performed a similar “deep dive”

into the adequacy of its LTC reserves. Zanin’s admission also strongly implies that GE did not

have, and had not previously retained, sufficient actuarial staff to properly determine the

adequacy of its LTC reserves. Under these circumstances (i.e. considering the size of GE’s

LTC exposure; the well-known reserve problems in the LTC industry (including the massive

charges taken by Genworth); and material reserve deficiencies at UFLIC and ERAC since at

least 2014), this failure is additional evidence of recklessness in the form of willful blindness, at

the very least.




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       F.      GE Relied on Billions in Cash From GE Capital to Continue Paying its
               Dividends and Funding its Stock Buyback Program

       676.    Defendants were motivated to commit the fraud alleged herein, inter alia, to

allow GE to continue to pay billions of dollars in dividends on a quarterly basis at a time when

its free cash flow did not support the payment of such a dividend. Indeed, Defendant Flannery

admitted, on GE’s Investor Update call on November 13, 2017, that the Company had been

paying out a dividend “in excess of our free cash flow for a number of years now.”

       677.    Because GE’s main source of cash during the Class Period for its quarterly

dividends and stock buyback program was GE Capital, Defendants devised a scheme whereby

they put off updating the Company’s reserve assumptions for its LTC reinsurance policies that

the Company couldn’t sell. Despite a severely deteriorating LTC market, with rising LTC costs,

and massive reserve charges taken by other LTC insurers, including Genworth Financial which

GE had spun-off in 2004, Defendants failed to materially increase the Company’s LTC reserves

thereby violating both GAAP and state statutory insurance regulations.

       678.    Defendants knew that updating the Company’s LTC reserves to proper levels

would kill its cash cow. And in fact, as a result of its “deep dive” into LTC reserves in mid-

2017, GE announced on November 13, 2017 that GE Capital would indefinitely suspend

dividend contributions to GE. As a result, GE was forced to slash its annual dividend in half,

from $0.96 to $0.48 per share, only the second dividend cut for GE since the Great Depression.

       679.    Moreover, during the Class Period, GE undertook a plan to sell a majority of the

assets in GE Capital such that it could reap dividends from GE Capital of more than $20 billion

in 2016 alone to support its dividend and share buyback programs. Indeed, Defendant

Bornstein readily admitted during GE’s Q2 2017 Earnings Call that “our share buyback has

always been predicated on dividends from GE Capital and the disposition.”



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       680.    When the Company had drained GE Capital of much of its free cash flow, it was

forced to turn to its other segments to obtain additional cash for its dividend. Defendants then

turned to monetizing the Company’s LTSAs and improperly accelerated revenue recognition, in

violation of GAAP, by changing the estimated profitability of those agreements. Between

December 31, 2013 and December 31, 2017, GE’s Contract Assets (including the cumulative

adjustments on LTSAs) increased from $12 billion to $29 billion, representing revenue and

profit recognized by GE before it was entitled to bill and collect related cash from its customers.

       681.    These adjustments constituted a very large percentage of GE’s total earnings

from its industrial businesses. Indeed, the quantum of profit GE derived from these accounting

machinations was markedly higher in 2016 and 2017 than in previous periods. For example,

these changes resulted in approximately 50% of the total profit reported by the Power segment

in 2017. Consequently, without these improper accounting adjustments, GE would have fallen

dramatically short of consensus earnings targets and likely would not have been able to

maintain its hallmark dividend.

       682.    Moreover, GE failed to implement appropriate internal control over financial

reporting in records to Contract Assets and failed to provide appropriate disclosure regarding

the significance of these accounting adjustments to GE’s profits.

       683.    As shown in the chart below, during the Class Period, GE siphoned billions of

dollars in cash from GE Capital for dividends and share repurchases:




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                      GE CAPITAL’s CONTRIBUTION TO GE’s DIVIDENDS AND BUYBACKS
                                          ($ figures in Billions)

                                                                                  TOTAL CASH
                                GE CAPITAL’S
                                                      GE           GE            RETURNED TO            % FROM GE
      YEAR                       DIVIDENDS
                                                  DIVIDENDS     BUYBACKS              GE                 CAPITAL
                                   TO GE
                                                                                SHAREHOLDERS
         2013                             $6.0           $7.8           $10.2                $18.0         33%
         2014                             $3.0           $8.9            $2.2                $11.1         27%
         2015                             $4.3           $9.3            $2.7                $12.0         36%
         2016                            $20.1           $8.5           $22.6                $31.1         65%
         2017                             $4.0           $8.1            $3.5                $11.6         34%


       684.                    GE’s share buyback volume was more dynamic than its dividend payouts. The

chart below shows GE dividends and buybacks as compared to GE Capital dividends. GE

Capital’s dividend constituted at least 30% of GE’s dividend/buyback activity annually from

2014 to 2017:


                                                 GE Dividends and Buybacks
                                                 Compared to GE Capital Dividends
                                $35
              $s in billions




                                $30
                                $25
                                $20
                                $15
                                $10
                                 $5
                                 $0
                                          2014             2015                 2016             2017

                                       GE Dividend         GE Buyback            Dividend from GE Cap




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                                        Sources of GE Dividends and Buybacks
                                $35


              $s in billions
                                $30

                                $25

                                $20

                                $15

                                $10

                                 $5

                                 $0
                                          2014            2015            2016         2017

                                                   GECC Dividend   Other Sources




       685.                    As shown above, a large portion of GE’s yearly dividend was supplied by GE

Capital. The spike in GE Capital dividends in 2016 resulted from the sell-off in GE Capital

assets that was announced on April 10, 2015.

       686.                    When GE slashed its annual dividend in half on November 13, 2017, it admitted

that its dividend rate was no longer appropriate because its industrial business did not grow as

fast as previously expected. Defendant Flannery explained that GE, plagued by poor cash flow,

had been paying out a dividend above its industrial free cash flow for a number of years, and

that GE Capital would not be paying a dividend to GE in 2018, stating: “[W]e’ve been paying a

dividend in excess of our free cash flow for a number of years now.”

       G.                      The Former CEO of GE Capital “Retired” in the Middle of the LTC
                               Reserve Review

       687.                    Former CEO of GE Capital, Richard Laxer, “retired” in December 2017 during

the reevaluation of GE Capital’s LTC reserves. The timing of Laxer’s retirement, near the

conclusion of the comprehensive review at GE Capital that discovered a $15 billion shortfall in

LTC reserves, is highly suspicious and further supports a finding of scienter.


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       H.      During the Class Period, GE Selectively Provided Investors with Only
               Positive Information

       688.    In a February 22, 2018 article entitled “GE has been ‘brushing things under the

rug’ for decades, Michelle Fox of CNBC quoted John Inch of Deutsche Bank, who had reported

that “The history of GE is to selectively only provide positive information” and that GE has

been “brushing things under the rug and leveraging aggressive accounting” for decades. “One

could infer the prior management basically did this to drive the … adjusted EPS up as much as

possible to pay themselves as much as possible.” Inch also stated that GE made it overly

complicated to dissect its financials. “They compounded the complexity on purpose so people

wouldn’t look at the details.”

       I.      Defendants Made Financial Disclosure for GE’s LTC and Contract Assets
               Overly Complicated and Vague to Hide the Truth

       689.    With respect to LTC, a January 29, 2018 report, authored by John G. Inch of

Deutsche Bank, entitled “SEC Enforcement investigation elevates GE risks,” stated:

       The high magnitude of the $9.5bn charge and $15bn cash bill (substantially
       beyond expectations for a business likely few were even aware retained such
       elevated risks) shocked the market and helped to drive GE’s share price lower
       while widening its credit spreads.

       In addition, recall that GE didn’t begin to flag long-term care insurance issues
       until mid-2017, well after its former insurance subsidiary Genworth first
       identified problems with its long-term care portfolio in late 2014.

       690.    In fact, GE’s total disclosure regarding its LTC business in its 2015 and 2016

Annual Reports was limited to just two obscure mentions disclosing that (i) GE excluded LTC

contractual obligations from a cash flow table included in its MD&A and (ii) GE’s Accounting

Principles and Polices reported: “For traditional long-duration insurance contracts, including

long-term care, term, whole life and annuities payable for the life of the annuitant, we report

premiums as earned income when due.”



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       691.    Moreover, even the LTC Reserves GE did record were obscured as components

of GE’s “Life insurance benefits” and “Other” liabilities. See ¶¶ 222-227, supra.

       692.    GE’s inclusion of LTC Reserves within its general insurance liabilities without

any additional disclosure resulted in investors having no awareness of the elevation of risk

associated with these obligations. In fact, investors concerned with assessing GE’s LTC risk

would likely have concluded that GE’s exposure was inconsequential because reported

liabilities remained stable.

       693.    When GE contributed $419 million to strengthen reserves in 2016, it provided

that information only in statutory filings, not in its financial statements. And it did not report

whether the need for the increase in reserves was due to losses in its LTC insurance business.

       694.    Further, GE first disclosed the magnitude of its LTC Reserves in its third quarter

2017 financial statements, when it acknowledged more than $12 billion of then-existing LTC

Reserves. The very fact that GE had to announce this in 2017 demonstrates that prior GE

disclosures omitted material information about a type of insurance product which was losing

massive amounts of money throughout the industry.

       695.    Intentionally or recklessly, GE’s omission of any meaningful discussion of its

LTC business strongly and falsely suggested to investors that any exposure from that business

was minimal.

       696.    Likewise, GE’s disclosures with respect to its contract assets were purposely or

recklessly unhelpful to investors. An October 31, 2017 article in The Wall Street Journal

entitled, “GE Shows How ‘Black Box’ Assets Boost Profits,” stated:

       General Electric Co. lifted the veil slightly on a part of its accounting that
       analysts have said was too opaque, spotlighting how changes in one group of its
       assets help to lift profits.




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       697.      Analysts have complained they have little insight into the portfolio and the way

it contributes to GE’s current profits. The assets are “kind of a black box,” said John Inch, a

Deutsche Bank analyst who has been critical of GE over the quality of its earnings and

disclosure.125

       J.        Statements by Former GE Employees Corroborate That Defendants Knew
                 or Were Reckless in Not Knowing That the Company (i) Materially Under-
                 Reserved for its LTC Portfolio and (ii) Manipulated Cost and Profitability
                 Estimates in Violation of GAAP

                 1.     FE-1 Was Given Changed Cash Flow Models Without Explanation

       698.      FE-1, the former Actuarial Controller at GE Capital – ERAC from July 2015 –

September 2016, reported that in late-2015, ERAC’s Chief Actuary Clark Ramsey and LTC

Managing Actuary David Benz stopped providing FE-1 with the documentation he needed to

back-up changes in assumptions they made during the asset adequacy phase so FE-1 could not

reconcile those changes with the liability cash flows. Further, FE-1 started to get updated

liability cash flow models from Benz “without adequate justification or explanation as to

what had changed in the liability cash flow models.” When he asked for backup

documentation, he never got it.

       699.      FE-1 believed, based on his experiences as a modeler, that Ramsey and Benz

were targeting “present value liability cash flows.” FE-1 suspected that Ramsey and Benz

were looking at the liability cash flows and then made changes to the liability assumptions.

       700.      Some of the changes FE-1 received from Ramsey and Benz, with very little or no

justification, were “so big, [he] couldn’t reconcile them, get comfortable with them.” Although

he went to Ramsey for a verbal justification, he did not get it.


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   Michael Rapoport, GE Shows How ‘Black Box’ Assets Boost Profits, Wall Street Journal,
(updated Nov. 1, 2017, 4:36 PM ET, https://www.wsj.com/articles/ge-shows-how-black-box-
assets-boost-profits-1509549624.


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       701.      During the loss recognition phase of his work in May-June 2016, FE-1 did

independent calculations, which uncovered a “loss recognition event” of around $200

million. He knew that GE Capital would “need to come up with” this amount and hold

additional GAAP reserves. FE-1 presented this to Ramsey, who went up to the ERAC CFO’s

office and came back down hours later showing that they had a $78 million surplus, because

they changed the way they were doing loss recognition.

       702.      FE-1 expressed his concerns about the model changes to Ramsey, Steilen, the

CEO of ERAC, and to KPMG.

       703.      Finally, FE-1 said that the reason the 2018 LTC charge-off was so big was

because “this didn’t happen after a year or two, this happened ever since GE spun-off

Genworth.” Over the years GE should have been increasing its reserves based on what the

actuaries were seeing. GE should have been “pushing capital down to ERAC.” But this was

not happening.

                 2.     FE-2 found in 2014 that ERAC’s LTC Portfolio Was Under-
                        Reserved; Senior Management Agreed Assumptions Needed to be
                        Updated; Defendants Knew About Concerns

       704.      FE-2, who served as Senior Insurance Audit Specialist from 2012 – 2014 and as

a Senior Vice President from 2014 – 2017, most recently reported to Kevin McCord, GE

Capital’s director of Internal Audit, and Joseph Pizzuto, GE Capital’s former Chief Audit

Executive.

       705.      In the summer of 2014, FE-2 conducted a financial audit of ERAC where he

identified numerous issues, including that the ERAC legacy LTC insurance portfolio was being

under-reserved. FE-2 explained that ERAC should have been updating their assumptions

regularly, but in a specific case they had not, and in fact their assumptions were “stale by

several years.”


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       706.    According to FE-2, following that summer 2014 audit, ERAC’s senior

management agreed that the assumptions needed to be updated and that ERAC needed to

recalculate their reserves based on the more up-to-date assumptions. In fact, FE-2

described that when he presented ERAC’s senior management with his audit findings related to

the stale assumptions and inadequate reserves, management’s response was “no contest, we

agree.”

       707.    The issues identified in FE-2’s insurance business audits were entered into GE

Capital’s formal audit system, where they are gathered together and presented to GE’s Board of

Directors and Audit Committee. FE-2 confirmed that the Audit Committee reviewed all of his

audits and that prioritized summaries on particular issues (i.e., model risk, compliance, etc.)

were put together for the GE Board. According to FE-2, Immelt and Sherin would have

known about the model validation concerns because they were systemic throughout the

GE Capital organization and had been identified by the Fed.

       708.    FE-2 explained that during his audit of ERAC’s LTC reserves in August and

September 2016, he found a systemic problem when it came to ERAC’s loss recognition testing

and a lack of back-up for the numbers being used to calculate the reserves. He suggested that

what ERAC was doing with reserves was akin to putting a number on a financial statement

without any explanation, and would lead one to think “where did that come from?”

       709.    FE-2 confirmed that his 2016 loss recognition audit of ERAC was definitely

elevated to the executives at GE Capital and GE. FE-2 confirmed that Ronald Peters (ERAC’s

CEO), Ryan Zanin (GE Capital’s Chief Risk Officer), and Defendants Immelt and Sherin were

all aware of these issues.




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        710.   FE-2 advised that KPMG confirmed the concerns related to loss recognition

testing that were raised in an internal GE Capital memo. FE-2 went on to say that the very

detailed memo written to Ramsey was also shared with others, including KPMG and FE-2.

According to FE-2, the memo detailed how the author disagreed with the methodology ERAC

was using and questioned ERAC’s process in evaluating reserves. FE-2 agreed with the

author’s observations. FE-2 said that the memo was “unsettling” and made ERAC look “really

bad.”

               3.     FE-4 Confirmed that GE’s LTC Business Was Recognized as a
                      “Troublemaking Block of Business” that Nobody Wanted

        711.   FE-4, an Insurance Professional within GE Capital’s Insurance framework from

before the start of the Class Period until the middle of the Class Period, worked on model

validation used in GE Capital’s insurance businesses. He confirmed that while GE Capital was

under SIFI designation, scrutiny by the Fed of GE Capital included examination of GE Capital’s

model validation.

        712.   FE-4 also stated that GE did not disclose a lot of information about the legacy

insurance business for many years to Wall Street or the SEC, although there were statutory

filings to states where the legacy insurance business was domiciled. According to FE-4, the

legacy insurance business was GE Capital’s “unwanted” and “troublemaking” block of

business. He explained that many of the ERAC/UFLIC policies dated back to the mid-1980s

and that at the time, the original policy writers and industry professionals did not know how to

design or price the policies: “it was all guess work.”

        713.   FE-4 also explained that GE Capital sold everything in the ERC portfolio that

they could to Swiss Re and that the policies that stayed with ERAC and UFLIC were the blocks

for which Swiss Re did not like their “long-term unknown nature.” GE Capital was “stuck”



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with these blocks. The policies GE Capital was left with were “long-tailed risk stuff” that no

one wanted and that was not originally underwritten or priced properly. He also said that

“the stage at [GE Capital] was set” following the Swiss Re deal and that the remaining ERAC

blocks were always “the blocks that nobody wanted” even many years ago and that these

legacy blocks were “troublemaker blocks” with the highest risk.

               4.     FE-6 Reported that Senior GE Management Recognized the Risk of
                      the LTC Portfolio

       714.    FE-6, who was executive at GE Capital from 2014 – 2015, reported that an audit

team conducted a simple audit on GE Capital’s insurance business in the first four months of

2015 and had a risk based audit plan going into 2016. FE-6 confirmed that prior to this audit,

no internal auditors had been auditing the ERAC unit. Previously it had been, as the Fed

described, “a bunch of young individuals” from GE’s CAS with limited experience. According

to FE-6, the Fed’s MRA (Matters Requiring Attention) memo detailed that GE Capital needed a

more robust internal audit department than CAS with deeper industry knowledge and

institutional knowledge of the various business units across all of GE, including Insurance. FE-

6 further described the CAS personnel as not having the background knowledge to properly

audit the various business units within GE Capital, especially the legacy insurance business

which required oversight from an actuary. According to FE-6, CAS would rotate every three

months to a different business unit so there was no institutional knowledge or continuity.

       715.    FE-6 further stated that the internal consensus amongst senior management,

especially Dan Janki, Treasurer of GE, was that there was risk related to the legacy LTC

portfolios. FE-6 explained that policies in the legacy LTC blocks were not being written any

longer because of how risky they were.




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       716.    FE-6 advised that GE held onto certain LTC policies that did not get spun off

with Genworth because GE “refused to sell them at such a huge discount.” He recalled that

Janki had said that “his one big mistake was not selling off all the insurance policies and

taking the hit at that time.”

               5.      FE-7 Explained How GE Power Services Sold its Future to Hide
                       Shortfalls in Current Revenue Projections

       717.    FE-7, who worked in Europe as a Finance Leader at GE Power Services

throughout the Class Period, stated that GE Power Services actively renegotiated LTSAs with

customers solely for the purpose of increasing the total contract margin, and often did so for

no economic reason other than to generate a positive cum catch (or avoid a negative cum catch).

       718.    FE-7 explained that in 2015-2016, GE Power Services Europe persuaded LTSA

customers to eliminate GE-provided service labor portion of a contract and use the customer’s

own labor services because GE’s profit margin on the service labor portion of a contract was

much smaller than its profit margin on capital parts and upgrades. Even though GE made money

on labor, removing it from the contract increased the overall average profit margin. This, in

turn, would trigger a positive cum-catch adjustment to increase revenue.

       719.    FE-7 explained that GE Power Services had teams dedicated to determining

which contracts were good candidates for generating positive cum catch adjustments. Indeed,

he estimated that between 2015 to 2017, a significant portion of GE Power Services

Europe’s profits were generated from cum catch adjustments.

       720.    Using contract renegotiations to boost revenue from cum catch adjustments was

not sustainable. According to FE-7, by the end of 2017, GE Power Services Europe had

exhausted most of the techniques used to trigger these revenue-boosting adjustments, which GE

relied on to conceal the fact that it was not generating revenue organically.



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       721.    Further, according to FE-7, the techniques described above often had the

additional negative effect of a substantial postponement of cash collection for GE Power.

FE-7 explained that in order to persuade customers to renegotiate, GE Power had to give

concessions, such as price discounts and deferrals of payment dates.

       722.    FE-7 explained that because GE was recording revenue as a result of cum catch

adjustments, but not collecting cash, its contract asset balance increased, which led to a

growing discrepancy between GE’s operating profit and the CFOA generated during that

same period. As a result of this cash crisis, beginning in Q4 2015, GE Power management

created a task force to accelerate cash collection on GE Power’s LTSAs through

“monetization,” which involved factoring (i.e., selling) receivables to generate CFOA. GE

Power Services would persuade its customers to renegotiate the billing contract terms so that the

triggering event for an invoice would be in the current accounting period. This was done solely

to accelerate invoices for factoring, with no actual change to the underlying performance

obligations.

       723.    Further, according to FE-7, to induce the customer to enter into such a

modification, GE would typically have to discount the payment required and also push the

actual payment due date further into the future. To actually “monetize” this payment,

which was not yet due, GE would then sell the receivable, either to itself (selling it to a

subsidiary of GE Capital) or to an outside party, often with recourse.

       724.    What’s more, FE-7 explained that GE Power Services failed to adequately

account for any associated credit risk, and assumed for its own accounting purposes that future

collection on the LTSAs was certain.




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       725.    According to FE-7, after monetizing customers’ future payments as often as

possible in 2016, there were fewer opportunities, and eventually the cash crisis could no

longer be concealed.

       726.    Finally, FE-7 explained that quarterly reports outlined the total amount of cash

that GE had generated through these monetization efforts and broke those figures down across

GE Power by region. FE-7 understood that these reports were to ultimately be used for GE’s

quarterly Blueprint Review for discussion with GE Power’s global leadership.

XII.   CLASS ACTION ALLEGATIONS

       727.    Plaintiff brings this action as a class action pursuant to Rule 23 of the Federal

Rules of Civil Procedure on behalf of itself and all persons and entities that purchased or

otherwise acquired the publicly traded securities of GE during the period from January 23, 2015

through January 23, 2018, inclusive (the “Class Period”), and were damaged thereby. Excluded

from the Class are Defendants; members of the immediate family of each of the Individual

Defendants; any subsidiary or affiliate of GE, including GE’s employee retirement and benefit

plan(s) and their participants or beneficiaries, to the extent they made purchases through such

plan(s); any firm, trust, corporation, or other entity in which any Defendant has or had a

controlling interest; the directors and officers of GE during the Class Period and their immediate

family members; and the legal representatives, heirs, successors-in-interest, or assigns of any

such excluded person or entity.

       728.    The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, GE securities were actively traded on the NYSE.

While the exact number of Class members is unknown to Plaintiff at this time and can only be

ascertained through appropriate discovery, Plaintiff believes that there are hundreds of

thousands of members in the proposed Class. Record owners and other members of the Class


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may be identified from records maintained by GE and/or its transfer agent and may be notified

of the pendency of this action by mail, using the form of notice similar to that customarily used

in securities class actions.

        729.    Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

        730.    Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class action and securities

litigation.

        731.    Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                (a)     whether the Exchange Act was violated by Defendants as alleged herein;

                (b)     whether statements made by Defendants misrepresented material facts

about the business, operations and management of GE; and

                (c)     to what extent the members of the Class have sustained damages and the

proper measure of damages.

        732.    A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action

as a class action.




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XIII. PRESUMPTION OF RELIANCE

       733.    Plaintiff will rely upon the presumption of reliance established by the fraud-on-

the-market doctrine in that, among other things:

               (a)    Defendants made public misrepresentations or failed to disclose material

facts during the Class Period;

               (b)    the omissions and misrepresentations were material;

               (c)    the Company’s securities traded in an efficient market;

               (d)    the misrepresentations alleged would tend to induce a reasonable investor

to misjudge the value of the Company’s securities; and

               (e)    Plaintiff and other members of the Class purchased GE securities

between the time Defendants misrepresented or failed to disclose material facts and the time the

true facts were disclosed, without knowledge of the misrepresented or omitted facts.

       734.    At all relevant times, the markets for GE securities were efficient for the

following reasons, among others:

               (a)    as a regulated issuer, GE filed periodic public reports with the SEC;

               (b)    GE regularly communicated with public investors via established market

communication mechanisms, including through regular disseminations of press releases on the

major news wire services and through other wide-ranging public disclosures, such as

communications with the financial press, securities analysts, and other similar reporting

services;

               (c)    GE was followed by numerous securities analysts employed by major

brokerage firm(s) including: (1) JP Morgan; (2) William Blair; (3) Deutsche Bank; (4) Cowen

& Co; (5) Oppenheimer & Co.; (6) Credit Suisse; (7) Citigroup; (8) BofA Merrill Lynch;

(9) RBC Capital Markets; (10) Vertical Research Partners; (11) UBS; (12) Melius Research


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LLC; (13) Stifel Nicholas; and (14) Morgan Stanley who wrote reports that were distributed to

the sales force and certain customers of their respective brokerage firm(s) and that were publicly

available and entered the public marketplace; and

               (d)     GE common stock was actively traded in an efficient market, namely the

NYSE, under the ticker symbol “GE.”

       735.    As a result of the foregoing, the market for GE securities promptly digested

current information regarding GE from all publicly available sources and reflected such

information in the price of GE’s securities. Under these circumstances, all purchasers of GE

securities during the Class Period suffered similar injury through their purchase of GE’s

securities at artificially inflated prices and the presumption of reliance applies.

       736.    Further, to the extent that Defendants concealed or improperly failed to disclose

material facts with regard to the Company, Plaintiff is entitled to a presumption of reliance in

accordance with Affiliated Ute Citizens v. United States, 406 U.S. 128, 153 (1972).

XIV. INAPPLICABILITY OF STATUTORY SAFE HARBOR

       737.    The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The statements alleged to be false and misleading herein all relate to then-existing facts and

conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward looking, they were not identified as “forward-looking statements”

when made and there were no meaningful cautionary statements identifying important factors

that could cause actual results to differ materially from those in the purportedly forward-looking

statements. In the alternative, to the extent that the statutory safe harbor is determined to apply

to any forward-looking statements pleaded herein, Defendants are liable for those false forward-

looking statements because at the time each of those forward-looking statements was made, the


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speaker had actual knowledge that the forward-looking statement was materially false or

misleading, and/or the forward-looking statement was authorized or approved by an executive

officer of GE who knew that the statement was false when made.

XV.     CLAIMS FOR RELIEF

                                            COUNT I

                      For Violation of Section 10(b) of the Exchange Act
                           and Rule 10b-5 Against All Defendants

        738.   Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

        739.   During the Class Period, Defendants disseminated or approved the false

statements specified above, which they knew or recklessly disregarded were misleading in that

they contained misrepresentations and failed to disclose material facts necessary in order to

make the statements made, in light of the circumstances under which they were made, not

misleading.

        740.   Defendants violated Section 10(b) of the Exchange Act and Rule 10b-5 in that

they:

               (a)     Employed devices, schemes, and artifices to defraud;

               (b)     Made untrue statements of material facts or omitted to state material facts

necessary in order to make the statements made, in light of the circumstances under which they

were made, not misleading; or

               (c)     Engaged in acts, practices, and a course of business that operated as a

fraud or deceit upon Plaintiff and others similarly situated in connection with their purchases of

GE securities during the Class Period.




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       741.    Plaintiff and the Class have suffered damages in that, in reliance on the integrity

of the market, they paid artificially inflated prices for GE securities. Plaintiff and the Class

would not have purchased GE securities at the prices they paid, or at all, if they had been aware

that the market prices had been artificially and falsely inflated by Defendants’ misleading

statements.

       742.    As a direct and proximate result of these Defendants’ wrongful conduct, Plaintiff

and the other members of the Class suffered damages in connection with their purchases of GE

securities during the Class Period.

                                            COUNT II

                      For Violation of Section 20(a) of the Exchange Act
                             Against the Individual Defendants

       743.    Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

       744.    The Individual Defendants acted as controlling persons of GE within the

meaning of Section 20(a) of the Exchange Act. By virtue of their positions and their power to

control public statements about GE, the Individual Defendants had the power and ability to

control the actions of GE and its employees. By reason of such conduct, Defendants are liable

pursuant to Section 20(a) of the Exchange Act.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

       A.      Determining that this action is a proper class action and certifying Plaintiff as a

Class Representative under Rule 23 of the Federal Rules of Civil Procedure and Plaintiff’s

counsel as Lead Counsel;




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         B.     Awarding compensatory damages in favor of Plaintiff and the other Class

members against all Defendants, jointly and severally, for all damages sustained as a result of

Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

         C.     Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

         D.     Awarding such equitable/injunctive or other relief as deemed appropriate by the

Court.

                                         JURY DEMAND

         Plaintiff demands a trial by jury.

DATED: March 20, 2018                                Respectfully submitted,


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                                  EXHIBIT A

             TRANSACTIONS IN GENERAL ELECTRIC COMPANY


Common Stock
    Ticker          CUSIP           SEDOL           ISIN
     GE            369604103        2380498      US3696041033
Transaction Type     Trade Date         Shares   Price Per Share   Cost/Proceeds
Purchase              3/16/2017         15,300            $29.69      ($454,192.74)
Purchase              3/16/2017         47,100            $29.71    ($1,399,270.35)
Purchase              3/17/2017         39,400            $29.96    ($1,180,286.10)
Purchase              3/17/2017         12,800            $29.84      ($381,944.32)
Purchase              3/17/2017         21,500            $29.82      ($641,196.65)
Purchase              3/22/2017         66,000            $29.55    ($1,950,168.00)
Purchase              3/29/2017         35,200            $29.55    ($1,040,198.72)
Purchase              4/21/2017         15,500            $29.79      ($461,667.50)
Purchase              4/21/2017          1,100            $29.76       ($32,730.50)
Purchase              4/21/2017         10,800            $29.68      ($320,575.32)
Purchase              4/25/2017         25,000            $29.48      ($736,897.50)
Purchase              4/25/2017         22,700            $29.46      ($668,689.79)
Purchase              5/16/2017         39,700            $28.05    ($1,113,489.72)
Purchase               6/5/2017         25,300            $27.98      ($707,858.58)
Purchase              7/11/2017         78,900            $26.23    ($2,069,625.90)
Purchase              7/21/2017            800            $25.45       ($20,362.24)
Purchase              7/21/2017          2,000            $25.52       ($51,048.20)
Purchase              7/21/2017         48,500            $25.74    ($1,248,191.15)
Purchase              7/21/2017          5,800            $25.86      ($150,011.20)
Purchase              7/26/2017         17,800            $25.63      ($456,270.96)
Purchase              7/26/2017         41,900            $25.62    ($1,073,285.26)
Purchase              7/26/2017            500            $25.63       ($12,814.90)
Purchase              7/26/2017            800            $25.63       ($20,506.88)
Purchase              7/26/2017          3,400            $25.66       ($87,227.00)
Purchase              7/26/2017          3,800            $25.65       ($97,451.00)
Purchase              7/27/2017          7,600            $25.58      ($194,411.80)
Purchase              7/27/2017         12,500            $25.71      ($321,320.00)
Purchase              7/27/2017          2,200            $25.74       ($56,632.62)
Purchase              7/27/2017            600            $25.58       ($15,347.88)
Purchase               9/7/2017         44,700            $23.95    ($1,070,587.35)
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4.00% Fixed-to-Floating Rate Non-Cumulative Perpetual Preferred Stock, Series A
     Ticker             CUSIP          SEDOL               ISIN
      N/A             369604BM4      BYXDK58         US369604BM44
Transaction Type        Trade Date         Par Amount            Price    Cost/Proceeds
Purchase                 12/7/2015             $145,000          89.25      ($129,412.50)
Purchase                 12/8/2015             $105,000          89.75       ($94,237.50)
Sale                     1/19/2016            -$250,000          89.53        $223,827.50



5.00% Fixed-to-Floating Rate Non-Cumulative Perpetual Preferred Stock, Series D
     Ticker             CUSIP          SEDOL               ISIN
      N/A             369604BQ5       BYZLD06         US369604BQ57
Transaction Type        Trade Date         Par Amount            Price    Cost/Proceeds
Purchase                   1/19/16             $250,000          88.53      ($221,327.50)




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